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                                                                                BRUCE DUBINSKY


                      UNITED STATES DISTRICT COURT                              EXHIBIT 5200
                     SOUTHERN DISTRICT OF NEW YORK                                  03 - 29 - 2022




IN RE:
CUSTOMS AND TAX ADMINISTRATION
OF
THE KINGDOM OF DENMARK
(SKATTEFORVALTNINGEN) TAX                            No. 18-MD-2865-LAK
REFUND
SCHEME LITIGATION




      EXPERT REPORT OF BRUCE G. DUBINSKY
       MST, CPA, CFE, CVA, CFF, CAMS, MAFF

                          December 31, 2021*




                *Updated on February 1, 2021. See attached cover letter.
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I.       THE ASSIGNMENT
1. In April 2021, I was retained by the law firm of Hughes Hubbard & Reed LLP (“Hughes
      Hubbard” or “Counsel”), counsel for Skatteforvaltningen (“SKAT”), to provide forensic
      accounting analyses and render certain expert opinions and conclusions related to an
      international dividend withholding tax refund scheme (the “Assignment”). In this report, I
      render opinions related to:
             x    Examining and explaining the various steps of certain purported Danish securities
                  transactions that were designed, managed, and purportedly executed by Solo
                  Capital or affiliated entities (“Solo” or “Solo Capital”) on behalf of approximately
                  173 United States pension plans (collectively the “Plans”) 1 from 2012-2015 in
                  connection with the Plans’ applications for dividend withholding tax refund
                  claims to SKAT (the “Solo Trades”); 2
             x    Whether the Plans purchased actual shares of Danish securities as part of the Solo
                  Trades;
             x    Whether the Plans received actual dividends as a result of the Solo Trades; and
             x    Who received the proceeds from the refund claim payments made by SKAT.



II.      EXPERT BACKGROUND AND QUALIFICATIONS
2. I am the Managing Member of Dubinsky Consulting, LLC (“Dubco”), a consultancy practice
      that places special emphasis on providing forensic accounting and dispute analysis services
      to law firms litigating commercial cases, as well as corporations, governmental agencies, and
      law enforcement bodies in a variety of situations.
3. I earned a Bachelor of Science Degree in Accounting from the University of Maryland,
      College Park, MD and a Master’s in Taxation (“MST”) from Georgetown University,


1
  I understand that there are an additional 16 plans that are not at issue in this litigation.
2
  I refer to the transactions as “purported” because, throughout my review and analyses of the documents provided in
this matter, I have found no evidence that Solo Capital, its affiliated entities, or the Plans actually traded any real
shares of the underlying Danish stock, nor have I seen evidence that any cash moved from one entity to another for
payment of purchase or sale of the shares or stock loans. Lastly, I have not seen any proof that any shares that were
purportedly part of the transactions were ever held by any custodians on behalf of Solo Capital and the Plans. See
discussion infra for a detailed analysis on these points.
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   Washington, D.C. I am a Certified Public Accountant (“CPA”), Certified Fraud Examiner
   (“CFE”), Certified Valuation Analyst (“CVA”), Certified in Financial Forensics (“CFF”),
   Master Analyst in Financial Forensics (“MAFF”), and a Certified Anti-Money Laundering
   Specialist (“CAMS”), all in good standing, and was formerly licensed as a Registered
   Investment Advisor Representative.
4. I have been qualified and testified in over 75 cases in various federal and state courts, as well
   as other legal tribunals, as an expert witness in the areas of forensic accounting and fraud
   investigations; bankruptcy; solvency; economic damages; business valuations; investment
   theory; federal and state income taxation; abusive tax shelters; accounting ethics and
   standards; Securities and Exchange Commission related matters; accounting malpractice;
   investment advisory issues; Generally Accepted Accounting Practices, and a variety of other
   accounting, financial and tax matters. Additionally, I have professional experience in
   computer forensics and related computer investigations.
5. I have worked on some of the largest fraud cases in the world including:
           x   Bernie Madoff Ponzi;
           x   Parmalat milk company fraud;
           x   Enron fraud;
           x   Wyly brothers’ offshore tax fraud;
           x   Robert F. Smith offshore tax fraud (the largest criminal tax fraud case in United
               States history); and
           x   Dozens of other cases that involved offshore tax motivated transactions that were
               all found to be shams.
6. A current and accurate copy of my curriculum vitae and listing of trial and deposition
   testimonies are attached hereto as Appendix A.
7. My opinions and conclusions expressed herein are based upon information available to me
   and my understanding of the facts in this case, as well as information gained during the
   course of my performance of this Assignment. Further, I have relied upon my education,
   training and more than 38 years of professional experience in rendering my opinions and
   conclusions, and my opinions and conclusions herein are stated to a reasonable degree of
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       accounting certainty.3
8. Litigation and forensic service engagements performed by CPAs are deemed to be consulting
       services as defined by the American Institute of Certified Public Accountants (“AICPA”). As
       such, my work on this Assignment was performed in accordance with the applicable general
       standards as set forth in the Standards for Consulting Services established by the AICPA, as
       well as the specific standards enumerated in the AICPA Statement on Standards for Forensic
       Services No. 1. Further, as a result of having other relevant professional certifications, as
       more fully described herein, I adhered to the applicable standards of those governing
       organizations in the performance of my work in this matter and the rendering of these
       opinions.
9. This Report is based upon the information available to me and reviewed to date. I reserve the
       right to supplement or amend this Report as necessary to respond to any additional
       information that becomes available for my review including, but not limited to, issues raised
       by experts that may be retained by the defendants in this matter.
10. In addition, I reserve the right to prepare additional exhibits, charts, graphs, tables,
       demonstratives, and diagrams to summarize or support the opinions and analyses set forth in
       this Report and utilize them during any testimony should this matter require so.
11. Dubco is being compensated at hourly rates based on the level of personnel involved in the
       Assignment. My hourly billing rate charged by Dubco is $1,050. Dubco’s fees for this
       engagement are not contingent on the conclusions reached or ultimate resolution of the case.
       I have no direct or indirect financial interest in the outcome of this case or in any of the
       parties in this matter.



III.       SUMMARY OF ASSIGNMENT, SCOPE AND METHODOLOGY

           A.      Documents and Materials Reviewed

12. In the course of my analysis, I requested and was provided access to information including,


3
  I have defined a “reasonable degree of accounting certainty” to mean that level of certainty that would likely be
attained by a group of my professional peers, with the same or similar education, training, and experience, given access
to the same information, in reaching the same or similar conclusions.
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    but not limited to:
             x    All documents produced by the defendants and U.S.-based third parties in this
                  action;4
             x    A database of documents of Solo Capital and related entities obtained under court
                  order from a related litigation in Dubai;5
             x    Documents produced by various foreign entities in response to letters of requests
                  filed in this action under the Hague Convention on Taking Evidence Abroad.
             x    Documents produced in this action from SKAT’s files;
             x    Bank statements for Solo Capital and related entities; and
             x    Various deposition transcripts for persons deposed in this matter and the exhibits
                  to those depositions.
13. In addition to the information to which I was provided access, I obtained information where
    necessary to my work herein from publicly available sources. I also consulted applicable
    professional treatises, sources and publications regarding professional standards,
    methodologies, and related requirements when necessary.
14. Under my direct supervision, the work conducted by associates and any others in connection
    with the Assignment was planned, supervised, and staffed in accordance with applicable
    professional standards by which I am bound.
15. I conducted a detailed inspection and review of voluminous documents from a variety of
    sources including emails, brokerage statements, bank records, trade confirmations, corporate
    documents, regulatory filings, dividend tax reclaim submissions, deposition transcripts and
    exhibits, and publicly available documents. A complete listing of the materials I reviewed
    and considered in forming my opinions and conclusions rendered in this report is attached



4
  I was provided access to multiple Relativity databases containing documents produced in this litigation. I had the
ability to review the documents and electronic data stored in the database and run queries as I deemed necessary to
conduct my work in this case.
5
  I have been informed by counsel for SKAT that a small percentage of documents in this database are being
withheld from all parties in the U.S. litigation as privileged, and that another small percentage is not available yet
because they are undergoing a privilege review. Further, I have been informed that a hard drive potentially
containing Solo Capital and/or related entities documents has been found but is encrypted and cannot be accessed. I
do not believe that these facts impact the conclusions of this report and reserve the right to supplement this report
if/when more documents become available.
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      hereto as Appendix B.6



IV.      SUMMARY OF OPINIONS
16. Based on my training, education and professional work experience, and the results of my
      investigation and analysis in this case (as more fully described in detail throughout this
      report), I have concluded that:
             x   There is no evidence that the Plans ever owned actual shares of Danish companies
                 resulting from the purported Solo Trades, or received actual dividends issued by
                 the Danish companies whose shares were allegedly purchased by the Plans.
             x   The Solo Trades were pre-arranged, closed loop, circular transactions in which a
                 short-seller purported to sell Danish shares to the Plans, but only obtained the
                 non-existent shares by purportedly ultimately borrowing those same shares from
                 the Plans that also did not have any shares. In effect, in all of the 2,559 Solo
                 Trades, a seller “sold” shares it did not have to a Plan and purported to cover that
                 “sale” by supposedly borrowing those same shares from the Plan, which never
                 had the shares to begin with.
             x   The Plans did not have sufficient capital, liquidity, or creditworthiness to execute
                 purchases of actual shares in the amounts and volumes of the Solo Trades.
             x   The overwhelming majority of the “profits” received by the Plans were derived
                 from receiving a small fraction of the dividend tax refund claim paid by SKAT,
                 with de minimis (if any) profits from anything but the refunds. Most of the
                 proceeds from the tax reclaim payments went to Solo Capital or affiliated entities.
                 Most of the remaining portion of the proceeds from the tax reclaim payments
                 went to individuals or entities controlled by those individuals (the “Recruiters”)
                 who recruited people to establish additional pension plans for purposes of
                 submitting more reclaim applications.
17. The essence of the Solo Trades is that all these purported transactions involved the circular


6
 Access to documentation was not limited in any manner, and I was allowed to search for information and
documentation that both supported the opinions contained herein, as well as countervailing evidence, if any.
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     transfer of non-existent Danish shares between the “seller” and the Plans. There is no
     evidence that the seller ever possessed the shares it purported to sell to the Plans. In every
     case, the seller borrowed the shares from the Plan—the very same shares that the seller
     purportedly sold to the plan in the first place. Below is a simplified graphical representation
     of the Solo Trades, which illustrates the circular nature of the transactions. 7




                                      Figure 1 – Solo Trade Diagram

18. In fact, by removing the intermediaries, which were simply steps inserted to obfuscate the
     true nature of the round-trip transaction, the whole transaction can be boiled down to its
     foundation, as shown in the Figure below, which is the purported transfer of non-existent
     shares directly between the “seller” and the Plan.


7
  The Solo Trades, as described in greater detail later in this Report, are comprised of both a simple and complex
loop. In both instances, for purposes of focusing the reader on the critical aspects of the transactions, I have
purposely omitted a detailed discussion on the use of forward contracts and futures contracts that were present in the
two different structures (i.e., the simple and complex respectively). I also omitted references to the forwards and
futures in the diagrams of the transactions. The use of either the forward contracts and/or futures contracts and the
lack of any detailed discussion in the Report does not alter my opinions regarding the Solo Trades as detailed herein.
Lastly, I did not diagram the so-called “unwind” of the transactions as it was moot since if there was no stock ever
transferred in the first instance, then there could be no unwind.
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                                     Figure 2 – The Solo Trades in Effect



V.       FACTUAL BACKGROUND8

         A.       Overview of the pension plan groups, plan participants, and associated LLCs

19. Solo Capital and its affiliates coordinated the creation of the Plans from 2012-2015, each of
     which purportedly traded through Solo Capital and/or one of Solo Capital’s three affiliated
     entities, Telesto Markets LLP, Old Park Lane Capital PLC, and West Point Derivatives
     Limited (together, the “Solo Custodians”). For purposes of this report, I have grouped each
     of the Plans into one of four broad groups based on the individuals who were responsible for
     recruiting participants to create these Plans.




8
  My understanding of the factual background is based upon various sources of information including, but not
limited to, pleadings in this case, deposition transcripts, documents produced by the parties in this matter,
discussions with counsel, and publicly available documents. This recitation of the factual background serves to
provide only a background summary of the facts as I understand them. It is my understanding that the factual
foundation and predicates for the facts set forth in this section of my report will be laid by fact witnesses at trial and
through other evidentiary materials and will form the factual predicate for any opinions contained herein that are
based upon such facts.
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                  1.       Argre Plans9

20. The “Argre Plans” refers to the 30 Plans created by the four principals of the Argre
      investment firm—Jerome Lhote (“Lhote”), Richard Markowitz (“Markowitz”), Matthew
      Stein (“Stein”) and John van Merkensteijn (“van Merkensteijn”)—as well as friends and
      family recruited by these four individuals.10 The Argre Plans were created in 2012 and 2013.
21. During this period, Lhote, Markowitz, Stein, and van Merkensteijn each created two Plans
      individually and three Plans jointly.11 They also recruited friends and family members to
      create 19 more LLCs and Plans.12
22. Fifteen of the friends and family Plans entered into partnership agreements with entities
      controlled by the four Argre principals. In each partnership arrangement, the Plan undertook
      all the Solo Trades in its name, as an undisclosed agent or nominee for the partnership, and
      transferred almost all of the proceeds that SKAT paid the Plan, net of fees to Solo Capital
      and others, to the entities controlled by the Argre principals. After paying Solo Capital and
      other fees, the Plan retained only 5% (for 10 of the Plans) or 10% (for five of the Plans) of
      any profits generated by those Plans’ purported assets and paid the remaining 90 to 95% to
      the entities controlled by the Argre principals. 13
23. Together, SKAT paid the 30 Argre Plans DKK 1,595,008,695 (USD $288,335,443). 14

                  2.       Kaye Scholer Plans15

24. The “Kaye Scholer Plans” refers to 39 Plans created by van Merkensteijn, Markowitz, Robert
      Klugman (“Klugman”) and friends and family recruited by van Merkensteijn and
      Markowitz.16 Thirty-four of the 39 Plans were established in 2014 with the assistance of


9
  See Exhibit 1.01 for additional information about these 30 Plans.
10
   See Exhibit 1.01.
11
   See Exhibit 1.01.
12
   See Exhibit 1.01.
13
   The four Argre principals split the 90 to 95% evenly. In seven of the partnerships, the Plans’ partner was Quartet
Investment Partners LLC, an entity in which each of the four Argre principals had an equal 25% interest. In the
remaining partnerships, the Plans partnered with four separate entities, one controlled by each of the four Argre
principals, and each with a 23.75% interest in the partnership’s profits. See Exhibit 1.01 for a listing of the
partnership agreements.
14
   See Exhibit 1.01.
15
   See Exhibit 1.02 for additional information about these 39 Plans.
16
   See Exhibit 1.02.
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      Michael Ben-Jacob (“Ben-Jacob”), a partner at the law firm Kaye Scholer in New York. 17
25. Markowitz and van Merkensteijn each formed four LLCs and associated Plans, and their
      business associate Klugman formed three LLCs and five associated Plans. 18
26. Markowitz and van Merkensteijn recruited six of their friends and family to form 26 other
      LLCs and associated Plans.19 Each of these 26 Plans entered into general partnership
      agreements with two of the following three trusts controlled by Markowitz, van
      Merkensteijn, and Klugman:
         x   the Routt Capital Trust (controlled by Markowitz);
         x   the Omineca Trust (controlled by van Merkensteijn); and
         x   the RAK Investment Trust (controlled by Klugman).
27. Similar to the Argre partnership arrangements, in each of the 26 partnerships, the Plan
      undertook all the Solo Trades in its name, as an undisclosed agent or nominee for the
      partnership, and transferred almost all of the proceeds that SKAT paid the Plan, net of fees to
      Solo Capital and others, to two of these three trusts.20 Together, SKAT paid these 26 Plans
      DKK 1,626,827,633 (USD $242,949,205). 21 After paying Solo Capital and the
      Markowitz/van Merkensteijn/Klugman trusts, the Plans generally retained only 5% of any
      profits generated by those Plans’ purported assets. 22 The two trust partners in turn received
      95% of the profits generated by the Plans’ purported assets. 23 For example, if the Plan was
      due to receive proceeds of any Danish reclaim, the Plan in a partnership arrangement retained
      only 5% of the refund claim proceeds after all fees were paid. The other 95% was paid to the
      other two general partners. The RAK Trust was one of the two general partners in each of
      the 26 partnerships and was entitled to 25% or 31.67% of the profits. 24 Routt Trust, which
      was the third general partner in 15 of the partnerships, and Omineca Trust, which served as
      the third general partner in 11 of the partnerships, received the remaining 70% or 63.33% of



17
   See Exhibit 1.02; WH_MDL_00297405 (Ex. 2265).
18
   See Exhibit 1.02.
19
   See Exhibit 1.02.
20
   See Exhibit 1.02 for a listing of the partnership agreements.
21
   See Exhibit 1.02.
22
   See Exhibit 1.02 for a listing of the partnership agreements.
23
   See Exhibit 1.02 for a listing of the partnership agreements.
24
   See Exhibit 1.02 for a listing of the partnership agreements.
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      the profits in those partnerships.25

                  3.       Lehman Plans26

28. Roger Lehman began working with Solo in early 2013 while separately employed by FGC
      Securities.27 Lehman ultimately created five of his own LLCs and associated Plans. 28
      Lehman also worked with his brother to assist three of his brother’s friends to create LLCs
      and Plans and helped others establish LLCs and Plans. 29
29. Initially, Lehman helped Shah recruit Matthew Tucci (“Tucci”), Doston Bradley (“Bradley”)
      and at least two others who worked together at the Traditions Group, to join the scheme in
      late 2013.30 At the same time, Lehman assisted individuals who had been introduced to the
      scheme through Jonathan Godson to establish LLCs and Plans. 31 In total, these groups
      initially established 19 Plans that started participating in Solo Trades in late 2013 and early
      2014.32
30. Beginning in summer 2014, Lehman, Bradley, Tucci, and Gavin Crescenzo (“Crescenzo”)
      each recruited multiple friends and/or family members to be participants in newly formed
      Plans. As part of this second wave, in late 2014 and 2015, another 81 Plans were formed by
      these recruiters and their friends and families.33
31. In total, there were 100 Plans associated with the Lehman/Tucci/Bradley/Crescenzo group
      (the “Lehman Plans”). Together, SKAT paid these 100 Plans DKK 3,921,116,742 (USD
      $603,205,921).34 As detailed below, most of the Plans in the Lehman Group ultimately
      received none of the dividend withholding tax refunds paid by SKAT. Instead, the vast
      majority of the money was paid to Ganymede Cayman Limited (“Ganymede”), a Cayman
      entity owned by Shah. Ganymede then paid a small proportion of the proceeds back to the
      U.S. recruiters Lehman, Tucci, Bradley, and Crescenzo. A de minimus percentage of the

25
   See Exhibit 1.02 for a listing of the partnership agreements.
26
   See Exhibit 1.03 for additional information about these 100 plans.
27
   Lehman Dep. Tr. at 69:24 – 70:21.
28
   See Exhibit 1.03.
29
   Lehman Dep. Tr. at 413:23 – 415:17; see Exhibit 1.03.
30
   Lehman Dep. Tr. at 314:1-19.
31
   Lehman Dep. Tr. at 326:11 – 327:7.
32
   See Exhibit 1.03.
33
   See Exhibit 1.03.
34
   See Exhibit 1.03.
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      refunds (if anything) was paid to the other plan participants. 35

                 4.      The Zeta Plans

32. Zeta Financial Partners Limited (“Zeta”), a British Virgin Islands based entity, acted as the
      investment manager for four Plans, the Acorn Capital Corporation Employee Profit Sharing
      Plan (“ACC”), the Acorn Capital Strategies LLC Employee Pension Profit Sharing Plan
      (“ACS”), the Sander Gerber Pension Plan (“SGPP”), and the Sterling Alpha Plan
      (collectively, the “Zeta Plans”).36 The Plan participants in these Plans—Gregory Summers
      (ACC and ACS), Sander Gerber (SGPP), and John Doscas (Sterling Alpha)—were business
      associates of one another.37 In total, the Zeta Plans claimed approximately DKK 24,329,700
      (USD $4,296,259) in withholding tax refunds from SKAT based on Solo Trades. 38



         B.      Overview of “Bellwether” Plans

33. I have been informed by Counsel that, with respect to Plans that used Solo Capital, Telesto,
      Old Park Lane, and/or West Point as custodian, the Court directed the parties in this litigation
      to jointly agree and select one Plan that traded in 2012 or 2013, and four Plans that traded in
      2014 or 2015, to be considered “Bellwether Plans” for purposes of summary judgment
      motions, and for each of these five selections, to choose two backup Plans. To date, it is my
      understanding that the parties have been unable to reach final agreement on which 15 Plans
      would comprise the Bellwether Plans. Accordingly, Counsel has informed me which Plans
      the parties have agreed upon and Counsel selected the remaining three Plans for me to
      examine and discuss in this Report. For this reason, I have focused on the specific details of
      these Bellwether Plans, but I have found that the key aspects of these Bellwether Plans are
      consistent with my review of the remaining Plans and their involvement with the Solo
      Trades. If the parties ever reach agreement on the final Plan selection, or the Court directs



35
   See Opinion II.
36
   Summers Dep. Tr. 43:2;13, 145:16 – 148:3.
37
   Summers Dep. Tr. 20:20-22:3.
38
   SKAT_MDL_001_038054; SKAT_MDL_001_038340; SKAT_MDL_001_038417; SKAT_MDL_001_040745;
SKAT_MDL_001_044688.
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      otherwise, I will update my Report accordingly. 39
34. The following section of my Report provides an overview of the formation of the 15
      Bellwether Plans and the refund applications they filed with SKAT.

                               Table 1 – Summary of Bellwether Plans
      Bellwether
                                          Name of Plan                                 Date Formed
       Number
           1          Bernina Plan                                                 February 7, 2013
          1a          RJM Capital Pension Plan                                     February 1, 2013
          1b          Delvian LLC Solo 401(K) Plan                                 May 23, 2012
           2          Basalt Ventures LLC Roth 401(K) Plan                         July 22, 2014
          2a          STOR Capital Consulting LLC 401(K) Plan                      May 14, 2014
          2b          Edgepoint Capital LLC Roth 401(K) Plan                       July 16, 2014
           3          Loggerhead Services LLC Roth 401(K) Plan                     July 18, 2014
          3a          Roadcraft Technologies LLC Roth 401(K) Plan                  July 21, 2014
          3b          The Bareroot Capital Investments LLC 401(K) Plan             July 17, 2014
           4          FWC Capital LLC Pension Plan                                 October 22, 2014
          4a          The LBR Capital Pension Plan                                 September 26, 2014
          4b          The Costello Advisors Pension Plan                           December 3, 2014
           5          The Proper Pacific LLC 401(K) Plan                           September 26, 2014
          5a          The SVP 401(K) Plan                                          January 26, 2015
          5b          The Oaks Group Pension Plan                                  September 30, 2014


                 1.       Bellwether Plan 1: Bernina Pension Plan

35. Bernina LLC, a Delaware limited liability company, was formed on March 15, 2012. 40 On
      February 7, 2013, Bernina LLC formed the Bernina Pension Plan (the “Bernina Plan”) and
      the Bernina Pension Plan Trust for which van Merkensteijn was named the trustee. 41
36. The Bernina Plan was one of the 30 Argre Plans formed in 2012-2013.
37. The Bernina Plan completed its first group of Solo Trades on March 7, 2013 and filed its first
      dividend tax refund claim with SKAT on April 9, 2013 through the payment agent Acupay


39
   I understand that Avanix Management LLC Roth 401(k) Plan has been added as a Bellwether Plan. I reserve the
right to supplement my report with respect to this plan.
40
   JHVM_0020353.
41
   WH_MDL_00252474; JHVM_0017740.
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      Systems.42 From March 2013 through September 2014, the Bernina Plan filed 23 refund
      claims with SKAT totaling DKK 57,878,013 (USD $10,445,527). 43

                  2.        Bellwether Plan 1a: RJM Capital Pension Plan

38. RJM Capital LLC, a Delaware limited liability company, was formed on July 17, 2007. 44 On
      February 1, 2013, RJM Capital LLC formed the RJM Capital Pension Plan (the “RJM Plan”)
      and the RJM Capital Pension Plan Trust for which Markowitz was named the trustee. 45
39. The RJM Plan was one of the 30 Argre Plans formed in 2012-2013.
40. The RJM Plan completed its first group of Solo Trades on March 7, 2013 and filed its first
      divided tax refund claim with SKAT on April 3, 2013 through payment agent Goal Taxback
      Limited.46 From April 2013 through September 2014, the RJM Plan filed 24 refund claims
      with SKAT totaling DKK 59,487,352 (USD $10,745,718). 47

                  3.        Bellwether Plan 1b: Delvian LLC Solo 401(K) Plan

41. Delvian LLC, a Delaware limited liability company, was formed on January 13, 2011. 48 On
      May 23, 2012, Delvian LLC formed the Delvian LLC Solo 401(K) Plan (the “Delvian Plan”)
      and the Delvian LLC Pension Plan Trust for which Alicia Colodner (“Colodner”) was named
      the trustee.49
42. The Delvian Plan was one of the 30 Argre Plans formed in 2012-2013. Colodner was an
      employee of Argre.50
43. In May 2012, the Delvian Plan entered into the Delvian General Partnership with Quartet
      Investment Partners LLC (“Quartet”). 51 Quartet was formed by the Argre principals in April
      2012, and its four equal members were Stein, Lhote, Markowitz and van Merkensteijn. 52 The


42
   See Exhibit 2.01 and Exhibit 3.
43
   See Exhibit 2.01 for a complete list of the refund claims filed by this Plan.
44
   WH_MDL_00358608.
45
   WH_MDL_00331778; MPSKAT00004346; MPSKAT00004322.
46
   See Exhibit 2.02 and Exhibit 3.
47
   See Exhibit 2.02 for a complete list of the refund claims filed by this Plan.
48
   MPSKAT00274815; GUNDERSON 00010029 at -10034.
49
   MPSKAT00024513; MPSKAT00024487; MPSKAT00024486.
50
   GUNDERSON 00010029 at -10034.
51
   MPSKAT00056668.
52
   MPSKAT00057018-00057043.
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      Delvian Plan owned a 5% interest in the partnership and Quartet owned a 95% interest. 53
      Adam LaRosa was appointed the manager of the partnership. 54
44. In February 2013, the Delvian Plan formed a new general partnership with AOI Pension Plan
      Trust (Stein’s trust), Ganesha Industries Pension Plan Trust (Lhote’s trust), Bernina Pension
      Plan Trust (van Merkensteijn’s trust), and RJM Capital Pension Plan Trust (Markowitz’s
      trust).55 The Delvian Plan owned a 5% interest in the partnership and the other four partners
      each owned a 23.75% interest. 56 Adam LaRosa was appointed the manager of the
      partnership.57
45. The Delvian Plan completed its first group of Solo Trades on August 8, 2012 and filed its
      first dividend tax refund claim with SKAT on August 31, 2012 through payment agent Goal
      Taxback Limited.58 From August 2012 through August 2014, the Delvian Plan filed 28
      refund claims with SKAT totaling DKK 67,197,056 (USD $12,070,860). 59

                 4.     Bellwether Plan 2: Basalt Ventures LLC Roth 401(K) Plan

46. Basalt Ventures LLC, a Delaware limited liability company, was formed on June 16, 2014. 60
      On July 22, 2014, Basalt Ventures LLC formed the Basalt Ventures LLC Roth 401(K) Plan
      (the “Basalt Plan”) for which van Merkensteijn was named the trustee. 61
47. The Basalt Plan was one of the 39 Kaye Scholer Plans formed in 2014.
48. The Basalt Plan completed its first Solo Trades on August 7, 2014, less than three weeks
      after its formation, and filed its first dividend tax refund claim with SKAT on November 27,
      2014 through payment agent Goal Taxback Limited. 62 From November 2014 through May
      2015, the Basalt Plan filed 15 refund claims with SKAT totaling DKK 27,853,529 (USD
      $4,036,858).63


53
   MPSKAT00056668.
54
   MPSKAT00056668.
55
   MPSKAT00056658, MPSKAT00020864; MPSKAT00025932; JHVM_0017740; MPSKAT00004327.
56
   MPSKAT00056658.
57
   MPSKAT00056658.
58
   See Exhibit 2.03 and Exhibit 3.
59
   See Exhibit 2.03 for a complete list of the refund claims filed by this Plan.
60
   JHVM_0001927.
61
   WH_MDL_00339896; JHVM_0002517.
62
   See Exhibit 2.04 and Exhibit 3.
63
   See Exhibit 2.04 for a complete list of the refund claims filed by this Plan.
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                   5.    Bellwether Plan 2a: STOR Capital Consulting LLC 401(K) Plan

49. STOR Capital Consulting LLC, a New York limited liability company, was formed on
      December 17, 2008.64 On May 14, 2014, STOR Capital Consulting LLC formed the STOR
      Capital Consulting LLC 401(K) Plan (the “STOR Plan”) for which Klugman was named the
      trustee.65
50. The STOR Plan was one of the 39 Kaye Scholer Plans formed in 2014.
51. The STOR Plan completed its first group of Solo Trades on February 25, 2015 and filed its
      first dividend tax refund claim with SKAT on April 23, 2015 through payment agent Goal
      Tax Back Limited.66 In April and May 2015, the STOR Plan filed 14 refund claims with
      SKAT totaling DKK 26,951,956 (USD $3,933,507). 67

                   6.    Bellwether Plan 2b: Edgepoint Capital LLC Roth 401(K) Plan

52. Edgepoint Capital LLC, a Delaware limited liability company, was formed on June 16,
      2014.68 On July 16, 2014, Edgepoint Capital LLC formed the Edgepoint Capital LLC Roth
      401(K) Plan (the “Edgepoint Plan”) for which Klugman was named the trustee. 69
53. The Edgepoint Plan was one of the 39 Kaye Scholer Plans formed in 2014.
54. The Edgepoint Plan completed its first group of Solo Trades on August 7, 2014 and filed its
      first dividend tax refund claim with SKAT on October 28, 2014 through payment agent
      Syntax.70 From October 2014 through May 2015, the Edgepoint Plan filed 16 refund claims
      with SKAT totaling DKK 31,328,376 (USD $4,729,295). 71

                   7.    Bellwether Plan 3: Loggerhead Services LLC Roth 401(K) Plan

55. Loggerhead Services LLC, a Delaware limited liability company, was formed on June 16,



64
   KLUGMAN00004330.
65
   KLUGMAN00004141; KLUGMAN00004278.
66
   See Exhibit 2.05 and Exhibit 3.
67
   See Exhibit 2.05 for a complete list of the refund claims filed by this Plan.
68
   KLUGMAN00004479
69
   KLUGMAN00041104; KLUGMAN00004484. It should be noted that the Edgepoint Plan formation document
incorrectly lists Edgepoint Capital LLC as a Connecticut Limited Liability in the Preamble (KLUGMAN00041104
at -41108).
70
   See Exhibit 2.06 and Exhibit 3. See also SKAT_MDL_001_014586.
71
   See Exhibit 2.06 for a complete list of the refund claims filed by this Plan.
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      2014.72 On July 18, 2014, Loggerhead Services LLC formed the Loggerhead Services LLC
      Roth 401(K) Plan (the “Loggerhead Plan”) for which Perry Lerner (“Lerner”) was named the
      trustee.73
56. In August 2014, the Loggerhead Plan entered into the Loggerhead Services General
      Partnership with RAK Investment Trust and Routt Capital Trust. 74 The Loggerhead Plan
      owned a 5% interest in the partnership; RAK Investment Trust owned a 25% interest; and
      Routt Capital Trust owned a 70% interest. 75 Van Merkensteijn was appointed the manager of
      the partnership.76
57. The Loggerhead Plan was one of the 39 Kaye Scholer Plans formed in 2014. Lerner is a
      friend of van Merkensteijn.77
58. The Loggerhead Plan completed its first group of Solo Trades on August 7, 2014 and filed its
      first dividend tax refund claim with SKAT on November 13, 2014, through payment agent
      Acupay Systems.78 From November 2014 through May 2015, the Loggerhead Plan filed 15
      refund claims with SKAT totaling DKK 68,808,375 (USD $10,095,834). 79

                   8.      Bellwether Plan 3a: Roadcraft Technologies LLC Roth 401(K) Plan

59. Roadcraft Technologies LLC, a Delaware limited liability company, was formed on June 16,
      2014.80 On July 21, 2014, Roadcraft Technologies LLC formed the Roadcraft Technologies
      LLC Roth 401(K) Plan (the “Roadcraft Plan”) for which Ronald Altbach was named the
      trustee.81
60. In August 2014, the Roadcraft Plan entered into the Roadcraft Technologies General



72
   WH_MDL_00029041.
73
   WH_MDL_00012226; WH_MDL_00012017. It should be noted that the Loggerhead Plan formation document
incorrectly lists Loggerhead Services LLC as a Pennsylvania Limited Liability in the Preamble
(WH_MDL_00012226 at -122230).
74
   WH_MDL_00012567.
75
   WH_MDL_00012567.
76
   WH_MDL_00012567.
77
   Lerner Dep. Tr. 40:16-23.
78
   See Exhibit 2.07 and Exhibit 3.
79
   See Exhibit 2.07 for a complete list of the refund claims filed by this Plan.
80
   WH_MDL_00029159.
81
   WH_MDL_00024858; WH_MDL_00023941. It should be noted that the Roadcraft Plan formation document
incorrectly lists Roadcraft Technologies LLC as a New York Limited Liability in the Preamble
(WH_MDL_00024858 at -24862).
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      Partnership with RAK Investment Trust and Routt Capital Trust.82 The Roadcraft Plan
      owned a 5% interest in the partnership; RAK Investment Trust owned a 25% interest; and
      Routt Capital Trust owned a 70% interest. 83 Van Merkensteijn was appointed the manager of
      the partnership.84
61. The Roadcraft Plan was one of the 39 Kaye Scholer Plans formed in 2014. Altbach is a
      friend of van Merkensteijn.85
62. The Roadcraft Plan completed its first group of Solo Trades on August 7, 2014 and filed its
      first dividend tax refund claim with SKAT on November 27, 2014 through payment agent
      Goal Taxback Limited.86 From November 2014 through May 2015, the Roadcraft Plan filed
      15 refund claims with SKAT totaling DKK 67,971,038 (USD $10,036,193). 87

                  9.        Bellwether Plan 3b: The Bareroot Capital Investments LLC 401(K)
                  Plan

63. Bareroot Capital Investments LLC, a Delaware limited liability company, was formed on
      June 16, 2014.88 On July 17, 2014, Bareroot Capital Investments LLC formed the Bareroot
      Capital Investments LLC Roth 401(K) Plan (the “Bareroot Plan”) for which David Zelman
      (“Zelman”) was named the trustee.89
64. In August 2014, the Bareroot Plan entered into the Bareroot Capital Investments General
      Partnership with RAK Investment Trust and Routt Capital Trust. 90 The Bareroot Plan owned
      a 5% interest in the partnership; RAK Investment Trust owned a 25% interest; and Routt
      Capital Trust owned a 70% interest. 91 Van Merkensteijn was appointed the manager of the
      partnership.92
65. The Bareroot Plan was one of the 39 Kaye Scholer Plans formed in 2014. Zelman is a friend



82
   WH_MDL_00029401.
83
   WH_MDL_00029401.
84
   WH_MDL_00029401.
85
   R. Altbach Dep. Tr. at 27:19-22.
86
   See Exhibit 2.08 and Exhibit 3.
87
   See Exhibit 2.08 for a complete list of the refund claims filed by this Plan.
88
   WH_MDL_00225982.
89
   MBJ_0000005; WH_MDL_00023939.
90
   WH_MDL_00029366.
91
   WH_MDL_00029366.
92
   WH_MDL_00029366.
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      of van Merkensteijn.93
66. The Bareroot Plan completed its first group of Solo Trades on August 7, 2014 and filed its
      first dividend tax refund claim with SKAT on October 28, 2014 through payment agent
      Syntax.94 From October 2014 through May 2015, the Bareroot Plan filed 15 refund claims
      with SKAT totaling DKK 28,899,434 (USD $4,240,726). 95

                 10.    Bellwether Plan 4: FWC Capital LLC Pension Plan

67. The FWC Capital LLC, a Delaware limited liability company, was formed on October 13,
      2014.96 On October 22, 2014, The FWC Capital LLC formed The FWC Capital LLC
      Pension Plan (the “FWC Plan”) and the FWC Investment Trust for which Lehman was
      named the trustee.97
68. The FWC Plan was one of the 100 Lehman Plans formed in 2013-2015.
69. The FWC Plan completed its first group of Solo Trades on November 27, 2014 and filed its
      first dividend tax refund claim with SKAT on April 13, 2015 through payment agent Syntax
      GIS.98 In April and May 2015, the FWC Plan filed 16 refund claims with SKAT totaling
      DKK 70,930,261 (USD $10,231,517).99

                 11.    Bellwether Plan 4a: The LBR Capital Pension Plan

70. London India LLC, a Delaware limited liability company, was formed on September 3,
      2014.100 On September 26, 2014, London India LLC formed The LBR Capital LLC Pension
      Plan (the “LBR Plan”) and the DB5 Trust for which Bradley was named the trustee. 101
      Bradley was the sole participant in the LBR Plan.102
71. The LBR Plan was one of the 100 Lehman Plans formed in 2013-2015.


93
   R. Altbach Tr. at 27:19-22.
94
   See Exhibit 2.09 and Exhibit 3.
95
   See Exhibit 2.09 for a complete list of the refund claims filed by this Plan.
96
   LEHMAN00015606.
97
   FWWCCAP00000414; FWCCAP00000424; FWCCAP00000457; FWCCAP00000494; FWCCAP00000536;
FWCCAP00000548; FWCCAP00000547.
98
   See Exhibit 2.10 and Exhibit 3.
99
   See Exhibit 2.10 for a complete list of the refund claims filed by this Plan.
100
    LBR00000391.
101
    LBR00000410; LBR00000486; LBR00000547; LBR00000351; LBR00000347.
102
    See Exhibit 2.11; ELYSIUM-05822425.
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72. The LBR Plan completed its first group of Solo Trades on November 27, 2014 and filed its
       first dividend tax refund claim with SKAT on April 14, 2015 through payment agent Goal
       Taxback Limited.103 In April and May 2015, the LBR Plan filed 16 refund claims with
       SKAT totaling DKK 28,571,489 (USD $4,117,901). 104

                   12.   Bellwether Plan 4b: The Costello Advisors Pension Plan

73. Costello Advisors LLC, a Missouri limited liability company, was formed on November 7,
       2014.105 On December 3, 2014, Costello Advisors LLC formed the Costello Advisors LLC
       Pension Plan (the “Costello Plan”) and the Costello Investment Trust for which Crescenzo
       was named the trustee.106
74. The Costello Plan was one of the 100 Lehman Plans formed in 2013-2015.
75. The Costello Plan completed its first group of Solo Trades on February 25, 2015 and filed its
       first dividend tax refund claim with SKAT on May 7, 2015 through payment agent Goal
       Taxback Limited.107 In May 2015, the Costello Plan filed 14 refund claims with SKAT
       totaling DKK 27,167,553 (USD $4,102,226). 108

                   13.   Bellwether Plan 5: The Proper Pacific LLC 401(K) Plan

76. Pacific India LLC, a Delaware limited liability company, was formed on September 3,
       2014.109 On September 26, 2014, Pacific India LLC formed the Proper Pacific LLC 401(K)
       Plan (the “Proper Pacific Plan”) and the DB4 Investment Trust for which Bradley was named
       the trustee.110
77. The Proper Pacific Plan was one of the 100 Lehman Plans formed in 2013-2015.
78. The Proper Pacific Plan completed its first group of Solo Trades on November 27, 2014 and
       filed its first dividend tax refund claim with SKAT on April 20, 2015 through payment agent



103
    See Exhibit 2.11 and Exhibit 3.
104
    See Exhibit 2.11 for a complete list of the refund claims filed by this Plan.
105
    LBR00000391.
106
    COSTELLO00000338; COSTELLO00000472; COSTELLO00000469.
107
    See Exhibit 2.12 and Exhibit 3.
108
    See Exhibit 2.12 for a complete list of the refund claims filed by this Plan.
109
    PACIFIC00000375.
110
    PACIFIC00003619; PACIFIC00003628; PACIFIC00003696; PACFIC00000326; PACIFIC00000322.
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       Goal Taxback Limited.111 In April and May 2015, the Proper Pacific Plan filed 16 refund
       claims with SKAT totaling DKK 29,035,894 (USD $4,199,026). 112

                  14.    Bellwether Plan 5a: The SVP 401(K) Plan

79. SVP Advisors LLC, a New York limited liability company, was formed on January 13,
       2015.113 On January 26, 2015, SVP Advisors LLC formed The SVP 401(K) Plan (the “SVP
       Plan”) and the SVP Investment Trust for which Svetlin Petkov was named the trustee. 114
80. The SVP Plan was one of the 100 Lehman Plans formed in 2013-2015.
81. The SVP Plan completed its first group of Solo Trades on February 25, 2015 and filed its
       first dividend tax refund claim with SKAT on May 26, 2015 through payment agent Syntax
       GIS.115 In May 2015, the SVP Plan filed 14 refund claims with SKAT totaling DKK
       25,752,508 (USD $3,757,351).116

                  15.    Bellwether Plan 5b: The Oaks Group Pension Plan

82. The Oaks Group LLC, a Delaware limited liability company, was formed on August 29,
       2014.117 On September 30, 2014, The Oaks Group LLC formed The Oaks Group Pension
       Plan (the “Oaks Group Plan”) and the MCT1 Investment Trust for which Matthew Tucci was
       named the trustee.118
83. The Oaks Group Plan was one of the 100 Lehman Plans formed in 2013-2015.
84. The Oaks Group Plan completed its first group of Solo Trades on November 27, 2014 and
       filed its first dividend tax refund claim with SKAT on April 17, 2015 through payment agent
       Acupay Systems.119 In April and May 2015, the Oaks Group Plan filed 16 refund claims
       with SKAT totaling DKK 69,805,930 (USD $10,223,991). 120



111
    See Exhibit 2.13 and Exhibit 3.
112
    See Exhibit 2.13 for a complete list of the refund claims filed by this Plan.
113
    SVP00000316; SVP00000338.
114
    SVP00000342; SVP00000352; SVP00000385; SVP00000422; SVP00000464; SVP00000472; SVP00000317.
115
    See Exhibit 2.14 and Exhibit 3.
116
    See Exhibit 3.14 for a complete list of the refund claims filed by this Plan.
117
    OAKS00000401.
118
    OAKS00000446; OAKS00000489; OAKS00000532; OAKS00000379; OAKS00000308.
119
    See Exhibit 2.15 and Exhibit 3.
120
    See Exhibit 2.15 for a complete list of the refund claims filed by this Plan.
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           C.        Overview of Solo Capital, related entities, and the people behind the entities

                     1.     Solo Capital Partners LLP

85. Solo Capital Partners LLP was incorporated in September 2011 and was based in the United
       Kingdom.121 It allegedly provided global security services, investment management,
       brokerage and proprietary trading services. 122 The company was controlled by Sanjay Shah
       (“Shah”).123
86. In 2014, Solo Capital Partners LLP appears to have entered into a Service Level Agreement
       with the other Solo-affiliated brokers (Old Park Lane PLC, West Point Derivatives Limited,
       Telesto Markets LLP) whereby Solo Capital Partners LLP “white labeled” its custody and
       clearing services and essentially acted as a sub-custodian for the other Solo-affiliated
       brokers.124
87. Additionally, Solo Capital Partners LLP appears to have entered into Guarantee Agreements
       with certain Plans and brokers at least as early as 2012 whereby Solo Capital Partners LLP
       guaranteed the delivery and payment obligations of the Plans with respect to the Solo
       Trades.125 In the event of a default, Solo Capital Partners LLP “hereby irrevocably and
       unconditionally guarantees to the [broker] the punctual performance by the [Plan] of its
       obligations to deliver shares (in the case of a share sale) or pay the purchase price (in the case
       of a share purchase) to the [broker]...” 126
88. I reviewed the audited financial statements for Solo Capital Partners LLP from 2012 through
       2015 to assess the company’s financial wherewithal to guarantee the Solo Trades. As shown
       in the chart below, the total assets of the company fluctuated from GBP 12.3 million to GBP
       71.4 million (or approximately USD $19.6 million to USD $105.9 million), leaving the
       company significantly undercapitalized to be purportedly clearing and guaranteeing the Solo
       Trades which, at times on an aggregate basis, exceeded billions of dollars a day.




121
    Report and Financial Statements for Solo Capital Partners, March 31, 2012, p.3.
122
    Report and Financial Statements for Solo Capital Partners, March 31, 2013, p.3.
123
    Report and Financial Statements for Solo Capital Partners, March 31, 2012, p.10.
124
    ELYSIUM-03283228; KLUGMAN00006705.
125
    See, for example, MPSKAT00003810, MPSKAT00024030.
126
    MPSKAT00024030.
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                       Figure 3 – Financial Snapshot of Solo Capital Partners LLP

89. On September 22, 2016, Solo Capital Partners LLP formally entered into Special
       Administration Regime insolvency proceedings in the United Kingdom. 127

                  2.        Solo Capital Limited

90. Solo Capital Limited was incorporated in 2009 and allegedly operated as a fund management
       company and brokerage.128 The company also engaged in proprietary trading starting in the
       2012 fiscal year.129 Shah owned all the shares in Solo Capital Limited and was the
       company’s ultimate controller.130
91. Solo Capital (Dubai) Limited was incorporated in December 2011 as a fully owned
       subsidiary of Solo Capital Limited. The subsidiary provides management support and other
       support functions to Solo Capital Partners LLP and Solo Capital Limited. 131
92. I reviewed the audited financial statements for Solo Capital Limited from 2010 through 2015.
       As shown in the chart below, the company reported an operating loss in four of its five years
       in operation.




127
    https://www.fca.org.uk/news/statements/solo-capital-partners-llp
128
    Director’s Report and Financial Statements for Solo Capital Limited, March 31, 2010, p.1.
129
    Director’s Report and Financial Statements for Solo Capital Limited, March 31, 2012, p.1.
130
    Director’s Report and Financial Statements for Solo Capital Limited, March 31, 2010, p.2,13.
131
    Director’s Report and Financial Statements for Solo Capital Limited, March 31, 2012, p.1.
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                         Figure 4 – Financial Snapshot of Solo Capital Limited

93. After the 2015 fiscal year, the company ceased operations and entered voluntary
       liquidation.132

                   3.      West Point Derivatives Limited

94. West Point Derivatives Limited (“West Point”) allegedly operated as a broker in
       derivatives.133 The company was controlled by Shah.134
95. I reviewed the audited financial statements for West Point from 2012 through 2015. As
       shown in the chart below, the company never held more than GBP 2.1 million (or
       approximately USD $3.0 million) in total assets and never recorded an operating profit. 135
       As such, West Point would not have had sufficient liquidity to purportedly clear and settle
       the Solo Trades.




132
    Director’s Report and Financial Statements for Solo Capital Limited, March 31, 2015, p.1.
133
    Report and Financial Statements for West Point Derivatives Limited, December 31, 2013, p.3.
134
    Report and Financial Statements for West Point Derivatives Limited, December 31, 2013, p.13.
135
    Audited financial statements were not available as of December 31, 2014. Instead, the financial statements dated
March 31, 2015 was presented for the 15-month period from January 1, 2014 through March 31, 2015.
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                              Figure 5 – Financial Snapshot of West Point

96. On September 22, 2016, West Point formally entered into Administration in the United
       Kingdom.136

                  4.       Old Park Lane Capital PLC

97. Old Park Lane Capital PLC (“Old Park Lane”) operated as an agency stockbroker and
       corporate broker.137 The company was owned by Shah.138
98. I reviewed the audited financial statements for Old Park Lane from 2012 through 2013. 139
       As shown in the chart below, the company never held more than GBP 1.1 million (or
       approximately USD $1.8 million) in total assets. Similar to Solo Capital Partners and West
       Point, Old Park Lane lacked the capital and liquidity to purportedly clear and settle the
       volume of the purported Solo Trades.




136
    https://www.fca.org.uk/news/statements/solo-capital-partners-llp
137
    Directors’ Report and Financial Statements for Old Park Lane Capital PLC, December 31, 2012, p.1.
138
    Financial Conduct Authority, Final Notice 2021: Sapien Capital Limited, May 6, 2021, p. 12.
139
    The financial statements for the Solo-affiliated brokers are publicly available on the United Kingdom’s
“Companies House” website, located at https://www.gov.uk/government/organisations/companies-house. However,
it appears that not all Solo-affiliated brokers have publicly financials for each year of the relevant time period. For
example, Old Park Lane only had publicly available financials for 2012 and 2013. As such, my review and analysis
was limited to the publicly available information for these companies.
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                           Figure 6 – Financial Snapshot of Old Park Lane

99. On September 22, 2016, Old Park Lane formally entered into Administration in the United
       Kingdom.140

                   5.      Telesto Markets LLP

100.       Telesto Markets LLP (“Telesto”) was authorized in August 2014, but was “dormant”
       until January 1, 2015, and was a wholesale custody bank and fund administrator. 141 The
       company was controlled by Shah.142
101.       I reviewed the audited financial statements of Telesto for the three-month period from
       January 1, 2015 through March 31, 2015. As shown in the chart below, the company had
       minimal assets with which to support the purported volume of the Solo Trades. As shown in
       the chart below, the company never held more than GBP 0.9 million (or approximately USD
       $1.4 million) in total assets.




140
    https://www.fca.org.uk/news/statements/solo-capital-partners-llp
141
    Final Notice, Sapien Capital Limited, Financial Conduct Authority, May 6, 2021, at 13.
142
    Report and Financial Statements for Telesto Markets LLP, March 31, 2015, p. 9.
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                              Figure 7 – Financial Snapshot of Telesto

102.      On September 22, 2016, Telesto formally entered into Administration in the United
       Kingdom.143

                  6.     The Solo Group

103.      The Solo Group includes Solo Capital Partners LLP, Westpoint, Old Park Lane and
       Telesto which are registered under the laws of England and Wales, and are authorized and
       regulated by the Financial Conduct Authority of the United Kingdom. 144


                  7.     Ganymede Cayman Limited

104.      Ganymede Cayman Limited (“Ganymede”) is a Cayman entity, owned by Shah, to which
       the Plans undertook to pay the vast majority of the tax refunds that the Plans obtained from
       SKAT.145 Each Plan paid Ganymede a large percentage of its refund for “tax reclaim
       advisory services” fees that were supposedly provided by Ganymede. 146

143
    https://www.fca.org.uk/news/statements/solo-capital-partners-llp
144
    ELYSIUM-04117677.
145
    Deposition of Richard Markowitz dated April 8, 2021, 200:24-201:13.
146
    See, for example, Tax Reclaim Advisory Services Agreement between Ganymede and California Catalog
Company Pension Plan (MPSKAT00022222).
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                    8.    The Counterparties To The Solo Trades

105.      Solo Capital used approximately 75 different entities as counterparties in the Solo Trades,
       the large majority of which (66) were registered in either the British Virgin Islands or the
       Cayman Islands. Most of these entities were affiliated with Solo Capital in various ways.
       Most were newly formed and thinly capitalized entities. For example, of the 66 entities in
       the British Virgin Islands and Cayman Islands, 63 were formed during the relevant period –
       2012 through 2015. In addition, many of the entities had overlapping owners and directors.

                           a.     The Short-Sellers

106.      Many of the short-sellers were controlled by the same individuals, many of whom were
       associated with Sanjay Shah and Solo Capital; and multiple members of the Solo Capital
       management team were shareholders and directors of the short-sellers Leda Cayman Ltd. and
       Maven Asset Management Ltd.147 Shah himself also acted as a director of these entities. 148
       Similarly:
          x   Michael Stephen Murphy, Founder/CEO/Chairman of Novus Capital Markets Ltd, 149
              an entity used as a broker in the Solo Trades and also within the Shah-controlled
              universe,150 was a shareholder and director of the short-seller entities Baja Ventures
              Ltd, Nisus Financial Ltd, Sciron Capital Ltd., and Schmet Investments Ltd. 151
          x   Dilip Shah, who was employed by Solo Capital in 2011, 152 controlled four short-
              sellers: Black Square Ltd., DE Market View, Glendale Market Consultants, and
              RDKS Consultants.153
          x   Rajeev Dave, whom Sanjay Shah refers to as an old friend in internal Solo Capital


147
    See CAYMAN_00002942-44, CAYMAN_00002940-41 (Leda); CAYMAN_00002984-86,
CAYMAN_00002983 (Metis). See ELYSIUM-00150387 for members of Solo’s management team.
148
    See CAYMAN_00002940-41 (Leda Register of Directors & Officers); CAYMAN_00002983 (Metis Register of
Directors & Officers).
149
    ELYSIUM-05443528 (CV).
150
    ELYSIUM-05295222.
151
    BVI_00002791-92 (Baja); BVI_00009073-74 (Nisus); BVI_00011864-65 (Sciron); BVI_00016296;
BVI_00016297 (Schmet).
152
    ELYSIUM-03820584.
153
    CAYMAN_00002616-17, CAYMAN_00002615 (Black Square); CAYMAN_00002797-98,
CAYMAN_00002796 (DE Market); CAYMAN_00002885-86, CAYMAN_00002884 (Glendale);
CAYMAN_00003156-57, CAYMAN_00003155 (RDKS).
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              correspondence,154 controlled three short-sellers: A Squared Investments, Abra
              Holdings (Cayman), and SPK 23 (Cayman) Inc. 155
107.      Available evidence of the short-sellers’ financial condition shows that the short-sellers
       were thinly capitalized and thus undercapitalized to acquire the massive securities holdings
       purportedly involved in the Solo Trades. For example, Solo Capital’s Elective Professional
       File Review Checklists for Metis and Leda state that each entity will meet the EUR 500,000
       threshold for Elective Professional status, but also notes that there is not adequate evidence
       of their source of funds.156 I have also reviewed the balance sheets for Baja Ventures, Nisus
       Financial, and Sciron Capital, each of which shows de minimis capital. 157 By contrast, Baja
       purported to execute 78 of the Solo Trades in 2015, including one purported sale of stock
       worth DKK 2,295,475,230 (approximately USD $330 million) and Nisus purported to
       execute 73 of the Solo Trades in 2015, including one purported sale of stock worth DKK
       2,301,496,431 (approximately USD $330 million).
108.      On April 26, 2016, in connection with the liquidation of each of Baja, Sciron, and Nisus,
       Murphy wrote that these entities had “NO financials as the Companies were never used, for
       trading or any other purpose.”158

                           b.     Stock Loan Counterparties

109.      Similar to the short-sellers, the stock loan counterparties were thinly capitalized entities,
       many of which were owned by the same individuals and affiliated with Solo Capital or each
       other. For example:
              x   Martin Smith, who was employed at Novus Capital Markets (an entity
                  purportedly used for broker services in the Solo Trades), was a shareholder and
                  director of eight of the stock loan counterparties -- Colbrook Ltd, Equal Services
                  Ltd., Diverse Vision Ltd., Neoteric Ltd., Prince Solutions, Ltd., Principle Markets


154
    ELYSIUM-00088680.
155
    ELYSIUM-01492240, ELYSIUM-01446776, ELYSIUM-01446773 (A Squared); CAYMAN_00002138-40
(Abra); CAYMAN_00000182-84 (SPK 23).
156
    ELYSIUM-00801486; ELYSIUM-00846141.
157
    BVI_00011771-75, BVI_00011776-80 (Baja); BVI_00011761-65, BVI_00009214 (Nisus); BVI_00011751-55,
BVI_00011756-60 (Sciron).
158
    BVI_00011951.
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                  Ltd., Trance Services, Ltd., and Treehurst Ltd.159
              x   Bhupendra Mistry, who was affiliated with Solo Capital in various respects,
                  including that he was Sanjay Shah’s cousin by marriage, 160 was a shareholder and
                  director of four stock loan counterparties—Fintech Consultancy Ltd, Philo Capital
                  Ltd, TechEvolve Ltd, and and Gnosis Capital Ltd. 161
              x   Alex Koerner controlled five of the stock loan counterparties—CEKA Invest
                  GmBH, Relative Value Trading, Rock Capital Private Fund Ltd, RVT Consult
                  GmBH, and Tehvah Global Ltd.162
110.      I have reviewed financial statements available for several of the stock loan
       counterparties, which statements show annual income below 390,000 EUR. 163
111.       In a November 3, 2015 request that certain of the stock loan intermediaries be put into
       voluntary liquidation, Martin Smith represented that the companies had no assets. 164
       Similarly, the Voluntary Liquidator’s Report for the stock loan intermediary Neoteric Ltd
       noted that the entity held $2.00 USD in cash as of November 17, 2015. 165
112.      The financial statements for Mistry’s four stock loan counterparties show annual income
       ranging from 135,000 to 674,000 (currency not indicated). 166

                          c.     The Forward Counterparties

113.      The forward counterparties followed the same pattern: thinly capitalized entities in the
       British Virgin Islands and Cayman Islands that were owned by the same people and/or

159
    CAYMAN_00002695-97, CAYMAN_00002694 (Colbrook Ltd); BVI_00004921, BVI_00004919-20 (Diverse
Vision Ltd); BVI_00005930-31, BVI_00005932 (Equal Services Ltd); CAYMAN_00003022-23,
CAYMAN_00003021 (Neoteric Ltd); BVI_00010547-49 (Prince Solutions Ltd); BVI_00010854-56 (Principle
Markets Ltd); BVI_00013858-60 (Trance Services Ltd); BVI_00014445-47, BVI_00014576 (Treehurst Ltd).
160
    See, e.g., ELYSIUM-03495808.
161
    BVI_00006204, BVI_00006203 (Fintech); BVI_00010275, BVI_00010274 (Philo Capital); BVI_00013186,
BVI_00013185 (Techevolve); BVI_00006917, BVI_00006916 (Gnosis).
162
    ELYSIUM-03790258 (RVT); BVI_00013460-62, BVI_00013463, BVI_00000006 (Tehvah); ELYSIUM-
03790513 (Relative Value); ELYSIUM-09387714, ELYSIUM-09085951 (CEKA); ELYSIUM-06209938 (Rock
Capital).
163
    See, for example, BVI_00010616-22 (387,500 EUR, Prince Solutions); BVI_00014493-99 (387,500 EUR,
Treehurst).
164
    BVI_00004769-70 (referencing Diverse Vision, Equal Services, Prince Solutions, Principle Markets, Trance
Services, and Treehurst).
165
    CAYMAN_00003024-26.
166
    BVI_00006057 (135,000, FinTech); BVI_00010140 (135,000, Philo); BVI_00012985 (135,000, TechEvolve);
BVI_00006660 (674,000, Gnosis).
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       affiliated with Solo Capital.
114.       For example:
               x     David Thomas John Griffiths controlled five forward counterparties: Al Msalli
                     Ltd, Darliz Ltd, LDW Consultants Ltd, Rheidol Trading Ltd, and Ystwyth
                     Trading Ltd.167
               x     Guenther Grant-Klar, who worked at Solo Capital,168 controlled two forward
                     counterparties, Amalthea Enterprises Ltd and Cork Oak Capital Ltd., 169 and was
                     also associated with two short-sellers: Leda (as director and shareholder) and
                     Metis (as director).
               x     Rebecca Robson, who was employed as a Fund Advisor at Solo Capital, 170 was
                     shareholder and director of four forward counterparties: Allitsen Asset Ltd.,
                     Connaught Global Ltd., Gartside Global Ltd., and Lyall Capital Ltd. 171
               x     Daksha Bhudia, Sanjay Shah’s sister, 172 controlled four forward counterparties:
                     DTS Capital Ltd, Sole Capital Ltd, Stratina Holdings Corp. and T&S Capital. 173
115.       The 2015 financial statements for Robson’s four forward counterparties show de minimis
       capital.174
116.       In December 2015, in connection with the voluntary liquidation of these “shell”
       companies, Robson wrote that the companies had not been active for two months and that
       they had no assets or liabilities.175 She later stated that the only funds the company ever had
       came from seed capital.176




167
    BVI_00000757-58 (Al Msalli); BVI_00000759-60 (Darliz); BVI_00016213, BVI_00016215 (LDW);
BVI_00011449, BVI_00011419, BVI_00000006 (Rheidol); BVI_00014734-35, BVI_00000006 (Ystwyth).
168
    ELYSIUM-00150387.
169
    ELYSIUM-01300908 (Amalthea); ELYSIUM-07020244 (Cork Oak).
170
    ELYSIUM-08346929 (Solo employee information).
171
    BVI_00001085, BVI_00001084 (Allitsen Asset Ltd); BVI_00004286, BVI_00004285 (Connaught Global Ltd);
BVI_00006492, BVI_00006616 (Gartside Global Ltd); BVI_00008972, BVI_00009032 (Lyall Capital Ltd).
172
    See, e.g., ELYSIUM-00067009.
173
    CAYMAN_00003193-95, CAYMAN_00003192 (T&S); BVI_00005310, BVI_00005309 (DTS);
BVI_00012258, BVI_00012254 (Sole); BVI_00005226, BVI_00012613 (Stratina).
174
    BVI_00000994 (Allitsen); BVI_00001017 (Connaught); BVI_00001018 (Gartside); BVI_00001019 (Lyall).
175
    BVI_00001003-BVI_00001005 (December 7, 10, 2015 emails).
176
    BVI_00000998-99 (February 1, 2016 emails).
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          D.      Glossary of key terms and dates

117.      To walk through the Solo Trades at issue in this litigation, it is useful to identify some of
       the key dates in the dividend calendar related to when a public company declares and pays a
       dividend on its equity stock. These dates are important because they are used to determine
       which shareholder would be entitled to receive any dividends that might be paid by the
       company in a real-world transaction.


       Declaration date – The declaration date is the date that the dividend is announced by the
       company. On this day, the company will provide information about the size of the dividend,
       the date of record and the payment date.177


       Record date – The record date is the date on which VP Securities determines which
       investors are on the share register and therefore entitled to the dividend payment. At the
       close of business on the record date, VP Securities takes a snapshot of who is physically
       holding the shares (the holders of record).178


       Ex-dividend date – The ex-dividend date refers to the first day that a stock trades without a
       dividend right. The ex-date typically occurs up to three days before the record date.
       Purchasers of shares on or after the ex-dividend date are not entitled to receive a dividend. 179


       Payment date – The payment date is the date the dividend is actually paid. 180




177
    Important dividend dates, Corporate Finance Institute (2020),
https://corporatefinanceinstitute.com/resources/knowledge/finance/important-dividend-dates/ (last visited Nov 30,
2021).
178
    Declaration of Anders Peter Bryde Rasmussen, May 17, 2021, at 8; H. Sorensen 9/21/21 Dep. Tr. at 120:3-17,
and 12/7/21 Dep. Tr. at 17:10-25.
179
    Important dividend dates, Corporate Finance Institute (2020),
https://corporatefinanceinstitute.com/resources/knowledge/finance/important-dividend-dates/ (last visited Nov 30,
2021).
180
    Important dividend dates, Corporate Finance Institute (2020),
https://corporatefinanceinstitute.com/resources/knowledge/finance/important-dividend-dates/ (last visited Nov 30,
2021).
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           E.      Dividend Withholding Taxes in Denmark

118.       Under the Danish Withholding Tax Act (“WHTA”), a company that pays dividends is
       required to withhold a 27 percent dividend tax on behalf of the recipients of the dividend and
       remit it back to SKAT.181
119.       However, there is an exemption available to certain non-Danish shareholders that reside
       in countries (such as the United States) that have entered into a formal treaty, called a double
       taxation agreement (“DTA”), with Denmark. 182 This treaty generally entitles United States-
       based owners of Danish securities to obtain a full or partial refund on the dividend
       withholding tax paid on their shares since they will be taxed in the United States on their
       income earned worldwide. Qualifying United States pension plans are eligible for a full
       refund.
120.       When such an exemption applied, an eligible shareholder could submit a claim for a
       withholding tax (“WHT”) refund. To receive a WHT refund, the shareholder would file a
       claim by submitting the appropriate forms and supporting documentation to SKAT that
       proved its eligibility.
121.       For example, if a pension plan located in the United States owned shares in a Denmark-
       listed company (e.g., Novo Nordisk) on the relevant date, when Novo Nordisk paid a
       dividend, WHT would be deducted from the dividend by Novo Nordisk and remitted to
       SKAT. The pension plan would receive only the net dividend (net of the 27% withholding
       tax) into its brokerage account. Under Denmark’s double taxation treaty with the United
       States, the pension plan could request a refund from Denmark on the entire amount of WHT
       paid.
122.       Between 2012 and 2015, Denmark was subject to a massive WHT fraud orchestrated by
       Solo Capital. The fraud, as discussed in greater detail below, involved WHT reclaims worth,
       in total, approximately DKK 7.2 billion (USD $1.1 billion) that were based on thousands of
       fictitious stock transactions purportedly executed by a close network of Solo Capital-



181
   Danish Withholding Tax Act) § 65.
182
   Convention and Protocol between the United States and Denmark for the Avoidance of Double Taxation and the
Prevention of Fiscal Evasion with Respect to Taxes on Income, U.S.-Den., art. 10, ¶ 2, May 6, 1948, S. Treaty Doc.
No. 106-12 (effective date Jan. 1, 2001).
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       affiliated entities.183

           F.      Background and discussion on legitimate stock lending transactions

123.       Legitimate securities lending is an over-the-counter market that facilitates the borrowing
       and lending of securities. Typically, institutional investors such as pension funds, mutual
       funds and sometimes even charitable foundations will lend their security portfolios in
       exchange for cash collateral. 184 The lender will then invest the cash collateral and derive a
       return, enabling the lender to increase the yield on their portfolio. 185 Borrowers are typically
       hedge funds, options traders and other asset managers who borrow securities often for the
       purpose of covering short-sale positions, which need to be covered due to regulatory
       requirements in various jurisdictions.186 Both parties to the lending transaction generally rely
       on intermediaries (e.g., custodians and prime brokers) to facilitate the transaction and
       manage counterparty risk.187
124.       To manage the counterparty risk of the stock loan, the borrower provides the lender with
       cash collateral that is typically greater than the market value of the borrowed securities. 188
       Therefore, in the event of a default by the borrower, the lender can liquidate the collateral
       and use the proceeds to repurchase the loaned securities in the open market. In order to
       ensure that the lender has sufficient collateral, the borrowed securities are typically marked-
       to-market on a daily basis.189 If the market value of the loaned securities increases
       throughout the loan term, then the initial collateral provided by the borrower may be
       insufficient and the borrower will be required to provide additional collateral to the lender,
       and vice versa.190 At the end of the loan, the borrowed security and related collateral are then
       returned to their respective owners.

183
    David Segal, Where in the World Is Denmark’s $2 Billion?, The New York Times, October 5, 2018.
184
    Viktoria Baklanova, Adam Copeland & Rebecca McCaughrin, Reference Guide to U.S. Repo and Securities
Lending Markets, Federal Reserve Bank of New York Staff Reports, Revised December 2015, at 21-33.
185
    Id.
186
    Id.
187
    Id.
188
    https://www.sec.gov/divisions/investment/securities-lending-open-closed-end-investment-companies.htm (last
visited December 23, 2021).
189
    https://www.sec.gov/divisions/investment/securities-lending-open-closed-end-investment-companies.htm (last
visited December 23, 2021).
190
    Viktoria Baklanova, Adam Copeland & Rebecca McCaughrin, Reference Guide to U.S. Repo and Securities
Lending Markets, Federal Reserve Bank of New York Staff Reports, Revised December 2015, at 21-33.
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125.       A stock loan transaction is structured legally as a simultaneous agreement between two
       entities to engage in a sale of securities on the stock loan date, with the repurchase of the
       securities by the initial stock lender at a later date. 191 The lender of the securities temporarily
       passes the legal ownership of the loaned security to the borrower for the duration of the
       loan.192 However, the economic benefit of any corporate actions, such as dividend payments,
       are rebated back to the lender of the security. 193 The lender regains legal title to the securities
       at the end of the loan when the securities are returned.

           G.      Background on the use of legitimate forward/future transactions as a hedge

126.       A forward contract represents a commitment to buy or sell an asset (such as a stock) at a
       specified price (the forward price) and on a specified date (the maturity date). 194 Forward
       contracts are traded over-the-counter (not on exchanges).
127.       Forward contracts usually do not require payment until the maturity date. However,
       counterparties typically require two-way collateral agreements in which a daily mark-to-
       market assessment of the position is performed, and any unrealized losses incurred by the
       purchaser of the forward contract is paid to the other party. The two-way contract also
       means that if the seller of the forward is on the losing side of the transaction, it makes
       collateral payments to the purchaser.195
128.       Futures contracts are similar to forward contracts, except that a futures contract is an
       exchange-traded, standardized contract that is settled daily (not just at maturity), meaning
       that futures contracts can be transacted at any time.196
129.       When investors enter a futures contract, they are required to pay a margin deposit (or a
       performance bond) as collateral to ensure that both parties can meet their obligations under




191
    Id.
192
    Id.
193
    Id.
194
    Futures and Forwards, Corporate Finance Institute,
https://corporatefinanceinstitute.com/resources/knowledge/finance/futures-forwards// (last visited Nov 30, 2021).
195
    Laura E. Kodres, Hedge Fund Investment Strategies, Hedge Fund and Financial Market Dynamics, International
Monetary Fund, May 15, 1998, at 49.
196
    Futures and Forwards, Corporate Finance Institute,
https://corporatefinanceinstitute.com/resources/knowledge/finance/futures-forwards// (last visited Nov 30, 2021).
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       the contract.197 Margin requirements are set by the exchange on which the futures contract is
       traded, not by the individual brokerage firms (although some brokerage firms may set higher
       margin rates than what is stipulated by the exchanges). Standard margin requirements can
       range from 5 percent to 20 percent, depending on the specific country and contract being
       traded, although some contracts may have lower margin requirements. 198 Therefore,
       unfavorable price movements could result in a demand to post additional margin funds. If an
       investor fails to meet a margin call, its brokerage firm may close out of the futures position or
       sell other assets held in the account to cover the margin deficiency.
130.      Investors typically use forwards and futures contracts as part of a “hedging strategy” to
       lock in a purchase or sale price of a stock in advance, thereby removing the uncertainty about
       any subsequent changes in the market price of the underlying stock and eliminating the risk
       of any unexpected losses.



VI.  OPINION NO. 1: THERE IS NO EVIDENCE THAT THE PLANS EVER OWNED
ACTUAL SHARES OF DANISH SECURITIES FROM THEIR SOLO TRADES, OR
RECEIVED ACTUAL DIVIDENDS ISSUED BY THE DANISH COMPANIES WHOSE
STOCK WAS PURPORTEDLY USED IN THE SOLO TRADES
131.      I have reviewed and analyzed the evidence available in this case to determine whether
       there is any indication that the Plans purchased or owned actual Danish securities or received
       actual dividends issued by Danish companies. Among the steps taken, I reviewed (i)
       representations made by or on behalf of Solo Capital concerning the identity and location of
       any sub-custodians used by the Solo Custodians to custody Danish securities purportedly
       owned by the Plans and documents related thereto; 199 (ii) Solo Capital’s business records for
       any indicia of share ownership; (iii) Solo Capital’s bank records for any indication of
       dividend receipt; and (iv) each leg of the Solo Trades to determine whether actual shares


197
    https://www.finra.org/investors/learn-to-invest/types-investments/security-futures (last visited December 8,
2021).
198
    https://www.finra.org/investors/learn-to-invest/types-investments/security-futures (last visited December 8,
2021); see also https://www.theice.com/publicdocs/futures/Futures_Europe_Single_Stock_Futures_KID.PDF (last
visited December 13, 2021)
199
    Solo Capital was purportedly the prime custodian for the Solo Trades for the Plans and then supposedly entered
arrangements with others to act as sub-custodians. See ELYSIUM-03283228; ELYSIUM-04117677; see also
discussion infra regarding the sub-custodians.
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       existed. Based on my review and analysis as set out in greater detail below, I have concluded
       that the Solo Trades did not involve the purchase or ownership of any actual Danish
       securities, and that the Plans did not receive any actual Danish dividends.

          A.     The sub-custodians identified by Solo Capital confirmed that they did not
          hold any shares of Danish securities on behalf of the Solo Custodians during the
          relevant period.

132.      A custodian in a financial market is an institution (such as a bank) that holds securities,
       for safekeeping and clearing, on behalf of its customers. The custodian also arranges for the
       settlement and deliveries of any securities transactions and administers the collection of
       dividends. Custodian banks are often referred to as global custodians if they maintain assets
       for their customers in multiple jurisdictions around the world, using their own local branches
       or other local custodian banks (“sub-custodian”) with which they contract to be in their
       global network in each market to hold securities for their respective customers.
133.      Therefore, any securities that were purchased by the Plans would have ultimately been
       held by the Solo Custodians or any sub-custodians used by the Solo Custodians. If the Plans
       had actually held any positions in Danish securities, or received dividend payments from
       Danish companies, the Solo Custodians, or their sub-custodians, would maintain records of
       the transactions reflecting that the shares were in fact received and held in custody and that
       dividends were in fact received.
134.      As far as I am aware, Solo Capital, at various times, has identified three possible financial
       institutions that acted as sub-custodians for holdings of Danish securities for Solo Capital’s
       clients. In related proceedings in England, Shah claimed that Solo Capital had a sub-
       custodian arrangement with JPMorgan Chase from August 2012 through October 2013, and a
       sub-custodian arrangement with Skandinaviska Enskilda Banken AB (“SEB”) from July
       2013 through April 2014.200 Additionally, in response to an inquiry from Solo Capital’s
       regulator in England, the Financial Conduct Authority, Solo Capital’s legal counsel Reed
       Smith, LLP represented in a letter dated March 11, 2016 that the Zurich Branch of Société
       Générale SA (“Société Générale”) was the only sub-custodian used by the Solo Custodians to

200
  Sanjay Shah Defendants’ Response to Claimant’s Request Dated 4 June 2019 for Further Information Under
CPR 18, pgs.4-5, 11, 15.
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       sub-custody Danish securities for the period of January 1, 2014 to August 24, 2015. 201
135.      I searched the voluminous business records obtained by court order from Solo Capital’s
       records in Dubai and produced in this litigation for additional evidence of any other
       custodians or sub-custodians for the Danish equities that were supposedly purchased in the
       Solo Trades and owned by the defendant Plans and was unable to find any such evidence.
136.      I also reviewed the custodial records from Solo Capital’s accounts at Société Générale
       that were obtained through discovery in this litigation and noted that there were no
       transactions or positions in the purported Danish equities in the Solo Trades that were held
       on behalf of the Solo Custodians for the Plans.202 Furthermore, both JPMorgan Chase and
       SEB provided sworn affidavits attesting to the fact that they performed an internal review of
       their own records and found no evidence that they held any of the relevant Danish securities
       on behalf of the Solo Custodians during the relevant period or had any record of receiving
       dividends from the Danish companies they were asked to search for. 203
137.      I am unaware of any credible explanation for the lack of Danish holdings on behalf of the
       Solo Custodians at the sub-custodians identified by Shah other than that no such
       shareholdings ever existed.
138.      Based on this evidence, or lack of evidence, alone, I have concluded that the Plans never
       owned the Danish shares they purported to own from the Solo Trades, nor did they ever
       receive the dividends from the Danish companies.

          B.    No evidence of legitimate trading was found in Solo Capital’s business
          records

139.      If, as Sanjay Shah contends, the Solo Custodians used sub-custodians to custody the
       Plans’ Danish securities, based on my experience I would expect the business records of the
       Solo Custodians to contain voluminous documents reflecting the custody of those shares at
       the sub-custodians. For example, I would expect to find certain records from third parties
       unrelated to the Solo Custodians, such as:


201
    ELYSIUM-05327063.
202
    See SCPADMINISTRATORS_00000096 through SCPADMINISTRATORS_00002911.
203
    Declaration of Matthew J. Totman, December 15, 2021; Declaration of Anders Peter Bryde Rasmussen, May 17,
2021.
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              x   Custodian records evidencing the actual shares being held
              x   Account statements from the various sub-custodians
              x   Evidence that the securities were received/delivered
              x   Receipt of cash from the issuer or a custodian in the custodial chain on or near the
                  dividend payment date
              x   SWIFT confirmations (which are typically generated when there is an
                  international cash transfer and includes all the details of the transaction including
                  date, amount, currency, sender, and recipient) as evidence of cash collateral being
                  sent/received from the stock loans
              x   Evidence of additional cash collateral being sent/received related to the mark-to-
                  market daily margin calls on the loans as the stock price fluctuated throughout the
                  loan term
              x   Email or other communications between Solo Capital and any sub-custodians
                  regarding the massive securities holdings during a four-year period
140.      I would further expect to find internal record keeping, such as ledgers or spreadsheets,
       tracking the Solo Custodians’ securities holdings at each of the sub-custodians.
141.      I understand that through proceedings in England and Dubai, SKAT obtained records, in
       the form of electronic and hardcopy material, from Elysium Global (Dubai) Limited, an
       entity within the Shah-controlled universe. 204 Not surprisingly, given the volume and scope
       of the Solo Trades, there were more than 10 million records seized in total. In addition,
       through the US litigation, SKAT obtained additional records from the Solo Custodians’
       administrators in England, which included bank statements from financial institutions at
       which the Solo Custodians held accounts, internal Solo Custodian documents held at an
       offsite storage facility, and correspondence with counsel for the Solo Custodians’ in
       connection with an investigation by the Financial Conduct Authority.
142.      I have performed an extensive search through the business records of the Solo
       Custodians. Among other things, I searched for the type of records described herein. Based
       on that review, I have seen no evidence that the Solo Custodians received or custodied any


204
      ELYSIUM-05295222.
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   Danish securities for the Plans, nor any evidence that the Solo Custodians used any sub-
   custodians to custody any such securities.
143.   Similarly, based on a review of the Solo Custodian’s bank records, I have seen no
   evidence that they received, on behalf of the Plans, actual dividend payments arising from the
   ownership of Danish shares, either from Danish issuers directly or from other custodian
   institutions.
144.   By contrast, my review of the Solo Custodians’ business records shows that the Solo
   Custodians kept detailed records of the paper trades described in subsection (c) below, and of
   the payments made to the various participants of the scheme.
145.   The lack of any third-party evidence or business records reflecting holdings of actual
   securities and the lack of receipt of actual dividends underscores my conclusion that the Solo
   Trades did not include any actual Danish securities or dividends.

       C.     The Solo Trades were pre-arranged, inter-dependent, circular, paper
       transactions in which no actual securities were bought or sold

146.   As part of my analyses, I reviewed records related to all 2,559 of the Solo Trades
   purportedly orchestrated by Solo Capital on behalf of the Plans. Based on this review, I
   concluded that the Solo Trades gave the appearance that the Plans purchased Danish
   securities, but in fact no actual Danish securities were bought or sold. Rather, in each case,
   the Plan purportedly purchased the securities from a short-seller—i.e., a counterparty that did
   not own any Danish securities at the time of each purported sale. To “cover” the short in
   order to be able to deliver the securities to the Plan on the settlement date, the seller
   purportedly borrowed the shares, but in each case the shares were borrowed in essence from
   the very Plan that purportedly purchased those shares from the seller. The seller never had
   any shares to sell, and the Plan never acquired any shares to lend. In short, Solo Capital
   attempted to create shares out of thin air.
147.   In order to generate a paper trail, each of the purported Solo Trades involved a similar
   closed loop, circular trading pattern, involving (1) ostensibly the purchase of Danish equity
   securities, (2) the use of purported stock loans to finance the purchases by Plans that
   otherwise had no money, and (3) purported forward/futures hedging transactions, all related
   to certain Danish equities structured around their respective dividend payment dates. After
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    the dividend payment date, the purported trades were subsequently reversed over several
    weeks or months to close out the position. The only “profits” earned by the Plans were
    generated through the receipt of WHT refunds ultimately received from SKAT, net of
    substantial fees drained from the refund proceeds by Solo Capital and others. There were no
    material profits generated from the purported trading activity itself. In fact, in each case, the
    paper transactions were designed to net to zero for the trading counterparties.
148.     As discussed further below, each of the Solo Trades are characterized by the same trading
    pattern. From August 2012 through December 2013, the transactions purportedly executed
    by the Plans followed what I refer to as a “Simple Trading Loop”. Beginning in March 2014,
    Solo Capital added an additional layer of counterparties and brokers to the circular trading
    pattern and followed what I refer to as a “Complex Trading Loop” (see discussion supra
    regarding simple and complex loop Solo Trades).
149.     The parties to each leg of the securities purchases, stock loans, and forward hedges were
    entities that “on-boarded” with the Solo Custodians, and thus were all “trading” exclusively
    on the Solo Capital platform. Importantly, none of these thousands of transactions were
    executed with parties in the open market.
150.     Accordingly, it is my conclusion that all 2,559 of the Solo Trades were basically clones
    of each other; all were closed loop, circular paper transactions with no actual securities
    traded.205

                  1.       Analysis of the Solo Trades purportedly executed by the Plans

151.     Upon my request, I was provided a list from Counsel of the 2,559 refund claims
    submitted to SKAT by the Defendants from August 2012 to April 2014. Each refund claim
    filed by the Defendants was linked to a unique series of transactions which resulted in the
    purported receipt of a dividend by the Plans. This is what I have defined as the Solo Trades.
    For each refund claim for each security purportedly owned by each Plan, I searched for and



205
    I used the term clones to describe the basic structure in all the Simple Loop Solo Trades and basic structure in all
the Complex Loop Solo Trades being virtually identical in form, with varying use of different Danish equities,
forwards and futures and stock loan terms and pricing. The fact that the Solo Trades used different equities at times,
different stock loan pricing, different forward pricing, etc, does not undercut that they were all clones of one another
that were all pre-designed and executed on paper to obtain false tax refunds from SKAT.
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       analyzed the trading records created and maintained by Solo Capital for each leg of the
       trading loops.
152.      The Simple Trading Loops were used from August 2012 through December 2013, with
       the first purported trades occurring on August 8, 2012. 206 From August 8, 2012 through
       December 26, 2013, Solo Capital orchestrated 319 Simple Trading Loops for 42 Plans, which
       resulted in 319 dividend refund claims being filed with SKAT.
153.      For each of the 319 Simple Trading Loops, the trade confirmations generated by Solo
       Capital, or a similar document, to create the documentation for the complete list of the
       Simple Trading Loops were reviewed and analyzed. This included documents relating to the
       individual transactions needed to complete each of the 12 steps for the 319 Simple Trading
       Loops. These documents include the following datapoints for each of the 12 transactions that
       comprised the Simple Trading Loops:
              x   The name of the broker or counterparty
              x   Trade Date
              x   Settlement Date
              x   Price
              x   Quantity
154.      Beginning in March 2014, Solo Capital added additional layers to the trading loops
       resulting in an 18-step Complex Trading Loop. The Complex Trading Loops followed a
       similar methodology to the Simple Trading Loops but purportedly funneled each type of
       trade through two intermediary brokers instead of one. This new step has no apparent
       business purpose other than to provide an additional layer of complexity to the extent any
       regulator inquired about the Solo Trades. From March 4, 2014 through May 11, 2015, Solo
       Capital orchestrated 2,240 Complex Trading Loops for 166 Plans which resulted in 2,240
       dividend refund claims begin filed with SKAT.
155.      Utilizing the same methodology as the Simple Trading Loops, the trade confirmations
       generated by Solo Capital, or a similar document, for the complete list of the 2,240 Complex
       Trading Loops, which included documents relating to the individual transactions needed to
       complete each of the 18 steps for the 2,240 Complex Trading Loops were reviewed and


206
      For example, see ELYSIUM-00604753; ELYSIUM-00604951; ELYSIUM-06094123; ELYSIUM-00604746.
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   analyzed. These documents contained the same datapoints for each of 18 transactions that
   comprised the Complex Trading Loops:
            x   The name of the broker or counterparty
            x   Trade Date
            x   Settlement Date
            x   Price
            x   Quantity
156.   The datapoints collected for each transaction were used to map out each Simple Trading
   Loop and Complex Trading Loop that took place from August 8, 2012 to May 11, 2015.
   Exhibit 3 displays the data collected for the transactions related to the Bellwether Plans.
157.   This analysis allowed me to determine if all the transactions comprising both the Simple
   Trading and Complex Trading Loops were essential replicas of each other, and whether any
   of the Solo Trades involved the purchase of actual securities by the Plans. After conducting
   the review and analysis, I concluded that the transactions were in fact essentially replicas of
   each other, and that none of the Solo Trades involved the purchase of actual securities by the
   Plans.

                2.    Sample “Simple loop” transaction purportedly executed by the
                Bernina Plan

158.   On March 21, 2013, the Bernina Plan purportedly purchased 600,000 shares of Carlsberg
   A/S – B (“Carlsberg”) stock from an entity called D.D.C. Cayman. Upon review of the
   supporting documentation underlying this transaction and a search of Solo Capital’s records,
   there is no evidence that D.D.C. Cayman owned any shares in Carlsberg at the time of the
   sale. Thus, at the time of the sale, D.D.C. Cayman was a short-seller, and would have to
   acquire the shares to cover the short in time for delivery to the Bernina Plan on the settlement
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       date.207 D.D.C. Cayman, however, did not obtain any shares from the market to cover the
       short. Rather, as demonstrated below, D.D.C. Cayman purportedly borrowed the shares from
       the Bernina Plan itself (through a two-step lending transaction). The Bernina Plan also did
       not have any Carlsberg shares to lend, making this a completely circular and fabricated
       securities transaction. Below I set out each leg of the circular loop.




        Figure 8 – No evidence that any shares of Carlsberg stock entered the trading loop

                             a.      Trade Approval 1: FGC Securities LLC purportedly purchased
                             shares in Carlsberg from D.D.C. Cayman in March 2013

159.      On March 21, 2013, FGC Securities LLC, acting as broker, purportedly purchased
       600,000 shares of Carlsberg at a price of DKK 586.3316 per share from D.D.C. Cayman for



207
   While it is possible for an investor to sell shares that the investor does not yet own (referred to as a “short sale”),
the investor must acquire the shares (referred to as “covering the short”) before the delivery date of those shares.
Short sales executed without having previously acquired the right to obtain the shares before the delivery date is
referred to as a “naked short” or “uncovered short.” In the EU, the EU Short Selling Regulation which came into
effect in November 2012 prohibits uncovered short selling of listed shares in Europe, other than by market makers
or banks involved in the issuance of government bonds. See, https://www.icmagroup.org/Regulatory-Policy-and-
Market-Practice/repo-and-collateral-markets/icma-ercc-publications/frequently-asked-questions-on-repo/30-what-is-
short-selling-and-what-is-the-role-of-repo/ (last visited December 9, 2021); see also, Regulation (EU) No 236/2012
of the European Parliament and of the Council of 14 March 2012 on short selling and certain aspects of credit
default swaps, Official Journal of the European Union, March 24, 2012.
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       a total USD equivalent of $61.1 million.208 The trade was arranged by and “approved” by
       Solo Capital.




              Figure 9 – Trade Confirmation from Solo Capital to D.D.C. Cayman 209

160.      As noted above, there is no evidence that D.D.C. Cayman ever actually owned these
       shares of Carlsberg since the sub-custodians acting for Solo Capital, who were supposedly
       acting as the custodian for the shares, have either affirmatively stated in sworn affidavits that
       they never had any record of the shares existing in their custody systems and/or provided


208
      ELYSIUM-01463929.
209
      ELYSIUM-01463929.
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       documents showing that no such shares existed in their share custody systems. Also as noted
       above, based on my thorough review of Solo Capital’s business records, I have not seen any
       documentation reflecting the transfer of Carlsberg shares from the market into D.D.C.
       Cayman’s account at Solo Capital.

                           b.     Trade Approval 2: The Bernina Plan purportedly purchased shares
                           in Carlsberg from FGC Securities LLC in March 2013

161.      On March 21, 2013, which is the same trade date – and only 5 seconds after the D.D.C.
       Cayman transaction in the preceding step – the Bernina Plan purportedly purchased the same
       number of shares in Carlsberg at the exact same price from FGC Securities LLC, acting as
       broker.210 It is apparent from the timing and details of this trade and the prior trade that the
       Bernina Plan purportedly purchased the Carlsberg securities from D.D.C. Cayman through
       the broker FGC Securities LLC.




210
      ELYSIUM-01463894.
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             Figure 10 – Trade Confirmation from Solo Capital to the Bernina Plan 211

162.       The use of the broker FGC Securities LLC has no apparent business purpose other than to
       create an air of legitimacy to the trade. Typically, a broker serves in one or both of two
       capacities—execution of the trade in the market, and/or clearing the trade. In the Solo
       Trades, the brokers only purported to function as an executing broker, 212 rather than as a
       clearing broker, as the Solo Custodians purportedly served as the clearing institutions.
       However, there was no need for an executing broker because the counterparties did not need

211
      ELYSIUM-01463894.
212
      Markowitz Tr. at 272:18 – 273:19 (discussing MPSKAT000010004 (Ex. 2143)); Lehman Tr. at 64:24 – 65:18.
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       to seek liquidity from the open market. Rather, Solo Capital pre-selected the counterparties
       to each trade from among the counterparties that had “on-boarded” to the Solo Capital
       platform and determined the volume of each trade. As a result, the brokers such as FGC
       Securities LLC served no legitimate function.213




                                 Figure 11 – The Bernina Plan Solo Trade

                            c.      Stock Loan 1: The Bernina Plan purportedly loaned the Carlsberg
                            shares it purchased to Colbrook Limited in March 2013

163.      The Bernina Plan purportedly entered into a securities lending agreement with Colbrook
       Limited, 214 under which the Bernina Plan agreed to loan the very same shares in Carlsberg
       that it purchased from FGC Securities LLC. The loan transaction settled on March 27, 2013,
       the same settlement date as the purported purchase of the shares. 215




213
    Consistent with my conclusions on the role of the brokers in the Solo Trades, the Financial Conduct Authority in
England has fined two of the purported brokers involved in the Solo Trades: Sunrise Brokers and Sapien Capital
Limited. In each report on its findings, the FCA stated that it “refers to the Solo Trading as ‘purported’ as it has
found no evidence of ownership of the shares by the Solo Clients, nor custody of the shares or settlement of the
trades by the Solo Group. This, coupled with the high volumes of shares purported to have been traded, is highly
suggestive of sophisticated financial crime.” See Financial Conduct Authority, Final Notice to Sapien Capital
Limited, May 6, 2021; Financial Conduct Authority, Final Notice to Sunrise Brokers LLP, November 12, 2021.
214
    Colbrook Limited was one of eight stock loan counterparties for which Martin Smith was a shareholder and
director. Smith was also employed by Novus Capital Markets, a purported broker for the Solo Trades. See
paragraph 109.
215
    ELYSIUM-01487961.
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          Figure 12 – Stock Loan Confirmation from Solo Capital to the Bernina Plan 216

164.      As part of the loan transaction, Colbrook Limited agreed to provide cash collateral to the
       Bernina Plan representing the full market value of the shares borrowed. However, the stock
       price (and therefore the amount of collateral provided by Colbrook Limited) that the loan
       agreement was premised on was the price that the Bernina Plan had purchased the shares
       from D.D.C. Cayman on March 21, 2013 – rather than the market price as of the date of the
       stock loan on March 26, 2013.

216
      ELYSIUM-01487961.
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165.       Furthermore, the stock loan step in each of the Solo Trades takes place at the same price
       the security was purchased at (several days earlier), rather than at the market price as of the
       date of the stock loan. And regardless of what actually happened in the market to the stock
       price between the purchase date and the stock loan date, the purported stock lender in the
       Solo Trades would always enter the loan transaction based on the purchase price from days
       earlier.
166.       This does not comport with how securities lending works in the real world. The price of
       the Carlsberg shares between March 21, 2013 and March 26, 2013 could have certainly
       moved during that period, which would impact the pricing and related terms of the stock loan
       transaction. The stock loan transactions in the Solo Trades never took such market
       movements into account.
167.       In fact, the closing stock price of Carlsberg on March 26, 2013 declined by DKK 13.33
       per share since the purported stock purchase on March 21, 2013. 217 As a result, the total
       market value of the 600,000 shares that the Bernina Plan purportedly loaned to Colbrook
       Limited would have declined by DKK 7,998,960 (or approximately USD $1.4 million).
       Given that the collateral purportedly provided by Colbrook Limited was based on the stock
       price as of March 21, 2013 rather than March 26, 2013, the drop in the stock price between
       the two dates resulted in Colbrook Limited purportedly providing the Bernina Plan with
       approximately DKK 8.0 million in excess collateral.




217
      http://www.nasdaqomxnordic.com/shares/historicalprices (last visited December 28, 2021).
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                                Figure 13 – The Bernina Plan Solo Trade

168.      I have reviewed the Solo Capital account statement for the Bernina Plan, which statement
       shows that the Bernina Plan deposited no funds into its Solo Capital trading account prior to
       its purported purchase of the Carlsberg securities, and had a zero cash balance at the time of
       the purchase. 218 The purpose of the stock loan was to ostensibly show that the Bernina Plan,
       a newly formed entity, had sufficient liquidity, via the cash collateral it purportedly received
       from Colbrook Limited, to actually fund the purchase of DKK 351,798,960.00 worth of
       Carlsberg stock at settlement on March 27, 2013. 219

                           d.     Stock Loan 2: Colbrook Limited purportedly loaned the Carlsberg
                           shares it borrowed to D.D.C. Cayman

169.      Colbrook Limited then simultaneously loaned the same shares that it just borrowed from



218
   See Table 1.
219
   As of March 27, 2013, the Bernina Plan had a bank account balance of only $5,000 in its JPMorgan Chase
account, see MPSKAT00001580 at 1581. Not only would that balance be entirely insufficient to fund the stock
purchase, it was also never transferred to the Solo Capital account.
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       the Bernina Plan to D.D.C. Cayman.220 The trade approval email for this transaction was
       sent just 1 second after the stock loan transaction it purportedly entered with the Bernina
       Plan.221




         Figure 14 – Stock Loan Confirmation from Solo Capital to Colbrook Limited 222

170.      The main terms of the loan agreement – the number of shares, price, trade date and

220
    ELYSIUM-01487958.
221
    ELYSIUM-01487961.
222
    ELYSIUM-01487958.
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       settlement date – were the exact same as the terms of the stock loan agreement between the
       Bernina Plan and Colbrook Limited.223
171.      The overall impact of this transaction, in aggregate, is that the Bernina Plan nearly
       simultaneously (1) purchased DKK 351,798,960 worth of Carlsberg stock from D.D.C.
       Cayman; and (2) loaned the same DKK 351,798,960 worth of Carlsberg shares back to
       D.D.C. Cayman in a closed loop circular fashion. Neither entity ever held actual Carlsberg
       shares or went into the market to acquire any shares.




                              Figure 15 – The Bernina Plan Solo Trade

172.      Solo Capital later unwound the transaction by purportedly selling the Carlsberg shares it
       held and closing out the loan agreement.
173.      In the end, there was no movement of cash or delivery of securities. The purported
       transactions were simply reversed, leaving only a paper trail to support the reclaim
       application. I have seen no evidence that any of the parties to this transaction loop ever



223
      ELYSIUM-01487961.
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    actually owned shares in—or ever received a dividend payment from—Carlsberg. 224

                            e.      The Bernina Plan subsequently submits a dividend WHT reclaim
                            request to SKAT

174.     Acupay System LLC (“Acupay”), which is a third-party service provider that facilitates
    the submission of dividend withholding tax reclaims, submitted the reclaim request to SKAT
    on behalf of the Bernina Plan.225




                                 Figure 16 – The Bernina Plan Solo Trade

175.     The reclaim request package included a “Dividend Credit Advice” from Solo Capital
    representing that the Bernina Plan owned the 600,000 shares in Carlsberg described above
    and received a dividend on those shares net of withholding tax.



224
    I noted that 20 Plans purportedly traded, in aggregate, 12,920,000 shares of Carlsberg stock on March 21, 2013,
representing a total market value of approximately DKK 7,576,233,766 (or USD $1.3 billion). I reviewed the Plans
trading data for every purported transaction related to Carlsberg stock on March 21, 2013 and concluded that they all
followed the same steps, and had the same circular trading pattern, as described in the sample Carlsberg transaction
purportedly executed by the Bernina Plan.
225
    SKAT_MDL_001_00059511.
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                                Figure 17 – Dividend Credit Advice226

                 3.    Sample “Complex loop” transaction purportedly executed by the
                 Loggerhead Plan

176.      On March 19, 2015, the Loggerhead Plan purportedly purchased 6,847,676 shares of
       Novo Nordisk A/S – B (“Novo Nordisk”) stock from a Solo-affiliated entity called Black
       Square Ltd.227 Upon review of the supporting documentation underlying this transaction and

226
  SKAT_MDL_001_00059511.
227
  Dilip Shah, who was employed by Solo Capital in 2011, controlled Black Square Ltd. See
CAYMAN_00002615.
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   a search of Solo Capital’s records, there is no evidence that Black Square owned any shares
   in Novo Nordisk at the time of the sale. Thus, at the time of the sale, Black Square was a
   short-seller, and would have to acquire the shares to cover the short in time for delivery to the
   Loggerhead Plan on the settlement date. Black Square, however, did not obtain any shares
   from the market to cover the short. Rather, as demonstrated below, Black Square
   purportedly borrowed the shares from the Loggerhead Plan itself (through a three-step
   lending transaction). The Loggerhead Plan also did not have any Novo Nordisk shares to
   lend, making this a completely circular and fabricated securities transaction. Further, there is
   no evidence of actual shares of Novo Nordisk ever existing anywhere in this “complex loop”
   or entering in from some other external source.




                      Figure 18 – Solo Trades for the Loggerhead Plan

                       a.     Trade Approval 1: The Mako Financial Markets LLP purportedly
                       purchased shares in Novo Nordisk from The Black Square Ltd in March
                       2015

177.   On March 19, 2015, Mako Financial Markets LLP, acting as broker, purportedly
   purchased 6,847,676 shares of Novo Nordisk at a price of DKK 341.90 per share from Black
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       Square Ltd for a total USD equivalent of $333.8 million.228 As noted above, there is no
       evidence that Black Square Ltd. ever actually owned these shares of Novo Nordisk since the
       sub-custodians acting for Solo Capital, who were supposedly acting as the custodians for the
       shares, have either affirmatively stated in sworn affidavits that they never had any record of
       the shares existing in their custody systems and/or produced documents from their share
       custody systems to reflect that they did not hold any Danish securities for Solo Capital during
       this period. Also as noted above, based on my thorough review of Solo Capital’s business
       records, I have not seen any documentation reflecting the transfer of Novo Nordisk shares
       from the market into Black Square’s account at Solo Capital.




      Figure 19 – Trade Confirmation from Solo Capital to Mako Financial Markets LLP 229




228
      ELYSIUM-03957835
229
      ELYSIUM-03957835.
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                           b.    Trade Approval 2: The TJM Partnership PLC purportedly
                           purchased shares in Novo Nordisk from Mako Financial Markets LLP in
                           March 2015

178.      Simultaneously on March 19, 2015 – and only 4 seconds after the Black Square Ltd.
       transaction in the preceding step – The TJM Partnership PLC purportedly purchased the
       same number of shares in Novo Nordisk at the exact same price from Mako Financial
       Markets LLP.230 It is apparent from the timing and details of this trade and the prior trade
       that TJM Partnership purportedly purchased the Novo Nordisk securities from Black Square
       through the broker Mako Financial Markets LLP.




       Figure 20 – Trade Confirmation from Solo Capital to The TJM Partnership PLC 231

179.      Similar to FGC Securities LLC’s role with the Bernina Plan, the use of the executing

230
      ELYSIUM-03957972.
231
      ELYSIUM-03957972.
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       broker Mako Financial Markets LLP has no apparent business purpose other than to create an
       air of legitimacy to the trade. In the Solo Trades, there was no need for an executing broker
       because the counterparties did not need to seek liquidity from the open market. Solo Capital
       pre-selected the counterparties to each trade from among the counterparties that had “on-
       boarded” to the Solo Capital platform and determined the volume of each trade. As a result,
       Mako Financial Markets LLP served no legitimate function.

                          c.     Trade Approval 3: The Loggerhead Plan purportedly purchased
                          shares in Novo Nordisk from The TJM Partnership PLC in March 2015

180.      Next, simultaneously on March 19, 2015 – and just 16 seconds after the Mako Financial
       Markets LLP transaction in the preceding step – the Loggerhead Plan purportedly purchased
       the same number of shares in Novo Nordisk at the exact same price from The TJM
       Partnership PLC.232




232
      ELYSIUM-03957912.
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           Figure 21 – Trade Confirmation from Solo Capital to the Loggerhead Plan 233

181.      The trade confirmation sent by Solo Capital indicates that the settlement date for the
       transaction was three business days later (T+3) on March 24, 2015. 234
182.      It is apparent from the timing and details of this series of trades through Mako Financial
       Markets LLP that, in effect, the Loggerhead Plan purportedly purchased the Novo Nordisk
       securities from Black Square Ltd. It appears that the only purpose in executing the purported
       trades with The TJM Partnership PLC in the middle was to add an extra layer of complexity
       to the paper trail for the transactions. Once again, there is no evidence that any of these
       counterparties ever actually owned or had possession of shares in Novo Nordisk stock
       through any custodian.


233
      ELYSIUM-03957912.
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                            Figure 22 – The Loggerhead Plan Solo Trade

                           d.     Stock Loan 1: The Loggerhead Plan purportedly loaned the Novo
                           Nordisk shares it purchased to Neoteric Limited in March 2015

183.      The Loggerhead Plan purportedly entered into a securities lending agreement with
       Neoteric Limited,235 under which the Loggerhead Plan agreed to loan the same shares in
       Novo Nordisk that it purchased from The TJM Partnership PLC. 236 The loan transaction
       settled on March 24, 2015 which was the same settlement date as the purported purchase of
       the shares.




235
    Neoteric was one of eight stock loan counterparties for which Martin Smith was a shareholder and director.
Smith was also employed by Novus Capital Markets, a purported broker for the Solo Trades. See paragraph 109.
236
    ELYSIUM-03977485.
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        Figure 23 – Stock Loan Confirmation from Solo Capital to the Loggerhead Plan 237

184.      As part of the stock loan transaction, Neoteric Limited agreed to provide cash collateral
       to the Loggerhead Plan representing the full market value of the shares borrowed. However,
       the stock price that the loan agreement (and therefore the amount of collateral provided by
       Neoteric Limited) was premised on was the price that the Loggerhead Plan had purchased the
       shares from The TJM Partnership PLC on March 19, 2015 – rather than the market price as
       of the date of the stock loan on March 23, 2015.


237
      ELYSIUM-03977485.
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185.       As discussed above, the stock loan step in each of the Solo Trades takes place at the same
       price the security was purchased at (several days earlier), rather than at the market price as of
       the date of the stock loan. This does not comport with how securities lending works in the
       real world.
186.       In fact, the closing stock price of Novo Nordisk on March 23, 2015 declined by DKK
       2.80 per share since the purported stock purchase on March 19, 2015. 238 As a result, the total
       market value of the 6,847,676 shares that the Loggerhead Plan purportedly loaned to
       Neoteric Limited would have declined by DKK 19.2 million (or approximately USD $2.8
       million). Given that the collateral purportedly provided by Neoteric Limited was based on the
       stock price as of March 19 rather than March 23, the drop in the stock price between the two
       dates resulted in Neoteric Limited purportedly providing the Loggerhead Plan with
       approximately DKK 19.2 million in excess collateral.




                               Figure 24 – The Loggerhead Plan Solo Trade

187.       I have reviewed the Solo Capital account statement for the Loggerhead Plan, which


238
      http://www.nasdaqomxnordic.com/shares/historicalprices (last visited December 23, 2021).
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       shows that the Loggerhead Plan deposited no funds into its Solo Capital trading account prior
       to its purported purchase of the Novo Nordisk securities, and had a zero cash balance at the
       time of the purchase. The purpose of the stock loan was to ostensibly show that the
       Loggerhead Plan, a newly formed entity, had sufficient liquidity, via the cash collateral it
       purportedly received from Neoteric Limited, to fund the purchase of DKK 2,341,220,424.40
       worth of Novo Nordisk stock at settlement on March 24, 2015, since it had virtually no assets
       prior to this to accomplish the purchase of the shares. 239

                           e.      Stock Loan 2: Neoteric Limited purportedly loaned the Novo
                           Nordisk shares it borrowed to Relative Value Trading GmbH

188.      Neoteric Limited then loaned its shares in Novo Nordisk, the same shares that it had just
       borrowed from the Loggerhead Plan, to Relative Value Trading GmbH. 240 The trade
       approval email for this transaction was sent just 7 minutes after the stock loan transaction it
       purportedly entered into with the Loggerhead Plan.241




239
    As of March 24, 2015, the Loggerhead Plan had a bank account balance of only $16 in its Wells Fargo account,
see LH00000001 at 92. Additionally, the 2015 financial statements for Loggerhead reports a beginning cash
balance of $71,459, an ending cash balance of $115,682 and total trading income for the year of $2.4 million, see
WH_MDL_00108530. Therefore, without the collateral proceeds from the purported stock loan, the Loggerhead
Plan lacked the liquidity necessary to purportedly purchase $333.8 million worth of Novo Nordisk stock. It is
important to note that I have seen no evidence of the existence of the actual cash collateral of approximately $334
million.
240
    Relative Value Trading was controlled by Alex Koerner, who also controlled four other stock loan counterparties.
See paragraph 109.
241
    ELYSIUM-03978529.
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          Figure 25 – Stock Loan Confirmation from Solo Capital to Neoteric Limited 242

189.      The main terms of the loan agreement – the number of shares, price, trade date and
       settlement date – were the exact same as the terms stated in the stock loan agreement
       between the Loggerhead Plan and Neoteric Limited.243




242
      ELYSIUM-03978529.
243
      ELYSIUM-03978529.
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                            Figure 26 – The Loggerhead Plan Solo Trade

                           f.    Stock Loan 3: Relative Value Trading GmbH purportedly loaned
                           the Novo Nordisk shares it borrowed to Black Square Ltd

190.      Relative Value Trading GmbH then loaned its shares in Novo Nordisk, the same shares
       that it would borrow from Neoteric Limited, to Black Square Ltd. However, the trade
       approval email for this transaction was sent 6 minutes prior to the stock loan transaction it
       purportedly entered into with Neoteric Limited. 244
191.      This indicates that Relative Value Trading GmbH purportedly loaned shares in Novo
       Nordisk to Black Square Ltd before it had approval to borrow them from Neoteric Limited.




244
      ELYSIUM-03977720.
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        Figure 27 – Stock Loan Confirmation from Solo Capital to Relative Value Trading
                                          GmbH245

192.      The main terms of the loan agreement – the number of shares, price, trade date and
       settlement date – were the exact same as the terms stated in the stock loan agreement
       between Neoteric Limited and Relative Value Trading GmbH. 246
193.      The overall impact of this transaction, in aggregate, is that the Loggerhead Plan nearly
       simultaneously (1) purchased DKK 2,341,220,424 worth of Novo Nordisk stock from,

245
      ELYSIUM-03977720.
246
      ELYSIUM-03977720.
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    ultimately, Black Square Ltd; and (2) loaned the same DKK 2,341,220,424 worth of Novo
    Nordisk shares to, ultimately, Black Square Ltd in a closed loop circular fashion. There
    appears to be no legitimate business reason for the stock loans to take place in three
    simultaneous steps, from the Loggerhead Plan, to Neoteric Limited, to Relative Value
    Trading, and then to Black Square, other than to disguise through a complex series of paper
    transactions the fact that it is the Loggerhead Plan that is loaning to Black Square the very
    shares that Black Square is purportedly selling to the Loggerhead Plan. 247
194.     This circular trading pattern is no different than the circular loop involved in the Bernina
    Plan’s trades, other than that Solo Capital inserted an additional layer of transactions to both
    the purchase/sale legs and the stock loan legs of the loop.




                             Figure 28 – The Loggerhead Plan Solo Trade




247
    I noted that 112 Plans purportedly traded, in aggregate, 713.4 million shares of Novo Nordisk stock on March 19,
2015, representing a total market value of approximately DKK 243,917,425,471 (or USD $34.8 billion). I reviewed
the Plans trading data for every purported transaction related to Novo Nordisk stock on March 19, 2015 and
concluded that they all followed the same steps, and had the same circular trading pattern, as described in the sample
Novo Nordisk transaction purportedly executed by the Loggerhead Plan.
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                          g.     The Loggerhead Plan submits a dividend WHT reclaim request to
                          SKAT

195.      Acupay submitted the reclaim request to SKAT on behalf of the Loggerhead Plan. 248 The
       reclaim request package included a “Dividend Credit Advice” from Solo Capital representing
       that the Loggerhead Plan owned the 6,847,646 shares in Novo Nordisk described above and
       received a dividend on those shares net of withholding tax.




248
      SKAT_MDL_001_00060764-769.
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                                Figure 29 – Dividend Credit Advice249

196.      Solo Capital then unwound the transaction by purportedly selling the Novo Nordisk
       shares it held and closing out the loan agreement.
197.      In the end, there was no movement of cash or delivery of securities. The purported
       transactions were simply reversed, leaving only a paper trail to support the reclaim


249
      SKAT_MDL_001_00060764-769.
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   application. I have seen no evidence that any of the parties to this transaction loop ever
   actually owned shares in—or ever received a dividend payment from—Novo Nordisk. As
   such, I concluded that the entire trading loop was fictitious.




                        Figure 30 – The Loggerhead Plan Solo Trade

       D.     The Solo Trades in the 15 Bellwether cases all follow a similar trading
       pattern as compared to the sample simple loop transaction purportedly executed by
       the Bernina Plan and the sample complex loop transaction purportedly executed by
       the Loggerhead Plan (as discussed in detail above)

198.   As discussed above, I reviewed the trade confirmations and other documentation related
   to all 2,559 of the Solo Trades purportedly orchestrated by Solo Capital on behalf of the
   Plans. Based on this review, I concluded that each of the purported Solo Trades followed a
   similar purported trading pattern as compared to the sample simple loop transaction
   purportedly executed by the Bernina Plan and the sample complex loop transaction
   purportedly executed by the Loggerhead Plan, and as such, I have concluded that in all 2,559
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      Solo Trades, the Plans never purchased actual Danish securities. 250

                  1.     Example #1: The purported purchase of DKK 659.3 million worth of
                  stock in A.P. Moller Maersk A/S – B in March 2015

199.     Another example of the Solo Trades that I reviewed was related to the purported purchase
      of shares in A.P. Moller Maersk A/S – B by the Roadcraft Plan in March 2015. This
      purported transaction is an exact replica of Step 1c of the Loggerhead example discussed
      above and is one leg of a circular transaction loop that is an exact replica of a complex loop
      as described above.




250
    Unlike the Loggerhead Novo Nordisk example used here, some of the loop transactions involved the “bundling”
of shares at certain steps of the loop. For instance, on March 18, 2014, the Bernina Plan purported to purchase
4,270,392 shares of Danske Bank A/S stock using Novus (“Novus”) Capital Markets Limited as a
broker. ELYSIUM-02861054. Novus had purportedly sourced those shares from another broker, Bastion Capital
London Limited (“Bastion”), but unlike in the Loggerhead example, this purported trade was for 112,687,781
shares, which included the 4,270,392 shares purportedly purchased by the Bernina Plan. ELYSIUM-
02860996. Bastion had purportedly sourced these shares from four separate short sellers, in lots of 25,839,592
(ELYSIUM-02860957), 29,731,152 (ELYSIUM-02861022), 26,926,511 (ELYSIUM-02861227), and 30,190,526
(ELYSIUM-02861228). The last of these short sellers was Aronex Partners Ltd. ELYSIUM-02861228. (The
remainder of these 112,687,781 were purportedly purchased by other U.S. Plans.)

The Bernina Plan’s loan of the 4,270,392 shares was not bundled. It loaned the shares to Colbrook Limited
(ELYSIUM-02896979), which loaned them to Rock Capital Private Fund Limited (ELYSIUM-02897325), which
loaned them to Aronex Partners Ltd (ELYSIUM-02897273). Thus, although the Bernina Plan’s purported purchases
in the equity portion of the loop were aggregated with other plans’ purported purchases, the shares that Bernina Plan
purportedly purchased were still loaned out to the same party who had purportedly sold them (Aronex Partners
Ltd). This bundling of shares into larger tranches through the broker intermediaries and from the ultimate short-
sellers, and the allocation of those shares into smaller amounts among groups of Plans, further demonstrates the
extensive pre-arranged coordination of the Solo Trades by Solo Capital and the various counterparties, and further
supports my conclusion that the Solo Trades were fictitious, circular loops in which no real shares or money ever
existed.
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         Figure 31 – Trade Confirmation from Solo Capital to the Roadcraft Plan

200.   I have performed an extensive review of the documents related to each step of this
   transaction and have seen no evidence that (1) these shares were held at any of Solo Capital’s
   custodians or sub-custodians; (2) the Roadcraft Plan had access to DKK 659.3 million—or
   approximately USD $96.1 million—of liquidity or real credit to execute this transaction; or
   (3) any cash was paid by the Roadcraft Plan or shares delivered related to this purported
   transaction. Accordingly, this further underscores my conclusion that the Solo Trades were
   fabricated by Solo Capital in a cookie-cutter approach and involved no actual Danish
   securities.

                 2.     Example #2: The purported stock loan of DKK 630.8 million worth of
                 shares in A.P. Moller Maersk A/S – A in April 2015

201.   A second example of a Solo Trade that I reviewed was related to the purported stock loan
   of shares in A.P. Moller Maersk A/S – A by the FWC Plan in April 2015. This purported
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   transaction is an exact replica of Step 3a of the Loggerhead example discussed above and is
   one leg in a circular trading loop that is an exact replica of a complex loop as described
   above.




         Figure 32 – Stock Loan Confirmation from Solo Capital to the FWC Plan

202.   Additionally, similar to the Loggerhead example, the stock price that the loan agreement
   was premised on (DKK 15,810.00) was the price that the FWC Plan had purchased the shares
   at several days prior (on March 30, 2015), rather than the market price as of the date of the
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       stock loan on April 1, 2015.251
203.       Furthermore, I have seen no evidence that (1) any cash collateral was paid or securities
       delivered; or (2) any mark-to-market calculations on the value of the loaned shares were
       performed. Once again, this further supports my conclusion that the Solo Trades were fake.

           E.     Solo Capital pre-arranged the entire structure of the transactions to the
           Plans and the Plans had no ability to negotiate the financial terms of the
           arrangement

204.       As a starting point, Solo Capital maintained a list of publicly traded Danish stocks that
       were scheduled to declare a dividend payment to its shareholders of record as of a specific
       date in the future.252
205.       From this list, Solo Capital provided detailed trading instructions to those involved in
       executing the Solo Trades for the Plans. Specifically, Solo Capital selected the particular
       stock or security that was purportedly going to be “traded,” the allocation of shares to each
       Plan, and information related to which broker and other counterparties would be used for the
       hedging and stock loan transactions.253 I reviewed spreadsheets that were used by Solo
       Capital to slice up the Solo Trades and dole out portions to the various Plans. In other words,
       it wasn’t the Plans that were dictating how much to purchase or when to do so, nor was it the
       brokers who were seeking liquidity in the market to fill the Plans’ trade orders, but rather
       Solo Capital was the one who was dictating and pre-arranging each leg of the circular loops.
206.       Additionally, Klugman provided an email to certain traders that supposedly acted on
       behalf of the Plans. 254 The subject line of the email was titled “Arbitrage instructions and
       questions” and contained step-by-step guidance to the traders regarding how to execute the
       purported trades on behalf of the Plans. 255 Based on these instructions, the traders were
       directed to perform a series of steps for each of the Solo Trades, which boiled down to the
       “traders” sending pro forma emails to create a paper record of trade orders.
207.       For example, at around 7am on the “Trading Day” the traders were instructed to request


251
    ELYSIUM-04034158.
252
    Deposition of Richard Markowitz, Vol. 2, 411:22-415:8.
253
    Deposition of Richard Markowitz, Vol. 2, 417:2-428:9.
254
    Klugman Exhibit 1777.
255
    Deposition of Richard Markowitz, Vol. 2, 408:22-410:9.
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       liquidity from a broker (identified by Solo Capital) using 34 separate emails—one for each of
       the 34 pension plans that were participating in this structure. 256 The issuing of 34 emails all
       at once for the 34 Plans shows the pre-arranged bulk nature of the Solo Trades. Further, the
       fact that 34 Plans in this example were participating in this one transaction also shows that
       the transactions were not custom tailored to each Plan based upon their own risk profile,
       investment strategy or time horizon, but rather the transactions were simply carved up and
       doled out to each Plan by Solo Capital.




                                  Figure 33 – Trading Instructions 257

208.      After the initial request for liquidity, step 2 in the guidelines indicates that the broker
       “responds back via email and say will seek liquidity” [SIC] and “get custodian approval (34
       emails).”258 Next, step 3 in the process instructs the pension plan’s representative to respond


256
    Deposition of Richard Markowitz, Vol. 2, 411:5-412:11.
257
    Klugman Exhibit 1777.
258
    Klugman Exhibit 1777.
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       back and say “Okay, we will seek custodial approval in the meantime (34 emails).” 259
       Significantly, the brokers did not have to actually seek the liquidity. Rather, it was pre-
       ordained that the broker would “find liquidity” for every single trade order from the Plans but
       in reality, since the entire transaction was pre-ordained, the so called “liquidity” was already
       in place.
209.       Step 9 says “Take forward price and put into premade email to be sent to the forward
       counterparty (34 emails).”260 Further, a template of this premade email is included within
       Step 9 of the instructions in Figure 34 below.




259
      Klugman Exhibit 1777.
260
      Klugman Exhibit 1777.
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                                  Figure 34 – Trading Instructions 261

210.       The instructions further state that the Plans’ representatives should “prepare loan
       documents 34 times (cash collateral is price x shares)” as of T+2 (referring to two days after
       the purported purchase of the stock).
211.       Then on T+3, the Plans’ representatives were instructed to “look for email for stock
       borrow, times will vary but should be early AM EST.” According to Markowitz, this meant



261
      Klugman Exhibit 1777.
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       that the Plans were to expect the stock lending counterparty to send an email to the Plans. 262
       However, what is not clear is how the stock lending counterparties—if they were truly third
       parties not affiliated with Solo Capital—would know on each occasion to reach out to the
       pension plans to see if there was interest for a stock loan, and in the exact amount that the
       Plan happened to purchase.




                                     Figure 35 – Trading Instructions 263

212.       The above email from Klugman—which memorializes the step-by-step instructions on
       how to execute the purported transaction—illustrates how these transactions were all pre-
       arranged by Solo Capital and Shah. In fact, they literally directed the various entities to send
       emails using email templates that were provided by Klugman, with the missing information
       to be filled in as instructed for each respective transaction. Further, they selected the specific
       securities, set out the terms, the allocations for each plan, the prices, the trade dates, and the

262
      Deposition of Richard Markowitz, Vol. 2, 425:4-425:25.
263
      Klugman Exhibit 1777.
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    counterparties—everything was orchestrated in advance by Solo Capital on behalf of the
    Plans. The “brokers” invariably filled each and every “order” as per Solo Capital’s direction
    because they did not actually go into the market to obtain real shares.

        F.    The Plans did not have sufficient capital, liquidity or access to real credit to
        complete the purported Solo Trades but for the circular nature of the structured
        scheme

213.    Based upon a review of available records and bank statements, the LLC sponsors of the
    Plans had limited, if any, legitimate business operations and were, at best, thinly capitalized,
    with opening bank balances of typically only a few thousand dollars or less. 264 As a result,
    the LLC sponsors of the Plans typically had little if any money to contribute to the Plans, or
    to pay salary to the plan participants from which the participants could contribute to the Plan.
214.    Not surprisingly, the newly formed 401(k) plans created by these closely held LLCs were
    also thinly capitalized, as few contributions were made to the Plans. As a result, the Plans
    lacked the liquidity and financial wherewithal necessary to purchase the shares that were
    supposed to be the subject of the Solo Trades and which were worth hundreds of millions of
    dollars in certain instances.265
215.    The purported trades executed by the Plans were all structured to appear as over-the-
    counter (“OTC”) trades.266 Despite the Plans not having the financial wherewithal to execute
    trades in the hundreds of millions of dollars, nor the credit history to back up such trades,
    nevertheless the trades were filled nearly instantaneously (see e.g. discussion infra on the
    sample Solo Trades purportedly executed by the Bernina Plan and the Loggerhead Plan).
    The Plans’ ability to instantaneously and repeatedly obtain financing through the stock loans,
    notwithstanding the Plans’ complete lack of creditworthiness, is further evidence that the
    purported purchases of securities were not real. Consistent with this pattern, it appears that
    the offshore stock loan counterparties such as Neoteric Limited were also thinly capitalized
    and would not have had capital to use as the cash collateral component of the stock loan


264
    See, for example TD_0001381-1445 (Ackview LLC); JPM00000198-282 (Blackrain Pegasus LLC);
OCEANFIRST_00001573-1642 (Oaks Group LLC).
265
    See Exhibit 3
266
    OTC means that investors engage in transactions with each other through informal networks rather than on a
centralized exchange like the Copenhagen Stock Exchange.
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       transactions.

          G.     The Trading Pattern At North Channel Bank Is Consistent With The Solo
          Trades

216.      Two of the Plans that participated in the Solo Trades also participated in similarly
       structured trades at another custodian bank, North Channel Bank (“NCB”). In the Spring of
       2014, the two Plans, the Omineca Pension Plan (“Omineca”) and Vanderlee Technologies
       Pension Plan (“Vanderlee”) participated in 5 and 6 structured trades, respectively, at NCB. 267
217.      Current management of NCB performed an investigation of tax vouchers issued by NCB
       on behalf of various U.S. pension plans for the purpose of submitting refund claims to
       SKAT. According to Gunnar Volkers, a current managing director at NCB, each of the tax
       vouchers issued for the Omineca and Vanderlee Plans was false. 268 Mr. Volkers confirmed
       that the Plans’ structured trades at NCB were “circular” and “designed” to create a “closed
       shop” in that all participants in the trades were customers of NCB. 269 Because of this design,
       NCB held no shares on behalf of the Plans (or any of its other customers) as a result of the
       trades, and the purported shareholdings on the NCB-issued tax vouchers were “fictitious.” 270
       Since there were never “any real shares,” Mr. Volkers further confirmed, NCB never
       received “any real dividend payment” on behalf of the Plans (or any of its other customers),
       and the NCB-issued tax vouchers did not reflect “real money credited to the account.” 271 In
       September 2019, NCB pleaded guilty to “collusive serious fraud against the Danish state,”
       which fraud included the structured trades at NCB in which the Omineca and Vanderlee
       Plans participated.272 Mr. Volkers’ testimony regarding the purported trading through NCB
       is consistent with my analysis and conclusions for the Solo Trades.




267
    SKAT_MDL_001_00060281 (Omineca) ; SKAT_MDL_001_00059631 (Vanderlee).
268
    Volkers Tr. at 13:18-14-1, 19:16-45:8.
269
    Id. at 19:21-20:17, 76:17-77:14.
270
    Id. at 54:11-57:2.
271
    Id. at 56:18-59:5.
272
    Id. at 71:2-75:18.
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VII. OPINION NO. 2: THE SOLO TRADES GENERATED MILLIONS IN
WITHHOLDING TAX REFUNDS, BUT THE PLANS WERE LEFT WITH ONLY A
FRACTIONALLY SMALL AMOUNT OF THE TOTAL REFUNDS PAID BY SKAT
218.       I performed a forensic accounting analysis of the subsequent cash flows of tax refund
       payments that were paid by SKAT to payment agents acting on behalf of the Plans. Setting
       aside fees provided to payment agents and purported “trading fees” (which together generally
       make up approximately 2% of the refund payments), the payments were distributed to three
       categories of recipients.
219.       The first recipient is Ganymede Cayman Limited (“Ganymede”), an offshore Cayman
       Islands entity that invoiced the Plans for the majority of the refund amounts. Ganymede was
       essentially an alter-ego of Solo, owned and controlled by Shah. 273 In fact, many of
       Ganymede’s invoices directed the Plans to make Ganymede’s payments to a Solo Capital
       bank account.274
220.       The second category of recipients are “Recruiters.” These individuals, which include
       Richard Markowitz, John van Merkensteijn, Robert Klugman, Doston Bradley, Matthew
       Tucci, Roger Lehman, and Gavin Crescenzo, recruited others to establish pension plans that
       would then submit tax refund claims to SKAT.
221.       After the payments to Ganymede and its affiliates, these Recruiters received a large
       majority (often over 90%) of the remaining share of the refund payments generated by the
       Plans they had helped establish. In the case of Markowitz, van Merkensteijn, and Klugman,
       these payments were made by establishing the partnership arrangements referenced in
       Section V.A above, in which the Plans paid entities controlled by Markowitz, van


273
    Deposition of Richard Markowitz dated April 8, 2021, 200:24-201:13. Sanjay Shah was the shareholder of
Ganymede from September 20, 2011 until he transferred the share to Elysium Global Limited, another entity he
controlled, on July 11, 2014 (CN012_318_001-00000042; ELYSIUM-05295222). He also acted as a director of
Ganymede, as did Sanjeev Dave, Graham Horn, Rajen Shah, Guenther Grant-Klar (CN012_322_001-00000001 at
76), who were all also associated with Solo (ELYSIUM-00150387).
274
    See, for example:

       x   Invoice from Ganymede to Ackview LLC Solo 401k Plan provides “Solo Bank Details”
           (ACKVIEW00000199). The account number listed, 64338333, is a Barclays client money account held by
           Solo (SCPADMINISTRATORS_00003319).

       x   Invoice from Ganymede to The DMR Pension Plan provides “Solo Bank Details” (DMR00000317). The
           account number listed, 64105155, is a Barclays currency account held by Solo
           (SCPADMINISTRATORS_00004660).
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       Merkensteijn, and Klugman. Lehman, Bradley, Tucci, and Crescenzo did not use a
       partnership structure. Instead, they set up shell entities to receive the majority of their
       payments. The shell entities were paid by Solo itself, which routed the funds through
       Ganymede and other offshore entities controlled by Shah.
222.       The third category of recipients are the Plans themselves and/or the individual Plan
       participants. The Plans associated with these individuals received a miniscule portion of the
       tax refund payments submitted on their supposed behalf, with some Plans and/or Plan
       participants receiving no payment at all.
223.       The payments ultimately retained by these Plans were significantly less than those
       retained by Plans established by some Recruiters, such as Markowitz, van Merkensteijn, and
       Klugman. This latter category received a larger share of the refund payments (though still
       less than what Solo pocketed).
224.       In performing the cash flow analysis, I also observed that the only payments to the
       Bellwether Plans from the Solo Trades were from tax refund payments by SKAT. There
       were no cash flows to the Plan’s bank accounts resulting from the receipt of any actual
       dividends or from any profits related to the purported trading.

           A.      Ganymede/Solo

225.       SKAT’s payments of tax refunds to the Plans were first sent to various Payment Agents,
       who had submitted applications on behalf of the Plans. After taking their fee (typically less
       than 1% of the refund), the Payment Agents typically transferred the rest of the funds to the
       Solo Custodians, where the funds were deposited in the Plans’ accounts. The majority of the
       tax refunds were then disbursed from these accounts for payment of invoices generated by
       Ganymede.
226.       According to Ganymede’s invoices, the payments by the Plans were in exchange for
       “fees due under services agreement.”275 The invoices provide no further detail on the
       supposed services Ganymede was providing that warranted such a large share of each tax
       refund payment. I have also reviewed various Tax Reclaim Advisory Services Agreements
       between the Plans and Ganymede. The Agreements are similarly vague regarding the actual

275
      See, for example, Invoice from Ganymede to Roadcraft dated July 7, 2015 (MPSKAT00010288).
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       services provided by Ganymede. The Agreements only define the “services” as “tax reclaim
       advisory services provided by [Ganymede] in the relevant Jurisdiction.” 276
227.      Based on my review of account statements and invoices, each Bellwether Plan paid
       Ganymede a percentage of its refund ranging from approximately 66% up to over 98%, as
       shown in Table 2 below.277


                                       Table 2 – Ganymede Payments

                        Plan                           Tax Refund        Ganymede Payments       % of Refund
Bernina Pension Plan                               $        10,358,759   $        6,875,498        66.4%
RJM Capital Pension Plan                           $        10,621,413   $        7,107,621        66.9%
Delvian LLC Pension Plan                           $        11,923,504   $        7,849,298        65.8%
Basalt Ventures LLC Roth 401(k) Plan               $         4,150,978   $        3,113,233        75.0%
STOR Capital Consulting LLC 401(k) Plan            $         3,957,606   $        2,968,205        75.0%
Edgepoint Capital LLC Roth 401(k) Plan             $         4,704,675   $        3,528,506        75.0%
Loggerhead Services LLC Roth 401(k) Plan           $        10,455,774   $        7,841,831        75.0%
Roadcraft Technologies LLC Roth 401(k) Plan        $         9,959,185   $        7,469,389        75.0%
The Bareroot Capital Investments LLC 401(k) Plan   $         4,380,378   $        3,285,283        75.0%
The Costello Advisors Pension Plan                 $         4,015,602   $        3,889,380        96.9%
The LBR Capital Pension Plan                       $         4,290,593   $        4,118,328        96.0%
The FWC Capital LLC Pension Plan                   $        10,484,112   $      10,275,618         98.0%
The Proper Pacific LLC 401(k) Plan                 $         4,318,902   $        4,150,142        96.1%
The Oaks Group Pension Plan                        $        10,319,909   $      10,140,940         98.3%
The SVP 401(k) Plan                                $         3,806,446   $        3,689,260        96.9%

228.      As discussed below in paragraph 263, my analysis indicates that these percentages are
       consistent with amounts paid to Ganymede by the rest of the Plans.

          B.      Recruiters

229.      While the Plans themselves received tiny shares of the refund amounts, certain
       individuals did receive enormous compensation for their role in recruiting others to establish
       pension plans (or to allow plans to be established in their name).




276
    See, for example, Tax Reclaim Advisory Services Agreement between Ganymede and California Catalog
Company Pension Plan (MPSKAT00022222). I have only seen written agreements with Ganymede for less than 15
of the Plans.
277
    See Exhibit 4 for further detail.
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                  1.      Markowitz/van Merkensteijn/Klugman

230.      As described in section V.A, beginning in summer 2014, entities controlled by
       Markowitz, van Merkensteijn, and Klugman entered into partnerships with 26 Plans with
       participants who were friends and family of Markowitz and van Merkensteijn. 278 As with all
       Plans associated with Solo, the majority of the refund payments generated by these plans
       were retained by Shah’s entities. Specifically, Klugman, Markowitz, and van Merkensteijn
       agreed with Shah that for the new Plans established in 2014, Ganymede would receive 75%
       of the gross refund paid by SKAT.279 After “fees” to Ganymede had been paid, it was
       Markowitz, van Merkensteijn, and Klugman who reaped the overwhelming majority of what
       remained of the tax refund payments.
231.      Three of the Bellwether Plans (Roadcraft, Loggerhead, and Bareroot) entered into
       partnership agreements with RAK Investment Trust (Klugman’s entity) and Routt Capital
       Trust (Markowitz’s entity) through which those two entities received, respectively, 25% and
       70% of the available proceeds net of Ganymede’s fee. 280 The Plans themselves were left
       with 5% of the remaining funds. For Roadcraft, that represented a total of $121,967, or 1.2%
       of the total tax refund and 0.2% of the gross dividend; for Loggerhead, a total of
       $120,514.21, or 1.2% of the total tax refund and 0.2% of the gross dividend; and for
       Bareroot, a total of $47,336.98, or 1.1% of the total tax refund and 0.3% percent of the gross
       dividend.281
232.      The Kaye Scholer Plans that Markowitz’s, van Merkensteijn’s, and Klugman’s entities
       entered into partnerships with generated over $163 million in tax refund payments. 282 As a

278
    Klugman himself did not recruit anyone to create Plans in 2014 through 2015 but received stakes in the
partnerships consistent with finder’s fees for having first introduced Markowitz and van Merkensteijn to Shah. See
Deposition of Robert Klugman dated January 28, 2021, 78:5 – 79:5; 80:10 – 81:7. In fact, although Ronald Altbach,
Joseph Herman, Robin Jones, Perry Lerner, and David Zelman entered into partnership arrangements with Klugman
through which he received this enormous amount of money, each testified that they either did not even know
Klugman or did not know that he entered into a partnership with their Plans. Deposition of Ronald Altbach dated
October 30, 2020, 217:13-24; Deposition of Joseph Herman dated July 9, 2020, 122:17 – 124:9; Deposition of
Robin Jones dated November 4, 2020, 79:14-21, 80:17-20, 81:5-22; Deposition of Perry Lerner dated September 16,
2020, 129:18 – 130:3; Deposition of David Zelman dated December 11, 2020, 115:8 – 116:1. Similarly, Klugman
testified that he did not know Altbach, Herman, Jones, Lerner, or Zelman. See Deposition of Robert Klugman dated
January 28, 2021, 30:3-16.
279
    Klugman Tr. at 65:16-21.
280
    As discussed supra.
281
    See Exhibit 4 for further detail.
282
    See Exhibit 1.
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       result of the partnership arrangements with those Plans, the entities controlled by Markowitz,
       van Merkensteijn, and Klugman stood to receive approximately $15 million, $13 million, and
       $10 million, respectively, from those Plans’ refund applications. 283 My analysis of payments
       made from the Plans’ bank accounts and their accounts at the Solo Custodians indicate that
       the Markowitz, van Merkensteijn, and Klugman entities received amounts consistent with
       their shares of the partnerships.
233.      Markowitz and van Merkensteijn also profited from Plans even when their entities were
       not partnered with them. Based on my review of partnership agreements, if Markowitz’s
       entity was partnering with a Plan, van Merkensteijn would typically be appointed Manager of
       the Plan, and vice versa.284 This entitled Markowitz and van Merkensteijn to payments of
       $10,000 per year per plan for which each had the title of “Manager”.
234.      To demonstrate how these payment flows operated consistent with the agreements among
       Solo and the Recruiters, I detail below fund flows in and out of Roadcraft’s accounts at the
       Solo Custodians.

                  2.       Roadcraft Payment Flows

235.      On July 3, 2015, Goal Taxback, after receiving payment from SKAT in connection with
       Roadcraft’s application for withheld dividend tax on shares of Coloplast A/S-B, and after
       taking its fee, paid DKK 1,774,684.98 to the Roadcraft Plan’s account at Solo Capital. 285
       Just prior to receiving this payment, the Roadcraft Plan’s DKK cash account at Solo Capital
       had a zero balance. On July 20, 2015, the Plan paid Ganymede DKK 1,342,424.34, exactly
       75% of the gross refund.286
236.      On July 16, 2015, Goal Taxback made refund payments for 13 dividend reclaims to the
       Roadcraft Plan’s account at Solo Capital, totaling DKK 64,705,492.56. 287 On August 7,
       2015, the Roadcraft Plan sent a total of DKK 48,784,434.09 to Ganymede from their Solo


283
    Calculated by applying the relevant partnership percentages to the tax claim after taking into account the payment
to Ganymede of 75%.
284
    See, e.g., WH_MDL_00012567; MBJ_STOR-0002765.
285
    See MPSKAT00008759 at -8784 (Roadcraft Solo 2015 Account Statement).
286
    See MPSKAT00008759 at -8784 (Roadcraft Solo 2015 Account Statement); MPSKAT00010288 (Ganymede
July 7, 2015 invoice to Roadcraft Plan).
287
    See MPSKAT00008759 at -8784 (Roadcraft Solo 2015 Account Statement).
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       Capital account in relation to these 13 refund payments. 288 This also amounts to 75% of the
       total gross refunds paid to the Roadcraft Plan for those 13 dividends.
237.      In total, for the 14 refund applications made by the Roadcraft Plan in 2015 and one
       refund application in 2014, Goal Taxback paid out DKK 67,605,754.05 (approximately USD
       $10 million) to Roadcraft for tax refunds. 289
238.      Over the course of its existence, the Roadcraft Plan received two payments from Solo
       Capital into its checking account at Wells Fargo: $109,908.00 in August 2015 290 and
       $238,037.42 in November 2015.291 These payments reflect two different methods by which
       the Recruiters received their cuts – for distributions made in summer 2015, Solo Capital paid
       the Recruiters their cut directly and the Plans’ smaller cut directly to the Plans, and for
       distributions made in November 2015, Solo Capital sent the aggregate of the Recruiters’ cut
       and the Plans’ cut in one payment to the Plans’ bank account. For the November 2015
       distributions, the Plans were responsible for making the further payments to the Recruiters.
239.      For example, in August 2015, Solo distributed funds to the Roadcraft Plan, the Routt
       Capital Trust, and the RAK Investment Trust directly from the Roadcraft Plan’s Solo Capital
       account to the U.S. bank accounts of the Roadcraft Plan, the Routt Capital Trust, and the
       RAK Investment Trust. The payment amounts matched the percentages due under the
       Roadcraft Partnership Agreement:292 $1,540,000 to the Routt Capital Trust (70% of the total
       Solo Capital distribution); $550,000 to the RAK Investment Trust (25%); and $109,908 to
       the Roadcraft Plan (5% of the distribution from Solo Capital). 293
240.      For the money transferred by Solo Capital in November 2015, the Roadcraft Plan made
       the partnership payments from its bank account at Wells Fargo. Of the $238,037.42,



288
    See MPSKAT00008759 at -8784 (Roadcraft Solo 2015 Account Statement); WH_MDL_00050282 (Ganymede
July 13, 2015 invoice to Roadcraft Plan).
289
    Calculated using the exchange rates used in Roadcraft’s Old Park Lane and Solo Capital account statements
(MPSKAT00007347 and MPSKAT00007012).
290
    RC00000097.
291
    RC00000069. Notably, even when a Plan used another Shah-custodian besides Solo, transfers of funds to that
Plan’s account would also come from Solo’s bank account. For instance, the Limelight Global Productions LLC
Roth 401(k) Plan used Telesto as its custodian but received its payments from a Solo account. See LL00000063;
LL00000078.
292
    WH_MDL_00029401.
293
    See MPSKAT00008759 at -8783 (Roadcraft Solo 2015 Account Statement); RC00000097.
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       Roadcraft paid the Routt Capital Trust $167,050.00 (70.17%) and the RAK Investment Trust
       $59,000 (24.78%).294
241.      In total, the Roadcraft Plan retained only $121,967 USD, or 1.2%, of the refunds paid by
       SKAT.295 The flow of funds is depicted below in Figure 36. 296



                                 Roadcraft Tax Refunds: $9,959,185

                                                                Paid to Plan
                                                                 $121,967
                      Partnership
                       Payments
                      $2,316,050

               Trading/Broker Fees
                     $148,186

                                                           Ganymede
                Reclaim Agent                              $7,469,389
                   $53,866




                             Figure 36 – The Roadcraft Plan Tax Refunds


242.      Payments from friends and family Plans were not the only means by which Markowitz,
       van Merkensteijn, and Klugman profited from their involvement in the scheme. Each of
       these defendants also established pension plans in which they themselves were the
       participants.297 And unlike the friends and family members they recruited, these individuals


294
    RC00000100.
295
    See Exhibit 4 for additional detail.
296
    121,967 is 5% of the total distributed to the Plan and the Partners: $121,967 = 5% x ($121,967 + $2,316,050).
There was an additional deposit from Solo Capital of $109,980 on August 28, 2015 plus a deposit of $39,989.88 into
Roadcraft’s Solo Capital account from an unknown source. As a result, the difference in the amounts shown in
Figure 36 and the tax refunds paid to the Roadcraft Plan is approximately $150 thousand.
297
    From August 2014 through mid-2015, Klugman had five Plans; Markowitz four; and van Merkensteijn four. See
Exhibit 1.
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       retained a higher percentage of the refund payments paid by SKAT, specifically 25% of the
       refunds paid by SKAT, net of fees paid to the payment agents, the brokers, the custodians,
       and Ganymede.298

                  3.      Lehman, Bradley, Tucci, and Crescenzo

243.      The remaining Recruiters received compensation for bringing others into the scheme via
       payments from Solo-affiliated entities. In 2015, the flow of the payments was generally as
       follows: The Plans would pay Ganymede, which would in turn transfer funds to Elysium
       Global Limited (a BVI entity controlled by Shah).299 The funds would then be transferred to
       four offshore entities, which would then transfer the funds to U.S. shell entities controlled by
       Lehman, Bradley, Tucci, and Crescenzo. The entities established by these four individuals
       were all created in 2015, shortly before they began to receive transfers of millions of dollars
       for “consulting” or similar services purportedly provided to the four offshore entities. 300
       According to Bradley, Tucci, and Crescenzo, the only services provided by them or their
       entities was the introduction of friends and family to the scheme. 301

                  4.      Roger Lehman

244.      Roger Lehman received millions of dollars of payments from Ganymede or other Shah-
       controlled entities. Some of these were based on a percentage of the refunds paid by SKAT
       to various pension plans. Payments to Lehman were typically made to one of two entities
       owned and controlled by Lehman: Valerius LLC (“Valerius”) or First Alton, Inc. (“First
       Alton”).



298
    Klugman Tr. at 65:16-21.
299
    ELYSIUM-05315871 (Flowchart of Shah related entities).
300
    See, e.g., ELYSIUM-04658774 (First Alton, Inc.); ELYSIUM-04665984 (First Alton, Inc.); ELYSIUM-
04641823 (First Alton, Inc.); ELYISIUM-00008355 (First Alton, Inc.) ELYSIUM-07724581 (India Atlantic, Inc.);
ELYSIUM-09346040 (Atlantic India, Inc.); ELYSIUM-09346042 (Pacific India, Inc.); Bradley Dep. Tr. 337:12-
338:8; ELYSIUM-04720545 (Lava Beach, Inc.); ELYSIUM-04724945 (Sand Dollar Beach, Inc.); ELYSIUM-
04725421 (Starfish Dunes, Inc.); ELYSIUM-09228920 (Icon Beach, Inc.); Tucci Dep. Tr. 157:2-15; ELYSIUM-
07792269 (Sabba Group Inc.); ELYSIUM-07792261 (Comisana, Inc.); Crescenzo Dep. Tr. 181:8-182:9.
301
    Bradley Dep. Tr. 334:24-340:7; Tucci Dep. Tr. 155:24-168:19; Crescenzo Dep. Tr. 157:13-160:16, 175:13-
177:19, 182:15-185:23. Lehman’s brother also received payments for recruiting three of his friends to be
participants in the Plans. Like Tucci, Bradley, and Crescenzo, Lehman’s brother did not provide any services aside
from sourcing Plan participants., Lehman Tr. at 413:23 – 416:5.
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245.      For Plans in which Lehman himself was the participant, Solo’s records suggest that
       Lehman was paid 15% of the refunds paid by SKAT.302 In 2015, for his role in the scheme,
       Lehman’s entities invoiced $33 million from Ganymede or other Shah-controlled entities. 303
       No money from the refunds was paid to Lehman’s Plans.304
246.      Lehman and his brother together recruited three of Lehman’s brother’s friends to act as
       participants in a total of 15 Plans. Kevin Lehman was paid by Solo-related entities for these
       introductions.305 Kevin Lehman’s entity SSM United LLC invoiced Solo-related entities
       approximately $9 million.306 Solo’s records show that it paid Kevin Lehman’s entity SSM
       United LLC at least $7,000,000.307 Lehman also received payments for his role in setting up
       and acting as an “authorized trader” for yet more Plans.308

                  5.      Matthew Tucci

247.      Matthew Tucci established six plans for which he was the principal and recruited others
       to establish 21 plans.309 He understood that he would receive between $100,000 to $300,000
       for each plan introduced by him and told his recruits that they would make between $35,000
       to $100,000 for each plan they established. 310
248.      Tucci received a first payment of between approximately $70,000 and $150,000 in 2014,
       and a second payment of between $4 and $6 million, approximately a year later. 311 None of
       these funds were paid to Tucci’s Plans or the Plans’ associated LLCs; the money was




302
    Roger Lehman invoiced Shah related entities for approximately $33 million (see Lehman Exhibit 4024, 4025,
4027 and 4029) and the tax claims paid on the Plans for which he was listed as the beneficiary was approximately
$220 million (see ELYSIUM-07846030). $33 million divided by $220 million is 15 percent. Also, compare, e.g.,
ELYSIUM-07426784 (Ganymede payment calculation spreadsheet) with ELYSIUM-03847468 (February 24, 2014
First Alton invoice to Ganymede).
303
    See Lehman Exhibit 4024, 4025, 4027 and 4029; Lehman Dep. Tr. at 464:23 – 472:16.
304
    Lehman Dep. Tr. at 453:24 – 454:10.
305
    Lehman Dep. Tr. at 416:1-6.
306
    ELYSIUM-00000542; ELYSIUM-00008335; ELYSIUM-00008359; ELYSIUM-00008475; ELYSIUM-
07777712.
307
    See ELYSIUM-04689274.
308
    See, e.g., Lehman Dep. Tr. at 338:3-12, 348:21 – 349:21, 457:2 – 458:3, 480:13 – 483:6.
309
    Tucci Dep. Tr. 22:12-26:12, Exhibit 1289.
310
    Tucci Dep. Tr. 53:6-55:14; 121:16-122:8; 123:13-24; 119:3-9.
311
    Tucci Dep. Tr. 153:2-17.
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       transferred to his personal account and shell entity accounts established in connection with
       the scheme.312
249.       Tucci paid the others he recruited with portions of this money he had received from
       Solo/Ganymede.313 He and his wife decided how much each of the other participants
       received.314 The resulting payments ranged in size from $0 to $300,000, indicating that their
       allocation decisions were not based on the amount of shares each Plan purportedly owned or
       the amount of dividends each Plan purportedly received.
250.       Tucci later came to believe that he had been “shorted” between $2 to $2.6 million for his
       efforts to advance the scheme.315 Tucci raised the issue with Sanjay Shah, who then
       provided the money through a forgivable loan, paid to Tucci’s entity White Sands Advisors,
       Inc.316

                  6.      Doston Bradley

251.       Doston Bradley established six plans for which he was the sole participant and recruited
       his family members to establish 14 plans. Bradley received approximately $5.8 million in
       payments for establishing the 20 Plans for himself and his family. 317 None of these funds
       were paid to Bradley’s Plans or associated LLCs.318
252.       Bradley admitted that these transfers did not represent profits from trading on behalf of
       the plans but were instead payments for introducing plans into the scheme. 319
253.       Bradley testified that he involved his parents in the scheme to provide for their
       retirement, but later admitted that he did not provide any of the money he received to his
       family members (including his parents), meaning those Plans and participants did not receive
       one dollar of the refund payments they were established to generate. 320




312
    Tucci Dep. Tr. 185:2-17, 126:21-127:6.
313
    Tucci Dep. Tr. 125:20-127:16.
314
    Tucci Dep. Tr. 127:25-128:9.
315
    Tucci Dep. Tr. 170:11-171:20.
316
    Tucci Dep. Tr. 174:4-25; 240:1-14; ELYSIUM-09330629; JPM0000208.
317
    Bradley Dep. Tr. 276:19-277:10; 306:14-20; 307:14-309:4.
318
    Bradley Dep. Tr. 277:22-278:10; Tr. 307:3-9; 339:20-25.
319
    Bradley Dep. Tr. 309:5-13.
320
    Bradley Dep. Tr. 353:23-354:10.
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254.       Bradley also received a $2 million loan from Sanjay Shah, which he claimed was for
       legitimate business use by his company Blackrain Inc. 321 Bradley testified that as of his
       deposition on October 14, 2021, he has not repaid the loan. 322

                   7.     Gavin Crescenzo

255.       Gavin Crescenzo established six plans for which he was the sole participant and recruited
       his family members to establish 12 plans (six by his brother, five by his mother, and one by
       his wife). Crescenzo received approximately $1.8 to $1.9 million from Solo/Ganymede for
       his role.323 None of these payments were made to Plans established by Crescenzo or his
       relatives.324
256.       Despite their formation of 11 plans, Crescenzo did not share any of the proceeds he
       received with his mother or brother.325

           C.      Other Individuals and their Plans

257.       The Plans themselves generally received a fraction of the refund amounts claimed on
       their behalf.
258.       As described more fully below, I determined that—for the 15 Bellwether Plans—on
       average, approximately 9% of the amount of the tax refunds paid by SKAT actually ended up
       being retained by the Bellwether Plans (see Exhibit 4). However, as demonstrated below, the
       percentages were much higher than 9% for the Plans established for the Recruiters, and much
       lower than 9% for Plans established for others.
259.       The Bellwether Plans can be separated into two groups, those where the plan participant
       was a Recruiter and therefore received a higher percentage of the tax claim (excluding the
       Lehman group where the Recruiters received fees by invoicing Shah related entities directly
       as discussed supra) and those where the plan participant was not a recruiter or was part of the
       Lehman group. The five Argre and Kaye Scholer Bellwether Plans which had a Recruiter



321
    Bradley Dep. Tr. 324:16-326:20; ELYSIUM-05510674; JPM00000370; JPM00000381.
322
    Bradley Dep. Tr. 326:21-327:19.
323
    Crescenzo Dep. Tr. 93:20-94:10; 179:1-6.
324
    Crescenzo Dep. Tr. 93:20-96:25; 98:5-99:121; 151:15-152:2; 156:1-23; 157:13-25; 159:20-160:5; 176:23-178:1.
325
    Crescenzo Dep. Tr. 192:12-193:3.
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              (van Merkernsteijn, Markowitz, or Klugman) as the plan participant received between 21 to
              32 percent of the tax refunds, as shown in Table 3 below.326


                                                      Table 3 – Payments to Recruiter Plans
                                                                               Purported           Purported                                  Ganymede        Amount Paid
Plan                                                Plan Participant                                              Refunds Received                                          % of Refund
                                                                              Investments          Dividends                                  Payments          to Plan
Bernina Pension Plan                                John van Merkensteijn   $ 1,878,998,228    $     38,365,775      $        10,358,759    $   (6,875,498) $     3,193,447   30.8%
RJM Capital Pension Plan                            Richard Markowitz       $ 1,970,247,159    $     39,910,271      $        10,621,413    $   (7,107,621) $     3,387,433   31.9%
Basalt Ventures LLC Roth 401(k) Plan                John van Merkensteijn   $    672,112,226   $     15,373,992      $         4,150,978    $   (3,113,233) $       886,880   21.4%
STOR Capital Consulting LLC 401(k) Plan             Robert Klugman          $    646,576,763   $     14,657,801      $         3,957,606    $   (2,968,205) $       861,585   21.8%
Edgepoint Capital LLC Roth 401(k) Plan              Robert Klugman          $    802,387,731   $     17,092,435      $         4,704,675    $   (3,528,506) $       993,391   21.1%




       260. Out of the remaining 10 Bellwether Plans, it appears that six of the Plans received no
          money from the refunds, and four received less than 2%, as shown in Table 4 below. 327

                                               Table 4 – Payments to Non-Recruiter Plans
                                                                                 Purported           Purported               Refunds          Ganymede        Amount        % of
 Plan                                                   Plan Participant
                                                                                Investment           Dividends               Received          Payment      Paid to Plan   Refund
 Delvian LLC Pension Plan                               Alicia Colodner       $   2,066,790,606    $    44,953,257       $     11,923,504    $ (7,849,298) $ 194,203        1.6%
 Loggerhead Services LLC Roth 401(k) Plan               Perry Lerner          $   1,074,275,449    $    38,725,090       $     10,455,774    $ (7,841,831) $ 120,514        1.2%
 Roadcraft Technologies LLC Roth 401(k) Plan            Ronald Altbach        $   1,041,022,669    $    36,885,870       $      9,959,185    $ (7,469,389) $ 121,967        1.2%
 The Bareroot Capital Investments LLC 401(k) Plan       David Zelman          $     694,869,341    $    16,223,622       $      4,380,378    $ (3,285,283) $      47,337    1.1%
 The Costello Advisors Pension Plan                     Gavin Crescenzo       $     660,099,881    $    14,872,599       $      4,015,602    $ (3,889,380) $         -      0.0%
 The LBR Capital Pension Plan                           Doston Bradley        $     737,873,456    $    15,891,086       $      4,290,593    $ (4,118,328) $         -      0.0%
 The FWC Capital LLC Pension Plan                       Roger Lehman          $   1,183,509,081    $    38,830,045       $     10,484,112    $ (10,275,618) $        -      0.0%
 The Proper Pacific LLC 401(k) Plan                     Doston Bradley        $     783,034,148    $    15,995,932       $      4,318,902    $ (4,150,142) $         -      0.0%
 The Oaks Group Pension Plan                            Matthew Tucci         $   1,139,614,285    $    38,221,886       $     10,319,909    $ (10,140,940) $        -      0.0%
 The SVP 401(k) Plan                                    Svetlin Petkov        $     610,996,178    $    14,097,947       $      3,806,446    $ (3,689,260) $         -      0.0%


       261.      The distribution of proceeds illustrated above is not unique to the Bellwether Plans, rather
              these plans are illustrative of how each Plan under this scheme was set up: to siphon the
              majority of money to Shah-related entities (specifically Ganymede), with the next largest
              portion of money to the Recruiters (either through Partnership Payments, money funneled
              through Ganymede, or to their own Plans), leaving little, if any, money for the remaining
              Plans. To verify this, I performed a similar analysis on a sample of the remaining 2,289
              claims328 using a sample size of 71.329 The sample size was determined by utilizing the
              following parameters:
                       x     Population size of 2,289
                       x     95% level of confidence

       326
           See Exhibit 4 for additional detail.
       327
           See Exhibit 4 for additional detail.
       328
           2,289 claims equal 2,559 total claims less 270 claims related to the Bellwether Plans.
       329
           Raosoft is a widely used and commonly accepted survey tool which can be accessed at www.raosoft.com.
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              x    Response distribution of 95%

262.     I then used a random number generator to generate the final selection of the 71 refund
    claims to analyze to avoid bias in the selection process.
263.     The results of the sample (as shown below in Table 5 and detailed further in Exhibit 5)
    confirmed that the payment structure for the Bellwether Plans is consistent throughout the
    Plans involved in the Solo Trades.


                                  Table 5 – Payment Structure for the Plans

                                                                                                           Maximum
                                                 Tax Refund         Payment to         Amount to                            % of Tax
Group                          # of Claims                                                              Potential Amount
                                                   Claims           Ganymede            Partners                            Refund
                                                                                                       Remaining for Plan
Argre - Recruiter                   5        $      5,926,548   $      (3,934,292) $              -    $       1,992,256     33.6%
Arge - Non-Recruiter               12        $      2,690,909   $      (1,786,715) $       (835,108)   $          69,086     2.6%
Kaye Scholer - Recruiter            6        $        888,773   $        (666,580) $              -    $         222,193     25.0%
Kaye Scholer - Non-Recruiter       10        $      6,470,667   $      (4,853,000) $     (1,536,783)   $          80,883      1.2%
Lehman                             38        $     23,230,817   $     (22,042,289) $              -    $       1,188,528      5.1%


264.     Consistent with my findings for the Bellwether Plans, the Argre group of Plans for which
    the Plan participant was a Recruiter (i.e., Markowitz and van Merkensteijn, as well as non-
    defendants Stein and Lhote) all received at a maximum 34% (not accounting for additional
    purported trading and brokerage fees), while the remaining Argre Plans received less than
    3% of the total tax refund. The Kaye Scholer group of claims for which the Plan participant
    was Richard Markowitz or Robert Klugman all received at a maximum 25% (not accounting
    for additional purported trading and brokerage fees), while the remaining Kaye Scholer Plans
    received less than 2% of the total tax refund. The Lehman group of Plans all received on
    average approximately 5% of the total tax refund (not accounting for additional purported
    trading and brokerage fees).
265.     Consistent with my findings for the Bellwether Plans, the majority of the funds
    (approximately 66% to 95%) from the tax claims for the sample went to Ganymede. By
    extrapolating the findings of my sample (as detailed in Exhibit 5) to all of the claims, it is
    estimated that Ganymede received approximately $946 million of the tax claims filed by the
    Plans, as shown below in Table 6.
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                                   Table 6 – Payments to Ganymede330
                                                                                Estimated Amount
                 Group          Claim Amount (USD)           Ganymede %           to Ganymede
            Arge                $        288,335,443            66.4%           $     191,421,785
            Kaye Scholer        $        242,949,205            75.0%           $     182,211,904
            Lehman              $        603,205,921            94.9%           $     572,344,888
            Total               $      1,134,490,569                            $     945,978,576



VIII. Conclusion

266.      I have concluded that:
             x   There is no evidence that the Plans ever owned actual shares of Danish companies
                 resulting from the purported Solo Trades, or received actual dividends issued by
                 the Danish companies whose shares were allegedly purchased by the Plans.
             x   The Solo Trades were pre-arranged, closed loop, circular transactions in which a
                 short-seller purported to sell Danish shares to the Plans, but only obtained the
                 non-existent shares by purportedly borrowing those same shares, either directly or
                 indirectly, from the Plans that also did not have any shares. In effect, in all of the
                 2,559 Solo Trades, a seller “sold” shares it did not have to a Plan and purported to
                 cover that “sale” by supposedly borrowing those same shares from the Plan,
                 which never had the shares to begin with.
             x   The Plans did not have sufficient capital, liquidity, or creditworthiness to execute
                 purchases of actual shares in the amounts and volumes of the Solo Trades.
             x   Based on my review of Solo Custodian account statements and Plan bank records,
                 the overwhelming majority of the “profits” received by the Plans were derived
                 from receiving a small fraction of the dividend tax refund claim paid by SKAT,
                 with de minimis (if any) profits from anything but the refunds. Most of the
                 proceeds from the tax reclaim payments went to Solo Capital or affiliated entities


330
   Table 6 does not include the Zeta group of plans which had approximately $4.3 million of claims. The tax claims
are converted into USD using an exchange rate from S&P Capital IQ. The Ganymede percentage applied is
estimated based on the average percentage to Ganymede calculated for each Group in the sample, as seen in Exhibit
5.
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              or the Recruiters.
267.   This Report is based upon the information available to me and reviewed to date. I reserve
   the right to supplement or amend this Report as necessary to respond to any additional
   information that becomes available for my review including, but not limited to, issues raised
   by experts that may be retained by the defendants in this matter.




                             Bruce G. Dubinsky, MST, CPA, CFE, CFF, MAFF, CAMS

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                              APPENDIX A

                 QUALIFICATIONS OF BRUCE G. DUBINSKY

                           (As of December 2021)
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8,9D:1B34.3B0=05@=D?=4,7> 
=@.03,>-009<@,74140/,9/?0>?4140/,>,90C;0=?B4?90>>49.,>0>
49A:7A492.=4849,7,9/.4A47149,9.4,71=,@/$:9E4>.3080>&,9/"%                        )*' /()+"*
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                                   23|Q. You plainly conducted a very extensive investigation of
                                   24|Madoff Securities.
                                   25|A. Thank you.
                                 64:1|Q. I meant it as a question, not a complaint. If you take
                                    2|it as a complaint, that’s fine.   I think it is unanimous that
                                    3|you were thorough, I think. Either you or people working for
                                    4|you looked at millions and millions of documents, correct?
                                    5|A. That is correct, yes.

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     ?B09?DD0,=>?:,A:4/;,D49210/0=,749.:80,9/241??,C0>49?30(94?0/&?,?0> 
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•   4=0/,>,?0>?41D492/,8,20>0C;0=?49,.,>049A:7A4927:>?;=:14?>,9//,8,20>,=4>4921=:8,77020/
     ?=0>;,>>492,9/@9,@?3:=4E0/@?474E,?4:9:1,949?0=90?>0=A4.0;=:A4/0=90?B:=6 
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     .:9?=,.??0=849,?4:949&:@?380=4.,=07,?0/?:,;:B0=;7,9? 
•   4=0/,>,?0>?41D4921:=09>4.,..:@9?,9?0C;0=?49:A0=?B09?D.,>0>>@==:@9/492,77020/1=,@/@709??,C>307?0=>
     49A:7A4923@9/=0/>:184774:9>:1/:77,=>49@9;,4/10/0=,749.:80?,C0> 
•   4=0/,>,?0>?41D4921:=09>4.,..:@9?,9?1:=?30/0109>0:1,;=:84909?-,964927,BD0=49,B34?0.:77,=.=4849,7
     .,>049A:7A492,7702,?4:9:1-,96=@;?.D,9/?,C1=,@/ 
•   4=0/,>,?0>?41D4921:=09>4.,..:@9?,9?1:=?30/0109>0:1?301:=80=:A0=9:=:1$@0=?:%4.:49,B34?0.:77,=
     .=4849,7.,>049A:7A492,7702,?4:9>:1.,8;,429149,9.01=,@/,9/?,C1=,@/ 
•   4=0/,>,?0>?41D492/,8,20>0C;0=?49,30,7?3.,=049>@=,9.0.,>049A:7A492-=0,.3:1.:9?=,.?,9/:?30=
     .7,48> 
•   4=0/,>,?0>?41D492/,8,20>0C;0=?-D@$:9?49,.,>049A:7A4927:>?;=:14?>,=4>4921=:849?09?4:9,7/4>=@;?4:9
     :1/4>?=4-@?:=>34;.3,9907> 
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     8,9,20809?100>?:4?>=0?,47.@>?:80=> 

• 4=0/,>,?0>?41D492/,8,20>0C;0=?-D,>@->4/4,=D:1@$:9?49,.,>049A:7A492?30,77020/>,70:1?,49?0/
   1::/>?,-474E,?4:9;=:/@.?>?:,1::/;=:.0>>492;7,9? 
•   4=0/,>?301:=09>4.,..:@9?,9??:49A0>?42,?01=,@/,7702,?4:9>:9-03,71:1?30*,>3492?:9'0,.30=>H(94:9
     B30=0?30;=0>4/492:114.0=>B0=0,77020/?:3,A008-0EE70/84774:9>:1/:77,=>1=:8@94:9.:110=> 
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•   :880=.4,7=-4?=,?:=             

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•   !,>?0=:1&.409.049',C,?4:934233:9:=>0:=20?:B9(94A0=>4?D*,>3492?:9   

•   ,.307:=:1&.409.049..:@9?492(94A0=>4?D:1!,=D7,9/ 

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     
         
•   /A4>:=D:@9.471:=?3009?0=1:=?30&?@/D:1@>490>>?34.>%02@7,?4:9,9/=480%,??30&84?3
     &.3::7:1@>490>>(94A0=>4?D:1!,=D7,9/ 

•   /A4>:=D:,=/ 0C4>"0C4>=,@/0109>0"0?B:=6

•   3,4=8,980=4?@>:1?30:,=/:1%0209?>1:=?30>>:.4,?4:9:10=?4140/=,@/C,8490=>

•   >>:.4,?4:9:10=?4140/=,@/C,8490=>:,=/:1%0209?>

•   9>?=@.?:=:1C.0;?4:9,74>?49.?4:9B,=/")

•   ",80/:90:1?30F':;      !:>?917@09?4,7$0:;7049?30..:@9?492$=:10>>4:9G-D..:@9?492':/,D

•   =,@/C,8490=:1?30+0,=*,>3492?:9!0?=:;:74?,93,;?0=:10=?4140/=,@/

•   :=80=808-0=:1?30/4?:=4,7:,=/:1'30),7@0C,8490=

•   :=80=.:9?=4-@?4920/4?:=1:=?30$420>?

•   =0<@09?80/4,,;;0,=,9.0>499@80=:@>;=49?80/4,,>B077,>,;;0,=492:97:.,7,9/9,?4:9,7?070A4>4:9
     ,9/=,/4:90B>.,>?>?:/4>.@>>A,=4:@>?,C,..:@9?492,9/1=,@/4>>@0> 

•   =@.01=0<@09?7D70.?@=0>,??30.:7702070A07:94>>@0>=07,?492?:1:=09>4.,..:@9?492,9/,..:@9?4920?34.> 
     03,>;=0>09?0/>0849,=>?:7,B14=8>;=:10>>4:9,72=:@;>,9/7,B091:=.0809?-:/40>49.7@/492?30
     0/0=,7@=0,@:19A0>?42,?4:9 




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    %A4II0=>4C0;EA438C(D8BB4(42DA8C84B*(  DC278=B>=4C0;EA438C(D8BB4(42DA8C84B*(
    !!                                                 !!
    "&=.5?=-?5;:F45/-3;                      "&=.5?=-?5;:F45/-3; 
    ->1";                                       ->1";   
    '1<?19.1=           (=5-8                    1.=@-=D            (=5-8
                                                        0<4B)0A?4HE*=8C43(C0C4B>5<4A820
                                                         ):5?10'?-?1>5>?=5/?;@=?2;=?415>?=5/?!;:?-:-
                                                         F@??15A5>5;:
                                                         ->1";*  )!!
                                                         !-D      (=5-8
                                                         -:@-=D       1<;>5?5;:
    =A44A=0A3!"03>55AE8=6%820A3         4554A84B!!E>=0C70=">=4H?4==H
    )ADBC445>AC74(D1BC0=C8E4;H>=B>;830C43(%     "&=.5?=-?5;:F"1B,;=7",
    !8@D830C8>=>54A=0A3!"03>55=E4BC<4=C         ->1";       
    (42DA8C84B!!0=34A=84!"03>55E"!% 1.=@-=D             (=5-8
    "82704;"0==0=3"4AH;"0==
    )'-:7=@<?/D;@=?'1/@=5?51>:A1>?;=
    $=;?1/?5;:;=<;=-?5;:F';@?41=:5>?=5/?;2"1B
    ,;=7
    0A$=;";  '!
    '$ %)(#"'@.>?-:?5A18D;:>;850-?10
    0A$=;";           '!
    '1<?19.1=           (=5-8
    0;;84C0;EA438C(D8BB4(42DA8C84B*(!! 4554A84B!!E4A0;3(;>F8:
    "&=.5?=-?5;:F;>?;:!                      "&=.5?=-?5;:F"1B,;=7",
    ->1";                                       ->1";   
    -:@-=D          (=5-8                        -:@-=D         (=5-8
    
    8CH>5;<0CH 0I0:7BC0=0=3)0=:(E 8ABC<0=4C0;EA438C(D8BB4(42DA8C84B*(
    "D:7C0A1;H0I>E+8:C>A 7A0?D=>E;H0B           !!
      7A0?D=>E0=3)A803>D(%+(                   "&=.5?=-?5;:F?8-:?-
    )'5>/?=5/?;@=?F';@?41=:5>?=5/?;2"1B     ->1";   
    ,;=7                                                @8D    (=5-8
    ->1"; /A  "                             
    @3@>?         1<;>5?5;:
    4AC>DI>BEA438C(D8BB4(42DA8C84B*(!!     A438C(D8BB4(42DA8C84B*(!!E/8=<0=
    "&=.5?=-?5;:F"1B,;=7",                   "&=.5?=-?5;:F"1B,;=7",
    ->1";                                       ->1";       
    @8D     (=5-8                               @:1        (=5-8




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    =A44A=0A3!"03>55AE8=6%820A3              4;;0'DBB>0=3(D;;8E0=EA438C(D8BB4(42DA8C84B
    )ADBC445>AC74(D1BC0=C8E4;H>=B>;830C43(%          *(!!
    !8@D830C8>=>54A=0A3!"03>55=E4BC<4=C               "&=.5?=-?5;:F"1B,;=7",
    (42DA8C84B!!0=35>AC74BC0C4>54A=0A3!          ->1";       
    "03>55E0A>;#4;B>=(C0=;4H#4;B>=                  <=58     (=5-8
    )'-:7=@<?/D;@=?F';@?41=:5>?=5/?;2"1B         !4A=4A,8=34A10D<EA438C(D8BB4(42DA8C84B
    ,;=7                                                    *(!!
    0A$=;";  '!                              "&=.5?=-?5;:F"1B,;=7",
    '$ %)(#"'@.>?-:?5A18D;:>;850-?10            ->1";     
    0A$=;";  '!                              !-=/4     (=5-8
    0A$=;";       '!                           
    !-D    (=5-8
    0E83A44=4EA438C(D8BB4(42DA8C84B*(           4554A84B!!E>=464=748<4A
    !!                                                      "&=.5?=-?5;:F'-:=-:/5>/;
    "&=.5?=-?5;:F?8-:?-                          ->1";      
    ->1";                                              -:@-=D     (=5-8
    1.=@-=D  (=5-8                                   


    #827>;0B8==EA438C(D8BB4(42DA8C84B*(          "82A>>2DB*(=2EG?A4BB(2A8?CB=2
    !!                                                      ):5?10'?-?1>5>?=5/?;@=?2;=?41";=?41=:5>?=5/?
    "&=.5?=-?5;:F"1B,;=7",                         ;2!-=D8-:0F=11:.18?5A5>5;:
    ->1";                                            5A58/?5;:"; /A  
    #/?;.1=    (=5-8                                 @3@>?     1<;>5?5;:
    >=2>A380%70A<024DC820;B=2('!E              0A>;3,#8G4C0;E*=8C43(C0C4B>5<4A820
    ,8=34A!01>A0C>A84B!!0=3(C4E4=%A4BB<0=             ):5?10'?-?1>5>?=5/?;@=?->?1=:5>?=5/?;2(1C->
    ):5?10'?-?1>5>?=5/?;@=?2;=?41";=?41=:5>?=5/?   ->1";  /A       1-0  /A   /A
    ;21;=35-F-5:1>A58815A5>5;:                          
    ";  /A        &+'                            !-=/4     1<;>5?5;:
    <=58   1<;>5?5;:
    A80="78;C>=EA438C(D8BB4(42DA8C84B*(       4AC08=*=34AFA8C4AB0C!;>H3LB!>=3>=4C0;E
    !!                                                      #0C8>=0;'08;A>03%0BB4=64A>A?>A0C8>=4C0;
    "&=.5?=-?5;:F;>?;:!                           ):5?10'?-?15>?=5/?;@=?->?1=:5>?=5/?;2"1B
    ->1";                                            ,;=7
    @3@>?    (=5-8                                  ->1 *5A  
                                                              '1<?19.1=       (=5-8
                                                              !-D     1<;>5?5;:




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    =A4(0<D4;,H;H4C0;                        >7= 4<0%E>E4A=<4=C>5C74*(+8A68=
    E0=,H;H0=3!8B0!,H;HE(0<D4;,H;H       B;0=3B
    0=3C74=C4A=0;'4E4=D4(4AE824EE0=,H;H     !-??1=5:=.5?=-?5;:F'?=;5C)'*5=35:>8-:0>
    !8B0!,H;H0=3(0<D4;,H;H                      '1<?19.1=       (=5-8
    )'-:7=@<?/D;@=?F";=?41=:5>?=5/?;2(1C->
    F-88->5A5>5;:
    ->1";   
    0A1=>-=D";          
    !-=/4      1<;>5?5;:
    "0A:0;4)>33(703;40=30A;H+82:4AB">AB4        ,H;4=20=3,H;4(4AE824B>A?E))>A?
    E(C0C40A<"DCD0;DC><>18;4=BDA0=24             G4;8B=20=3-H;4<=2
    ><?0=H3"DA=0=40=3,8;;80<(74?74A3           '@<=191;@=?;2?41'?-?1;2"1B,;=7
    ):5?10'?-?1>5>?=5/?;@=?F';@?41=:5>?=5/?;2   ;@:?D;2"1B,;=7
    885:;5>                                              ->1";        
    ->1";  *  &'+                          !-=/4       1<;>5?5;:
    ";A19.1=        1<;>5?5;:
    *=8C43(C0C4B>5<4A820E'>14AC(27D;<0=           =A4(0<D4;,H;H4C0;
    ):5?10'?-?1>5>?=5/?;@=?->?1=:5>?=5/?;2    )'-:7=@<?/D;@=?";=?41=:5>?=5/?;2(1C->
    "1B,;=7                                              ->1";        
    ->1"; &       !                          -:@-=D        (=5-8
    !-=/4          (=5-8                        -:@-=D   1-=5:3-@.1=?!;?5;:
                                                           ";A19.1=      1<;>5?5;:
    *=8C43(C0C4B>5<4A820ED0=4A8C7584;30=3      =A44A=0A3!"03>55=E4BC<4=C
    (C4?74=>=0;3B>=(A                                (42DA8C84B!!
    ):5?10'?-?1>5>?=5/?;@=?F!500815>?=5/?;2     AE8=6%820A3)ADBC445>AC74!8@D830C8>=>5
    8;=50-F(-9<-5A5>5;:                              4A=0A3!"03>55=E4BC<4=C(42DA8C84B!!E
    ->1"; & ( (!                             IA0"4A:8=4C0;
    @:1        (=5-8                         )'-:7=@<?/D;@=?';@?41=:5>?=5/?;2"1B
                                                           ,;=7
                                                           0A$=;";  '!
                                                           '$ %)(#"'@.>?-:?5A18D;:>;850-?10
                                                           0A$=;";       '!
                                                           <=58    1<;>5?5;:




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    ; 4;;4A<0=4C0;E"0A8>=0BB(42DA8C84B        ,0;?0AC)ADBC'46)ADBC44>5C7422>=28)ADBC>=
    >A?>A0C8>=4C0;                                    1470;5>5!8=2>;=B78A4@D8CH%0AC=4AB!%0=3
    5=/@5?;@=?2;=!-05>;:;@:?D885:;5>            <4A820=#0C8>=0;=BDA0=24><?0=H>=1470;5
    -@>1";                                        >5!8=2>;=B78A4@D8CHD=3!%E)7><0B
    1.=@-=D  1<;>5?5;:                          "0;>=4H!8=2>;=B78A4"0=064<4=C=20=3
                                                          !8=2>;=B78A4@D8CH=2
                                                           '@<=191;@=?;2?41'?-?1;2"1B,;=7
                                                           ;@:?D;2"1B,;=7
                                                           ->1";         
                                                           #/?;.1=     1<;>5?5;:
    4?0AC<4=C>5=5>A24<4=CE%0D;)01>030          *=8C43(C0C4B>5<4A820E0=84;>=E4=CA4
    5:-:/5-8:0@>?=D&13@8-?;=D@?4;=5?D#225/1;2     ==4CC4>=68>A=>>0==AD?80 : 0J>38K
    1-=5:3#225/1                                        4A><4$L0A00=34>A64%4A4I"03>55
    5>/5<85:-=D$=;/1105:3";                      2A8<8=0;20B4
    #/?;.1=    (=5-8                              ):5?10'?-?1>5>?=5/?;@=?F';@?41=:5>?=5/?;2
                                                          "1B,;=7
                                                           ->1";'  =  ('
                                                           #/?;.1=           (=5-8



    =A44A=0A3!"03>55=E4BC<4=C                   7A8BC>?74A>70=8=38E83D0;;H0=30BB>;4)ADBC44
    (42DA8C84B!!                                        >5C747A8BC>?74A>70=(4?0A0C4%A>?4ACH)ADBC
    AE8=6%820A3)ADBC445>AC74!8@D830C8>=>5      0=3=64;8=0>70=E %"!!%
    4A=0A3!"03>55=E4BC<4=C(42DA8C84B!!E        '?-?1;@=?;2@8?;:;@:?DF'?-?1;21;=35-
    =3A4F>74=                                       5A58/?5;:"; *          
    )'-:7=@<?/D;@=?';@?41=:5>?=5/?;2"1B      @8D     1<;>5?5;:
    ,;=7
    0A$=;";  '!
    '$ %)(#"'@.>?-:?5A18D;:>;850-?10
    0A$=;";          '!
    #/?;.1=      (=5-8
    (?4=C4G#4C74A;0=3B+E'4?D1;82>5              06;4"0C4A80;B=2E*=8C43(C0C4B>5<4A820
    *I14:8BC0=                                            ):5?10'?-?1>5>?=5/?;@=?2;=?41";=?41=:5>?=5/?
    :?1=:-?5;:-81:?=12;='1??8191:?;2:A1>?91:?     ;2(1C->
    5><@?1>                                              5A58/?5;:";  *  
    '->1";&                                -:@-=D      1<;>5?5;:
    '1<?19.1=       (=5-8                          
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    #0C8>=0;'08;A>03%0BB4=64A>A?>A0C8>=            =A44A=0A3!"03>55=E4BC<4=C(42DA8C84B!!
                              AE8=6%820A3)ADBC445>AC74!8@D830C8>=>5
    ):5?10'?-?1>5>?=5/?;@=?F                        4A=0A3!"03>55=E4BC<4=C(42DA8C84B!!E
    ';@?41=:5>?=5/?;2"1B,;=7                          (0D; 0CI4C0;
    5A58/?5;:"; /A '&                       )'5>?=5/?;@=?2;=?41';@?41=:5>?=5/?;2"1B
    1.=@-=D  1<;>5?5;:                           ,;=7
                                                            0A$=;";  & 
                                                            '$ %)(#"'@.>?-:?5A18D;:>;850-?10
                                                            0A$=;";  & 
                                                               *  '&$
                                                            -:@-=D        1<;>5?5;:
    )74%4>?;4>5C74(C0C4>5#4F.>A:1H=3A4F" BC0C4>5;8I014C7((=>F4240B43%78;8?
    D><>CC>A=4H4=4A0;>5C74(C0C4>5#4F.>A: A>F=G42DC>AE*=8C43(C0C4B>5<4A820
    0608=BC0=:>5<4A820>A?>A0C8>= 4==4C7 )'5>?=5/?;@=?;2+->45:3?;:-?(-/;9-
    !4F8B0=3>B4?7!%A824                              ->1";  /A  & 
    '@<=191;@=?;2?41'?-?1;2"1B,;=7F;@:?D        #/?;.1=       1<;>5?5;:
    ;2"1B,;=7
    ->1";             
    -:@-=D       1<;>5?5;:
    8ABC)427=>;>6H=2E(84<4=B=4A6H=2        ;H==E$>A?>A0C8>=
    91=5/-:=.5?=-?5;:>>;/5-?5;:F#=8-:0;             )'5>?=5/?;@=?2;=?415>?=5/?;2!-=D8-:0
    5A5>5;:                                               ->1";  /A  !
    ->1";  (                                    1.=@-=D        1<;>5?5;:
    @3@>?        (=5-8
    )7><0B 833$8;%A>3D2C8>=!C3E*=8C43           %4A>C(HBC4<B>E4A=<4=C(4AE824B=2E BC
    (C0C4B>5<4A820                                      4=CDAH(HBC4<B=24C0;
    ):5?10'?-?1>5>?=5/?;@=?2;=?41";=?41=:5>?=5/? 5=/@5?;@=?2;=-5=2-C;@:?D*5=35:5-
    ;2(1C->F @..;/75A5>5;:                            ->1";      
    ->1"; *           /;:>;850-?10B5?4     @:1       (=5-8
     *             *     -:0 *       !-D       1<;>5?5;:
      
    !-=/4           (=5-8
    1/19.1=        1<;>5?5;:
    4?0AC<4=C>5=5>A24<4=CE,8;;80<A4CI         (0=3B0?8C0;"0=064<4=C!!E(2>CC
    A'  >7=%A44<0='                $L>A<0=
      0=3C74 4HBC>=4@D8C84BA>D?'          91=5/-:=.5?=-?5;:>>;/5-?5;:
                                                       ->1";  ,         
    5:-:/5-8:0@>?=D&13@8-?;=D@?4;=5?D              <=58      (=5-8
    #225/1;21-=5:3#225/1=>
    5>/5<85:-=D$=;/1105:3";            
    @8D -:0           5A11-=5:3

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    (>DC7;>A830%7HB8280=LB#4CF>A:!!0=3          %!06D=0A44:4C0;E(D=A8B4(4=8>A
    *=8C4340;C7#4CF>A:B=20=3*=8C4340;C7      !8E8=6"0=064<4=C=2
    #4CF>A:>5;>A830=2                            )'5>?=5/?;@=?2;=?415>?=5/?;2->?1=:*5=35:5-
    91=5/-:=.5?=-?5;:>>;/5-?5;:                    ->1";  *  
    ->1";   ,                               1.=@-=D      1<;>5?5;:
    1/19.1=           (=5-8
    @3@>?          1<;>5?5;:
    ;0H+0=24'8270A3B>=4C0;EA>=C84A(?8==8=6    =A4*=8C4340;C7A>D?4C0;E<4A820=
    "8;;B=24C0;                                  "D;C8B?4280;CHA>D?3 1 0 BB440;C7
    1:1=-8;@=?;2@>?5/1                            91=5/-:=.5?=-?5;:>>;/5-?5;:
    '@<1=5;=;@=?";=?4-=;85:-                      ->1";  ,          
    ->1"; *'                                    @:1      (=5-8
    @:1      1<;>5?5;:                          <=58     1<;>5?5;:
    %4C0;E(D=A8B4(4=8>A!8E8=6"0=064<4=C      (>DC760C4"0BC4AD=3E*=8C43(C0C4B
    =24C0;                                         )'5>?=5/?;@=?2;=?41";=?41=:5>?=5/?;2(1C->
    ;@=?;24-:/1=D;2?41'?-?1;218-B-=1          F-88->5A5>5;:
    ->1";>  *'  *'  *'          ->1";  *       
    *' *' *' *' *'         -:@-=D        (=5-8
    @8D       1<;>5?5;:                         '1<?19.1=      1<;>5?5;:
    ;0BB82(C0A"0A4!40B4!8C860C8>=                   >47=0<8;H!!E%A824,0C4A7>DB4>>?4AB
    0<4B!H>=70?C4A)ADBC44>5;0BB82(C0A    !!
    !!E)>=H%4A6DB>=4C0;                      5=/@5?;@=?;2-/7>;:;@:?D!5>>;@=5-?
    )'5>?=5/?;@=?->?1=:5>?=5/?;21:?@/7D   :01<1:01:/1
      1C5:3?;:                                          ->1";  *  
    ! "; 5A58/?5;:"; /A  !       '1<?19.1=      1<;>5?5;:
    -:0  !
    !-D         1<;>5?5;:
    4<>=C=E4BC<4=CB!!E*=8C43(C0C4B           0;><8A8BE)><?A>B4C0;
    ):5?10'?-?1>5>?=5/?;@=?2;=?41->?1=:        '@<1=5;=;@=?2;=?415>?=5/?;2;8@9.5-
    5>?=5/?;2(1C->'41=9-:5A5>5;:                  ->1";!          
    ->1";  /A  /A                          -:@-=D    (=5-8
    !-=/4        (=5-8                           
    @3@>?       1<;>5?5;:
    @:1      1<;>5?5;:
    ;>10;G?A4BB">=4H$A34AB=2E0A<4AB      '>B4=10274C0;E %"!!%4C0;
    "4A270=CB0=:4C0;                                91=5/-:=.5?=-?5;:>>;/5-?5;:
    5=/@5?;@=?2;=-8?59;=15?D                    ->1";   ,        
    ->1";           #(                     #/?;.1=     (=5-8
    -:@-=D           1<;>5?5;:



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                                               

    ,8;;B0<8;H)ADBCE"0AC8= ;;>H4C0;             DC>B2A814>A?E ,0B78=6C>=80=$55824=2
    5=/@5?;@=?2;=!;:?3;91=D;@:?D!-=D8-:0            4C0;
    ->1";>         *   *                        5=/@5?;@=?2;=!;:?3;91=D;@:?D!-=D8-:0
    @:1       (=5-8                               5A58/?5;:->1";   
    @031&;:-80&@.5:                                    '1<?19.1=       1<;>5?5;:
    <=58      1<;>5?5;:
    ;8I4)"4894A0=3"0A24;,8=3C)ADBC44B8=C74 4A0;3"(?8;B1DAH4C0;E %"!!%4C0;
    0=:AD?C2H5>A %#&F4BC#+0=3;>10;                 5>?=5/?;@=?8-=7;@:?D"1A-0-
    )4;4BHBC4<BEA80=)7><?B>=                         5A58/?5;:->1";       
    )'5>?=5/?;@=?2;=?41->?1=:5>?=5/?;2          @8D     1<;>5?5;:
    *5=35:5-F81C-:0=5-5A5>5;:
    ->1";  * 
    1/19.1=  1<;>5?5;:
    ,>A;3,834#4CF>A:(4AE824B!!4C0;E             "82704;(D;;8E0=0=38;;%(D;;8E0=E %"
    H=2>A?=20=3$>A?                              !!%0=3&=E4BC<4=CB!!
    ):5?10'?-?1>5>?=5/?;@=?2;=?41->?1=:5>?=5/?;2 '@<1=5;=;@=?;2"1B1=>1D -B5A5>5;:
    *5=35:5-                                                 !;:9;@?4;@:?D
    ->1";  /A   &$                             5A58/?5;:;/71?";!#"   
    -:@-=D       1<;>5?5;:                          ";A19.1=        1/19.1=       
                                                              1<;>5?5;:
    0AB;4<4C0;EA=BC.>D=6!!%                     '>14AC >74=4C0;E %"!!%4C0;
    91=5/-:=.5?=-?5;:>>;/5-?5;:                         '?-?1;@=?;2@8?;:;@:?D1;=35-
    ->1";  ,                                       ->1";       *'   
    ";A19.1=       (=5-8                         !-D       1<;>5?5;:



    *=8C43(C0C4BE)8<>C7H#0464;4454=30=C          BC0C4>5 48C7'4CA8364EA>=B>=><?0=H
    )'5>?=5/?;@=?2;=?415>?=5/?;2;8@9.5-        %A>54BB8>=0;>A?>A0C8>=
    =595:-8/?5;:->1";   $                   5=/@5?;@=?2;=!;:?3;91=D;@:?D!-=D8-:0
    '1<?19.1=          (=5-8                   ->1"; 
    -:@-=D    -:0-:@-=D                       @031=5/;4:>;:
    -@.1=?(1>?59;:D                                     !-=/4    (=5-8
    =A4%0A<0;0C(42DA8C84B!8C860C8>=                    ,8;;80<027>>==0027>E %"
    )'5>?=5/?;@=?2;=?41';@?41=:5>?=5/?;2"1B    !!%4C0;
    ,;=7                                                    '@<1=5;=;@=?2;=?415>?=5/?;2;8@9.5-
    5A58/?5;:->1"; !                     ->1";   
    @3@>?         1<;>5?5;:                       ";A19.1= 1/19.1=          1<;>5?5;:




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                                                                                                          
                                          
                                              

    >7=0;;DB4C0;E<4A8?A8B48=0=280;=2      !0FA4=24!0B;>FE %"4C0;
    ):5?10'?-?1>5>?=5/?;@=?5>?=5/?;2!5::1>;?-      '@<=191;@=?;2(41'?-?1;2"1B,;=7
    5A58/?5;:;/71?";  /A                      ;@:?D;2"1B,;=7
    -:@-=D     1<;>5?5;:                            ->1";   
                                                              @3@>?@8D -:0@:1   1<;>5?5;:
    ='4BC0C4>58ABC%0H=20=:AD?C2H#>         >B4?702>1>=8E %"!!%
             %"                                            ):5?10'?-?1>5>?=5/?;@=?2;=?41!500815>?=5/?;2
    ):5?10'?-?1>-:7=@<?/D;@=?F5>?=5/?;2             8;=50-F#=8-:0;5A5>5;:
    !-=D8-:0=11:.18?5A5>5;:                            ->1"; * #=8 !8-
    !5/4-18+;822A):5?10'?-?1>;291=5/-           !-D     1<;>5?5;:
    0A1=>-=D";   $!
    @031!-::1>
    @3@>?     (=5-8
    '833;40A<8=0=280;!8<8C43%0AC=4AB78?E             0<4B!)E(0:B85C7E4=D44C0;
    '>DC4 %0AC=4AB!%0=3,>A24BC4A%0AC=4AB!%         5=/@5?;@=?2;==85:3?;:;@:?D*5=35:5-
    0=3'833;40A<BB>280C4B!%0=3>>3F8=            4-:/1=D";  
    )0H;>AA                                              -:@-=D -:0      (=5-8
    5=/@5?;@=?2;=+;=/1>?1=;@:?D!-=D8-:0             1/19.1=        1<;>5?5;:
    ->1";    
    <=58       (=5-8
    1.=@-=D      1<;>5?5;:
    !-D      1-=5:3
    )>;C+4=CDA4B!!4C0;E %"!!%4C0;        )>33'>H0A;4=C;4HE4DCB274%>BC;>10;
    5>?=5/?;@=?;2-==5>;@:?D(1C->   =0            "08;!)
    @05/5-85>?=5/?                                        '@<1=5;=;@=?;2(41'?-?1;2-852;=:5-
    -@>1";                                        ;=(41;@:?D;2 ;>:3181>
    -:@-=D      1<;>5?5;:                          ->1";  
                                                              '1<?19.1=          '1<?19.1=      
                                                              1<;>5?5;:
                                                              
    '8270A3,>;4<0=AE %"4C0;                   'D14=%4A4I4C0;E %"!!%4C0;
    !-??1=5:=.5?=-?5;:.D3=1191:?;2?41$-=?51>         @05/5-85>?=5/?;@=?
    #/?;.1= ";A19.1=          (=5-8                 50-83;;@:?D(1C->
    #/?;.1=       (=5-8                            -@>1";   
    @3@>?      1<;>5?5;:                            ";A19.1=        1<;>5?5;:




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                                                                                                     
                                          
                                              

    "8=4140>!C3%A428B8>=">C>AB4DCB274          (4<C4:=C4A=0C8>=0;=2E!>2:7443"0AC8=
    "8=4140<10=3#8??>="8=80CDA440A8=6           >A?>A0C8>=
    >A?E4>A64%0?BC%0?BC!824=B8=6<10=3 5=/@5?;@=?2;=-8?59;=15?D!-=D8-:0
    +4AF0;CD=6B64B4;;02705C")4B27A0=:C4A             ->1";           
    05CD=6                                              '1<?19.1= F#/?;.1=          (=5-8
    )'5>?=5/?;@=?2;=?415>?=5/?;2;8@9.5-    @:1      !-D        1<;>5?5;:
    ->1";  ''&
    @3@>?       (=5-8
    @:1     1-=5:3
    !-D       1<;>5?5;:
    4<0=C7'0>4C0;E&*$)#)=2             "83;0=3A438CE"#<4A8200=:
    >D6;0B>7=0=3!0DA4=24DA34=                 '@<1=5;=;@=?'?-?1#2=5E;:-;@:?D#2
    ):5?10'?-?1>5>?=5/?;@=?2;=?415>?=5/?;2     !-=5/;<-
    *5=35:5-                            ->1";*              
    1.=@-=D -:0          (=5-8                1.=@-=D       ";A19.1=          
                                                          1<;>5?5;:
    (4=B>A<0C82(42DA8CH>A?E(4=B>A<0C82            (DA5024>8=C+4=CDA4ED?>=C4#4<>DAB
    ;42CA>=82B>A?>A0C8>=)(42DA8CH(4AE824B      ><?0=H=2
    =2,0;;024><?DC4A(4AE824B=2              ):5?10'?-?1>5>?=5/?;@=?;=(41+1>?1=:5>?=5/?
    ):5?10'?-?1>5>?=5/?;@=?2;=?415>?=5/?;2     #2(1C->@>?5:5A5>5;:
    !-=D8-:0                            5A58/?5;:";   ''
    ->1"; 5A                             -:@-=D      1<;>5?5;:
    '1<?19.1=        1.=@-=D       #/?;.1=
           1<;>5?5;:
    ;4G;8:70=8E(HBC4<=68=44A8=6                  %78;30<B><?0=H%A>58C(70A8=6%;0=E
    =C4A=0C8>=0;=2                                  )A0DC<0=,0BB4A<0==2
    91=5/-:=.5?=-?5;:>>;/5-?5;:                     #<<1:41591=:/
    ";                                          "'=.5?=-?5;:+->45:3?;:
    @3@>?        (=5-8                            !-D        (=5-8
    >B4?702>1>=8E %"!!%                       A0=:%84CA0=C>=A4C0;E 4==4C7"07>=
    ):5?10'?-?1>5>?=5/?;@=?2;=?41!500815>?=5/? "07>==2
    #28;=50-                                           5=/@5?;@=?;2=85:3?;:;@:?D*5=35:5-
                                           4-:/1=D";  
    ->1"; * #=8 !8-               @0311:6-95:"1:0=5/7
    #/?;.1=       1<;>5?5;:                      1.=@-=D        (=5-8
    >A30=E,0B78=6C>="DCD0;0=:               <C>C4=C4A=0C8>=0;=2E0;;HLB>5"0AH;0=3
    ):5?10'?-?1>5>?=5/?;@=?5>?=5/?;2!-=D8-:0   =2
    ->1"; *                                      5=/@5?;@=?2;=-8?59;=1;@:?D!-=D8-:0
    !-=/4        1<;>5?5;:                        5A";            
                                                          #/?;.1=       1<;>5?5;:



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                                               

    ?BC48=E?BC48=                                      ='4'>14AC(40;4A
    5=/@5?;@=?2;=!;:?3;91=D;@:?D!-=D8-:0           ='4'>14AC(40;4A"%
    -958D8-B";                                       ):5?10'?-?1>-:7=@<?/D;@=?F5>?=5/?;2
    -:@-=D     (=5-8                                !-=D8-:0-8?59;=15A5>5;:
                                                             ->1";> '  '
                                                             @031'?1<41:1=.D
                                                             @3@>?       (=5-8
    0C4BE0C4B                                          80<>=3E80<>=3            
    5=/@5?;@=?;2-5=2-C;@:?D*5=35:5-               5=/@5?;@=?;2-5=2-C;@:?D*5=35:5-
    4-:/1=D";                                         4-:/1=D";  
    @:1      1<;>5?5;:                             @031! -:34;=:115?4
                                                             1.=@-=D       (=5-8
    >AH2I:04C0;E%78;>;;H4AE?4G0C0           4;;C;0=C82"0AH;0=3=2EDA6DB>=)A4=278=6
    (4AE824B=2                                          ><?0=H=24C0;
    5=/@5?;@=?;2-5=2-C;@:?D*5=35:5-               5=/@5?;@=?2;=::1=@:018;@:?D!-=D8-:0
    4-:/1=D";                                          ->1";          
    !-=/4        1<;>5?5;:                           @031!5/4-18 ;;:1D
                                                             ";A19.1=          (=5-8
    '8=40AB>=E'8=40AB>=                                  *=8C43(C0C4B>5<4A820E!0FA4=243F8=
    5=/@5?;@=?;2-5=2-C;@:?D*5=35:5-               AD<1;8BB
    4-:/1=D";                                         ):5?10'?-?1>5>?=5/?;@=?->?1=:5>?=5/?;2";=?4
    @031&;.1=?+;;80=5031=                            -=;85:-+1>?1=:5A5>5;:
    -:@-=D       (=5-8                               =595:-8->1";& &
                                                             @031=5??
                                                             @8D       (=5-8
    <4A820$=;8=4=2E#4CE8B8>=D38>C4GC=2        >=CI80BE+(=2
    4C0;                                                  5=/@5?;@=?;2-5=2-C;@:?D*5=35:5-
    ):5?10'?-?1>5>?=5/?;@=?->?1=:5>?=5/?;2       5A58/?5;:";  
    *5=35:5-                                                @031(4-?/41=
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                                     APPENDIX B
                               LISTING OF DOCUMENTS
                                   CONSIDERED BY
                   BRUCE G. DUBINSKY, MST, CPA, CVA, CFE, CFF, MAFF



       I have considered the pleadings in this case, as well as documents and other information
produced by the parties to this case and gathered during my research. Accordingly, my report
contains various footnote references and discussion of documents specifically relied upon by me
in issuing my expert opinions in this case. The documents cited in my report and the following
documents were considered by me in issuing my expert opinions in this report. Documents
identified / named below are to be considered inclusive of any and all exhibits to the particular
document.


                                      Pleadings and Court Filings
 Amended Complaints for each of the Plans



                                        Depositions & Affidavits
 Gry Ahlefeld-Engle (September 24, 2021)
 Ronald Altbach (October 30, 2020)
 Michael Ben-Jacob (October 11-12, 2021)
 Doston Bradley (October 14, 2020)
 Jens Brochner (April 29, 2021)
 Gavin Crescenzo (November 24, 2020)
 Sean Driscoll (April 13, 2020)
 Lill Drost (October 1, 2021)
 Bo Daugaard (June 11, 2021)
 Christian Ekstrand (May 6-7, 2021)
 Hanne Hald (December 3, 2020)
 Joseph Herman (July 7, 2020)
 Leif Jeppesen (September 27, 2021)
 Robin Jones (November 4, 2020)
 Thomas Kertelits (June 4, 2020)
 Robert Klugman (January 28, 2021)
 John LaChance (June 11, 2020)
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Roger Lehman (August 9-10, 2021)
Perry Lerner (September 9, 2020)
Dorthe Pannerup Madsen (September 30, 2021)
Jocelyn Markowitz (February 3, 2021)
Richard Markowitz (April 8-9, 2021)
Anne Munksgaard (June 9, 2021)
Svetlin Petkov (February 5, 2020)
Mitchell Protass (July 1, 2020)
Anders Peter Bryde Rasmussen (May 17, 2021)
Lisbeth Romer (June 3, 2021)
Helen Sorensen (September 21, 2021)
Helen Sorensen (December 7, 2021)
Jens Sorensen (October 15, 2021)
Matthew Totman (December 15, 2021)
Matthew Tucci (November 10, 2020)
Elizabeth van Merkensteijn (January 20, 2021)
John van Merkensteijn (April 19-20, 2021)
Carl Andrew Vergari (February 12, 2020)
Gunnar Volkers (June 8, 2021)
David Zelman (December 11, 2020)
Jette Zester (September 22, 2021)


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and the Prevention of Fiscal Evasion with Respect to Taxes on Income, effective January 1, 2001.
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    https://www.finra.org/investors/learn-to-invest/types-investments/security-futures
    “Securities Lending by U.S. Open-End and Closed-End Investments Companies”, Securities and
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    investment-companies.htm
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    repo/
    Viktoria Baklanova, Adam Copeland & Rebecca McCaughrin, “Reference Guide to U.S. Repo and
    Securities Lending Markets”, Federal Reserve Bank of New York Staff Reports, Revised December
    2015.

                                            Other Documents
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    Financial Conduct Authority, Final Notice to Sapien Capital Limited, May 6, 2021
    Financial Conduct Authority, Final Notice to Sunrise Brokers LLP, November 12, 2021
    Report and Financial Statements for Telesto Markets LLP, March 31, 2015
    Report and Financial Statements for West Point Derivatives Limited, December 31, 2013
    Sanjay Shah Defendants’ Response to Claimant’s Request Dated 4 June 2019 for Further Information
    Under CPR 18.


                                       Bates Stamped Documents
78YORK00000506                       ELYSIUM-03942987                    ELYSIUM-04491034
78YORK00000510                       ELYSIUM-03943020                    ELYSIUM-04491043
ACKVIEW00000203                      ELYSIUM-03943122                    ELYSIUM-04491044
ACKVIEW00000204                      ELYSIUM-03943274                    ELYSIUM-04491062
ACKVIEW00000208                      ELYSIUM-03943396                    ELYSIUM-04491063
ARIA00000323                         ELYSIUM-03943509                    ELYSIUM-04491229
ARIA00000328                         ELYSIUM-03943516                    ELYSIUM-04491291
ASTON00000440                        ELYSIUM-03943546                    ELYSIUM-04491308
ASTON00000466                        ELYSIUM-03943551                    ELYSIUM-04491354
ATLDHR00000315                       ELYSIUM-03944322                    ELYSIUM-04491364
ATLDHR00000363                       ELYSIUM-03944334                    ELYSIUM-04491378
BALMORAL00000203                     ELYSIUM-03944365                    ELYSIUM-04491379
BALMORAL00000380                     ELYSIUM-03944377                    ELYSIUM-04491385
BEECHTREE00000356                    ELYSIUM-03944469                    ELYSIUM-04491391
BEECHTREE00000357                    ELYSIUM-03944478                    ELYSIUM-04491414
BEECHTREE00000411                    ELYSIUM-03944508                    ELYSIUM-04491419
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BEECHTREE00000459            ELYSIUM-03944521          ELYSIUM-04491626
BELFORTE00000282             ELYSIUM-03944531          ELYSIUM-04491678
BELFORTE00000304             ELYSIUM-03944557          ELYSIUM-04491729
BELLA00000302                ELYSIUM-03944560          ELYSIUM-04491737
BELLA00000356                ELYSIUM-03944593          ELYSIUM-04491742
BLACKBIRD00000280            ELYSIUM-03944689          ELYSIUM-04491775
BLACKBIRD00000323            ELYSIUM-03944736          ELYSIUM-04491779
BLACKBIRD00000369            ELYSIUM-03944763          ELYSIUM-04491785
BLACKBIRD00000425            ELYSIUM-03944789          ELYSIUM-04491800
BLACKRAIN00000323            ELYSIUM-03944833          ELYSIUM-04491930
BLACKRAIN00000325            ELYSIUM-03944844          ELYSIUM-04491933
BLACKRAIN00000349            ELYSIUM-03944854          ELYSIUM-04492294
BR00000044                   ELYSIUM-03944901          ELYSIUM-04492323
BRADLOND00000394             ELYSIUM-03944903          ELYSIUM-04492355
BRADLOND00000425             ELYSIUM-03945018          ELYSIUM-04492491
BRAVOS00000286               ELYSIUM-03945090          ELYSIUM-04492509
BRAVOS00000309               ELYSIUM-03945114          ELYSIUM-04492510
BUSBLK00000328               ELYSIUM-03945123          ELYSIUM-04492511
BUSBLK00000568               ELYSIUM-03945139          ELYSIUM-04492512
BVI_00000006                 ELYSIUM-03945147          ELYSIUM-04492535
BVI_00000757                 ELYSIUM-03945221          ELYSIUM-04492541
BVI_00000759                 ELYSIUM-03945224          ELYSIUM-04492553
BVI_00000994                 ELYSIUM-03945335          ELYSIUM-04492560
BVI_00000998                 ELYSIUM-03945373          ELYSIUM-04492561
BVI_00001003                 ELYSIUM-03945388          ELYSIUM-04492575
BVI_00001017                 ELYSIUM-03945426          ELYSIUM-04492576
BVI_00001018                 ELYSIUM-03945427          ELYSIUM-04492577
BVI_00001019                 ELYSIUM-03945719          ELYSIUM-04492626
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BVI_00005930                 ELYSIUM-03946749          ELYSIUM-04493068
BVI_00005932                 ELYSIUM-03946772          ELYSIUM-04493087
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BVI_00006203                 ELYSIUM-03947068          ELYSIUM-04493396
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BVI_00006492                 ELYSIUM-03947079          ELYSIUM-04493756
BVI_00006616                 ELYSIUM-03947085          ELYSIUM-04493801
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BVI_00009073                 ELYSIUM-03947442          ELYSIUM-04495311
BVI_00009214                 ELYSIUM-03947463          ELYSIUM-04495327
BVI_00010140                 ELYSIUM-03947502          ELYSIUM-04495342
BVI_00010274                 ELYSIUM-03947987          ELYSIUM-04495364
BVI_00010275                 ELYSIUM-03948170          ELYSIUM-04495376
BVI_00010547                 ELYSIUM-03948205          ELYSIUM-04495733
BVI_00010616                 ELYSIUM-03957717          ELYSIUM-04495734
BVI_00010854                 ELYSIUM-03957722          ELYSIUM-04495735
BVI_00011419                 ELYSIUM-03957808          ELYSIUM-04495742
BVI_00011449                 ELYSIUM-03957834          ELYSIUM-04495788
BVI_00011751                 ELYSIUM-03957835          ELYSIUM-04495789
BVI_00011756                 ELYSIUM-03957887          ELYSIUM-04495893
BVI_00011761                 ELYSIUM-03957912          ELYSIUM-04496337
BVI_00011771                 ELYSIUM-03957972          ELYSIUM-04496413
BVI_00011776                 ELYSIUM-03957974          ELYSIUM-04496561
BVI_00011864                 ELYSIUM-03957990          ELYSIUM-04500063
BVI_00011951                 ELYSIUM-03958071          ELYSIUM-04506259
BVI_00012254                 ELYSIUM-03958077          ELYSIUM-04506303
BVI_00012258                 ELYSIUM-03958176          ELYSIUM-04506316
BVI_00012613                 ELYSIUM-03958322          ELYSIUM-04506323
BVI_00012985                 ELYSIUM-03958331          ELYSIUM-04506341
BVI_00013185                 ELYSIUM-03958352          ELYSIUM-04506344
BVI_00013186                 ELYSIUM-03958383          ELYSIUM-04506359
BVI_00013460                 ELYSIUM-03958391          ELYSIUM-04506384
BVI_00013463                 ELYSIUM-03958419          ELYSIUM-04506398
BVI_00013858                 ELYSIUM-03958506          ELYSIUM-04506419
BVI_00014445                 ELYSIUM-03958528          ELYSIUM-04506468
BVI_00014493                 ELYSIUM-03958573          ELYSIUM-04506469
BVI_00014576                 ELYSIUM-03958582          ELYSIUM-04506475
BVI_00014734                 ELYSIUM-03958597          ELYSIUM-04506476
BVI_00016213                 ELYSIUM-03958747          ELYSIUM-04506752
BVI_00016215                 ELYSIUM-03958795          ELYSIUM-04506753
BVI_00016296                 ELYSIUM-03958846          ELYSIUM-04506754
BVI_00016297                 ELYSIUM-03959043          ELYSIUM-04506764
CAMBTOWN00000329             ELYSIUM-03959187          ELYSIUM-04506765
CAMBTOWN00000388             ELYSIUM-03959195          ELYSIUM-04506834
CANROCK00000285              ELYSIUM-03959203          ELYSIUM-04506841
CANROCK00000304              ELYSIUM-03959711          ELYSIUM-04506920
CARDINAL00000287             ELYSIUM-03959738          ELYSIUM-04506921
CARDINAL00000333             ELYSIUM-03959744          ELYSIUM-04506930
CARDINAL00000389             ELYSIUM-03959758          ELYSIUM-04506999
CARDINAL00000424             ELYSIUM-03959762          ELYSIUM-04507020
CAYMAN_00000182              ELYSIUM-03959842          ELYSIUM-04507024
CAYMAN_00002138              ELYSIUM-03959847          ELYSIUM-04507058
CAYMAN_00002615              ELYSIUM-03959849          ELYSIUM-04507063
CAYMAN_00002616              ELYSIUM-03959882          ELYSIUM-04507101
CAYMAN_00002694              ELYSIUM-03960002          ELYSIUM-04507118
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CAYMAN_00002695               ELYSIUM-03960012          ELYSIUM-04507125
CAYMAN_00002796               ELYSIUM-03960042          ELYSIUM-04507143
CAYMAN_00002797               ELYSIUM-03960043          ELYSIUM-04507343
CAYMAN_00002884               ELYSIUM-03960047          ELYSIUM-04507663
CAYMAN_00002885               ELYSIUM-03960185          ELYSIUM-04507753
CAYMAN_00002940               ELYSIUM-03960221          ELYSIUM-04507792
CAYMAN_00002942               ELYSIUM-03960252          ELYSIUM-04507975
CAYMAN_00002983               ELYSIUM-03960270          ELYSIUM-04508005
CAYMAN_00002984               ELYSIUM-03960347          ELYSIUM-04508026
CAYMAN_00003021               ELYSIUM-03960355          ELYSIUM-04508059
CAYMAN_00003022               ELYSIUM-03960356          ELYSIUM-04510406
CAYMAN_00003024               ELYSIUM-03960369          ELYSIUM-04513175
CAYMAN_00003155               ELYSIUM-03960371          ELYSIUM-04513558
CAYMAN_00003156               ELYSIUM-03960529          ELYSIUM-04513564
CAYMAN_00003192               ELYSIUM-03960538          ELYSIUM-04513591
CAYMAN_00003193               ELYSIUM-03960576          ELYSIUM-04513598
CHAMBPROP00000308             ELYSIUM-03960598          ELYSIUM-04513617
CHAMBPROP00000354             ELYSIUM-03960614          ELYSIUM-04513635
CHAMBPROP00000402             ELYSIUM-03960624          ELYSIUM-04513641
CHAMBPROP00000445             ELYSIUM-03960640          ELYSIUM-04513651
CN012_318_001-00000042        ELYSIUM-03960670          ELYSIUM-04513666
CN012_322_001-00000001        ELYSIUM-03960706          ELYSIUM-04513667
COSTELLO00000092              ELYSIUM-03960850          ELYSIUM-04513668
COSTELLO00000313              ELYSIUM-03960932          ELYSIUM-04513681
COSTELLO00000314              ELYSIUM-03960936          ELYSIUM-04513686
COSTELLO00000318              ELYSIUM-03961212          ELYSIUM-04513704
COSTELLO00000338              ELYSIUM-03961372          ELYSIUM-04513716
COSTELLO00000469              ELYSIUM-03961453          ELYSIUM-04513720
COSTELLO00000472              ELYSIUM-03961458          ELYSIUM-04513766
CROW00000248                  ELYSIUM-03961467          ELYSIUM-04513816
CROW00000282                  ELYSIUM-03961887          ELYSIUM-04513878
CSCCCAP00000534               ELYSIUM-03961977          ELYSIUM-04513944
CSCCCAP00000544               ELYSIUM-03962020          ELYSIUM-04513945
DELGADO00000239               ELYSIUM-03962023          ELYSIUM-04513946
DELGADO00000254               ELYSIUM-03962026          ELYSIUM-04513959
DELGADO00000275               ELYSIUM-03962060          ELYSIUM-04514037
DELGADO00000277               ELYSIUM-03962311          ELYSIUM-04514075
DELGADO00000310               ELYSIUM-03962316          ELYSIUM-04514096
DIAMSCOTT00000551             ELYSIUM-03962324          ELYSIUM-04514107
DIAMSCOTT00000594             ELYSIUM-03962325          ELYSIUM-04514108
DINK14LLC00000207             ELYSIUM-03962463          ELYSIUM-04514294
DINK14LLC00000228             ELYSIUM-03962579          ELYSIUM-04514297
DMR00000349                   ELYSIUM-03962594          ELYSIUM-04514331
DMR00000369                   ELYSIUM-03962603          ELYSIUM-04514332
DMR00000506                   ELYSIUM-03962699          ELYSIUM-04514356
DOSMBLY00000304               ELYSIUM-03962727          ELYSIUM-04514361
DOSMBLY00000323               ELYSIUM-03962741          ELYSIUM-04514382
EGRET00000281                 ELYSIUM-03962754          ELYSIUM-04514598
EGRET00000314                 ELYSIUM-03962837          ELYSIUM-04514769
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EGRET00000361                ELYSIUM-03962881          ELYSIUM-04514949
EGRET00000417                ELYSIUM-03963084          ELYSIUM-04515486
ELSYIUM-04500063             ELYSIUM-03963131          ELYSIUM-04515531
ELSYIUM-04523491             ELYSIUM-03963228          ELYSIUM-04515532
ELYSIUM-00000542             ELYSIUM-03963253          ELYSIUM-04515572
ELYSIUM-00008335             ELYSIUM-03963678          ELYSIUM-04517329
ELYSIUM-00008355             ELYSIUM-03963681          ELYSIUM-04517536
ELYSIUM-00008359             ELYSIUM-03963726          ELYSIUM-04520273
ELYSIUM-00008475             ELYSIUM-03967914          ELYSIUM-04520276
ELYSIUM-00059821             ELYSIUM-03967924          ELYSIUM-04520284
ELYSIUM-00067009             ELYSIUM-03967940          ELYSIUM-04520288
ELYSIUM-00088680             ELYSIUM-03967945          ELYSIUM-04520295
ELYSIUM-00150387             ELYSIUM-03968022          ELYSIUM-04520298
ELYSIUM-00604746             ELYSIUM-03968095          ELYSIUM-04520359
ELYSIUM-00604753             ELYSIUM-03968097          ELYSIUM-04520387
ELYSIUM-00604779             ELYSIUM-03968100          ELYSIUM-04520395
ELYSIUM-00604951             ELYSIUM-03968114          ELYSIUM-04520438
ELYSIUM-00605133             ELYSIUM-03968121          ELYSIUM-04520447
ELYSIUM-00605134             ELYSIUM-03968127          ELYSIUM-04520511
ELYSIUM-00605216             ELYSIUM-03968207          ELYSIUM-04520512
ELYSIUM-00613806             ELYSIUM-03968232          ELYSIUM-04520540
ELYSIUM-00614013             ELYSIUM-03968326          ELYSIUM-04520554
ELYSIUM-00801486             ELYSIUM-03968358          ELYSIUM-04520562
ELYSIUM-00846141             ELYSIUM-03968610          ELYSIUM-04520588
ELYSIUM-00921091             ELYSIUM-03968672          ELYSIUM-04520597
ELYSIUM-00921097             ELYSIUM-03968790          ELYSIUM-04520601
ELYSIUM-00921138             ELYSIUM-03968793          ELYSIUM-04520604
ELYSIUM-00921145             ELYSIUM-03968796          ELYSIUM-04520610
ELYSIUM-00935828             ELYSIUM-03968803          ELYSIUM-04520612
ELYSIUM-00978243             ELYSIUM-03968806          ELYSIUM-04520623
ELYSIUM-00981909             ELYSIUM-03968811          ELYSIUM-04520648
ELYSIUM-00994564             ELYSIUM-03969554          ELYSIUM-04520658
ELYSIUM-00995458             ELYSIUM-03969606          ELYSIUM-04520662
ELYSIUM-01300908             ELYSIUM-03969684          ELYSIUM-04520667
ELYSIUM-01332730             ELYSIUM-03969691          ELYSIUM-04520674
ELYSIUM-01332735             ELYSIUM-03969695          ELYSIUM-04520696
ELYSIUM-01333030             ELYSIUM-03969708          ELYSIUM-04520736
ELYSIUM-01333054             ELYSIUM-03969724          ELYSIUM-04520772
ELYSIUM-01365075             ELYSIUM-03969727          ELYSIUM-04520777
ELYSIUM-01365113             ELYSIUM-03969733          ELYSIUM-04520791
ELYSIUM-01366363             ELYSIUM-03969735          ELYSIUM-04520833
ELYSIUM-01366365             ELYSIUM-03969738          ELYSIUM-04520841
ELYSIUM-01378450             ELYSIUM-03969743          ELYSIUM-04527389
ELYSIUM-01380807             ELYSIUM-03969746          ELYSIUM-04527402
ELYSIUM-01380811             ELYSIUM-03969818          ELYSIUM-04527421
ELYSIUM-01382845             ELYSIUM-03969903          ELYSIUM-04527425
ELYSIUM-01382849             ELYSIUM-03969909          ELYSIUM-04527426
ELYSIUM-01382853             ELYSIUM-03969911          ELYSIUM-04527435
ELYSIUM-01382857             ELYSIUM-03969944          ELYSIUM-04527446
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ELYSIUM-01383169             ELYSIUM-03970006          ELYSIUM-04527457
ELYSIUM-01383171             ELYSIUM-03970047          ELYSIUM-04527464
ELYSIUM-01383173             ELYSIUM-03970053          ELYSIUM-04527476
ELYSIUM-01383338             ELYSIUM-03970062          ELYSIUM-04527478
ELYSIUM-01383345             ELYSIUM-03970174          ELYSIUM-04527493
ELYSIUM-01383347             ELYSIUM-03970176          ELYSIUM-04527501
ELYSIUM-01383349             ELYSIUM-03970203          ELYSIUM-04527516
ELYSIUM-01400198             ELYSIUM-03970204          ELYSIUM-04527593
ELYSIUM-01400202             ELYSIUM-03970236          ELYSIUM-04527626
ELYSIUM-01400389             ELYSIUM-03970240          ELYSIUM-04527676
ELYSIUM-01400394             ELYSIUM-03970390          ELYSIUM-04527693
ELYSIUM-01400395             ELYSIUM-03970469          ELYSIUM-04527711
ELYSIUM-01400417             ELYSIUM-03970669          ELYSIUM-04527719
ELYSIUM-01408729             ELYSIUM-03970763          ELYSIUM-04527723
ELYSIUM-01408743             ELYSIUM-03970823          ELYSIUM-04527820
ELYSIUM-01408938             ELYSIUM-03970841          ELYSIUM-04527826
ELYSIUM-01408941             ELYSIUM-03970917          ELYSIUM-04527875
ELYSIUM-01409017             ELYSIUM-03970931          ELYSIUM-04527876
ELYSIUM-01409024             ELYSIUM-03971036          ELYSIUM-04527885
ELYSIUM-01416971             ELYSIUM-03971050          ELYSIUM-04527916
ELYSIUM-01416974             ELYSIUM-03971073          ELYSIUM-04527917
ELYSIUM-01417327             ELYSIUM-03971162          ELYSIUM-04527927
ELYSIUM-01417333             ELYSIUM-03971224          ELYSIUM-04527931
ELYSIUM-01446773             ELYSIUM-03971229          ELYSIUM-04528001
ELYSIUM-01446776             ELYSIUM-03971233          ELYSIUM-04528012
ELYSIUM-01456230             ELYSIUM-03971235          ELYSIUM-04528048
ELYSIUM-01456231             ELYSIUM-03971448          ELYSIUM-04528064
ELYSIUM-01456355             ELYSIUM-03971459          ELYSIUM-04528095
ELYSIUM-01456414             ELYSIUM-03971493          ELYSIUM-04528263
ELYSIUM-01456428             ELYSIUM-03971543          ELYSIUM-04528328
ELYSIUM-01456442             ELYSIUM-03977484          ELYSIUM-04528381
ELYSIUM-01456445             ELYSIUM-03977485          ELYSIUM-04528383
ELYSIUM-01456994             ELYSIUM-03977686          ELYSIUM-04528397
ELYSIUM-01462446             ELYSIUM-03977720          ELYSIUM-04528532
ELYSIUM-01462493             ELYSIUM-03977802          ELYSIUM-04528751
ELYSIUM-01462497             ELYSIUM-03977887          ELYSIUM-04528764
ELYSIUM-01462507             ELYSIUM-03977949          ELYSIUM-04528800
ELYSIUM-01462594             ELYSIUM-03977957          ELYSIUM-04528813
ELYSIUM-01462595             ELYSIUM-03977973          ELYSIUM-04528844
ELYSIUM-01462598             ELYSIUM-03977992          ELYSIUM-04528845
ELYSIUM-01462650             ELYSIUM-03978006          ELYSIUM-04529067
ELYSIUM-01462963             ELYSIUM-03978009          ELYSIUM-04529085
ELYSIUM-01462965             ELYSIUM-03978025          ELYSIUM-04531331
ELYSIUM-01462972             ELYSIUM-03978028          ELYSIUM-04531727
ELYSIUM-01462973             ELYSIUM-03978048          ELYSIUM-04534479
ELYSIUM-01463019             ELYSIUM-03978062          ELYSIUM-04534489
ELYSIUM-01463050             ELYSIUM-03978070          ELYSIUM-04534532
ELYSIUM-01463066             ELYSIUM-03978076          ELYSIUM-04534536
ELYSIUM-01463069             ELYSIUM-03978261          ELYSIUM-04534539
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ELYSIUM-01463701             ELYSIUM-03978371          ELYSIUM-04534557
ELYSIUM-01463708             ELYSIUM-03978374          ELYSIUM-04534558
ELYSIUM-01463712             ELYSIUM-03978412          ELYSIUM-04534578
ELYSIUM-01463736             ELYSIUM-03978529          ELYSIUM-04534579
ELYSIUM-01463825             ELYSIUM-03979606          ELYSIUM-04534580
ELYSIUM-01463836             ELYSIUM-03979607          ELYSIUM-04534581
ELYSIUM-01463889             ELYSIUM-03979705          ELYSIUM-04534593
ELYSIUM-01463894             ELYSIUM-03979732          ELYSIUM-04534612
ELYSIUM-01463914             ELYSIUM-03979739          ELYSIUM-04534616
ELYSIUM-01463929             ELYSIUM-03979772          ELYSIUM-04534623
ELYSIUM-01464658             ELYSIUM-03979789          ELYSIUM-04534624
ELYSIUM-01464694             ELYSIUM-03979841          ELYSIUM-04534625
ELYSIUM-01464712             ELYSIUM-03979894          ELYSIUM-04534640
ELYSIUM-01464724             ELYSIUM-03979927          ELYSIUM-04534662
ELYSIUM-01464768             ELYSIUM-03979963          ELYSIUM-04534672
ELYSIUM-01464769             ELYSIUM-03980002          ELYSIUM-04534673
ELYSIUM-01464815             ELYSIUM-03980030          ELYSIUM-04534706
ELYSIUM-01464828             ELYSIUM-03980050          ELYSIUM-04534713
ELYSIUM-01464830             ELYSIUM-03980119          ELYSIUM-04534731
ELYSIUM-01464838             ELYSIUM-03980122          ELYSIUM-04534777
ELYSIUM-01482360             ELYSIUM-03980123          ELYSIUM-04534793
ELYSIUM-01482371             ELYSIUM-03980139          ELYSIUM-04534806
ELYSIUM-01482424             ELYSIUM-03980181          ELYSIUM-04534807
ELYSIUM-01482425             ELYSIUM-03980182          ELYSIUM-04537138
ELYSIUM-01482456             ELYSIUM-03980211          ELYSIUM-04540410
ELYSIUM-01482460             ELYSIUM-03980239          ELYSIUM-04540416
ELYSIUM-01487516             ELYSIUM-03980294          ELYSIUM-04540427
ELYSIUM-01487633             ELYSIUM-03980385          ELYSIUM-04540443
ELYSIUM-01487638             ELYSIUM-03980428          ELYSIUM-04540446
ELYSIUM-01487882             ELYSIUM-03980440          ELYSIUM-04540458
ELYSIUM-01487895             ELYSIUM-03980458          ELYSIUM-04540480
ELYSIUM-01487958             ELYSIUM-03980484          ELYSIUM-04540491
ELYSIUM-01487961             ELYSIUM-03980513          ELYSIUM-04540524
ELYSIUM-01488492             ELYSIUM-03980528          ELYSIUM-04540533
ELYSIUM-01488494             ELYSIUM-03980615          ELYSIUM-04540535
ELYSIUM-01488782             ELYSIUM-03980645          ELYSIUM-04540542
ELYSIUM-01488784             ELYSIUM-03980739          ELYSIUM-04540546
ELYSIUM-01489016             ELYSIUM-03980793          ELYSIUM-04540570
ELYSIUM-01489017             ELYSIUM-03980915          ELYSIUM-04541697
ELYSIUM-01489274             ELYSIUM-03980936          ELYSIUM-04541788
ELYSIUM-01489280             ELYSIUM-03981044          ELYSIUM-04541943
ELYSIUM-01489288             ELYSIUM-03981045          ELYSIUM-04541945
ELYSIUM-01489294             ELYSIUM-03981048          ELYSIUM-04541993
ELYSIUM-01489486             ELYSIUM-03981050          ELYSIUM-04542027
ELYSIUM-01489488             ELYSIUM-03981071          ELYSIUM-04542040
ELYSIUM-01492240             ELYSIUM-03981084          ELYSIUM-04543784
ELYSIUM-01526043             ELYSIUM-03981159          ELYSIUM-04544542
ELYSIUM-01526055             ELYSIUM-03981177          ELYSIUM-04547144
ELYSIUM-01526056             ELYSIUM-03981386          ELYSIUM-04547158
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ELYSIUM-01526061             ELYSIUM-03981468          ELYSIUM-04547160
ELYSIUM-01526872             ELYSIUM-03981480          ELYSIUM-04547163
ELYSIUM-01526874             ELYSIUM-03981485          ELYSIUM-04547167
ELYSIUM-01526875             ELYSIUM-03992735          ELYSIUM-04547173
ELYSIUM-01527059             ELYSIUM-03992748          ELYSIUM-04547181
ELYSIUM-01527062             ELYSIUM-03992912          ELYSIUM-04547187
ELYSIUM-01527066             ELYSIUM-03992955          ELYSIUM-04547204
ELYSIUM-01527070             ELYSIUM-03993156          ELYSIUM-04547208
ELYSIUM-01527418             ELYSIUM-03993185          ELYSIUM-04547215
ELYSIUM-01527432             ELYSIUM-03993197          ELYSIUM-04547218
ELYSIUM-01544983             ELYSIUM-03993399          ELYSIUM-04547236
ELYSIUM-01544986             ELYSIUM-03993462          ELYSIUM-04547256
ELYSIUM-01545059             ELYSIUM-03993463          ELYSIUM-04547295
ELYSIUM-01545062             ELYSIUM-03993476          ELYSIUM-04547296
ELYSIUM-01545101             ELYSIUM-03993501          ELYSIUM-04547297
ELYSIUM-01545110             ELYSIUM-03993505          ELYSIUM-04547327
ELYSIUM-01552515             ELYSIUM-03993510          ELYSIUM-04547339
ELYSIUM-01552519             ELYSIUM-03993739          ELYSIUM-04547365
ELYSIUM-01552526             ELYSIUM-03993741          ELYSIUM-04547370
ELYSIUM-01552531             ELYSIUM-03993747          ELYSIUM-04547855
ELYSIUM-01552549             ELYSIUM-03993978          ELYSIUM-04547898
ELYSIUM-01552558             ELYSIUM-03993998          ELYSIUM-04547927
ELYSIUM-01552560             ELYSIUM-03994000          ELYSIUM-04548011
ELYSIUM-01552562             ELYSIUM-03994015          ELYSIUM-04548111
ELYSIUM-01552933             ELYSIUM-03994217          ELYSIUM-04548156
ELYSIUM-01552935             ELYSIUM-03994224          ELYSIUM-04548168
ELYSIUM-01552936             ELYSIUM-03994232          ELYSIUM-04548285
ELYSIUM-01552940             ELYSIUM-03994246          ELYSIUM-04548427
ELYSIUM-01552971             ELYSIUM-03994251          ELYSIUM-04548432
ELYSIUM-01552972             ELYSIUM-03994255          ELYSIUM-04548460
ELYSIUM-01552977             ELYSIUM-03994336          ELYSIUM-04548474
ELYSIUM-01552978             ELYSIUM-03994337          ELYSIUM-04548544
ELYSIUM-01552998             ELYSIUM-03994350          ELYSIUM-04548587
ELYSIUM-01552999             ELYSIUM-03994360          ELYSIUM-04548617
ELYSIUM-01553002             ELYSIUM-03994362          ELYSIUM-04548618
ELYSIUM-01553005             ELYSIUM-03994369          ELYSIUM-04548626
ELYSIUM-01553876             ELYSIUM-03994387          ELYSIUM-04548638
ELYSIUM-01553878             ELYSIUM-03994782          ELYSIUM-04548658
ELYSIUM-01553879             ELYSIUM-03994814          ELYSIUM-04548680
ELYSIUM-01553897             ELYSIUM-03994922          ELYSIUM-04548697
ELYSIUM-01573885             ELYSIUM-03994933          ELYSIUM-04553087
ELYSIUM-01573888             ELYSIUM-03995036          ELYSIUM-04553095
ELYSIUM-01574028             ELYSIUM-03995039          ELYSIUM-04553159
ELYSIUM-01574029             ELYSIUM-03995054          ELYSIUM-04553180
ELYSIUM-01574396             ELYSIUM-03995069          ELYSIUM-04553187
ELYSIUM-01574397             ELYSIUM-03995158          ELYSIUM-04553217
ELYSIUM-01575178             ELYSIUM-03995164          ELYSIUM-04553218
ELYSIUM-01575193             ELYSIUM-03995382          ELYSIUM-04553241
ELYSIUM-01575269             ELYSIUM-03995504          ELYSIUM-04553251
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ELYSIUM-01575272             ELYSIUM-04003506          ELYSIUM-04553259
ELYSIUM-01575962             ELYSIUM-04003517          ELYSIUM-04553269
ELYSIUM-01575964             ELYSIUM-04003553          ELYSIUM-04553286
ELYSIUM-01583786             ELYSIUM-04003564          ELYSIUM-04553292
ELYSIUM-01583788             ELYSIUM-04003594          ELYSIUM-04553409
ELYSIUM-01583789             ELYSIUM-04003606          ELYSIUM-04554032
ELYSIUM-01584137             ELYSIUM-04003612          ELYSIUM-04556069
ELYSIUM-01584138             ELYSIUM-04003620          ELYSIUM-04559441
ELYSIUM-01584143             ELYSIUM-04003663          ELYSIUM-04559507
ELYSIUM-01584145             ELYSIUM-04003714          ELYSIUM-04559531
ELYSIUM-01584308             ELYSIUM-04004161          ELYSIUM-04559545
ELYSIUM-01584310             ELYSIUM-04004172          ELYSIUM-04559550
ELYSIUM-01584312             ELYSIUM-04004175          ELYSIUM-04559579
ELYSIUM-01584314             ELYSIUM-04004179          ELYSIUM-04559600
ELYSIUM-01604973             ELYSIUM-04004230          ELYSIUM-04559603
ELYSIUM-01604981             ELYSIUM-04004234          ELYSIUM-04559608
ELYSIUM-01605644             ELYSIUM-04004251          ELYSIUM-04559618
ELYSIUM-01606218             ELYSIUM-04004253          ELYSIUM-04559621
ELYSIUM-01606228             ELYSIUM-04004398          ELYSIUM-04559624
ELYSIUM-01783379             ELYSIUM-04004403          ELYSIUM-04559625
ELYSIUM-01783383             ELYSIUM-04004406          ELYSIUM-04559640
ELYSIUM-01783384             ELYSIUM-04004423          ELYSIUM-04559881
ELYSIUM-01783389             ELYSIUM-04004490          ELYSIUM-04560110
ELYSIUM-01783415             ELYSIUM-04004538          ELYSIUM-04560111
ELYSIUM-01783419             ELYSIUM-04004697          ELYSIUM-04560135
ELYSIUM-01783420             ELYSIUM-04004698          ELYSIUM-04560149
ELYSIUM-01783422             ELYSIUM-04004704          ELYSIUM-04560577
ELYSIUM-01783634             ELYSIUM-04004739          ELYSIUM-04560644
ELYSIUM-01783669             ELYSIUM-04004975          ELYSIUM-04560814
ELYSIUM-01783696             ELYSIUM-04004988          ELYSIUM-04560821
ELYSIUM-01783732             ELYSIUM-04005007          ELYSIUM-04560858
ELYSIUM-01783868             ELYSIUM-04005009          ELYSIUM-04560939
ELYSIUM-01783870             ELYSIUM-04005277          ELYSIUM-04561000
ELYSIUM-01783872             ELYSIUM-04005278          ELYSIUM-04561023
ELYSIUM-01783873             ELYSIUM-04005294          ELYSIUM-04561028
ELYSIUM-01783901             ELYSIUM-04005388          ELYSIUM-04562630
ELYSIUM-01783903             ELYSIUM-04005470          ELYSIUM-04562664
ELYSIUM-01783904             ELYSIUM-04005472          ELYSIUM-04562782
ELYSIUM-01783905             ELYSIUM-04005476          ELYSIUM-04566074
ELYSIUM-01787515             ELYSIUM-04005490          ELYSIUM-04566075
ELYSIUM-01787516             ELYSIUM-04005494          ELYSIUM-04566092
ELYSIUM-01787622             ELYSIUM-04005495          ELYSIUM-04566093
ELYSIUM-01787631             ELYSIUM-04005516          ELYSIUM-04566119
ELYSIUM-01788157             ELYSIUM-04005527          ELYSIUM-04566121
ELYSIUM-01788167             ELYSIUM-04005529          ELYSIUM-04566141
ELYSIUM-01788186             ELYSIUM-04005531          ELYSIUM-04566469
ELYSIUM-01788195             ELYSIUM-04005532          ELYSIUM-04566770
ELYSIUM-01788196             ELYSIUM-04005533          ELYSIUM-04566941
ELYSIUM-01788203             ELYSIUM-04005561          ELYSIUM-04566977
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ELYSIUM-01788209             ELYSIUM-04005562          ELYSIUM-04567046
ELYSIUM-01788216             ELYSIUM-04005630          ELYSIUM-04567053
ELYSIUM-01788618             ELYSIUM-04005679          ELYSIUM-04567140
ELYSIUM-01788626             ELYSIUM-04005940          ELYSIUM-04568730
ELYSIUM-01788776             ELYSIUM-04006030          ELYSIUM-04571797
ELYSIUM-01788820             ELYSIUM-04006052          ELYSIUM-04572630
ELYSIUM-01789224             ELYSIUM-04006086          ELYSIUM-04572645
ELYSIUM-01789225             ELYSIUM-04006284          ELYSIUM-04572653
ELYSIUM-01789227             ELYSIUM-04006311          ELYSIUM-04572657
ELYSIUM-01789231             ELYSIUM-04006316          ELYSIUM-04572671
ELYSIUM-01790398             ELYSIUM-04006340          ELYSIUM-04572697
ELYSIUM-01790429             ELYSIUM-04006709          ELYSIUM-04572760
ELYSIUM-01790732             ELYSIUM-04006834          ELYSIUM-04572950
ELYSIUM-01790752             ELYSIUM-04006852          ELYSIUM-04573068
ELYSIUM-01804833             ELYSIUM-04006855          ELYSIUM-04573393
ELYSIUM-01804837             ELYSIUM-04006864          ELYSIUM-04573473
ELYSIUM-01805039             ELYSIUM-04006870          ELYSIUM-04573673
ELYSIUM-01805041             ELYSIUM-04006880          ELYSIUM-04573685
ELYSIUM-01823054             ELYSIUM-04006890          ELYSIUM-04573690
ELYSIUM-01823066             ELYSIUM-04006934          ELYSIUM-04578833
ELYSIUM-01823082             ELYSIUM-04006961          ELYSIUM-04578918
ELYSIUM-01823083             ELYSIUM-04006969          ELYSIUM-04578962
ELYSIUM-01823136             ELYSIUM-04006998          ELYSIUM-04579045
ELYSIUM-01823141             ELYSIUM-04007225          ELYSIUM-04579053
ELYSIUM-01823145             ELYSIUM-04007270          ELYSIUM-04579074
ELYSIUM-01823147             ELYSIUM-04007339          ELYSIUM-04579083
ELYSIUM-01860680             ELYSIUM-04007345          ELYSIUM-04579086
ELYSIUM-01860686             ELYSIUM-04007367          ELYSIUM-04579112
ELYSIUM-01860759             ELYSIUM-04007518          ELYSIUM-04579119
ELYSIUM-01860774             ELYSIUM-04007614          ELYSIUM-04579122
ELYSIUM-01997423             ELYSIUM-04007658          ELYSIUM-04579137
ELYSIUM-01997424             ELYSIUM-04007666          ELYSIUM-04579138
ELYSIUM-01997426             ELYSIUM-04007689          ELYSIUM-04579139
ELYSIUM-01997428             ELYSIUM-04007771          ELYSIUM-04579214
ELYSIUM-01997619             ELYSIUM-04007775          ELYSIUM-04579242
ELYSIUM-01997624             ELYSIUM-04007809          ELYSIUM-04579252
ELYSIUM-01997677             ELYSIUM-04007820          ELYSIUM-04579253
ELYSIUM-01997679             ELYSIUM-04008096          ELYSIUM-04579268
ELYSIUM-01997683             ELYSIUM-04008188          ELYSIUM-04579296
ELYSIUM-02010509             ELYSIUM-04008228          ELYSIUM-04579297
ELYSIUM-02010513             ELYSIUM-04008231          ELYSIUM-04581302
ELYSIUM-02010648             ELYSIUM-04008372          ELYSIUM-04583960
ELYSIUM-02010652             ELYSIUM-04008387          ELYSIUM-04583996
ELYSIUM-02010694             ELYSIUM-04008746          ELYSIUM-04583998
ELYSIUM-02010710             ELYSIUM-04008747          ELYSIUM-04584018
ELYSIUM-02036107             ELYSIUM-04008803          ELYSIUM-04584020
ELYSIUM-02036108             ELYSIUM-04008822          ELYSIUM-04584024
ELYSIUM-02036158             ELYSIUM-04011636          ELYSIUM-04584033
ELYSIUM-02036160             ELYSIUM-04011648          ELYSIUM-04584044
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ELYSIUM-02036427             ELYSIUM-04011654          ELYSIUM-04584126
ELYSIUM-02036438             ELYSIUM-04011730          ELYSIUM-04584127
ELYSIUM-02036455             ELYSIUM-04011744          ELYSIUM-04584336
ELYSIUM-02036540             ELYSIUM-04011753          ELYSIUM-04584685
ELYSIUM-02036594             ELYSIUM-04011758          ELYSIUM-04584718
ELYSIUM-02036802             ELYSIUM-04011860          ELYSIUM-04584975
ELYSIUM-02046699             ELYSIUM-04011861          ELYSIUM-04584981
ELYSIUM-02046717             ELYSIUM-04011865          ELYSIUM-04584996
ELYSIUM-02046809             ELYSIUM-04011875          ELYSIUM-04585029
ELYSIUM-02046812             ELYSIUM-04011982          ELYSIUM-04585193
ELYSIUM-02047133             ELYSIUM-04012005          ELYSIUM-04585215
ELYSIUM-02047135             ELYSIUM-04012029          ELYSIUM-04585242
ELYSIUM-02047136             ELYSIUM-04012031          ELYSIUM-04585283
ELYSIUM-02047145             ELYSIUM-04012550          ELYSIUM-04585303
ELYSIUM-02047172             ELYSIUM-04012588          ELYSIUM-04585314
ELYSIUM-02047175             ELYSIUM-04012609          ELYSIUM-04585316
ELYSIUM-02047183             ELYSIUM-04012620          ELYSIUM-04585346
ELYSIUM-02047187             ELYSIUM-04012630          ELYSIUM-04585386
ELYSIUM-02047226             ELYSIUM-04012646          ELYSIUM-04585396
ELYSIUM-02047236             ELYSIUM-04012720          ELYSIUM-04585404
ELYSIUM-02047239             ELYSIUM-04012855          ELYSIUM-04585412
ELYSIUM-02047241             ELYSIUM-04012889          ELYSIUM-04585414
ELYSIUM-02047246             ELYSIUM-04013095          ELYSIUM-04585424
ELYSIUM-02047247             ELYSIUM-04013178          ELYSIUM-04587521
ELYSIUM-02047249             ELYSIUM-04013190          ELYSIUM-04590057
ELYSIUM-02047250             ELYSIUM-04013206          ELYSIUM-04591406
ELYSIUM-02047397             ELYSIUM-04013208          ELYSIUM-04591413
ELYSIUM-02047400             ELYSIUM-04013210          ELYSIUM-04591444
ELYSIUM-02047403             ELYSIUM-04013229          ELYSIUM-04591519
ELYSIUM-02047410             ELYSIUM-04013301          ELYSIUM-04591533
ELYSIUM-02047496             ELYSIUM-04013332          ELYSIUM-04591544
ELYSIUM-02047497             ELYSIUM-04013343          ELYSIUM-04591558
ELYSIUM-02047553             ELYSIUM-04013439          ELYSIUM-04597115
ELYSIUM-02047561             ELYSIUM-04013453          ELYSIUM-04597141
ELYSIUM-02067893             ELYSIUM-04025284          ELYSIUM-04597233
ELYSIUM-02067900             ELYSIUM-04025311          ELYSIUM-04597244
ELYSIUM-02067912             ELYSIUM-04025388          ELYSIUM-04597247
ELYSIUM-02067914             ELYSIUM-04025467          ELYSIUM-04597589
ELYSIUM-02067948             ELYSIUM-04025577          ELYSIUM-04597680
ELYSIUM-02067953             ELYSIUM-04025651          ELYSIUM-04597713
ELYSIUM-02068028             ELYSIUM-04025703          ELYSIUM-04597759
ELYSIUM-02068030             ELYSIUM-04025744          ELYSIUM-04597785
ELYSIUM-02101709             ELYSIUM-04025822          ELYSIUM-04597847
ELYSIUM-02101710             ELYSIUM-04025837          ELYSIUM-04597857
ELYSIUM-02101717             ELYSIUM-04025854          ELYSIUM-04597912
ELYSIUM-02103683             ELYSIUM-04025855          ELYSIUM-04597923
ELYSIUM-02103684             ELYSIUM-04025870          ELYSIUM-04598074
ELYSIUM-02452834             ELYSIUM-04025928          ELYSIUM-04598079
ELYSIUM-02452835             ELYSIUM-04026130          ELYSIUM-04598083
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ELYSIUM-02452840             ELYSIUM-04026131          ELYSIUM-04598162
ELYSIUM-02452842             ELYSIUM-04026142          ELYSIUM-04598164
ELYSIUM-02459448             ELYSIUM-04026144          ELYSIUM-04598169
ELYSIUM-02459449             ELYSIUM-04026165          ELYSIUM-04598171
ELYSIUM-02459450             ELYSIUM-04026182          ELYSIUM-04601884
ELYSIUM-02459463             ELYSIUM-04026225          ELYSIUM-04605246
ELYSIUM-02460157             ELYSIUM-04026230          ELYSIUM-04605251
ELYSIUM-02460158             ELYSIUM-04026248          ELYSIUM-04605404
ELYSIUM-02460165             ELYSIUM-04026397          ELYSIUM-04605427
ELYSIUM-02460167             ELYSIUM-04026401          ELYSIUM-04605435
ELYSIUM-02460405             ELYSIUM-04026402          ELYSIUM-04605442
ELYSIUM-02460410             ELYSIUM-04026421          ELYSIUM-04605454
ELYSIUM-02460610             ELYSIUM-04026422          ELYSIUM-04605464
ELYSIUM-02460617             ELYSIUM-04026451          ELYSIUM-04605972
ELYSIUM-02460619             ELYSIUM-04026454          ELYSIUM-04606000
ELYSIUM-02460620             ELYSIUM-04026455          ELYSIUM-04606004
ELYSIUM-02460700             ELYSIUM-04026462          ELYSIUM-04606039
ELYSIUM-02460710             ELYSIUM-04026469          ELYSIUM-04606051
ELYSIUM-02467778             ELYSIUM-04026478          ELYSIUM-04606055
ELYSIUM-02467779             ELYSIUM-04026499          ELYSIUM-04606056
ELYSIUM-02474779             ELYSIUM-04026696          ELYSIUM-04606092
ELYSIUM-02474786             ELYSIUM-04026753          ELYSIUM-04606125
ELYSIUM-02508722             ELYSIUM-04026784          ELYSIUM-04606135
ELYSIUM-02508728             ELYSIUM-04026786          ELYSIUM-04606145
ELYSIUM-02508818             ELYSIUM-04026953          ELYSIUM-04606196
ELYSIUM-02508821             ELYSIUM-04026966          ELYSIUM-04606207
ELYSIUM-02509573             ELYSIUM-04026971          ELYSIUM-04606248
ELYSIUM-02509604             ELYSIUM-04026978          ELYSIUM-04606251
ELYSIUM-02510367             ELYSIUM-04026991          ELYSIUM-04606253
ELYSIUM-02510380             ELYSIUM-04026998          ELYSIUM-04606291
ELYSIUM-02510529             ELYSIUM-04027017          ELYSIUM-04606329
ELYSIUM-02510550             ELYSIUM-04027047          ELYSIUM-04606331
ELYSIUM-02510556             ELYSIUM-04027263          ELYSIUM-04606373
ELYSIUM-02515320             ELYSIUM-04027299          ELYSIUM-04607924
ELYSIUM-02515321             ELYSIUM-04027418          ELYSIUM-04610352
ELYSIUM-02515322             ELYSIUM-04027452          ELYSIUM-04610578
ELYSIUM-02515325             ELYSIUM-04027466          ELYSIUM-04611017
ELYSIUM-02527741             ELYSIUM-04027585          ELYSIUM-04611024
ELYSIUM-02527744             ELYSIUM-04027821          ELYSIUM-04611033
ELYSIUM-02527788             ELYSIUM-04028035          ELYSIUM-04611038
ELYSIUM-02527805             ELYSIUM-04028047          ELYSIUM-04611044
ELYSIUM-02527846             ELYSIUM-04028057          ELYSIUM-04611045
ELYSIUM-02527847             ELYSIUM-04028084          ELYSIUM-04611056
ELYSIUM-02527970             ELYSIUM-04028104          ELYSIUM-04611065
ELYSIUM-02527972             ELYSIUM-04028205          ELYSIUM-04611305
ELYSIUM-02528473             ELYSIUM-04028215          ELYSIUM-04611343
ELYSIUM-02528482             ELYSIUM-04028227          ELYSIUM-04611548
ELYSIUM-02530495             ELYSIUM-04028256          ELYSIUM-04611577
ELYSIUM-02530498             ELYSIUM-04028295          ELYSIUM-04611632
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ELYSIUM-02531499             ELYSIUM-04028325          ELYSIUM-04611891
ELYSIUM-02531502             ELYSIUM-04028353          ELYSIUM-04612156
ELYSIUM-02534019             ELYSIUM-04028373          ELYSIUM-04612171
ELYSIUM-02534020             ELYSIUM-04028459          ELYSIUM-04612196
ELYSIUM-02534027             ELYSIUM-04028492          ELYSIUM-04612254
ELYSIUM-02536160             ELYSIUM-04028834          ELYSIUM-04612363
ELYSIUM-02539354             ELYSIUM-04028842          ELYSIUM-04612439
ELYSIUM-02539363             ELYSIUM-04028843          ELYSIUM-04612461
ELYSIUM-02549582             ELYSIUM-04028847          ELYSIUM-04612473
ELYSIUM-02549585             ELYSIUM-04028858          ELYSIUM-04612477
ELYSIUM-02549586             ELYSIUM-04028916          ELYSIUM-04613760
ELYSIUM-02549590             ELYSIUM-04028937          ELYSIUM-04614585
ELYSIUM-02549758             ELYSIUM-04028969          ELYSIUM-04617237
ELYSIUM-02549769             ELYSIUM-04028980          ELYSIUM-04617255
ELYSIUM-02549770             ELYSIUM-04028981          ELYSIUM-04617289
ELYSIUM-02549771             ELYSIUM-04028986          ELYSIUM-04617356
ELYSIUM-02550138             ELYSIUM-04029001          ELYSIUM-04617379
ELYSIUM-02550139             ELYSIUM-04029005          ELYSIUM-04617404
ELYSIUM-02550141             ELYSIUM-04029012          ELYSIUM-04617437
ELYSIUM-02550147             ELYSIUM-04029020          ELYSIUM-04620072
ELYSIUM-02560289             ELYSIUM-04029241          ELYSIUM-04622721
ELYSIUM-02560300             ELYSIUM-04029317          ELYSIUM-04622743
ELYSIUM-02560301             ELYSIUM-04029318          ELYSIUM-04622752
ELYSIUM-02560316             ELYSIUM-04029319          ELYSIUM-04622758
ELYSIUM-02560327             ELYSIUM-04029326          ELYSIUM-04622787
ELYSIUM-02560329             ELYSIUM-04029333          ELYSIUM-04622794
ELYSIUM-02560331             ELYSIUM-04029409          ELYSIUM-04622873
ELYSIUM-02561441             ELYSIUM-04029420          ELYSIUM-04625598
ELYSIUM-02561466             ELYSIUM-04029426          ELYSIUM-04629591
ELYSIUM-02561469             ELYSIUM-04029440          ELYSIUM-04629626
ELYSIUM-02561471             ELYSIUM-04029460          ELYSIUM-04629657
ELYSIUM-02566233             ELYSIUM-04029522          ELYSIUM-04629676
ELYSIUM-02566239             ELYSIUM-04029523          ELYSIUM-04629678
ELYSIUM-02566263             ELYSIUM-04029539          ELYSIUM-04629706
ELYSIUM-02567148             ELYSIUM-04029558          ELYSIUM-04629732
ELYSIUM-02567352             ELYSIUM-04029562          ELYSIUM-04629927
ELYSIUM-02567353             ELYSIUM-04029579          ELYSIUM-04629936
ELYSIUM-02567372             ELYSIUM-04029621          ELYSIUM-04629940
ELYSIUM-02567405             ELYSIUM-04029631          ELYSIUM-04629977
ELYSIUM-02569285             ELYSIUM-04029641          ELYSIUM-04630001
ELYSIUM-02569286             ELYSIUM-04029643          ELYSIUM-04630019
ELYSIUM-02572626             ELYSIUM-04029651          ELYSIUM-04630041
ELYSIUM-02572628             ELYSIUM-04029655          ELYSIUM-04634193
ELYSIUM-02573554             ELYSIUM-04029662          ELYSIUM-04635150
ELYSIUM-02573555             ELYSIUM-04029679          ELYSIUM-04635152
ELYSIUM-02573561             ELYSIUM-04029692          ELYSIUM-04635188
ELYSIUM-02573567             ELYSIUM-04029696          ELYSIUM-04635191
ELYSIUM-02573593             ELYSIUM-04029706          ELYSIUM-04635200
ELYSIUM-02573597             ELYSIUM-04029719          ELYSIUM-04635242
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ELYSIUM-02573600             ELYSIUM-04029726          ELYSIUM-04635254
ELYSIUM-02573616             ELYSIUM-04030059          ELYSIUM-04635262
ELYSIUM-02574301             ELYSIUM-04030190          ELYSIUM-04635283
ELYSIUM-02574304             ELYSIUM-04030195          ELYSIUM-04635290
ELYSIUM-02574311             ELYSIUM-04030287          ELYSIUM-04635292
ELYSIUM-02574333             ELYSIUM-04030297          ELYSIUM-04635304
ELYSIUM-02577771             ELYSIUM-04030302          ELYSIUM-04635306
ELYSIUM-02577777             ELYSIUM-04030314          ELYSIUM-04635315
ELYSIUM-02577922             ELYSIUM-04030318          ELYSIUM-04635321
ELYSIUM-02577932             ELYSIUM-04030500          ELYSIUM-04635329
ELYSIUM-02578770             ELYSIUM-04030560          ELYSIUM-04635337
ELYSIUM-02578772             ELYSIUM-04030607          ELYSIUM-04635342
ELYSIUM-02584421             ELYSIUM-04030620          ELYSIUM-04635343
ELYSIUM-02584422             ELYSIUM-04030638          ELYSIUM-04635363
ELYSIUM-02584423             ELYSIUM-04030648          ELYSIUM-04635410
ELYSIUM-02584427             ELYSIUM-04030717          ELYSIUM-04635411
ELYSIUM-02584508             ELYSIUM-04030818          ELYSIUM-04635412
ELYSIUM-02584522             ELYSIUM-04030897          ELYSIUM-04635446
ELYSIUM-02584536             ELYSIUM-04030904          ELYSIUM-04635460
ELYSIUM-02584546             ELYSIUM-04030937          ELYSIUM-04635472
ELYSIUM-02584985             ELYSIUM-04030938          ELYSIUM-04638022
ELYSIUM-02585008             ELYSIUM-04030963          ELYSIUM-04639404
ELYSIUM-02585058             ELYSIUM-04031013          ELYSIUM-04641823
ELYSIUM-02585076             ELYSIUM-04031387          ELYSIUM-04642538
ELYSIUM-02591503             ELYSIUM-04031394          ELYSIUM-04642554
ELYSIUM-02591510             ELYSIUM-04031411          ELYSIUM-04642583
ELYSIUM-02591511             ELYSIUM-04031425          ELYSIUM-04642617
ELYSIUM-02591521             ELYSIUM-04031454          ELYSIUM-04642628
ELYSIUM-02595603             ELYSIUM-04031462          ELYSIUM-04642636
ELYSIUM-02595604             ELYSIUM-04031463          ELYSIUM-04642637
ELYSIUM-02603811             ELYSIUM-04031490          ELYSIUM-04645373
ELYSIUM-02603818             ELYSIUM-04031632          ELYSIUM-04648523
ELYSIUM-02603824             ELYSIUM-04031635          ELYSIUM-04648524
ELYSIUM-02603825             ELYSIUM-04031646          ELYSIUM-04648526
ELYSIUM-02604228             ELYSIUM-04031778          ELYSIUM-04648532
ELYSIUM-02604231             ELYSIUM-04031800          ELYSIUM-04648535
ELYSIUM-02604248             ELYSIUM-04031938          ELYSIUM-04648545
ELYSIUM-02604255             ELYSIUM-04031953          ELYSIUM-04648555
ELYSIUM-02607594             ELYSIUM-04031971          ELYSIUM-04648557
ELYSIUM-02607600             ELYSIUM-04031990          ELYSIUM-04648558
ELYSIUM-02607883             ELYSIUM-04032011          ELYSIUM-04648559
ELYSIUM-02607892             ELYSIUM-04032056          ELYSIUM-04648565
ELYSIUM-02608793             ELYSIUM-04032101          ELYSIUM-04648573
ELYSIUM-02608805             ELYSIUM-04032108          ELYSIUM-04648579
ELYSIUM-02608820             ELYSIUM-04032110          ELYSIUM-04648584
ELYSIUM-02608837             ELYSIUM-04032122          ELYSIUM-04648585
ELYSIUM-02611367             ELYSIUM-04032147          ELYSIUM-04648839
ELYSIUM-02611384             ELYSIUM-04032291          ELYSIUM-04648882
ELYSIUM-02791314             ELYSIUM-04032527          ELYSIUM-04649187
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ELYSIUM-02791315             ELYSIUM-04032567          ELYSIUM-04649218
ELYSIUM-02791368             ELYSIUM-04032574          ELYSIUM-04649257
ELYSIUM-02791417             ELYSIUM-04032588          ELYSIUM-04649380
ELYSIUM-02791433             ELYSIUM-04032789          ELYSIUM-04649458
ELYSIUM-02791760             ELYSIUM-04032842          ELYSIUM-04655623
ELYSIUM-02791762             ELYSIUM-04032875          ELYSIUM-04655668
ELYSIUM-02791771             ELYSIUM-04032886          ELYSIUM-04655677
ELYSIUM-02791966             ELYSIUM-04032989          ELYSIUM-04655741
ELYSIUM-02792246             ELYSIUM-04033000          ELYSIUM-04655775
ELYSIUM-02792319             ELYSIUM-04033072          ELYSIUM-04655841
ELYSIUM-02806412             ELYSIUM-04033098          ELYSIUM-04655872
ELYSIUM-02806427             ELYSIUM-04033111          ELYSIUM-04657654
ELYSIUM-02806454             ELYSIUM-04033116          ELYSIUM-04658774
ELYSIUM-02806491             ELYSIUM-04033124          ELYSIUM-04661887
ELYSIUM-02806497             ELYSIUM-04033133          ELYSIUM-04661909
ELYSIUM-02806525             ELYSIUM-04033144          ELYSIUM-04661957
ELYSIUM-02806585             ELYSIUM-04033146          ELYSIUM-04661963
ELYSIUM-02806605             ELYSIUM-04033219          ELYSIUM-04661990
ELYSIUM-02806657             ELYSIUM-04033405          ELYSIUM-04662040
ELYSIUM-02820399             ELYSIUM-04033614          ELYSIUM-04662042
ELYSIUM-02820460             ELYSIUM-04033841          ELYSIUM-04662073
ELYSIUM-02820480             ELYSIUM-04033842          ELYSIUM-04662092
ELYSIUM-02820573             ELYSIUM-04033846          ELYSIUM-04662121
ELYSIUM-02820598             ELYSIUM-04033858          ELYSIUM-04662127
ELYSIUM-02820664             ELYSIUM-04033867          ELYSIUM-04662130
ELYSIUM-02820865             ELYSIUM-04033871          ELYSIUM-04662142
ELYSIUM-02820877             ELYSIUM-04033885          ELYSIUM-04662151
ELYSIUM-02820942             ELYSIUM-04034097          ELYSIUM-04662164
ELYSIUM-02821166             ELYSIUM-04034098          ELYSIUM-04662238
ELYSIUM-02821623             ELYSIUM-04034106          ELYSIUM-04663649
ELYSIUM-02834882             ELYSIUM-04034113          ELYSIUM-04665984
ELYSIUM-02834884             ELYSIUM-04034130          ELYSIUM-04676737
ELYSIUM-02834892             ELYSIUM-04034154          ELYSIUM-04676770
ELYSIUM-02835208             ELYSIUM-04034155          ELYSIUM-04676781
ELYSIUM-02835213             ELYSIUM-04034158          ELYSIUM-04676782
ELYSIUM-02835221             ELYSIUM-04034399          ELYSIUM-04676822
ELYSIUM-02835361             ELYSIUM-04034416          ELYSIUM-04676831
ELYSIUM-02835362             ELYSIUM-04034434          ELYSIUM-04676853
ELYSIUM-02835372             ELYSIUM-04034437          ELYSIUM-04676873
ELYSIUM-02859099             ELYSIUM-04034444          ELYSIUM-04679055
ELYSIUM-02859125             ELYSIUM-04034460          ELYSIUM-04689274
ELYSIUM-02859136             ELYSIUM-04034464          ELYSIUM-04720545
ELYSIUM-02860940             ELYSIUM-04034486          ELYSIUM-04724945
ELYSIUM-02860957             ELYSIUM-04034572          ELYSIUM-04725421
ELYSIUM-02860996             ELYSIUM-04034576          ELYSIUM-04801091
ELYSIUM-02861022             ELYSIUM-04034597          ELYSIUM-04982177
ELYSIUM-02861054             ELYSIUM-04034742          ELYSIUM-05065630
ELYSIUM-02861227             ELYSIUM-04034782          ELYSIUM-05088637
ELYSIUM-02861228             ELYSIUM-04034880          ELYSIUM-05088638
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ELYSIUM-02862458             ELYSIUM-04034899          ELYSIUM-05088639
ELYSIUM-02872449             ELYSIUM-04034977          ELYSIUM-05093143
ELYSIUM-02874086             ELYSIUM-04034983          ELYSIUM-05269912
ELYSIUM-02874452             ELYSIUM-04051799          ELYSIUM-05269913
ELYSIUM-02887309             ELYSIUM-04052411          ELYSIUM-05271121
ELYSIUM-02887416             ELYSIUM-04052476          ELYSIUM-05280747
ELYSIUM-02887562             ELYSIUM-04052490          ELYSIUM-05295222
ELYSIUM-02888530             ELYSIUM-04052498          ELYSIUM-05315871
ELYSIUM-02888664             ELYSIUM-04052500          ELYSIUM-05327063
ELYSIUM-02888799             ELYSIUM-04052522          ELYSIUM-05399473
ELYSIUM-02888830             ELYSIUM-04052529          ELYSIUM-05443528
ELYSIUM-02888969             ELYSIUM-04052611          ELYSIUM-05822425
ELYSIUM-02888983             ELYSIUM-04052619          ELYSIUM-06094123
ELYSIUM-02889186             ELYSIUM-04052668          ELYSIUM-06209938
ELYSIUM-02889219             ELYSIUM-04052690          ELYSIUM-06230894
ELYSIUM-02889236             ELYSIUM-04052746          ELYSIUM-06259968
ELYSIUM-02889362             ELYSIUM-04052781          ELYSIUM-06259973
ELYSIUM-02889669             ELYSIUM-04052784          ELYSIUM-06260000
ELYSIUM-02890293             ELYSIUM-04052793          ELYSIUM-06260002
ELYSIUM-02890340             ELYSIUM-04052794          ELYSIUM-06288701
ELYSIUM-02890363             ELYSIUM-04052823          ELYSIUM-06323733
ELYSIUM-02890819             ELYSIUM-04052881          ELYSIUM-06333393
ELYSIUM-02896979             ELYSIUM-04052882          ELYSIUM-06519578
ELYSIUM-02897228             ELYSIUM-04052888          ELYSIUM-06519580
ELYSIUM-02897273             ELYSIUM-04052932          ELYSIUM-06519587
ELYSIUM-02897325             ELYSIUM-04053012          ELYSIUM-06754885
ELYSIUM-02897372             ELYSIUM-04053028          ELYSIUM-07020244
ELYSIUM-02897450             ELYSIUM-04053068          ELYSIUM-07327850
ELYSIUM-02897626             ELYSIUM-04053092          ELYSIUM-07426784
ELYSIUM-02897812             ELYSIUM-04053116          ELYSIUM-07430379
ELYSIUM-02897830             ELYSIUM-04053135          ELYSIUM-07430442
ELYSIUM-02904710             ELYSIUM-04053140          ELYSIUM-07430472
ELYSIUM-02904872             ELYSIUM-04053194          ELYSIUM-07430514
ELYSIUM-02905224             ELYSIUM-04053199          ELYSIUM-07430619
ELYSIUM-02905286             ELYSIUM-04053204          ELYSIUM-07430658
ELYSIUM-02905638             ELYSIUM-04053212          ELYSIUM-07430847
ELYSIUM-02905738             ELYSIUM-04053248          ELYSIUM-07430856
ELYSIUM-02905795             ELYSIUM-04053253          ELYSIUM-07430868
ELYSIUM-02905975             ELYSIUM-04053257          ELYSIUM-07463827
ELYSIUM-02905978             ELYSIUM-04053277          ELYSIUM-07464101
ELYSIUM-02913408             ELYSIUM-04053279          ELYSIUM-07545418
ELYSIUM-02913477             ELYSIUM-04053331          ELYSIUM-07699790
ELYSIUM-02913558             ELYSIUM-04053345          ELYSIUM-07724581
ELYSIUM-02913671             ELYSIUM-04053350          ELYSIUM-07777712
ELYSIUM-02913711             ELYSIUM-04053488          ELYSIUM-07792261
ELYSIUM-02913754             ELYSIUM-04053516          ELYSIUM-07792269
ELYSIUM-02913836             ELYSIUM-04053541          ELYSIUM-07841870
ELYSIUM-02914275             ELYSIUM-04053637          ELYSIUM-07846030
ELYSIUM-02914293             ELYSIUM-04053674          ELYSIUM-08346929
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ELYSIUM-02914526             ELYSIUM-04054722          ELYSIUM-08440461
ELYSIUM-02914554             ELYSIUM-04054727          ELYSIUM-08444028
ELYSIUM-02914576             ELYSIUM-04054765          ELYSIUM-08444029
ELYSIUM-02914904             ELYSIUM-04054767          ELYSIUM-09085951
ELYSIUM-02914925             ELYSIUM-04054771          ELYSIUM-09140791
ELYSIUM-02914963             ELYSIUM-04054827          ELYSIUM-09228920
ELYSIUM-02915049             ELYSIUM-04054909          ELYSIUM-09346040
ELYSIUM-02915321             ELYSIUM-04054935          ELYSIUM-09346042
ELYSIUM-02915636             ELYSIUM-04054947          ELYSIUM-09387714
ELYSIUM-02934715             ELYSIUM-04054961          ELYSIUM-09552622
ELYSIUM-02934721             ELYSIUM-04055003          ELYSIUM-10272408
ELYSIUM-02934966             ELYSIUM-04055034          ELYSIUM-10272612
ELYSIUM-02935102             ELYSIUM-04055037          ESKIN00000285
ELYSIUM-02935532             ELYSIUM-04055048          ESKIN00000349
ELYSIUM-02935715             ELYSIUM-04055091          EVRYCLEAN00000353
ELYSIUM-02935803             ELYSIUM-04055092          EVRYCLEAN00000354
ELYSIUM-02935892             ELYSIUM-04055141          EVRYCLEAN00000409
ELYSIUM-02936048             ELYSIUM-04055144          EVRYCLEAN00000452
ELYSIUM-02936130             ELYSIUM-04055169          FIELDCREST00000295
ELYSIUM-02936560             ELYSIUM-04055180          FIELDCREST00000358
ELYSIUM-02936778             ELYSIUM-04055189          FIFTYEIGHTSIXTY00000061
ELYSIUM-02937280             ELYSIUM-04055203          FIFTYEIGHTSIXTY00001228
ELYSIUM-02937646             ELYSIUM-04055415          FWCCAP00000194
ELYSIUM-02938029             ELYSIUM-04055439          FWCCAP00000407
ELYSIUM-02938118             ELYSIUM-04055441          FWCCAP00000414
ELYSIUM-02938429             ELYSIUM-04055462          FWCCAP00000424
ELYSIUM-02938691             ELYSIUM-04055483          FWCCAP00000457
ELYSIUM-02938773             ELYSIUM-04055540          FWCCAP00000494
ELYSIUM-02938886             ELYSIUM-04055624          FWCCAP00000536
ELYSIUM-02938900             ELYSIUM-04055731          FWCCAP00000547
ELYSIUM-02956251             ELYSIUM-04055739          FWCCAP00000548
ELYSIUM-02956526             ELYSIUM-04055753          FWCCAP00000564
ELYSIUM-02956528             ELYSIUM-04055776          GREENGS00000329
ELYSIUM-02956719             ELYSIUM-04055950          GREENGS00000334
ELYSIUM-02956948             ELYSIUM-04056046          GUNDERSON00009809
ELYSIUM-02957543             ELYSIUM-04056048          GUNDERSON00010029
ELYSIUM-02957990             ELYSIUM-04056156          GUNDERSON00003181
ELYSIUM-02958104             ELYSIUM-04056183          GUNDERSON00009434
ELYSIUM-02958144             ELYSIUM-04056263          GYOS00000210-212
ELYSIUM-02958299             ELYSIUM-04056318          GYOS00000248
ELYSIUM-02958684             ELYSIUM-04056331          GYOS00000250
ELYSIUM-02958717             ELYSIUM-04056376          GYOS00000286
ELYSIUM-02958737             ELYSIUM-04056419          HAWK00000276
ELYSIUM-02958958             ELYSIUM-04056428          HAWK00000310
ELYSIUM-02958977             ELYSIUM-04056442          HAWK00000311
ELYSIUM-02989904             ELYSIUM-04056504          HERON00000261
ELYSIUM-03064248             ELYSIUM-04056589          HERON00000303
ELYSIUM-03064256             ELYSIUM-04056605          HERON00000349
ELYSIUM-03064277             ELYSIUM-04056621          HERON00000405
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ELYSIUM-03064362             ELYSIUM-04056626          HIBISCUS00000325
ELYSIUM-03064431             ELYSIUM-04056660          HIBISCUS00000382
ELYSIUM-03064487             ELYSIUM-04056661          HIBISCUS00000424
ELYSIUM-03064488             ELYSIUM-04056770          HIBISCUS00000426
ELYSIUM-03064649             ELYSIUM-04056839          HOBOKEN00000191
ELYSIUM-03064677             ELYSIUM-04056858          HOBOKEN00000240
ELYSIUM-03064727             ELYSIUM-04056863          HOBOKEN00000283
ELYSIUM-03064733             ELYSIUM-04057005          HOBOKEN00000324
ELYSIUM-03064769             ELYSIUM-04057007          HOTFROM00000330
ELYSIUM-03077779             ELYSIUM-04057013          HOTFROM00000465
ELYSIUM-03077794             ELYSIUM-04057103          HOUSTROC00000396
ELYSIUM-03077812             ELYSIUM-04057110          HOUSTROC00000425
ELYSIUM-03077892             ELYSIUM-04057155          INDBOMB00000314
ELYSIUM-03077917             ELYSIUM-04057342          INDBOMB00000547
ELYSIUM-03078036             ELYSIUM-04098839          ISDB00000352
ELYSIUM-03078114             ELYSIUM-04117677          ISDB00000590
ELYSIUM-03078154             ELYSIUM-04194520          JAYFRAN00000274
ELYSIUM-03078254             ELYSIUM-04195747          JAYFRAN00000307
ELYSIUM-03132699             ELYSIUM-04195748          JAYFRAN00000353
ELYSIUM-03132721             ELYSIUM-04195765          JAYFRAN00000409
ELYSIUM-03132722             ELYSIUM-04195822          JEBRADLEY00000183
ELYSIUM-03132737             ELYSIUM-04195836          JEBRADLEY00000359
ELYSIUM-03132754             ELYSIUM-04195968          JEBRADLEY00000361
ELYSIUM-03132757             ELYSIUM-04196025          JHVM_0001854
ELYSIUM-03132890             ELYSIUM-04196055          JHVM_0001927
ELYSIUM-03132907             ELYSIUM-04196248          JHVM_0002517
ELYSIUM-03132909             ELYSIUM-04196261          JHVM_0005262
ELYSIUM-03132913             ELYSIUM-04196589          JHVM_0005282
ELYSIUM-03132933             ELYSIUM-04196738          JHVM_0005295
ELYSIUM-03132948             ELYSIUM-04196757          JHVM_0005489
ELYSIUM-03133254             ELYSIUM-04196798          JHVM_0006014
ELYSIUM-03133261             ELYSIUM-04196974          JHVM_0008757
ELYSIUM-03133276             ELYSIUM-04196996          JHVM_0012972
ELYSIUM-03133303             ELYSIUM-04197005          JHVM_0017740
ELYSIUM-03133315             ELYSIUM-04197036          JHVM_0020353
ELYSIUM-03133351             ELYSIUM-04197194          JHVM_0020443
ELYSIUM-03133353             ELYSIUM-04197219          JHVM_0026064
ELYSIUM-03133380             ELYSIUM-04197241          JHVM_0033255
ELYSIUM-03133404             ELYSIUM-04197248          JMLCAP00000091
ELYSIUM-03137270             ELYSIUM-04197255          JMLCAP00000131
ELYSIUM-03137273             ELYSIUM-04197261          JPM00000198
ELYSIUM-03137289             ELYSIUM-04197265          JTHEALTH00000278
ELYSIUM-03137312             ELYSIUM-04197276          JTHEALTH00000321
ELYSIUM-03137313             ELYSIUM-04197278          JTHEALTH00000357
ELYSIUM-03137325             ELYSIUM-04197346          JTHEALTH00000415
ELYSIUM-03137342             ELYSIUM-04197620          JUMP00000314
ELYSIUM-03137357             ELYSIUM-04197662          JUMP00000315
ELYSIUM-03137375             ELYSIUM-04197701          JUMP00000363
ELYSIUM-03137381             ELYSIUM-04197724          JUMP00000404
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ELYSIUM-03137395             ELYSIUM-04197990          KASV00000301
ELYSIUM-03137435             ELYSIUM-04198020          KASV00000419
ELYSIUM-03137441             ELYSIUM-04198172          KF_MDL_00964
ELYSIUM-03137451             ELYSIUM-04198173          KF_MDL_11480
ELYSIUM-0313747              ELYSIUM-04198175          KF_MDL_11490
ELYSIUM-03137475             ELYSIUM-04198211          KF_MDL_12619
ELYSIUM-03137486             ELYSIUM-04198225          KF_MDL_12720
ELYSIUM-03137488             ELYSIUM-04198252          KF_MDL_12821
ELYSIUM-03137495             ELYSIUM-04198254          KF_MDL_12922
ELYSIUM-03137503             ELYSIUM-04198255          KF_MDL_13023
ELYSIUM-03137687             ELYSIUM-04198298          KF_MDL_13124
ELYSIUM-03137688             ELYSIUM-04198504          KF_MDL_13225
ELYSIUM-03137881             ELYSIUM-04198557          KF_MDL_13326
ELYSIUM-03137882             ELYSIUM-04198865          KF_MDL_13696
ELYSIUM-03138223             ELYSIUM-04198873          KLUGMAN00003260
ELYSIUM-03138226             ELYSIUM-04199138          KLUGMAN00003356
ELYSIUM-03138241             ELYSIUM-04199187          KLUGMAN00003362
ELYSIUM-03138260             ELYSIUM-04199463          KLUGMAN00003565
ELYSIUM-03138270             ELYSIUM-04199500          KLUGMAN00003945
ELYSIUM-03138272             ELYSIUM-04199517          KLUGMAN00004141
ELYSIUM-03138293             ELYSIUM-04199535          KLUGMAN00004278
ELYSIUM-03138347             ELYSIUM-04199545          KLUGMAN00004330
ELYSIUM-03138352             ELYSIUM-04199580          KLUGMAN00004479
ELYSIUM-03138358             ELYSIUM-04199594          KLUGMAN00004484
ELYSIUM-03138371             ELYSIUM-04199847          KLUGMAN00004655
ELYSIUM-03138400             ELYSIUM-04199868          KLUGMAN00006705
ELYSIUM-03138421             ELYSIUM-04200108          KLUGMAN00011626
ELYSIUM-03138438             ELYSIUM-04200158          KLUGMAN00018046
ELYSIUM-03138442             ELYSIUM-04213785          KLUGMAN00026201
ELYSIUM-03138445             ELYSIUM-04215187          KLUGMAN00039243
ELYSIUM-03138514             ELYSIUM-04215192          KLUGMAN00040661
ELYSIUM-03138549             ELYSIUM-04215196          KLUGMAN00041003
ELYSIUM-03150994             ELYSIUM-04215211          KLUGMAN00041104
ELYSIUM-03151007             ELYSIUM-04215220          KLUGMAN00067805
ELYSIUM-03151030             ELYSIUM-04215389          KLUGMAN00067806
ELYSIUM-03151088             ELYSIUM-04215817          KLUGMAN00067807
ELYSIUM-03151106             ELYSIUM-04215959          KODIAK00000294
ELYSIUM-03151119             ELYSIUM-04215988          KODIAK00000297
ELYSIUM-03151125             ELYSIUM-04216043          KRABI00000172
ELYSIUM-03151126             ELYSIUM-04216334          KRABI00000359
ELYSIUM-03151140             ELYSIUM-04216373          KYBER00000283
ELYSIUM-03151153             ELYSIUM-04216379          KYBER00000304
ELYSIUM-03151158             ELYSIUM-04216385          LAKEVIEW00000308
ELYSIUM-03151179             ELYSIUM-04216425          LAKEVIEW00000339
ELYSIUM-03151194             ELYSIUM-04216456          LAKEVIEW00000391
ELYSIUM-03151289             ELYSIUM-04216469          LAKEVIEW00000411
ELYSIUM-03151346             ELYSIUM-04216693          LBR00000126
ELYSIUM-03151377             ELYSIUM-04216995          LBR00000339-346
ELYSIUM-03151399             ELYSIUM-04217005          LBR00000347
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ELYSIUM-03151412             ELYSIUM-04217028          LBR00000351
ELYSIUM-03151419             ELYSIUM-04217318          LBR00000391
ELYSIUM-03151427             ELYSIUM-04217385          LBR00000410
ELYSIUM-03151455             ELYSIUM-04217503          LBR00000486
ELYSIUM-03151480             ELYSIUM-04217571          LBR00000547
ELYSIUM-03151484             ELYSIUM-04217772          LEHMAN00015606
ELYSIUM-03151487             ELYSIUM-04217864          LEHMAN00019330
ELYSIUM-03151490             ELYSIUM-04217874          LEHMAN00019473
ELYSIUM-03151501             ELYSIUM-04218054          LEHMAN00027003
ELYSIUM-03151548             ELYSIUM-04218070          LEIRICI00000298
ELYSIUM-03151866             ELYSIUM-04218076          LEIRICI00000322
ELYSIUM-03152489             ELYSIUM-04218133          LH00000069
ELYSIUM-03152492             ELYSIUM-04218722          LH00000078
ELYSIUM-03152518             ELYSIUM-04218980          LH00000089
ELYSIUM-03152533             ELYSIUM-04219101          LL00000063
ELYSIUM-03152560             ELYSIUM-04232272          LL00000078
ELYSIUM-03152581             ELYSIUM-04290647          LUDLOW00000300
ELYSIUM-03152606             ELYSIUM-04290648          LUDLOW00000364
ELYSIUM-03152626             ELYSIUM-04290678          M2F00000146
ELYSIUM-03152627             ELYSIUM-04290753          MAPLE00000360
ELYSIUM-03152655             ELYSIUM-04290757          MAPLE00000405
ELYSIUM-03152680             ELYSIUM-04290912          MAPLE00000448
ELYSIUM-03152701             ELYSIUM-04290978          MAPLE00000468
ELYSIUM-03152708             ELYSIUM-04294253          MBJ_0000005
ELYSIUM-03152773             ELYSIUM-04298273          MBJ_0000106
ELYSIUM-03152774             ELYSIUM-04298302          MBJ_0000208
ELYSIUM-03156297             ELYSIUM-04298313          MBJ_0000309
ELYSIUM-03156307             ELYSIUM-04298333          MBJ_0007880
ELYSIUM-03156314             ELYSIUM-04298339          MBJ_0007982
ELYSIUM-03156315             ELYSIUM-04298360          MBJ_0008131
ELYSIUM-03156332             ELYSIUM-04298400          MBJ_0010630
ELYSIUM-03156334             ELYSIUM-04298406          MBJ_0010780
ELYSIUM-03156339             ELYSIUM-04298417          MBJ_0010976
ELYSIUM-03156373             ELYSIUM-04298421          MBJ_0048625
ELYSIUM-03156379             ELYSIUM-04298430          MBJ_STOR-0002765
ELYSIUM-03156380             ELYSIUM-04298437          MBJ_STOR-0004699
ELYSIUM-03156530             ELYSIUM-04298471          MNTAIR00000380
ELYSIUM-03156537             ELYSIUM-04298477          MNTAIR00000390
ELYSIUM-03156931             ELYSIUM-04298505          MNTAIR00000423
ELYSIUM-03156937             ELYSIUM-04298508          MNTAIR00000460
ELYSIUM-03156950             ELYSIUM-04298522          MNTAIR00000502
ELYSIUM-03156967             ELYSIUM-04298526          MNTAIR00000526
ELYSIUM-03156979             ELYSIUM-04298535          MONAMP00000329
ELYSIUM-03157007             ELYSIUM-04298536          MONAMP00000560
ELYSIUM-03157050             ELYSIUM-04298630          MPQ00000124
ELYSIUM-03157072             ELYSIUM-04298643          MPQ00000129
ELYSIUM-03157076             ELYSIUM-04298647          MPQ00000151
ELYSIUM-03186605             ELYSIUM-04298651          MPSKAT00001255
ELYSIUM-03252000             ELYSIUM-04298659          MPSKAT00001427
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ELYSIUM-03283228             ELYSIUM-04298678          MPSKAT00001580
ELYSIUM-03293419             ELYSIUM-04298706          MPSKAT00001626
ELYSIUM-03293435             ELYSIUM-04298731          MPSKAT00002816
ELYSIUM-03293454             ELYSIUM-04298733          MPSKAT00003810
ELYSIUM-03293465             ELYSIUM-04298743          MPSKAT00004322
ELYSIUM-03293478             ELYSIUM-04298746          MPSKAT00004327
ELYSIUM-03293505             ELYSIUM-04298777          MPSKAT00004346
ELYSIUM-03293591             ELYSIUM-04298818          MPSKAT00005012
ELYSIUM-03293592             ELYSIUM-04298839          MPSKAT00005894
ELYSIUM-03293599             ELYSIUM-04298857          MPSKAT00006968
ELYSIUM-03293616             ELYSIUM-04298879          MPSKAT00007012
ELYSIUM-03293890             ELYSIUM-04299027          MPSKAT00007016
ELYSIUM-03293902             ELYSIUM-04299281          MPSKAT00007256
ELYSIUM-03293942             ELYSIUM-04299282          MPSKAT00007321
ELYSIUM-03294021             ELYSIUM-04299312          MPSKAT00007323
ELYSIUM-03294271             ELYSIUM-04299316          MPSKAT00007325
ELYSIUM-03294283             ELYSIUM-04299354          MPSKAT00007347
ELYSIUM-03294300             ELYSIUM-04299379          MPSKAT00008639
ELYSIUM-03294314             ELYSIUM-04299490          MPSKAT00008759
ELYSIUM-03294330             ELYSIUM-04300026          MPSKAT00008967
ELYSIUM-03294342             ELYSIUM-04300075          MPSKAT00010288
ELYSIUM-03294388             ELYSIUM-04300089          MPSKAT00010740
ELYSIUM-03294425             ELYSIUM-04300115          MPSKAT00020358
ELYSIUM-03294464             ELYSIUM-04300363          MPSKAT00020387
ELYSIUM-03294469             ELYSIUM-04300369          MPSKAT00020864
ELYSIUM-03294475             ELYSIUM-04300381          MPSKAT00021018
ELYSIUM-03294495             ELYSIUM-04300393          MPSKAT00021819
ELYSIUM-03294498             ELYSIUM-04300413          MPSKAT00022222
ELYSIUM-03294504             ELYSIUM-04300414          MPSKAT00022809
ELYSIUM-03294505             ELYSIUM-04300428          MPSKAT00023949
ELYSIUM-03294530             ELYSIUM-04300437          MPSKAT00024030
ELYSIUM-03294559             ELYSIUM-04300442          MPSKAT00024486
ELYSIUM-03294561             ELYSIUM-04300591          MPSKAT00024487
ELYSIUM-03294580             ELYSIUM-04300633          MPSKAT00024513
ELYSIUM-03308363             ELYSIUM-04300637          MPSKAT00025707
ELYSIUM-03308376             ELYSIUM-04300691          MPSKAT00025932
ELYSIUM-03308379             ELYSIUM-04300729          MPSKAT00026442
ELYSIUM-03308404             ELYSIUM-04300743          MPSKAT00026540
ELYSIUM-03308420             ELYSIUM-04300751          MPSKAT00027571
ELYSIUM-03308429             ELYSIUM-04300804          MPSKAT00028011
ELYSIUM-03308467             ELYSIUM-04300828          MPSKAT00029282
ELYSIUM-03308489             ELYSIUM-04300876          MPSKAT00029558
ELYSIUM-03308490             ELYSIUM-04301139          MPSKAT00056535
ELYSIUM-03308506             ELYSIUM-04302687          MPSKAT00056585
ELYSIUM-03308524             ELYSIUM-04303967          MPSKAT00056658
ELYSIUM-03308557             ELYSIUM-04306033          MPSKAT00056698
ELYSIUM-03308563             ELYSIUM-04307317          MPSKAT00056736
ELYSIUM-03308574             ELYSIUM-04307361          MPSKAT00056805
ELYSIUM-03308581             ELYSIUM-04307417          MPSKAT00056835
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ELYSIUM-03308673             ELYSIUM-04307442          MPSKAT00056875
ELYSIUM-03308802             ELYSIUM-04307473          MPSKAT00056945
ELYSIUM-03308817             ELYSIUM-04307527          MPSKAT00057018
ELYSIUM-03308824             ELYSIUM-04307667          MPSKAT00061425
ELYSIUM-03308847             ELYSIUM-04307669          MPSKAT00081173
ELYSIUM-03308870             ELYSIUM-04307689          MPSKAT00081358
ELYSIUM-03308901             ELYSIUM-04307940          MPSKAT00081360
ELYSIUM-03308919             ELYSIUM-04307964          MPSKAT00085392
ELYSIUM-03309042             ELYSIUM-04308048          MPSKAT00085414
ELYSIUM-03342157             ELYSIUM-04308069          MPSKAT00085416
ELYSIUM-03342257             ELYSIUM-04308106          MPSKAT00085491
ELYSIUM-03342277             ELYSIUM-04308107          MPSKAT00085944
ELYSIUM-03342317             ELYSIUM-04308197          MPSKAT00090278
ELYSIUM-03342344             ELYSIUM-04308477          MPSKAT00101955
ELYSIUM-03342353             ELYSIUM-04308481          MPSKAT00101963
ELYSIUM-03342357             ELYSIUM-04308487          MPSKAT00103718
ELYSIUM-03342361             ELYSIUM-04308601          MPSKAT00103724
ELYSIUM-03342368             ELYSIUM-04308617          MPSKAT00129628
ELYSIUM-03342726             ELYSIUM-04308652          MPSKAT00131661
ELYSIUM-03342753             ELYSIUM-04308757          MPSKAT00143527
ELYSIUM-03342755             ELYSIUM-04308777          MPSKAT00145731
ELYSIUM-03342792             ELYSIUM-04308790          MPSKAT00163835
ELYSIUM-03342826             ELYSIUM-04308860          MPSKAT00163842
ELYSIUM-03342847             ELYSIUM-04308870          MPSKAT00164905
ELYSIUM-03356916             ELYSIUM-04309022          MPSKAT00165623
ELYSIUM-03356947             ELYSIUM-04309043          MPSKAT00165885
ELYSIUM-03356967             ELYSIUM-04309077          MPSKAT00165982
ELYSIUM-03357016             ELYSIUM-04309080          MPSKAT00165983
ELYSIUM-03357032             ELYSIUM-04309098          MPSKAT00169069
ELYSIUM-03357052             ELYSIUM-04309101          MPSKAT00234853
ELYSIUM-03357292             ELYSIUM-04309159          MPSKAT00234855
ELYSIUM-03357299             ELYSIUM-04309314          MPSKAT00234859
ELYSIUM-03357304             ELYSIUM-04309412          MPSKAT00234891
ELYSIUM-03357364             ELYSIUM-04309722          MPSKAT00234917
ELYSIUM-03357381             ELYSIUM-04309723          MPSKAT00241525
ELYSIUM-03357410             ELYSIUM-04309729          MPSKAT00246613
ELYSIUM-03357412             ELYSIUM-04309740          MPSKAT00274815
ELYSIUM-03357419             ELYSIUM-04309744          MPSKAT00275535
ELYSIUM-03357521             ELYSIUM-04309873          MUELLER00000349
ELYSIUM-03357945             ELYSIUM-04309956          MUELLER00000356
ELYSIUM-03357956             ELYSIUM-04309974          MUELLER00000379
ELYSIUM-03357971             ELYSIUM-04309976          NOVAFONTA00000047
ELYSIUM-03357982             ELYSIUM-04309977          NYCATAX00000241
ELYSIUM-03358040             ELYSIUM-04309991          NYCATAX00000282
ELYSIUM-03358043             ELYSIUM-04310007          NYCATX00000106
ELYSIUM-03367220             ELYSIUM-04310015          NYCSTAN00000313
ELYSIUM-03367259             ELYSIUM-04310029          NYCSTAN00000339
ELYSIUM-03367277             ELYSIUM-04310066          OAKS00000066
ELYSIUM-03367286             ELYSIUM-04310099          OAKS00000085
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ELYSIUM-03367292             ELYSIUM-04310151          OAKS00000294
ELYSIUM-03367300             ELYSIUM-04310171          OAKS00000308
ELYSIUM-03367330             ELYSIUM-04310322          OAKS00000330
ELYSIUM-03367361             ELYSIUM-04310385          OAKS00000379
ELYSIUM-03367404             ELYSIUM-04310405          OAKS00000401
ELYSIUM-03367457             ELYSIUM-04310410          OAKS00000403
ELYSIUM-03367465             ELYSIUM-04310595          OAKS00000446
ELYSIUM-03367526             ELYSIUM-04310596          OAKS00000489
ELYSIUM-03367641             ELYSIUM-04310608          OAKS00000532
ELYSIUM-03367663             ELYSIUM-04310609          OAKTREEONE00000501
ELYSIUM-03367682             ELYSIUM-04310610          OCEANFIRST_00001573
ELYSIUM-03367709             ELYSIUM-04310623          ONEZEROFIVE00000319
ELYSIUM-03367714             ELYSIUM-04310624          ONEZEROFIVE00000333
ELYSIUM-03367720             ELYSIUM-04310625          ONEZEROFIVE00000488
ELYSIUM-03367758             ELYSIUM-04310669          OSPREY00000277
ELYSIUM-03367766             ELYSIUM-04310673          OSPREY00000506
ELYSIUM-03367773             ELYSIUM-04310679          OSPREY00000608
ELYSIUM-03367783             ELYSIUM-04310716          PACIFIC00000322
ELYSIUM-03367788             ELYSIUM-04310717          PACIFIC00000326
ELYSIUM-03367829             ELYSIUM-04310794          PACIFIC00000375
ELYSIUM-03367867             ELYSIUM-04310801          PACIFIC00003619
ELYSIUM-03367894             ELYSIUM-04310817          PACIFIC00003628
ELYSIUM-03367908             ELYSIUM-04310975          PACIFIC00003696
ELYSIUM-03367922             ELYSIUM-04310976          PATPART00000314
ELYSIUM-03367931             ELYSIUM-04312841          PATPART00000363
ELYSIUM-03367968             ELYSIUM-04331122          PATPART00000368
ELYSIUM-03367993             ELYSIUM-04331207          PEGFOX00000261
ELYSIUM-03367994             ELYSIUM-04331229          PEGFOX00000295
ELYSIUM-03368000             ELYSIUM-04331350          PETKMAN00000191
ELYSIUM-03368009             ELYSIUM-04331450          PETKMAN00000196
ELYSIUM-03368026             ELYSIUM-04331726          PETKMAN00000217
ELYSIUM-03368060             ELYSIUM-04331956          PETKPART00000343
ELYSIUM-03368111             ELYSIUM-04332473          PETKPART00000360
ELYSIUM-03368117             ELYSIUM-04333023          PETKPART00000364
ELYSIUM-03368129             ELYSIUM-04333040          PETKPART00000374
ELYSIUM-03368132             ELYSIUM-04333088          PETKPART00000407
ELYSIUM-03368171             ELYSIUM-04333113          PETKPART00000444
ELYSIUM-03495808             ELYSIUM-04333209          PETKPART00000486
ELYSIUM-03497621             ELYSIUM-04333231          PL00000563
ELYSIUM-03502593             ELYSIUM-04333628          PROPPACIF00000346
ELYSIUM-03502605             ELYSIUM-04333664          PROPPACIF00000375
ELYSIUM-03502621             ELYSIUM-04333707          PROPPACIF00000533
ELYSIUM-03502643             ELYSIUM-04333781          PROPPACIFIC00000113
ELYSIUM-03502652             ELYSIUM-04333925          PROPPACIFIC00000317-321
ELYSIUM-03502689             ELYSIUM-04333939          PROTASS00000041
ELYSIUM-03502718             ELYSIUM-04333949          RC00000056
ELYSIUM-03502736             ELYSIUM-04334283          RC00000069
ELYSIUM-03502739             ELYSIUM-04334301          RC00000097
ELYSIUM-03502740             ELYSIUM-04334302          RC00000100
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ELYSIUM-03502777             ELYSIUM-04337922          RDLCON00000415
ELYSIUM-03502787             ELYSIUM-04351392          RDLCON00000425
ELYSIUM-03502808             ELYSIUM-04351844          RDLCON00000458
ELYSIUM-03502847             ELYSIUM-04351917          RDLCON00000495
ELYSIUM-03502861             ELYSIUM-04352036          RDLCON00000537
ELYSIUM-03502878             ELYSIUM-04352061          RDLCON00000628
ELYSIUM-03502881             ELYSIUM-04352089          REGOLETH00000317
ELYSIUM-03502912             ELYSIUM-04352093          REGOLETH00000448
ELYSIUM-03502923             ELYSIUM-04352101          ROBINDAN00000331
ELYSIUM-03502928             ELYSIUM-04352232          ROBINDAN00000375
ELYSIUM-03502965             ELYSIUM-04352384          ROBINDAN00000477
ELYSIUM-03503000             ELYSIUM-04352454          SABA00000284
ELYSIUM-03503006             ELYSIUM-04352479          SABA00000297
ELYSIUM-03503042             ELYSIUM-04352597          SABA00000303
ELYSIUM-03503043             ELYSIUM-04352634          SANDPIPER00000312
ELYSIUM-03503064             ELYSIUM-04352635          SANDPIPER00000355
ELYSIUM-03503085             ELYSIUM-04352637          SANDPIPER00000457
ELYSIUM-03503100             ELYSIUM-04352728          SANFVIL00000458
ELYSIUM-03503103             ELYSIUM-04352778          SANFVIL00000493
ELYSIUM-03503145             ELYSIUM-04353248          SCPADMINISTRATORS_00000096
ELYSIUM-03503157             ELYSIUM-04353395          SEABRIGHT00000516
ELYSIUM-03503166             ELYSIUM-04353666          SEABRIGHT00000551
ELYSIUM-03503189             ELYSIUM-04353758          SEABRIGHT00000571
ELYSIUM-03503211             ELYSIUM-04353924          SEC230_00000140
ELYSIUM-03503217             ELYSIUM-04353978          SEC230_00000146
ELYSIUM-03503265             ELYSIUM-04355691          SEC230_00000168
ELYSIUM-03503281             ELYSIUM-04361328          SHAPBLUM00000364
ELYSIUM-03503299             ELYSIUM-04361380          SHAPBLUM00000374
ELYSIUM-03503300             ELYSIUM-04361602          SHAPBLUM00000407
ELYSIUM-03503307             ELYSIUM-04361655          SHAPBLUM00000444
ELYSIUM-03503312             ELYSIUM-04361841          SHAPBLUM00000486
ELYSIUM-03503313             ELYSIUM-04361886          SHAPBLUM00000518
ELYSIUM-03503317             ELYSIUM-04361912          SINCLAIRE00000332
ELYSIUM-03503342             ELYSIUM-04361936          SKAT_MDL_00056852
ELYSIUM-03503355             ELYSIUM-04361949          SKAT_MDL_001_00047669
ELYSIUM-03503360             ELYSIUM-04361960          SKAT_MDL_001_00048046
ELYSIUM-03503371             ELYSIUM-04361964          SKAT_MDL_001_00048410
ELYSIUM-03503384             ELYSIUM-04362007          SKAT_MDL_001_00048766
ELYSIUM-03503435             ELYSIUM-04362106          SKAT_MDL_001_00049028
ELYSIUM-03503436             ELYSIUM-04362159          SKAT_MDL_001_00049453
ELYSIUM-03503462             ELYSIUM-04362276          SKAT_MDL_001_00049876
ELYSIUM-03503471             ELYSIUM-04362292          SKAT_MDL_001_00050070
ELYSIUM-03503486             ELYSIUM-04362369          SKAT_MDL_001_00050317
ELYSIUM-03503528             ELYSIUM-04362394          SKAT_MDL_001_00050469
ELYSIUM-03503558             ELYSIUM-04362513          SKAT_MDL_001_00050723
ELYSIUM-03503588             ELYSIUM-04362523          SKAT_MDL_001_00050843
ELYSIUM-03503600             ELYSIUM-04362649          SKAT_MDL_001_00051122
ELYSIUM-03503612             ELYSIUM-04362785          SKAT_MDL_001_00051877
ELYSIUM-03503621             ELYSIUM-04362812          SKAT_MDL_001_00052508
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ELYSIUM-03503622             ELYSIUM-04362825          SKAT_MDL_001_00052974
ELYSIUM-03503633             ELYSIUM-04362837          SKAT_MDL_001_00053805
ELYSIUM-03503638             ELYSIUM-04362878          SKAT_MDL_001_00054662
ELYSIUM-03503647             ELYSIUM-04362891          SKAT_MDL_001_00055791
ELYSIUM-03503661             ELYSIUM-04362990          SKAT_MDL_001_00056562
ELYSIUM-03571993             ELYSIUM-04363116          SKAT_MDL_001_00056852
ELYSIUM-03572058             ELYSIUM-04363253          SKAT_MDL_001_00057073
ELYSIUM-03572059             ELYSIUM-04363307          SKAT_MDL_001_00057211
ELYSIUM-03572127             ELYSIUM-04363315          SKAT_MDL_001_00057565
ELYSIUM-03572225             ELYSIUM-04363349          SKAT_MDL_001_00058095
ELYSIUM-03572330             ELYSIUM-04363358          SKAT_MDL_001_00058318
ELYSIUM-03572332             ELYSIUM-04363421          SKAT_MDL_001_00058595
ELYSIUM-03572340             ELYSIUM-04363460          SKAT_MDL_001_00059293
ELYSIUM-03572348             ELYSIUM-04363477          SKAT_MDL_001_00059498
ELYSIUM-03572367             ELYSIUM-04363478          SKAT_MDL_001_00059511
ELYSIUM-03572392             ELYSIUM-04363646          SKAT_MDL_001_00059631
ELYSIUM-03572445             ELYSIUM-04363677          SKAT_MDL_001_00059760
ELYSIUM-03572456             ELYSIUM-04363745          SKAT_MDL_001_00059916
ELYSIUM-03572461             ELYSIUM-04363816          SKAT_MDL_001_00060023
ELYSIUM-03572486             ELYSIUM-04363841          SKAT_MDL_001_00060171
ELYSIUM-03572487             ELYSIUM-04363842          SKAT_MDL_001_00060281
ELYSIUM-03572502             ELYSIUM-04363856          SKAT_MDL_001_00060395
ELYSIUM-03572514             ELYSIUM-04363886          SKAT_MDL_001_00060520
ELYSIUM-03572526             ELYSIUM-04363909          SKAT_MDL_001_00060632
ELYSIUM-03581927             ELYSIUM-04363929          SKAT_MDL_001_00060743
ELYSIUM-03581960             ELYSIUM-04363939          SKAT_MDL_001_00060764
ELYSIUM-03581994             ELYSIUM-04363966          SKAT_MDL_001_00060853
ELYSIUM-03582169             ELYSIUM-04363983          SKAT_MDL_001_00060965
ELYSIUM-03582192             ELYSIUM-04364023          SKAT_MDL_001_00061055
ELYSIUM-03582197             ELYSIUM-04364065          SKAT_MDL_001_00061244
ELYSIUM-03582225             ELYSIUM-04364072          SKAT_MDL_001_000735
ELYSIUM-03582228             ELYSIUM-04364175          SKAT_MDL_001_00077254
ELYSIUM-03582237             ELYSIUM-04364216          SKAT_MDL_001_00077772
ELYSIUM-03582255             ELYSIUM-04364278          SKAT_MDL_001_00077851
ELYSIUM-03582285             ELYSIUM-04364288          SKAT_MDL_001_00077994
ELYSIUM-03582301             ELYSIUM-04364339          SKAT_MDL_001_00078233
ELYSIUM-03596706             ELYSIUM-04364346          SKAT_MDL_001_00078367
ELYSIUM-03596719             ELYSIUM-04364365          SKAT_MDL_001_00078487
ELYSIUM-03596779             ELYSIUM-04364366          SKAT_MDL_001_00078610
ELYSIUM-03596857             ELYSIUM-04364367          SKAT_MDL_001_00078808
ELYSIUM-03596999             ELYSIUM-04364423          SKAT_MDL_001_00078994
ELYSIUM-03597061             ELYSIUM-04364442          SKAT_MDL_001_00079182
ELYSIUM-03597073             ELYSIUM-04364467          SKAT_MDL_001_00079311
ELYSIUM-03597089             ELYSIUM-04364501          SKAT_MDL_001_00079683
ELYSIUM-03597090             ELYSIUM-04364517          SKAT_MDL_001_00080795
ELYSIUM-03597093             ELYSIUM-04364608          SKAT_MDL_001_00080902
ELYSIUM-03597094             ELYSIUM-04364618          SKAT_MDL_001_00082685
ELYSIUM-03597095             ELYSIUM-04364716          SKAT_MDL_001_00082801
ELYSIUM-03597096             ELYSIUM-04364717          SKAT_MDL_001_00082929
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ELYSIUM-03597098             ELYSIUM-04364724          SKAT_MDL_001_00083029
ELYSIUM-03597121             ELYSIUM-04364737          SKAT_MDL_001_00083255
ELYSIUM-03597158             ELYSIUM-04364771          SKAT_MDL_001_00083560
ELYSIUM-03597180             ELYSIUM-04364780          SKAT_MDL_001_00083690
ELYSIUM-03597208             ELYSIUM-04364782          SKAT_MDL_001_00083795
ELYSIUM-03597209             ELYSIUM-04364791          SKAT_MDL_001_00084022
ELYSIUM-03597230             ELYSIUM-04365489          SKAT_MDL_001_00084127
ELYSIUM-03597248             ELYSIUM-04365551          SKAT_MDL_001_00084232
ELYSIUM-03597249             ELYSIUM-04365775          SKAT_MDL_001_00084414
ELYSIUM-03597274             ELYSIUM-04365786          SKAT_MDL_001_00084520
ELYSIUM-03597310             ELYSIUM-04365836          SKAT_MDL_001_00084765
ELYSIUM-03597318             ELYSIUM-04366062          SKAT_MDL_001_00084895
ELYSIUM-03597342             ELYSIUM-04366112          SKAT_MDL_001_00085047
ELYSIUM-03597405             ELYSIUM-04366205          SKAT_MDL_001_00085151
ELYSIUM-03608737             ELYSIUM-04366217          SKAT_MDL_001_00085332
ELYSIUM-03608808             ELYSIUM-04366242          SKAT_MDL_001_00085453
ELYSIUM-03608841             ELYSIUM-04366267          SKAT_MDL_001_00085671
ELYSIUM-03609008             ELYSIUM-04366289          SKAT_MDL_001_00085776
ELYSIUM-03609017             ELYSIUM-04366418          SKAT_MDL_001_00085881
ELYSIUM-03609028             ELYSIUM-04366430          SKAT_MDL_001_00086111
ELYSIUM-03609052             ELYSIUM-04366511          SKAT_MDL_001_00086261
ELYSIUM-03609070             ELYSIUM-04366591          SKAT_MDL_001_00086366
ELYSIUM-03609076             ELYSIUM-04368018          SKAT_MDL_001_00086471
ELYSIUM-03609139             ELYSIUM-04378872          SKAT_MDL_001_00086580
ELYSIUM-03609142             ELYSIUM-04379031          SKAT_MDL_001_00086697
ELYSIUM-03609167             ELYSIUM-04379050          SKAT_MDL_001_00086807
ELYSIUM-03609180             ELYSIUM-04379078          SKAT_MDL_001_00087013
ELYSIUM-03609187             ELYSIUM-04379127          SKAT_MDL_001_00087257
ELYSIUM-03609196             ELYSIUM-04379140          SKAT_MDL_001_0008736
ELYSIUM-03633439             ELYSIUM-04379250          SKAT_MDL_001_00087504
ELYSIUM-03633443             ELYSIUM-04379382          SKAT_MDL_001_00087613
ELYSIUM-03633448             ELYSIUM-04379446          SKAT_MDL_001_00087839
ELYSIUM-03633502             ELYSIUM-04379458          SKAT_MDL_001_00088098
ELYSIUM-03633525             ELYSIUM-04379464          SKAT_MDL_001_00088212
ELYSIUM-03633529             ELYSIUM-04379548          SKAT_MDL_001_00088323
ELYSIUM-03633530             ELYSIUM-04379554          SKAT_MDL_001_00088646
ELYSIUM-03633546             ELYSIUM-04379573          SKAT_MDL_001_00088753
ELYSIUM-03633592             ELYSIUM-04379586          SKAT_MDL_001_00088872
ELYSIUM-03633610             ELYSIUM-04379588          SKAT_MDL_001_00089022
ELYSIUM-03633622             ELYSIUM-04379592          SKAT_MDL_001_000891
ELYSIUM-03633678             ELYSIUM-04379625          SKAT_MDL_001_00089153
ELYSIUM-03633685             ELYSIUM-04379627          SKAT_MDL_001_00089269
ELYSIUM-03633769             ELYSIUM-04379663          SKAT_MDL_001_00089378
ELYSIUM-03633774             ELYSIUM-04379751          SKAT_MDL_001_00089510
ELYSIUM-03633830             ELYSIUM-04384309          SKAT_MDL_001_00089617
ELYSIUM-03638491             ELYSIUM-04385250          SKAT_MDL_001_00089740
ELYSIUM-03638508             ELYSIUM-04385280          SKAT_MDL_001_00090961
ELYSIUM-03638518             ELYSIUM-04385281          SKAT_MDL_001_00093905
ELYSIUM-03638532             ELYSIUM-04385288          SKAT_MDL_001_0053391
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ELYSIUM-03638538             ELYSIUM-04385310          SKAT_MDL_001_0056777
ELYSIUM-03638540             ELYSIUM-04385432          SKAT_MDL_001_0059631
ELYSIUM-03638558             ELYSIUM-04385448          SKAT_MDL_001_0061141
ELYSIUM-03638569             ELYSIUM-04385461          SKAT_MDL_001_0079434
ELYSIUM-03638582             ELYSIUM-04385654          SKAT_MDL_001_0087945
ELYSIUM-03638592             ELYSIUM-04386024          SKAT_MDL_001_0088466
ELYSIUM-03638605             ELYSIUM-04386352          SKAT_MDL_001_012283
ELYSIUM-03638610             ELYSIUM-04386409          SKAT_MDL_001_012682
ELYSIUM-03638639             ELYSIUM-04386477          SKAT_MDL_001_012792
ELYSIUM-03638659             ELYSIUM-04386516          SKAT_MDL_001_013024
ELYSIUM-03638673             ELYSIUM-04386572          SKAT_MDL_001_013127
ELYSIUM-03638676             ELYSIUM-04394092          SKAT_MDL_001_013218
ELYSIUM-03643317             ELYSIUM-04394186          SKAT_MDL_001_013881
ELYSIUM-03643376             ELYSIUM-04394247          SKAT_MDL_001_014007
ELYSIUM-03643423             ELYSIUM-04394321          SKAT_MDL_001_014586
ELYSIUM-03643515             ELYSIUM-04394343          SKAT_MDL_001_014786
ELYSIUM-03643525             ELYSIUM-04394382          SKAT_MDL_001_018601
ELYSIUM-03643654             ELYSIUM-04394609          SKAT_MDL_001_019662
ELYSIUM-03643655             ELYSIUM-04394648          SKAT_MDL_001_021770
ELYSIUM-03643771             ELYSIUM-04394664          SKAT_MDL_001_027929
ELYSIUM-03643775             ELYSIUM-04394684          SKAT_MDL_001_035423
ELYSIUM-03643776             ELYSIUM-04394714          SKAT_MDL_001_035533
ELYSIUM-03643779             ELYSIUM-04394726          SKAT_MDL_001_035653
ELYSIUM-03643785             ELYSIUM-04394744          SKAT_MDL_001_035780
ELYSIUM-03643802             ELYSIUM-04394775          SKAT_MDL_001_036031
ELYSIUM-03643809             ELYSIUM-04394793          SKAT_MDL_001_036162
ELYSIUM-03643811             ELYSIUM-04394804          SKAT_MDL_001_036318
ELYSIUM-03643834             ELYSIUM-04416256          SKAT_MDL_001_036459
ELYSIUM-03643868             ELYSIUM-04416307          SKAT_MDL_001_036696
ELYSIUM-03643905             ELYSIUM-04416340          SKAT_MDL_001_036813
ELYSIUM-03643947             ELYSIUM-04416344          SKAT_MDL_001_036910
ELYSIUM-03643966             ELYSIUM-04416383          SKAT_MDL_001_036964
ELYSIUM-03643978             ELYSIUM-04416443          SKAT_MDL_001_037147
ELYSIUM-03644034             ELYSIUM-04416500          SKAT_MDL_001_037185
ELYSIUM-03644089             ELYSIUM-04416508          SKAT_MDL_001_037224
ELYSIUM-03644094             ELYSIUM-04416511          SKAT_MDL_001_037349
ELYSIUM-03644106             ELYSIUM-04416524          SKAT_MDL_001_037445
ELYSIUM-03644108             ELYSIUM-04416527          SKAT_MDL_001_037562
ELYSIUM-03644118             ELYSIUM-04416546          SKAT_MDL_001_037757
ELYSIUM-03644125             ELYSIUM-04416554          SKAT_MDL_001_037913
ELYSIUM-03644140             ELYSIUM-04416610          SKAT_MDL_001_038013
ELYSIUM-03644147             ELYSIUM-04416784          SKAT_MDL_001_038054
ELYSIUM-03644160             ELYSIUM-04416787          SKAT_MDL_001_038340
ELYSIUM-03644189             ELYSIUM-04416802          SKAT_MDL_001_038417
ELYSIUM-03644194             ELYSIUM-04416836          SKAT_MDL_001_038942
ELYSIUM-03644233             ELYSIUM-04416930          SKAT_MDL_001_039115
ELYSIUM-03644242             ELYSIUM-04416972          SKAT_MDL_001_039236
ELYSIUM-03644243             ELYSIUM-04416980          SKAT_MDL_001_039264
ELYSIUM-03644264             ELYSIUM-04417220          SKAT_MDL_001_039379
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ELYSIUM-03644279             ELYSIUM-04417323          SKAT_MDL_001_039523
ELYSIUM-03644301             ELYSIUM-04417570          SKAT_MDL_001_039532
ELYSIUM-03644311             ELYSIUM-04438859          SKAT_MDL_001_039666
ELYSIUM-03790258             ELYSIUM-04439228          SKAT_MDL_001_039694
ELYSIUM-03790513             ELYSIUM-04448427          SKAT_MDL_001_039809
ELYSIUM-03820584             ELYSIUM-04466209          SKAT_MDL_001_039838
ELYSIUM-03847468             ELYSIUM-04466218          SKAT_MDL_001_039953
ELYSIUM-03853852             ELYSIUM-04466309          SKAT_MDL_001_039962
ELYSIUM-03853867             ELYSIUM-04466318          SKAT_MDL_001_040058
ELYSIUM-03853905             ELYSIUM-04466334          SKAT_MDL_001_040086
ELYSIUM-03853940             ELYSIUM-04466356          SKAT_MDL_001_040151
ELYSIUM-03853953             ELYSIUM-04466363          SKAT_MDL_001_040179
ELYSIUM-03854006             ELYSIUM-04466364          SKAT_MDL_001_040352
ELYSIUM-03854053             ELYSIUM-04466365          SKAT_MDL_001_040659
ELYSIUM-03854096             ELYSIUM-04466374          SKAT_MDL_001_040745
ELYSIUM-03854103             ELYSIUM-04466375          SKAT_MDL_001_044688
ELYSIUM-03854113             ELYSIUM-04466376          SKAT_MDL_001_36576
ELYSIUM-03854123             ELYSIUM-04466385          SKSLLLC00000391
ELYSIUM-03854180             ELYSIUM-04466409          SKSLLLC00000401
ELYSIUM-03860241             ELYSIUM-04466412          SKSLLLC00000434
ELYSIUM-03860249             ELYSIUM-04466417          SKSLLLC00000471
ELYSIUM-03860258             ELYSIUM-04466427          SKSLLLC00000513
ELYSIUM-03860310             ELYSIUM-04466431          SKSLLLC00000565
ELYSIUM-03860346             ELYSIUM-04466459          SKYBAX00000140
ELYSIUM-03860425             ELYSIUM-04466467          SKYBAX00000146
ELYSIUM-03860434             ELYSIUM-04466484          SKYBAX00000168
ELYSIUM-03860443             ELYSIUM-04466518          SNOWHILL00000422
ELYSIUM-03864204             ELYSIUM-04466612          SNOWHILL00000432
ELYSIUM-03864207             ELYSIUM-04466700          SNOWHILL00000465
ELYSIUM-03864219             ELYSIUM-04466716          SNOWHILL00000502
ELYSIUM-03864266             ELYSIUM-04466753          SNOWHILL00000544
ELYSIUM-03864288             ELYSIUM-04466812          SNOWHILL00000600
ELYSIUM-03864294             ELYSIUM-04466820          SPKK00000090
ELYSIUM-03864299             ELYSIUM-04466824          SPKK00000112
ELYSIUM-03864321             ELYSIUM-04466825          SPKK00000140
ELYSIUM-03864349             ELYSIUM-04466839          SPKK00000174
ELYSIUM-03864359             ELYSIUM-04466847          SPKK00000211
ELYSIUM-03864416             ELYSIUM-04466900          SPKK00000244
ELYSIUM-03864435             ELYSIUM-04466921          STOR00001880
ELYSIUM-03885345             ELYSIUM-04466949          SVP00000312-313
ELYSIUM-03885389             ELYSIUM-04466963          SVP00000316
ELYSIUM-03885421             ELYSIUM-04466966          SVP00000317
ELYSIUM-03885430             ELYSIUM-04467008          SVP00000338
ELYSIUM-03885432             ELYSIUM-04467017          SVP00000342
ELYSIUM-03885452             ELYSIUM-04467029          SVP00000352
ELYSIUM-03885454             ELYSIUM-04467030          SVP00000385
ELYSIUM-03885460             ELYSIUM-04471134          SVP00000422
ELYSIUM-03885473             ELYSIUM-04474720          SVP00000464
ELYSIUM-03885513             ELYSIUM-04474759          SVP00000472
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ELYSIUM-03885523             ELYSIUM-04474809          TAGRLTY00000434
ELYSIUM-03885560             ELYSIUM-04474843          TAGRLTY00000483
ELYSIUM-03885675             ELYSIUM-04474849          TAGRLTY00000536
ELYSIUM-03885680             ELYSIUM-04474853          TAGRLTY00000571
ELYSIUM-03885733             ELYSIUM-04475018          TD_0001381
ELYSIUM-03885739             ELYSIUM-04475089          TEXROC00000621
ELYSIUM-03896705             ELYSIUM-04475174          TEXROC00000685
ELYSIUM-03896709             ELYSIUM-04475226          THRCKMRTON00000363
ELYSIUM-03896712             ELYSIUM-04475230          TKKJ00000202
ELYSIUM-03896846             ELYSIUM-04475313          TKKJ00000209
ELYSIUM-03896946             ELYSIUM-04475348          TKKJ00000231
ELYSIUM-03896948             ELYSIUM-04475373          VALER00000242
ELYSIUM-03896954             ELYSIUM-04476020          VALER00000273
ELYSIUM-03896970             ELYSIUM-04476038          VERGARI00000023
ELYSIUM-03897030             ELYSIUM-04476124          WAVEMVN00000320
ELYSIUM-03897045             ELYSIUM-04476133          WAVEMVN00000409
ELYSIUM-03897066             ELYSIUM-04476138          WAVEMVN00000457
ELYSIUM-03897081             ELYSIUM-04476173          WESTPORT00000293
ELYSIUM-03897358             ELYSIUM-04476206          WESTPORT00000318
ELYSIUM-03897360             ELYSIUM-04476246          WESTRIDGE00000283
ELYSIUM-03897365             ELYSIUM-04476336          WESTRIDGE00000314
ELYSIUM-03897379             ELYSIUM-04476338          WESTRIDGE00000343
ELYSIUM-03897392             ELYSIUM-04476456          WESTRIV00000298
ELYSIUM-03897505             ELYSIUM-04476457          WESTRIV00000323
ELYSIUM-03897519             ELYSIUM-04476458          WH_MDL_00000001
ELYSIUM-03897557             ELYSIUM-04476467          WH_MDL_00000144
ELYSIUM-03897564             ELYSIUM-04476484          WH_MDL_00000247
ELYSIUM-03897585             ELYSIUM-04476497          WH_MDL_00000420
ELYSIUM-03897648             ELYSIUM-04476498          WH_MDL_00000732
ELYSIUM-03897655             ELYSIUM-04476499          WH_MDL_00008217
ELYSIUM-03897657             ELYSIUM-04476510          WH_MDL_00008227
ELYSIUM-03897658             ELYSIUM-04476545          WH_MDL_00008656
ELYSIUM-03897684             ELYSIUM-04476546          WH_MDL_00012017
ELYSIUM-03897831             ELYSIUM-04476547          WH_MDL_00012125
ELYSIUM-03897834             ELYSIUM-04476567          WH_MDL_00012226
ELYSIUM-03897851             ELYSIUM-04476585          WH_MDL_00012328
ELYSIUM-03897893             ELYSIUM-04476764          WH_MDL_00012429
ELYSIUM-03897956             ELYSIUM-04476872          WH_MDL_00012567
ELYSIUM-03897972             ELYSIUM-04476931          WH_MDL_00012603
ELYSIUM-03897999             ELYSIUM-04476948          WH_MDL_00020572
ELYSIUM-03898023             ELYSIUM-04476949          WH_MDL_00021803
ELYSIUM-03898103             ELYSIUM-04476958          WH_MDL_00022890
ELYSIUM-03914041             ELYSIUM-04476995          WH_MDL_00023939
ELYSIUM-03914051             ELYSIUM-04477022          WH_MDL_00023941
ELYSIUM-03914070             ELYSIUM-04477023          WH_MDL_00024858
ELYSIUM-03914073             ELYSIUM-04477040          WH_MDL_00028478
ELYSIUM-03914075             ELYSIUM-04477063          WH_MDL_00028507
ELYSIUM-03914175             ELYSIUM-04477083          WH_MDL_00028841
ELYSIUM-03914403             ELYSIUM-04477096          WH_MDL_00029041
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ELYSIUM-03914410             ELYSIUM-04477128          WH_MDL_00029045
ELYSIUM-03914438             ELYSIUM-04477192          WH_MDL_00029100
ELYSIUM-03914483             ELYSIUM-04477255          WH_MDL_00029156
ELYSIUM-03914501             ELYSIUM-04477296          WH_MDL_00029159
ELYSIUM-03914506             ELYSIUM-04477323          WH_MDL_00029214
ELYSIUM-03914508             ELYSIUM-04477324          WH_MDL_00029366
ELYSIUM-03914523             ELYSIUM-04477355          WH_MDL_00029401
ELYSIUM-03914692             ELYSIUM-04477392          WH_MDL_00029420
ELYSIUM-03915145             ELYSIUM-04477830          WH_MDL_00029448
ELYSIUM-03915281             ELYSIUM-04477838          WH_MDL_00029587
ELYSIUM-03915293             ELYSIUM-04478042          WH_MDL_00032832
ELYSIUM-03915308             ELYSIUM-04478280          WH_MDL_00036641
ELYSIUM-03915342             ELYSIUM-04478335          WH_MDL_00037259
ELYSIUM-03915344             ELYSIUM-04478369          WH_MDL_00037264
ELYSIUM-03915375             ELYSIUM-04478397          WH_MDL_00037493
ELYSIUM-03915380             ELYSIUM-04478417          WH_MDL_00037988
ELYSIUM-03915393             ELYSIUM-04478546          WH_MDL_00042466
ELYSIUM-03915421             ELYSIUM-04478647          WH_MDL_00043463
ELYSIUM-03915485             ELYSIUM-04478678          WH_MDL_00043703
ELYSIUM-03915494             ELYSIUM-04478680          WH_MDL_00043788
ELYSIUM-03915497             ELYSIUM-04478687          WH_MDL_00044408
ELYSIUM-03915521             ELYSIUM-04478688          WH_MDL_00049841
ELYSIUM-03915535             ELYSIUM-04478693          WH_MDL_00049846
ELYSIUM-03915648             ELYSIUM-04478705          WH_MDL_00050029
ELYSIUM-03915666             ELYSIUM-04478707          WH_MDL_00050278
ELYSIUM-03915688             ELYSIUM-04478715          WH_MDL_00050282
ELYSIUM-03915727             ELYSIUM-04478721          WH_MDL_00051272
ELYSIUM-03915910             ELYSIUM-04478726          WH_MDL_00051274
ELYSIUM-03915912             ELYSIUM-04478730          WH_MDL_00051276
ELYSIUM-03916722             ELYSIUM-04478743          WH_MDL_00051300
ELYSIUM-03916843             ELYSIUM-04478744          WH_MDL_00051302
ELYSIUM-03916872             ELYSIUM-04478755          WH_MDL_00051304
ELYSIUM-03916873             ELYSIUM-04478756          WH_MDL_00051306
ELYSIUM-03916924             ELYSIUM-04478757          WH_MDL_00051308
ELYSIUM-03917058             ELYSIUM-04478766          WH_MDL_00051310
ELYSIUM-03917098             ELYSIUM-04478907          WH_MDL_00051312
ELYSIUM-03917163             ELYSIUM-04478923          WH_MDL_00051366
ELYSIUM-03917246             ELYSIUM-04478944          WH_MDL_00051372
ELYSIUM-03917608             ELYSIUM-04478990          WH_MDL_00051374
ELYSIUM-03927183             ELYSIUM-04479016          WH_MDL_00051379
ELYSIUM-03927248             ELYSIUM-04479025          WH_MDL_00051478
ELYSIUM-03927254             ELYSIUM-04479096          WH_MDL_00086296
ELYSIUM-03927318             ELYSIUM-04479135          WH_MDL_00090783
ELYSIUM-03927319             ELYSIUM-04479190          WH_MDL_00090784
ELYSIUM-03927368             ELYSIUM-04479223          WH_MDL_00090795
ELYSIUM-03927372             ELYSIUM-04479338          WH_MDL_00108321
ELYSIUM-03927384             ELYSIUM-04479357          WH_MDL_00115030
ELYSIUM-03927524             ELYSIUM-04479363          WH_MDL_00115036
ELYSIUM-03927598             ELYSIUM-04479381          WH_MDL_00127000
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ELYSIUM-03927606             ELYSIUM-04479482          WH_MDL_00140537
ELYSIUM-03927611             ELYSIUM-04479504          WH_MDL_00140555
ELYSIUM-03927884             ELYSIUM-04479534          WH_MDL_00140565
ELYSIUM-03927933             ELYSIUM-04479586          WH_MDL_00140619
ELYSIUM-03927952             ELYSIUM-04479688          WH_MDL_00143271
ELYSIUM-03927964             ELYSIUM-04479696          WH_MDL_00143272
ELYSIUM-03927965             ELYSIUM-04479697          WH_MDL_00143275
ELYSIUM-03928237             ELYSIUM-04479700          WH_MDL_00143276
ELYSIUM-03928261             ELYSIUM-04479824          WH_MDL_00143277
ELYSIUM-03928275             ELYSIUM-04479865          WH_MDL_00143278
ELYSIUM-03928306             ELYSIUM-04479890          WH_MDL_00143279
ELYSIUM-03928393             ELYSIUM-04479899          WH_MDL_00143280
ELYSIUM-03928405             ELYSIUM-04479911          WH_MDL_00143282
ELYSIUM-03928418             ELYSIUM-04479912          WH_MDL_00143283
ELYSIUM-03928448             ELYSIUM-04479945          WH_MDL_00143366
ELYSIUM-03928460             ELYSIUM-04480240          WH_MDL_00144094
ELYSIUM-03928464             ELYSIUM-04480254          WH_MDL_00162425
ELYSIUM-03928597             ELYSIUM-04480260          WH_MDL_00162577
ELYSIUM-03928624             ELYSIUM-04480277          WH_MDL_00208005
ELYSIUM-03928673             ELYSIUM-04480289          WH_MDL_00208969
ELYSIUM-03928680             ELYSIUM-04480322          WH_MDL_00212578
ELYSIUM-03928694             ELYSIUM-04482276          WH_MDL_00218947
ELYSIUM-03928696             ELYSIUM-04482372          WH_MDL_00225968
ELYSIUM-03928784             ELYSIUM-04489832          WH_MDL_00225982
ELYSIUM-03928801             ELYSIUM-04489851          WH_MDL_00225983
ELYSIUM-03928821             ELYSIUM-04489924          WH_MDL_00225984
ELYSIUM-03942159             ELYSIUM-04490124          WH_MDL_00225985
ELYSIUM-03942186             ELYSIUM-04490157          WH_MDL_00226288
ELYSIUM-03942252             ELYSIUM-04490167          WH_MDL_00226291
ELYSIUM-03942269             ELYSIUM-04490168          WH_MDL_00226294
ELYSIUM-03942282             ELYSIUM-04490279          WH_MDL_00240152
ELYSIUM-03942380             ELYSIUM-04490407          WH_MDL_00252262
ELYSIUM-03942385             ELYSIUM-04490538          WH_MDL_00252474
ELYSIUM-03942406             ELYSIUM-04490564          WH_MDL_00252923
ELYSIUM-03942419             ELYSIUM-04490635          WH_MDL_00253093
ELYSIUM-03942441             ELYSIUM-04490784          WH_MDL_00255254
ELYSIUM-03942443             ELYSIUM-04490786          WH_MDL_00297405
ELYSIUM-03942581             ELYSIUM-04490798          WH_MDL_00331778
ELYSIUM-03942611             ELYSIUM-04490815          WH_MDL_00339761
ELYSIUM-03942617             ELYSIUM-04490826          WH_MDL_00339896
ELYSIUM-03942632             ELYSIUM-04490838          WH_MDL_00340071
ELYSIUM-03942647             ELYSIUM-04490849          WH_MDL_00340989
ELYSIUM-03942652             ELYSIUM-04490858          WH_MDL_00358608
ELYSIUM-03942756             ELYSIUM-04490941          WH_MDL_00360718
ELYSIUM-03942796             ELYSIUM-04490954          ZENTRNG00000350
ELYSIUM-03942933             ELYSIUM-04490981          ZENTRNG00000442
ELYSIUM-03942974             ELYSIUM-04490990          ZENTRNG00000487
ELYSIUM-03942975             ELYSIUM-04491004
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                              APPENDIX D
                    EXHIBIT 1 – SUMMARY OF PLANS
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In Re: Customs and Tax Adminsitration of the Kingdom of Denmark (Skatteforvaltningen) Refund Scheme Litigation
Expert Report of Bruce G. Dubinsky
Exhibit 1.01 - Summary of the Argre Plans

                                         LLC                                                     Plan                                                                                        Claimed Withheld    Claimed Withheld
               LLC Name                Formation                       Plan                    Formation             Partnership Name             Plan Participant         Relationship        Dividend Tax        Dividend Tax       Note
                                         Date                                                    Date                                                                                            (in DKK)            (in USD)1
          Alden Investments LLC          06/11/13         Alden Investments Pension Plan        06/10/13                      -                                                                     33,428,649           6,092,947     2
                                                                                                                                                    Jerome Lhote          Argre Principal
          Ganesha Industries LLC         01/30/13         Ganesha Industries Pension Plan       02/06/13                      -                                                                     60,013,225          10,862,959     3
                                                                                                                                                    Martha Flores
              Mazagran LLC              06/11/13              Mazagran Pension Plan             06/13/13                      -                                            Lhote's Wife             33,824,311           6,260,531     4
                                                                                                                                                     Longoria
           Batavia Capital LLC           06/11/13          Batavia Capital Pension Plan         06/17/13                      -                                                                     32,525,022           5,920,108     5
                                                                                                                                                 Richard Markowitz        Argre Principal
             RJM Capital LLC             07/17/07            RJM Capital Pension Plan           02/01/13                      -                                                                     59,487,352          10,775,773     6
                                                                                                                                                   Brian & Cindy        Markowitz's Former
      Laegeler Asset Management LLC      04/29/08    Laegeler Asset Management Pension Plan     02/06/13          LAM General Partnership                                                           58,152,481          10,442,535     7
                                                                                                                                                      Laegeler              Colleague
         Calypso Investments LLC         06/10/13        Calypso Investments Pension Plan       06/19/13                      -                   Jocelyn Markowitz      Markowitz's Wife           33,379,519           6,167,166     8

                 AOI LLC                12/14/04                 AOI Pension Plan               02/04/13                      -                                                                     62,043,570          11,248,471     9
                                                                                                                                                   Matthew Stein          Argre Principal
           Carrick Holdings LLC          07/31/12          Carrick Holdings Pension Plan        06/10/13                      -                                                                     35,837,051           6,524,593     10
                                                                                                                                                 Kristen Anne Vinyon
      Pleasant Lake Productions LLC     06/11/13      Pleasant Lake Productions Pension Plan    06/17/13                      -                                            Stein's Wife             33,566,455           6,212,842     11
                                                                                                                                                         Stein
                                                                                                                 California Catalog General
     California Catalog Company LLC      09/25/01    California Catalog Company Pension Plan    05/18/12                                             Daniel Stein         Stein's Brother           68,239,885          12,201,923     12
                                                                                                                     Partnership I and II
                                                                                                                 Davin Investments General                                    Stein's
          Davin Investments LLC          08/13/12         Davin Investments Pension Plan        08/21/12                                            David Vinyon                                    62,335,427          11,188,392     13
                                                                                                                         Partnership                                      Brother-In-Law
            2321 Capital LLC             02/08/13            2321 Capital Pension Plan          02/06/13    2321 Capital General Partnership                                                        59,259,339          10,664,465     14

        Bowline Management LLC           07/31/12       Bowline Management Pension Plan         06/10/13         Bowline General Partnership        Luke McGee           M. Stein's Friend          32,623,808           5,938,394     15
                                                                                                           Lion Advisory General Partnership
            Lion Advisory Inc.           04/03/12         Lion Advisory Inc. Pension Plan       05/23/12                                                                                            71,184,846          12,842,894     16
                                                                                                                        I and II
                                                                                                              Rajan Investments General             W.C. Thomas
          Rajan Investments LLC          07/30/12       Rajan Investments LLC Pension Plan      08/14/12                                                                 M. Stein's Friend          59,742,677          10,699,582     17
                                                                                                                  Partnership I and II               Bergerson
               Bernina LLC              03/15/12               Bernina Pension Plan             02/07/13                      -                                                                     57,878,013          10,385,494     18
                                                                                                                                                John van Merkensteijn     Argre Principal
               Tarvos LLC                06/10/13              Tarvos Pension Plan              06/19/13                      -                                                                     36,038,259           6,663,148     19
                                                                                                                                                    Elizabeth van       van Merkensteijn's
               Azalea LLC                06/11/13              Azalea Pension Plan              06/20/13                      -                                                                     34,272,958            6,247,430    20
                                                                                                                                                    Merkensteijn             Wife
             Next Level, LLC            12/06/05             Next Level Pension Plan            02/08/13    Next Level General Partnership                                                          60,406,334          10,841,224     21
                                                                                                                                                                        van Merkensteijn's
                                                                                                                                                    Edwin Miller
                                                                                                                 Spirit on the Water General                                 Friend
          Spirit on the Water LLC        10/12/11        Spirit On The Water Pension Plan       02/08/13                                                                                            60,244,484          10,861,195     22
                                                                                                                          Partnership
         Michelle Investments LLC        11/15/07        Michelle Investments Pension Plan      05/10/12                      -                                                                     73,796,109          13,237,079     23
                                                                                                                                                  Lhote, Markowitz,
         Remece Investments LLC         11/24/09       Remece Investments LLC Pension Plan      05/21/12                      -                     Stein & van          Argre Principals           57,825,446          10,491,240     24
                                                                                                                                                    Merkensteijn
               Xiphias LLC              04/11/07            Xiphias LLC Pension Plan            05/03/12                      -                                                                     71,255,024          12,731,355     25
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In Re: Customs and Tax Adminsitration of the Kingdom of Denmark (Skatteforvaltningen) Refund Scheme Litigation
Expert Report of Bruce G. Dubinsky
Exhibit 1.01 - Summary of the Argre Plans

                                                     LLC                                                                Plan                                                                                          Claimed Withheld     Claimed Withheld
                     LLC Name                      Formation                            Plan                          Formation                Partnership Name            Plan Participant       Relationship          Dividend Tax         Dividend Tax      Note
                                                     Date                                                               Date                                                                                              (in DKK)             (in USD)1
                  Clove Hitch LLC                   07/31/12                    Clove Pension Plan                      06/10/13            Clove General Partnership                                                        36,671,823            6,778,200    26

       Mill River Capital Management LLC            05/24/06      Mill River Capital Management Pension Plan            05/21/12          Mill River General Partnership    Adam LaRosa          Argre Employee              68,724,182           12,385,929    27
                                                                                                                                        Traden Investments General
              Traden Investments LLC                01/30/13            Traden Investments Pension Plan                 02/01/13                                                                                             56,690,496           10,279,479    28
                                                                                                                                                 Partnership
                                                                                                                                      Delvian General Partnership I and
                    Delvian LLC                     01/13/11                Delvian LLC Pension Plan                    05/22/12                                           Alicia Colodner       Argre Employee              67,197,056           12,137,379    29
                                                                                                                                                      II
                                                                                                                                          DFL Investments General
               DFL Investments LLC                  01/25/13              DFL Investments Pension Plan                  01/29/13                                           David Colodner     A. Colodner's Husband          58,539,513           10,508,395    30
                                                                                                                                                 Partnership
                                                                                                                                       Raubritter General Partnership I
                   Raubritter LLC                   10/09/12               Raubritter LLC Pension Plan                  08/23/12                                           Alexander Burns          Unknown                  59,825,381           10,744,321    31
                                                                                                                                                    and II
                                                                                                                                                                                                              Total        1,595,008,695         288,335,443


Notes:
   1
       Historical daily exchange rates obtained from Capital IQ.
   2
       MPSKAT00020358; MPSKAT00020387; R. Markowitz Tr. at 24:7-10; SKAT_MDL_001_00060965.
   3
       MPSKAT00234917; MPSKAT00025707; R. Markowitz Tr. at 24:7-10; Skatteforvaltningen v. Michael Ben-Jacob Complaint Appendix A.
   4
       MPSKAT00241525; MPSKAT00027571; Skatteforvaltningen v. Michael Ben-Jacob Complaint Appendix A. Relationship provided by Counsel.
   5
       MPSKAT00001255 ; WH_MDL_00000420; R. Markowitz Tr. at 24:7-10; SKAT_MDL_001_00059916.
   6
       WH_MDL_00358608; WH_MDL_00331778; R. Markowitz Tr. at 24:7-10; SKAT_MDL_001_00059293.
   7
       WH_MDL_00051300; MPSKAT00056698; SKAT_MDL_001_00079182. LLC Formation date and relationship provided by Counsel.
   8
       MPSKAT00234853; WH_MDL_00000732; J. Markowitz Tr. at 18:11-13; SKAT_MDL_001_00060023.
   9
       MPSKAT00246613; MPSKAT00021018; R. Markowitz Tr. at 24:7-10; Skatteforvaltningen v. Michael Ben-Jacob Complaint Appendix A.
  10
       MPSKAT00234855; MPSKAT00022809; R. Markowitz Tr. at 24:7-10; Skatteforvaltningen v. Michael Ben-Jacob Complaint Appendix A.
  11
       MPSKAT00234859; MPSKAT00029282; Skatteforvaltningen v. Michael Ben-Jacob Complaint Appendix A. Relationship provided by Counsel.
  12
       WH_MDL_00051366; MPSKAT00056585; WH_MDL_00140555; SKAT_MDL_001_00077851. LLC Formation date and relationship provided by Counsel.
  13
       WH_MDL_00051372; WH_MDL_00140565; SKAT_MDL_001_00078367. LLC Formation date and relationship provided by Counsel.
  14
       MPSKAT00275535; WH_MDL_00051310; MPSKAT00056535; SKAT_MDL_001_00079311. Relationship provided by Counsel.
  15
       MPSKAT00021819; WH_MDL_00051302; ; SKAT_MDL_001_0079434. Relationship provided by Counsel.
  16
       MPSKAT00026540; MPSKAT00026442; MPSKAT00056736; SKAT_MDL_001_00077254. LLC Formation date and relationship provided by Counsel.
  17
       WH_MDL_00218947; WH_MDL_00051478; MPSKAT00029558; MPSKAT00056835; SKAT_MDL_001_00078233. Relationship provided by Counsel.
  18
       JHVM_0020353; WH_MDL_00252474; R. Markowitz Tr. at 24:7-10; SKAT_MDL_001_00059498.
  19
       JHVM_0020443; WH_MDL_00253093; R. Markowitz Tr. at 24:7-10; SKAT_MDL_001_00059760.
  20
       JHVM_0012972; WH_MDL_00212578; E. van Merkensteijn Tr. at 22:20-23; SKAT_MDL_001_00060171.
  21
       GUNDERSON 00009809; WH_MDL_00252262; MPSKAT00056805; D. Zelman Tr. at 122:1-5; SKAT_MDL_001_00078994.
  22
       WH_MDL_00252923; MPSKAT00056945; D. Zelman Tr. at 122:1-5; SKAT_MDL_001_00078808. LLC Formation date provided by Counsel.
  23
       WH_MDL_00360718; WH_MDL_00051272; R. Markowitz Tr. at 24:7-10; SKAT_MDL_001_00058318.
  24
       JHVM_0033255; WH_MDL_00051274; R. Markowitz Tr. at 24:7-10; SKAT_MDL_001_00058595.
  25
       WH_MDL_00255254; WH_MDL_00051276; R. Markowitz Tr. at 24:7-10; SKAT_MDL_001_00060853.
  26
       MPSKAT00234891; WH_MDL_00051312; MPSKAT00061425; R. Markowitz Tr. at 229:1-9
  27
       WH_MDL_00051308; R. Markowitz Tr. at 229:1-9; SKAT_MDL_001_00077994.
  28
       WH_MDL_00051306; WH_MDL_00140619; R. Markowitz Tr. at 229:1-9; SKAT_MDL_001_00078610. LLC Formation date provided by Counsel.
  29
       MPSKAT00274815; WH_MDL_00051374; MPSKAT00023949; MPSKAT00056658; SKAT_MDL_001_00079683. Relationship provided by Counsel.
  30
       WH_MDL_00051304; WH_MDL_00140537; SKAT_MDL_001_00078487. LLC Formation date and relationship provided by Counsel.
  31
       WH_MDL_00051379; MPSKAT00002816; MPSKAT00056875; SKAT_MDL_001_038942. LLC Formation date provided by Counsel.
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Expert Report of Bruce G. Dubinsky
Exhibit 1.02 - Summary of the Kaye Scholer Plans

                                          LLC                                                     Plan                                                                                    Claimed Withheld    Claimed Withheld
               LLC Name                 Formation                     Plan                      Formation         Partnership Name             Plan Participant        Relationship         Dividend Tax        Dividend Tax      Note
                                          Date                                                    Date                                                                                        (in DKK)            (in USD)1
         Avanix Management LLC          06/16/14     Avanix Management LLC Roth 401K Plan       07/16/14                                                                                         68,945,871          10,320,649    2

           Cavus Systems LLC            06/16/14      Cavus Systems LLC Roth 401(K) Plan        07/16/14                  -                                                                      30,340,958           4,566,357    3
                                                                                                                                              Richard Markowitz          Recruiter
          Hadron Industries LLC         06/16/14     Hadron Industries LLC Roth 401(K) Plan     07/16/14                  -                                                                      30,520,166           4,507,599    4

            Routt Capital LLC           02/10/14            Routt Capital Pension Plan          07/16/14                  -                                                                      49,153,200           7,379,599    5
                                                                                                             Monomer Industries General
         Monomer Industries LLC         08/25/14    Monomer Industries LLC Roth 401 (K) Plan    07/16/14                                                                                         49,738,028           7,413,843    6
                                                                                                                      Partnership
                                                                                                               Pinax Holdings General
           Pinax Holdings LLC           08/25/14      Pinax Holdings LLC Roth 401(K) Plan       07/16/14                                         Robin Jones         Markowitz's Sister          29,131,524           4,319,429    7
                                                                                                                      Partnership
                                                                                                             Sternway Logistics General
         Sternway Logistics LLC         08/25/14     Sternway Logistics LLC Roth 401(K) Plan    07/16/14                                                                                         28,790,468           4,264,300    8
                                                                                                                      Partnership
                                                                                                             Albedo Management General
         Albedo Management LLC          08/25/14    Albedo Management LLC Roth 401 (K) Plan     07/16/14                                                                                         68,907,146          10,217,094    9
                                                                                                                      Partnership
                                                                                                               Ballast Ventures General                                Markowitz's
          Ballast Ventures LLC          08/25/14      Ballast Ventures LLC Roth 401(K) Plan     07/16/14                                        Joseph Herman                                    28,283,544           4,193,696    10
                                                                                                                      Partnership                                     Brother-In-Law
                                                                                                             Fairlie Investments General
         Fairlie Investments LLC        08/25/14     Fairlie Investments LLC Roth 401(K) Plan   07/16/14                                                                                         29,051,412           4,356,916    11
                                                                                                                      Partnership
         Aerovane Logistics LLC         06/16/14    Aerovane Logistics LLC Roth 401(K) Plan     07/16/14                  -                                                                      49,783,000           7,512,336    12

          Edgepoint Capital LLC         06/16/14     Edgepoint Capital LLC Roth 401(K) Plan     07/16/14                  -                                                                      31,328,376           4,614,957    13
                                                     Headsail Manufacturing LLC Roth 401K
       Headsail Manufacturing LLC       06/16/14                                                07/16/14                  -                    Robert Klugman            Recruiter               70,639,566          10,382,960    14
                                                                     Plan
                    -                       -            The Random Holdings 401K Plan          07/16/14                  -                                                                      29,484,407           4,410,955    15

       Stor Capital Consulting LLC      12/17/08    The Stor Capital Consulting LLC 401K Plan   07/16/14                  -                                                                      26,951,956           4,008,605   16

           Basalt Ventures LLC          06/16/14      Basalt Ventures LLC Roth 401(K) Plan      07/16/14                  -                                                                      27,853,529           4,203,747    17

              Omineca LLC               02/07/14              Omineca Pension Plan              07/16/14                  -                                                                      68,651,772          10,270,297    18
                                                                                                                                             John van Merkensteijn       Recruiter
                                                    Starfish Capital Management LLC Roth 401
     Starfish Capital Management LLC    06/16/14                                                07/16/14                  -                                                                       1,436,630             242,164    19
                                                                      (K) Plan
         Voojo Productions LLC          06/16/14     Voojo Productions LLC Roth 401K Plan       07/16/14                  -                                                                      48,525,821           7,272,310    20
                                                      Bareroot Capital Investments LLC Roth                  Bareroot Capital Investments
     Bareroot Capital Investments LLC   06/16/14                                                07/16/14                                                                                         28,899,434           4,326,658    21
                                                                   401(K) Plan                                   General Partnership
                                                                                                               Battu Holdings General
           Battu Holdings LLC           06/19/14       Battu Holdings LLC Roth 401K Plan        07/16/14                                                                                         69,306,610          10,369,878    22
                                                                                                                      Partnership
                                                                                                              Cantata Industries General                             van Merkensteijn's
          Cantata Industries LLC        06/19/14     Cantata Industries LLC Roth 401(K) Plan    07/16/14                                        David Zelman                                     48,613,215           7,315,598    23
                                                                                                                      Partnership                                         Friend
                                                                                                             Dicot Technologies General
         Dicot Technologies LLC         06/19/14    Dicot Technologies LLC Roth 401(K) Plan     07/16/14                                                                                         28,027,180           4,211,062    24
                                                                                                                      Partnership
                                                                                                            Vanderlee Technologies General
       Vanderlee Technologies LLC       02/13/13       Vanderlee Technologies Pension Plan      07/16/14                                                                                         68,939,525          10,314,529    25
                                                                                                                      Partnership
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Expert Report of Bruce G. Dubinsky
Exhibit 1.02 - Summary of the Kaye Scholer Plans

                                                 LLC                                                             Plan                                                                                  Claimed Withheld    Claimed Withheld
                   LLC Name                    Formation                         Plan                          Formation         Partnership Name            Plan Participant     Relationship           Dividend Tax        Dividend Tax      Note
                                                 Date                                                            Date                                                                                      (in DKK)            (in USD)1
                                                              Cedar Hill Capital Investments LLC Roth                       Cedar Hill Capital Investments
       Cedar Hill Capital Investments LLC       06/16/14                                                       07/18/14                                                                                       48,926,938           7,377,509    26
                                                                            401(K) Plan                                           General Partnership
                                                                                                                             Fulcrum Productions General
            Fulcrum Productions LLC             06/16/14    Fulcrum Productions LLC Roth 401 (K) Plan          07/18/14                                                                                       26,910,531           4,015,035    27
                                                                                                                                      Partnership
                                                            Green Scale Management LLC Roth 401 (K)                        Green Scale Management General                       van Merkensteijn's
          Green Scale Management LLC            06/16/14                                                       07/18/14                                       Edwin Miller                                    69,067,949          10,333,684    28
                                                                              Plan                                                    Partnership                                    Friend
                                                             Keystone Technologies LLC Roth 401(K)                          Keystone Technologies General
           Keystone Technologies LLC            06/16/14                                                       07/18/14                                                                                       47,936,423           7,173,464    29
                                                                              Plan                                                    Partnership
                                                                                                                               Tumba Systems General
               Tumba Systems LLC                06/16/14       Tumba Systems LLC Roth 401(K) Plan              07/18/14                                                                                       28,217,458           4,142,736    30
                                                                                                                                      Partnership
                                                                                                                               Eclouge Industry General
              Eclouge Industry LLC              06/16/14       Eclouge Industry LLC Roth 401(K) Plan           07/18/14                                                                                       48,315,331           7,270,181    31
                                                                                                                                      Partnership
                                                             First Ascent Worldwide LLC Roth 401 (K)                       First Ascent Worldwide General
           First Ascent Worldwide LLC           06/16/14                                                       07/18/14                                                                                       26,816,391           3,933,929    32
                                                                               Plan                                                   Partnership
                                                                                                                             Loggerhead Services General                        van Merkensteijn's
             Loggerhead Services LLC            06/16/14      Loggerhead Services LLC Roth 401K Plan           07/18/14                                        Perry Lerner                                   68,808,375          10,297,675    33
                                                                                                                                      Partnership                                    Friend
                                                                                                                            PAB Facilities Global General
            PAB Facilities Global LLC           06/16/14    PAB Facilities Global LLC Roth 401(K) Plan         07/18/14                                                                                        1,486,300             244,729    34
                                                                                                                                      Partnership
                                                             Trailing Edge Productions LLC Roth 401(K)                        Trailing Edge Productions
          Trailing Edge Productions LLC         06/16/14                                                       07/18/14                                                                                       28,206,365           4,206,393    35
                                                                                Plan                                              General Partnership
                                                                                                                              Crucible Ventures General
              Crucible Ventures LLC             06/16/14      Crucible Ventures LLC Roth 401(K) Plan           07/21/14                                                                                       47,579,541           7,171,944    36
                                                                                                                                      Partnership
                                                               Limelight Global Productions LLC Roth                         Limelight Global Productions
         Limelight Global Productions LLC       06/16/14                                                       07/21/14                                                                                       27,901,407           4,096,981    37
                                                                            401(K) Plan                                           General Partnership
                                                                                                                             Plumrose Industries General                        van Merkensteijn's
             Plumrose Industries LLC            06/16/14      Plumrose Industries LLC Roth 401K Plan           07/21/14                                      Ronald Altbach                                   48,047,203           7,197,095    38
                                                                                                                                      Partnership                                    Friend
                                                              Roadcraft Technologies LLC Roth 401(K)                       Roadcraft Technologies General
           Roadcraft Technologies LLC           06/16/14                                                       07/21/14                                                                                       67,971,038          10,121,373    39
                                                                               Plan                                                   Partnership
                                                              True Wind Investments LLC Roth 401(K)                         True Wind Investments General
           True Wind Investments LLC            06/16/14                                                       07/21/14                                                                                       29,333,047           4,370,938    40
                                                                               Plan                                                   Partnership
                                                                                                                                                                                               Total       1,626,827,633         242,949,205


Notes:
   1
       Historical daily exchange rates obtained from Capital IQ.
   2
       WH_MDL_00143280; WH_MDL_00000001; R. Markowitz Tr. at 368:14 - 369:13; SKAT_MDL_001_00060520.
   3
       WH_MDL_00225968; WH_MDL_00000144; R. Markowitz Tr. at 368:14 - 369:13; SKAT_MDL_001_00051877.
   4
       WH_MDL_00115036; WH_MDL_00000247; R. Markowitz Tr. at 368:14 - 369:13; SKAT_MDL_001_00049453.
   5
       WH_MDL_00115030; WH_MDL_00208005; R. Markowitz Tr. at 368:14 - 369:13; SKAT_MDL_001_00060395.
   6
       WH_MDL_00029045; MBJ_0010630; J. Markowitz Tr. at 48:13-15; SKAT_MDL_001_00052508; SKAT_MDL_001_00057211.
   7
       WH_MDL_00029156; MBJ_0008131; J. Markowitz Tr. at 48:13-15; SKAT_MDL_001_00050070.
   8
       WH_MDL_00029214; WH_MDL_00008656; J. Markowitz Tr. at 48:13-15; SKAT_MDL_00049876.
   9
       WH_MDL_00028478; MBJ_0010780; J. Markowitz Tr. at 46:20-23; SKAT_MDL_001_00060965.
  10
       WH_MDL_00028507; MBJ_0007982; J. Markowitz Tr. at 46:20-23; SKAT_MDL_001_00061055.
  11
       WH_MDL_00028841; MBJ_0007880; J. Markowitz Tr. at 46:20-23; SKAT_MDL_001_00057565.
  12
       KLUGMAN00018046; KLUGMAN00040661; SKAT_MDL_001_00080902.
  13
       KLUGMAN00004479; KLUGMAN00041104; SKAT_MDL_001_014586.
  14
       WH_MDL_00340989; KLUGMAN00041003; SKAT_MDL_001_040659.
  15
       KLUGMAN00004655; SKAT_MDL_001_014007.
  16
       KLUGMAN00011626; KLUGMAN00026201; MBJ_STOR-0004699; SKAT_MDL_001_00080795.
  17
       JHVM_0001927; WH_MDL_00339896; J. van Merkensteijn Tr. at 176:3-16, 177:21-23; SKAT_MDL_001_00057073.
  18
       WH_MDL_00143366; WH_MDL_00208969 at 9053; JHVM_0026064 ; J. van Merkensteijn Tr. at 176:3-16, 177:21-23; SKAT_MDL_001_00060281.
  19
       WH_MDL_00143282; WH_MDL_00339761; J. van Merkensteijn Tr. at 176:3-16, 177:21-23; SKAT_MDL_001_0056777.
  20
       WH_MDL_00143283; WH_MDL_00340071; J. van Merkensteijn Tr. at 176:3-16, 177:21-23; SKAT_MDL_001_00060853.
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Exhibit 1.02 - Summary of the Kaye Scholer Plans

  21
       WH_MDL_00225982; MBJ_0000005; D. Zelman Tr. at 20:19-22; SKAT_MDL_001_00048046.
  22
       WH_MDL_00226291; MBJ_0000106; D. Zelman Tr. at 20:19-22; SKAT_MDL_001_00060632.
  23
       WH_MDL_00226288; MBJ_0000208; D. Zelman Tr. at 20:19-22; SKAT_MDL_001_00054662.
  24
       WH_MDL_00226294; MBJ_0000309; D. Zelman Tr. at 20:19-22; SKAT_MDL_001_00050317.
  25
       WH_MDL_00144094; JHVM_0008757; D. Zelman Tr. at 20:19-22; SKAT_MDL_001_0059631.
  26
       WH_MDL_00143278; KF_MDL_13023; D. Zelman Tr. at 122:1-4; SKAT_MDL_001_00052974.
  27
       WH_MDL_00162425; KF_MDL_13124; D. Zelman Tr. at 122:1-4; SKAT_MDL_001_00050723; SKAT_MDL_001_00050843; SKAT_MDL_001_00056562.
  28
       WH_MDL_00225985; KF_MDL_12922; D. Zelman Tr. at 122:1-4; SKAT_MDL_001_0061141.
  29
       WH_MDL_00143279; KF_MDL_13225; D. Zelman Tr. at 122:1-4; SKAT_MDL_001_00047669.
  30
       WH_MDL_00127000; KF_MDL_13326; D. Zelman Tr. at 122:1-4; SKAT_MDL_001_00048766; SKAT_MDL_001_00055791.
  31
       WH_MDL_00143271; WH_MDL_00240152 at 171; P. Lerner Tr. at 40:20-23; SKAT_MDL_001_0053391.
  32
       WH_MDL_00225983; WH_MDL_00012125; P. Lerner Tr. at 40:20-23; SKAT_MDL_001_00051122.
  33
       WH_MDL_00029041; WH_MDL_00012226; P. Lerner Tr. at 40:20-23; SKAT_MDL_001_00060743.
  34
       WH_MDL_00029100; WH_MDL_00012328; P. Lerner Tr. at 40:20-23; SKAT_MDL_001_00058095.
  35
       WH_MDL_00143272; WH_MDL_00012429; P. Lerner Tr. at 40:20-23; SKAT_MDL_001_00048410.
  36
       WH_MDL_00225984; KF_MDL_12720; R. Altbach Tr. at 27:19-22; SKAT_MDL_001_00053805.
  37
       WH_MDL_00143277; KF_MDL_12619; R. Altbach Tr. at 27:19-22; SKAT_MDL_001_00050469.
  38
       WH_MDL_00143276; KF_MDL_12821; R. Altbach Tr. at 27:19-22; SKAT_MDL_001_00061244.
  39
       WH_MDL_00029159; WH_MDL_00024858; R. Altbach Tr. at 27:19-22; SKAT_MDL_00056852.
  40
       WH_MDL_00143275; MBJ_0010976; R. Altbach Tr. at 27:19-22; SKAT_MDL_001_00049028.
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Exhibit 1.03 - Summary of the Lehman Plans

                                          LLC                                                   Plan/Trust                                          Claimed Withheld    Claimed Withheld
               LLC Name                 Formation                     Plan                      Formation    Plan Participant     Relationship        Dividend Tax        Dividend Tax      Note
                                          Date                                                     Date                                                 (in DKK)            (in USD)1
        Sanford Villa Capital LLC       07/17/14           Sanford Villa Pension Plan            07/23/14                                                   4,186,316             671,538    2
                                                                                                 07/23/14
           Aston Advisors LLC           07/17/14      The Aston Advisors LLC 401(K) Plan                                                                   31,360,753           4,718,930    3
                                                                                                  (Trust)
          The FWC Capital LLC           10/13/14       The FWC Capital LLC Pension Plan          10/22/14     Roger Lehman          Recruiter              70,930,261          10,520,548    4
                                                     The RDL Consulting Group LLC Pension
     The RDL Consulting Group LLC       10/13/14                                                 10/22/14                                                  48,813,989           7,119,626    5
                                                                     Plan
                                                                                                 07/09/13
              Valerius LLC              06/25/13       The Valerius LLC Solo 401(K) Plan                                                                   35,970,976           6,583,766    6
                                                                                                  (Trust)
           CSCC Capital LLC             10/14/14           CSCC Capital Pension Plan             10/28/14                                                  48,988,411           7,313,313    7
                                                                                                 10/28/14
       Diamond Scott Capital LLC        10/14/14     The Diamond Scott Capital Pension Plan                                                                28,561,194           4,279,746    8
                                                                                                  (Trust)
            Mountain Air LLC            10/14/14       The Mountain Air LLC 401(K) Plan          10/28/14                                                  70,290,716          10,390,676    9
                                                                                                                                 Roger Lehman's
                                                                                                               Scott Shapiro
                                                    The Shapiro Blue Management LLC 401(K)                                       Brother's Friend
      Shapiro Blue Management LLC       10/15/14                                                 10/28/14                                                  49,549,844           7,397,456   10
                                                                      Plan
               SKSL LLC                 10/14/14          The SKSL LLC Pension Plan              10/28/14                                                  28,644,884           4,266,100    11

        Snowhill Investments LLC        10/14/14           The Snow Hill Pension Plan            10/28/14                                                  29,281,806           4,365,576   12

          Bella Consultants LLC         11/06/14       The Bella Consultants Pension Plan        11/25/14                                                  26,710,967           3,970,167   13

        The Green Group Site LLC        11/05/14       The Green Group Site Pension Plan         11/18/14                                                  67,297,749           9,982,561   14
                                                                                                              Anthony Miles      Roger Lehman's
                                                                                                                 Sinclair        Brother's Friend
        Mueller Investments LLC         11/05/14      The Mueller Investments Pension Plan       11/18/14                                                  67,700,692          10,121,488    15

         Sinclair Consultants LLC       11/05/14            The Sinclair Pension Plan            11/18/14                                                  26,434,971           3,853,713    16
                                                                                                 12/04/14
         78 Yorktown Street LLC         11/20/14         The 78 Yorktown Pension Plan                                                                      26,084,706           3,865,203    17
                                                                                                  (Trust)
       Cambridge Town Line LLC          11/20/14     The Cambridge Town Line Pension Plan        12/04/14                                                  67,731,272           9,914,807    18
                                                                                                                                 Roger Lehman's
          Hotel Fromance LLC            11/20/14        The Hotel Fromance Pension Plan          12/04/14    Matthew D Patrick                             48,073,959           7,146,300    19
                                                                                                                                 Brother's Friend
                                                    The Patrick Partners Conglomerate Pension
    Patrick Partners Conglomerate LLC   11/20/14                                                 12/04/14                                                  66,201,488           9,654,430   20
                                                                       Plan
           Westridge Ave LLC            11/20/14      The Westridge Ave LLC 401(K) Plan          12/04/14                                                  26,715,479           3,916,641   21
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Expert Report of Bruce G. Dubinsky
Exhibit 1.03 - Summary of the Lehman Plans

                                        LLC                                                  Plan/Trust                                                   Claimed Withheld    Claimed Withheld
              LLC Name                Formation                     Plan                     Formation     Plan Participant         Relationship            Dividend Tax        Dividend Tax      Note
                                        Date                                                    Date                                                          (in DKK)            (in USD)1
           Pegasus Fox 23 LLC          08/14/13     Pegasus Fox 23 LLC Solo 401(K) Plan       08/26/13                                                           37,329,941           6,796,262   22

           London Rocco LLC            09/03/14        The Bradley London Pension Plan        09/26/14                                                           69,217,447          10,235,477   23

           Miami Rocco LLC             09/03/14            The DMR Pension Plan               09/26/14                                                           49,974,568           7,372,233   24
                                                                                                           Doston Bradley             Recruiter
           Houston Rocco LLC           09/03/14      The Houston Rocco LLC 401(K) Plan        09/26/14                                                           71,875,085          10,652,131   25

            London India LLC           09/03/14         The LBR Capital Pension Plan          09/26/14                                                           28,571,489           4,284,243   26

            Pacific India LLC          09/03/14      The Proper Pacific LLC 401(K) Plan       09/26/14                                                           29,035,894           4,354,462   27
                                                                                              09/03/13      Bobbie Shelton         Doston Bradley's
            Degado Fox LLC             08/14/13       Delgado Fox LLC Solo 401(K) Plan                                                                           35,876,907           6,528,966   28
                                                                                               (Trust)         Bradley                 Mother
                                                                                                                                   Doston Bradley's
              Gyos 23 LLC              08/14/13         Gyos 23 LLC Solo 401(K) Plan          09/30/13    Doston Bradley, Sr.                                    34,785,245           6,330,134   29
                                                                                                                                        Father
           India Atlantic LLC          11/24/14         The Atlantic DHR 401(K) Plan          12/10/14                                                           45,960,066           6,861,147   30

            Texas India LLC            11/24/14         The Dosmon BLY Pension Plan           12/10/14                                                           26,337,572           3,949,248    31

           India Bombay LLC            11/24/14   The India Bombay LLC 401(K) Pension Plan    12/10/14                                                           26,421,153           3,944,470   32
                                                                                                            Joanne Bradley      Doston Bradley's Wife
          Rocco India One LLC          11/07/13     The Joanne E. Bradley Solo 401(K) Plan    12/20/13                                                           32,660,029           5,944,965   33

            Roccy NYC LLC              11/24/14       The NYC Stanismore Pension Plan         12/10/14                                                           25,592,310           3,733,100   34

            Texas Rocco LLC            11/24/14       The Texas Rocco LLC 401(K) Plan         12/10/14                                                           67,518,406           9,851,731   35


         Blackrain Pegasus LLC         08/14/13    Blackrain Pegasus LLC Solo 401(K) Plan     09/30/13                                                           35,495,781           6,462,270    36

            India Black LLC            11/24/14         The Busby Black 401(K) Plan           12/10/14                                                           26,502,408           3,865,827    37
            Canada Rock LLC            11/24/14       The Canada Rock LLC 401(K) Plan         12/10/14                                                           46,713,438           6,815,554   38
                                                                                                           Monica Bradley       Doston Bradley's Sister
           India Shanghai LLC          11/24/14            The ISDB Pension Plan              12/10/14                                                           27,085,143           3,950,814    39

            Dutch India LLC            11/24/14        The Monin Amper Pension Plan           12/10/14                                                           68,085,289           9,934,406    40

           Oak Tree One LLC            11/21/14         The Oak Tree One 401(K) Plan          12/10/14                                                           26,413,101           3,925,083   41
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                                        LLC                                                 Plan/Trust                                                  Claimed Withheld    Claimed Withheld
               LLC Name               Formation                     Plan                    Formation     Plan Participant          Relationship          Dividend Tax        Dividend Tax      Note
                                        Date                                                   Date                                                         (in DKK)            (in USD)1
            OneZeroFive LLC            08/13/13      OneZeroFive LLC Solo 401(K) Plan        10/25/13                                                          36,130,759           6,581,565   42

          Crow Associates LLC          11/21/14       The Crow Associates Pension Plan       12/03/14                                                          66,346,883           9,807,124    43

          Hawk Associates LLC         Nov. 2014         The Hawk Group Pension Plan          12/03/14                                                          26,039,274           3,860,931   44
                                                                                                           Matthew Tucci              Recruiter
         Lakeview Advisors LLC         08/29/14      The Lakeview Advisors 401(K) Plan       09/30/14                                                          50,876,634           7,426,778   45

          The Oaks Group LLC           08/29/14         The Oaks Group Pension Plan          09/30/14                                                          69,805,930          10,420,817   46

       Throckmorton Advisors LLC       08/29/14    The Throckmorton Advisors 401(K) Plan     09/30/14                                                          30,664,208           4,546,685   47

         Cardinal Consulting LLC       11/21/14      The Cardinal Consulting Pension Plan    12/03/14                                                          25,810,869           3,872,693   48
                                                                                                                                  Matthew Tucci's
         Blue Jay Associates LLC       11/21/14         The Jayfran Blue Pension Plan        12/03/14    Francine Taglianetti                                  26,013,437           3,855,536   49
                                                                                                                                  Mother-In-Law
        Tag Realty Advisors LLC        08/29/14   The Tag Realty Advisors LLC 401(K) Plan    10/03/14                                                          69,962,353          10,373,553   50
     Chambers Property Management                  The Chambers Property Management LLC                                           Matthew Tucci's
                                       08/29/14                                              10/03/14     Jeffrey Chambers                                     28,408,023           4,212,153   51
                 LLC                                            401(K) Plan                                                       Brother-In-Law
            Jump Group LLC             08/29/14       The Jump Group LLC 401(K) Plan         10/03/14      Joseph Whalen        Matthew Tucci's Uncle          70,955,238          10,592,417    52

           FiftyEightSixty LLC         08/22/13     FiftyEightSixty LLC Solo 401(K) Plan     10/25/13                                                          34,797,978           6,337,842   53


         Beech Tree Partners LLC       08/29/14      The Beech Tree Partners 401(K) Plan     09/30/14                                                          71,134,823          10,867,345   54


        Blackbird Associates LLC       11/21/14           The Blackbird 401(K) Plan          12/03/14                            Matthew Tucci's Ex-           46,318,155           6,883,211   55
                                                                                                           Danielle Tucci
                                                                                                                                       Wife
          Hibiscus Partners LLC        08/29/14     The Hibiscus Partners LLC 401(K) Plan    09/26/14                                                          48,432,717           7,254,143   56

          Maple Advisors LLC           08/29/14     The Maple Advisors LLC 401(K) Plan       09/26/14                                                          29,310,357           4,344,972   57

          Robin Associates LLC         11/21/14         The Robin Daniel Pension Plan        12/03/14                                                          27,519,764           4,069,063    58

          Egret Associates LLC         11/21/14     The Egret Associates LLC 401(K) Plan     12/03/14                                                          25,530,888           3,807,283   59

          Heron Advisors LLC           11/21/14        The Heron Advisors Pension Plan       12/03/14                                                          46,535,616           6,915,729   60
                                                                                                                                  Matthew Tucci's
         Osprey Associates LLC         11/21/14    The Osprey Associates LLC 401(K) Plan     12/03/14       Hayden Guli                                        66,905,951           9,902,726   61
                                                                                                                                     Stepson
        Sandpiper Associates LLC       11/21/14          The Sandpiper Pension Plan          12/03/14                                                          26,524,307           3,888,687   62

            Wave Maven LLC             08/29/14       The Wave Maven LLC 401(K) Plan         10/03/14                                                          49,943,454           7,284,314   63
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                                        LLC                                                  Plan/Trust                                                     Claimed Withheld    Claimed Withheld
               LLC Name               Formation                      Plan                    Formation     Plan Participant           Relationship            Dividend Tax        Dividend Tax      Note
                                        Date                                                    Date                                                            (in DKK)            (in USD)1
                                                                                                                                    Matthew Tucci's
         Hoboken Advisors LLC          08/29/14     The Hoboken Advisors LLC 401K Plan        10/03/14        Stacey Lopis                                         49,570,384           7,442,382    64
                                                                                                                                   Brother's Girlfirend
                                                                                                                                    Matthew Tucci's
            Zen Training LLC           08/29/14       The Zen Training LLC 401(K) Plan        10/03/14       Thomas Reilly                                         28,369,697           4,221,397    65
                                                                                                                                         Cousin
         Sea Bright Advisors LLC       08/29/14    The Sea Bright Advisors LLC 401(K) Plan    10/03/14       William Bahrs        Matthew Tucci's Friend           29,570,666           4,378,832    66
                                                                                                                                     Danielle Tucci's
        JT Health Consulting LLC       08/29/14   The JT Health Consulting LLC 401(K) Plan    10/03/14      Jana Taglianetti                                       49,902,634           7,400,781    67
                                                                                                                                        Cousin

          Everything Clean LLC         08/29/14     The Everything Clean LLC 401(K) Plan      10/03/14     Jodie Rockafellow      Danielle Tucci's friend          29,070,166           4,340,071    68

                                                                                                                                   Tradition Securities
             NYCATX LLC                08/21/13        NYCATX LLC Solo 401(K) Plan            09/26/13    Carl Andrew Vergari                                      35,486,311           6,464,109    69
                                                                                                                                       Employee
                                                                                              09/17/13                             Tradition Securities
             Ackview, LLC              08/16/13           Ackview Solo 401(K) Plan                        Sean Patrick Driscoll                                    36,780,544           6,708,052    70
                                                                                               (Trust)                                 Employee
            Aria Capital LLC           12/09/14             The Aria Pension Plan             12/19/14                                                             27,489,386           4,084,905    71

          Belforte Capital LLC         11/10/14           The Belforte Pension Plan           12/03/14                                                             67,515,882          10,033,380    72

          Costello Advisors LLC        11/07/14       The Costello Advisors Pension Plan      12/03/14                                                             27,167,553           4,028,224   73
                                                                                                           Gavin Crescenzo              Recruiter
                                                                                              02/09/14
           Krabi Holdings LLC          01/30/14      The Krabi Holdings LLC 401(K) Plan                                                                            33,956,415           6,155,290    74
                                                                                               (Trust)
           Lerici Capital LLC          11/07/14         The Lerici Capital Pension Plan       12/03/14                                                             47,661,302           7,082,808    75
                                       11/13/09
            Saba Capital LLC                          The Saba Capital LLC 401(K) Plan        12/20/14                                                             25,390,907           3,773,063    76
                                       12/09/14
          Bravos Advisors LLC          12/10/14       The Bravos Advisors 401(K) Plan         12/19/14                                                             26,780,670           3,979,586    77

           Kodiak Capital LLC          12/11/14        The Kodiak Capital Pension Plan        12/19/14                                                             45,492,502           6,760,514    78

           Kyber Capital LLC           12/11/14            The Kyber Pension Plan             12/19/14                                                             46,282,964           6,862,530    79
                                                                                                                                    Gavin Crescenzo's
                                                                                                           Bradley Crescenzo
                                                                                                                                        Brother
        Regoleth Management LLC        12/09/14           The Regoleth Pension Plan           12/19/14                                                             26,672,153           3,954,770    80

              Skybax LLC               01/30/14         The Skybax LLC 401(K) Plan           Feb. 2014                                                             33,416,955           6,064,377    81

           Stark Holdings LLC          07/17/14             The Stark Pension Plan            07/23/14                                                             68,842,491          10,230,518    82
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                                        LLC                                                Plan/Trust                                                     Claimed Withheld     Claimed Withheld
               LLC Name               Formation                     Plan                   Formation      Plan Participant          Relationship            Dividend Tax         Dividend Tax      Note
                                        Date                                                  Date                                                            (in DKK)             (in USD)1
         Eskin Management LLC          12/17/14            The Eskin Pension Plan           12/31/14                                                             46,857,263            6,963,322   83

         Fieldcrest Advisors LLC       12/18/14          The Fieldcrest Pension Plan        12/31/14                                                             26,014,756            3,865,771   84
                                                                                                                                  Gavin Crescenzo's
          Ludlow Holdings LLC          12/18/14       The Ludlow Holdings 401(K) Plan       12/31/14     Cynthia Crescenzo                                       67,610,606           10,047,454   85
                                                                                                                                       Mother
         West River Capital LLC        12/18/14          The West River Pension Plan        12/31/14                                                             26,409,510            3,915,827    86

         Westport Advisors LLC         12/17/14    The Westport Advisors LLC 401(K) Plan    12/31/14                                                             27,865,992            4,131,784   87

            JML Capital LLC            07/17/14         JML Capital LLC 401(K) Plan         07/25/14                               Joined through                 1,236,153              207,864   88
                                                                                                           John LaChance         Jonathan Godson &
                                                    The Balmoral Management LLC 401(K)      02/06/14
       Balmoral Management LLC         01/14/14                                                                                     Robert Toffel                33,170,063            5,949,927   89
                                                                Pension Plan                 (Trust)
                                                                                                                                   Joined through
                                                                                            01/30/14
           MPQ Holdings LLC            01/17/14      The MPQ Holdings LLC 401(K) Plan                   Mitchell Owen Protass    Jonathan Godson &               30,802,466            5,544,380   90
                                                                                             (Trust)
                                                                                                                                    Robert Toffel
                                                                                            02/16/14
           M2F Wellness LLC            01/16/14      The M2F Wellness LLC 401(K) Plan                     Maryann Protass       Mitchell Protass's Wife          32,077,220            5,773,833    91
                                                                                             (Trust)
                                                                                            02/10/14                               Joined through
            Sector 230, LLC            02/06/14        The Sector 230 LLC 401(K) Plan                        Paul Jepsen                                         31,913,412            5,784,732    92
                                                                                             (Trust)                              Jonathan Godson
         KASV Consulting LLC           01/13/15        The KASV Group Pension Plan          01/26/15                                                             46,791,553            7,153,338    93
                                                                                            02/04/14
        Petkov Management LLC          01/22/14   The Petkov Management LLC 401(K) Plan                                                                          35,480,449            6,364,172    94
                                                                                             (Trust)
                                                                                                                                   Joined through
           Petkov Partners LLC         01/13/15        The Petkov Partners Pension Plan     01/27/15    Svetlin Petrov Petkov    Jonathan Godson &               26,956,373            4,009,748    95
                                                                                                                                    Robert Toffel
           Stark Holdings LLC          07/17/14          The SPKK LLC 401(K) Plan           07/23/14                                                              1,478,160              213,464    96

           SVP Advisors LLC            01/13/15             The SVP 401(K) Plan             01/26/15                                                             25,752,508            3,818,411    97
                                                                                            01/17/14                               Joined through
               TKKJ LLC                12/27/13          The TKKJ LLC 401(K) Plan                         Thomas Kertelits                                       33,001,566            5,813,706    98
                                                                                             (Trust)                              Jonathan Godson
         Natoli Management LLC        Unknown          Natoli Management Pension Plan       Unknown                                                               1,254,148              210,890    99
                                                                                                                                   Joined through
         Nova Fonta Trading LLC       Unknown        Nova Fonta Trading LLC 401(K) Plan     07/28/14    Vincent James Natoli                                      1,276,053              214,573 100
                                                                                                                                  Jonathan Godson
                                                                                            01/15/14
              Dink14 LLC               01/15/14         The Dink 14 LLC 401(K) Plan                                                                              34,799,586            6,306,462 101
                                                                                             (Trust)
                                                                                                                                                 Total         3,921,116,742         603,205,921
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Notes:
  1
     Historical daily exchange rates obtained from Capital IQ.
  2
     SANFVIL00000458 ; SANFVIL00000493; R. Lehman Tr. 413:23-414:24; SKAT_MDL_001_035423.
   3
     ASTON00000440; ASTON00000466; R. Lehman Tr. 413:23-414:24; SKAT_MDL_001_0008736.
   4
     FWCCAP00000564; FWCCAP00000536; R. Lehman Tr. 413:23-414:24; SKAT_MDL_001_00082801.
   5
     RDLCON00000628; RDLCON00000415; RDLCON00000425; RDLCON00000458; RDLCON00000495; RDLCON00000537; R. Lehman Tr. 413:23-414:24; SKAT_MDL_001_00085453.
   6
     VALER00000242; VALER00000273; R. Lehman Tr. 413:23-414:24; SKAT_MDL_001_039115.
   7
     CSCCCAP00000544; CSCCCAP00000534; R. Lehman Tr. 413:23-414:24; SKAT_MDL_001_036318.
   8
     DIAMSCOTT00000594; DIAMSCOTT00000551; R. Lehman Tr. 413:23-414:24; SKAT_MDL_001_013218.
   9
     MNTAIR00000526 ; MNTAIR00000380; MNTAIR00000390; MNTAIR00000423; MNTAIR00000460; MNTAIR00000502; R. Lehman Tr. 413:23-414:24; SKAT_MDL_001_012283.
  10
     SHAPBLUM00000518; SHAPBLUM00000364; SHAPBLUM00000374; SHAPBLUM00000407; SHAPBLUM00000444; SHAPBLUM00000486; R. Lehman Tr. 413:23-414:24; SKAT_MDL_001_036162.
  11
     SKSLLLC00000565; SKSLLLC00000391; SKSLLLC00000401; SKSLLLC00000434; SKSLLLC00000471; SKSLLLC00000513; R. Lehman Tr. 413:23-414:24; SKAT_MDL_001_0088466.
  12
     SNOWHILL00000600; SNOWHILL00000422; SNOWHILL00000432; SNOWHILL00000465; SNOWHILL00000502; SNOWHILL00000544; R. Lehman Tr. 413:23-414:24; SKAT_MDL_001_00089022.
  13
     BELLA00000302; BELLA00000356; R. Lehman Tr. 413:23-414:24; SKAT_MDL_001_00085332.
  14
     GREENGS00000334; GREENGS00000329; R. Lehman Tr. 413:23-414:24; SKAT_MDL_001_00093905.
  15
     MUELLER00000349; MUELLER00000356; MUELLER00000379; R. Lehman Tr. 413:23-414:24; SKAT_MDL_001_018601.
  16
     LEHMAN00027003; SINCLAIRE00000332; R. Lehman Tr. 413:23-414:24; SKAT_MDL_001_00087504.
  17
     78YORK00000506; 78YORK00000510; R. Lehman Tr. 413:23-414:24; SKAT_MDL_001_00086471.
  18
     CAMBTOWN00000329; CAMBTOWN00000388; R. Lehman Tr. 413:23-414:24; SKAT_MDL_001_00084520.
  19
     HOTFROM00000465; HOTFROM00000330; R. Lehman Tr. 413:23-414:24; SKAT_MDL_001_00086580.
  20
     PATPART00000314; PATPART00000363; PATPART00000368; R. Lehman Tr. 413:23-414:24; SKAT_MDL_001_00082929.
  21
     WESTRIDGE00000283; WESTRIDGE00000314; WESTRIDGE00000343; R. Lehman Tr. 413:23-414:24; SKAT_MDL_001_013881.
  22
     PEGFOX00000261; PEGFOX00000295 ; D. Bradley Tr. 89:17-90:6, 123:8-124:7; SKAT_MDL_001_039379.
  23
     BRADLOND00000425; BRADLOND00000394; D. Bradley Tr. 89:17-90:6, 123:8-124:7; SKAT_MDL_001_00090961.
  24
     DMR00000349; DMR00000369; DMR00000506; D. Bradley Tr. 89:17-90:6, 123:8-124:7; SKAT_MDL_001_00087013.
  25
     HOUSTROC00000425; HOUSTROC00000396; D. Bradley Tr. 89:17-90:6, 123:8-124:7; SKAT_MDL_001_00085881.
  26
     LBR00000391; LBR00000410; LBR00000547; D. Bradley Tr. 89:17-90:6, 123:8-124:7; SKAT_MDL_001_00089378.
  27
     PROPPACIF00000375; PROPPACIF00000346; D. Bradley Tr. 89:17-90:6, 123:8-124:7; SKAT_MDL_001_00088872.
  28
     DELGADO00000275; DELGADO00000277; DELGADO00000254; D. Bradley Tr. 89:17-90:6, 123:8-124:7; SKAT_MDL_001_039666; SKAT_MDL_001_039694.
  29
     GYOS00000248; GYOS00000250; GYOS00000286 ; D. Bradley Tr. 89:17-90:6, 123:8-124:7; SKAT_MDL_001_039523; SKAT_MDL_001_039532.
  30
     ATLDHR00000315; ATLDHR00000363; D. Bradley Tr. 89:17-90:6, 123:8-124:7; SKAT_MDL_001_36576.
  31
     DOSMBLY00000304; DOSMBLY00000323; D. Bradley Tr. 89:17-90:6, 123:8-124:7; SKAT_MDL_001_00088646.
  32
     INDBOMB00000314; INDBOMB00000547; D. Bradley Tr. 89:17-90:6, 123:8-124:7; SKAT_MDL_001_00083560; SKAT_MDL_001_000891.
  33
     JEBRADLEY00000359; JEBRADLEY00000361; JEBRADLEY00000183 ; D. Bradley Tr. 89:17-90:6, 123:8-124:7; SKAT_MDL_001_040352.
  34
     NYCSTAN00000313; NYCSTAN00000339; D. Bradley Tr. 89:17-90:6, 123:8-124:7; SKAT_MDL_001_00084022.
  35
     TEXROC00000685; TEXROC00000621; D. Bradley Tr. 89:17-90:6, 123:8-124:7; SKAT_MDL_001_00086111.
  36
     BLACKRAIN00000323; BLACKRAIN00000325; BLACKRAIN00000349 ; D. Bradley Tr. 89:17-90:6, 123:8-124:7; SKAT_MDL_001_039809; SKAT_MDL_001_039838.
  37
     BUSBLK00000328; BUSBLK00000568; D. Bradley Tr. 89:17-90:6, 123:8-124:7; SKAT_MDL_001_00084127.
  38
     CANROCK00000285; CANROCK00000304; D. Bradley Tr. 89:17-90:6, 123:8-124:7; SKAT_MDL_001_00085671.
  39
     ISDB00000352; ISDB00000590; D. Bradley Tr. 89:17-90:6, 123:8-124:7; SKAT_MDL_001_000735; SKAT_MDL_001_013127; SKAT_MDL_001_019662.
  40
     MONAMP00000329; MONAMP00000560; D. Bradley Tr. 89:17-90:6, 123:8-124:7; SKAT_MDL_001_00086261.
  41
     OAKTREEONE00000501; OAKTREEONE00000359; D. Bradley Tr. 89:17-90:6, 123:8-124:7; SKAT_MDL_001_016654.
  42
     ONEZEROFIVE00000319; ONEZEROFIVE00000333; ONEZEROFIVE00000488; M. Tucci Tr. 114:20-118:17; SKAT_MDL_001_039236; SKAT_MDL_001_039264.
  43
     CROW00000248; CROW00000282; M. Tucci Tr. 114:20-118:17; SKAT_MDL_001_012682.
  44
     HAWK00000276; HAWK00000310; HAWK00000311; M. Tucci Tr. 114:20-118:17; SKAT_MDL_001_036459.
  45
     LAKEVIEW00000391; LAKEVIEW00000308; LAKEVIEW00000339; LAKEVIEW00000411; M. Tucci Tr. 114:20-118:17; SKAT_MDL_001_00082685.
  46
     OAKS00000401; OAKS00000403; OAKS00000330; M. Tucci Tr. 114:20-118:17; SKAT_MDL_001_035653.
  47
     THRCKMRTON00000363 (at 384) ; THRCKMRTON00000363; M. Tucci Tr. 114:20-118:17; SKAT_MDL_001_035533.
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  48
     CARDINAL00000424; CARDINAL00000287; CARDINAL00000333; CARDINAL00000389; M. Tucci Tr. 117:1-5; SKAT_MDL_001_00088753.
  49
     JAYFRAN00000274; JAYFRAN00000307; JAYFRAN00000353; JAYFRAN00000409; M. Tucci Tr. 117:1-5; SKAT_MDL_001_00087140.
  50
     TAGRLTY00000571; TAGRLTY00000434; TAGRLTY00000483; TAGRLTY00000536; M. Tucci Tr. 117:1-5; SKAT_MDL_001_00083255.
  51
     CHAMBPROP00000445; CHAMBPROP00000308; CHAMBPROP00000354; CHAMBPROP00000402; M. Tucci Tr. 117:23-24; SKAT_MDL_001_035911.
  52
     JUMP00000314; JUMP00000315; JUMP00000363; JUMP00000404; M. Tucci Tr. 118:2-3; SKAT_MDL_001_036031.
  53
     FIFTYEIGHTSIXTY00000061; M. Tucci Tr. 114:16-19; SKAT_MDL_001_040151; SKAT_MDL_001_040179. LLC formation date provided by Counsel.
  54
     BEECHTREE00000356; BEECHTREE00000357; BEECHTREE00000411; BEECHTREE00000459; M. Tucci Tr. 114:16-19; SKAT_MDL_001_00088212l.
  55
     BLACKBIRD00000280; BLACKBIRD00000323; BLACKBIRD00000369; BLACKBIRD00000425; M. Tucci Tr. 114:16-19; SKAT_MDL_001_00086807.
  56
     HIBISCUS00000424; HIBISCUS00000325; HIBISCUS00000382; HIBISCUS00000426; M. Tucci Tr. 114:16-19; SKAT_MDL_001_00089740.
  57
     MAPLE00000448; MAPLE00000360; MAPLE00000405; MAPLE00000468; M. Tucci Tr. 114:16-19; SKAT_MDL_001_00083029.
  58
     ROBINDAN00000331; ROBINDAN00000375; ROBINDAN00000477; M. Tucci Tr. 114:16-19; SKAT_MDL_001_00089269.
  59
     EGRET00000281; EGRET00000314; EGRET00000361; EGRET00000417; M. Tucci Tr. 117:9-11; SKAT_MDL_001_021770.
  60
     HERON00000261; HERON00000303; HERON00000349; HERON00000405; M. Tucci Tr. 117:9-11; SKAT_MDL_001_013024.
  61
     OSPREY00000277; OSPREY00000506; OSPREY00000608; M. Tucci Tr. 117:9-11; SKAT_MDL_001_035653.
  62
     SANDPIPER00000312; SANDPIPER00000355; SANDPIPER00000457; M. Tucci Tr. 117:9-11; SKAT_MDL_001_00083795.
  63
     WAVEMVN00000457; WAVEMVN00000320; WAVEMVN00000409; M. Tucci Tr. 117:9-11; SKAT_MDL_001_00088098.
  64
     HOBOKEN00000324; HOBOKEN00000191; HOBOKEN00000240; HOBOKEN00000283; M. Tucci Tr. 118:4-5; SKAT_MDL_001_00089617.
  65
     ZENTRNG00000487; ZENTRNG00000350; ZENTRNG00000442; M. Tucci Tr. 118:6-7; SKAT_MDL_001_00088323.
  66
     SEABRIGHT00000551; SEABRIGHT00000571; SEABRIGHT00000516; M. Tucci Tr. 118:8-9; SKAT_MDL_001_00089153.
  67
     JTHEALTH00000415; JTHEALTH00000278; JTHEALTH00000321; JTHEALTH00000357; M. Tucci Tr. 117:19-22; SKAT_MDL_001_00084232.
  68
     EVRYCLEAN00000353; EVRYCLEAN00000354; EVRYCLEAN00000409; EVRYCLEAN00000452; M. Tucci Tr. 117:25-118:2; SKAT_MDL_001_035780.
  69
     VERGARI00000023; NYCATAX00000282; C. Vergari Tr. 18:9-19:23; SKAT_MDL_001_039953; SKAT_MDL_001_039962.
  70
     ACKVIEW00000208; S. Driscoll Tr. 17:5-13; SKAT_MDL_001_040058; SKAT_MDL_001_040086. LLC formation date provided by Counsel.
  71
     ARIA00000323; ARIA00000328; G. Crescenzo Tr. 41:21-24; SKAT_MDL_001_014786.
  72
     BELFORTE00000282; BELFORTE00000304; G. Crescenzo Tr. 41:21-24; SKAT_MDL_001_00086366.
  73
     COSTELLO00000318; COSTELLO00000338; G. Crescenzo Tr. 41:21-24; SKAT_MDL_001_00085151.
  74
     KRABI00000359; KRABI00000172; G. Crescenzo Tr. 41:21-24; SKAT_MDL_001_037562.
  75
     LEIRICI00000298; LEIRICI00000322; G. Crescenzo Tr. 41:21-24; SKAT_MDL_001_00084765.
  76
     SABA00000284; SABA00000297; SABA00000303; G. Crescenzo Tr. 41:21-24; SKAT_MDL_001_00087257.
  77
     BRAVOS00000286; BRAVOS00000309; G. Crescenzo Tr. 41:21-24; SKAT_MDL_001_00084414.
  78
     KODIAK00000294; KODIAK00000297; G. Crescenzo Tr. 41:21-24; SKAT_MDL_001_00087839.
  79
     KYBER00000283; KYBER00000304; G. Crescenzo Tr. 41:21-24; SKAT_MDL_001_036696.
  80
     REGOLETH00000448; REGOLETH00000317; G. Crescenzo Tr. 41:21-24; SKAT_MDL_001_00087613.
  81
     SKYBAX00000140; SKYBAX00000168; SKYBAX00000146; G. Crescenzo Tr. 41:21-24; SKAT_MDL_001_037224.
  82
     SPKK00000090; SPKK00000244; SPKK00000112; SPKK00000140; SPKK00000174; SPKK00000211; S. Petkov Tr. 26:19-25; SKAT_MDL_001_012792.
  83
     ESKIN00000285; ESKIN00000349; G. Crescenzo Tr. 41:21-24; SKAT_MDL_001_00085776.
  84
     FIELDCREST00000295; FIELDCREST00000358; G. Crescenzo Tr. 41:21-24; SKAT_MDL_001_00083690.
  85
     LUDLOW00000300; LUDLOW00000364; G. Crescenzo Tr. 41:21-24; SKAT_MDL_001_00086697.
  86
     WESTRIV00000298; WESTRIV00000323; G. Crescenzo Tr. 41:21-24; SKAT_MDL_001_00085047.
  87
     WESTPORT00000293; WESTPORT00000318; G. Crescenzo Tr. 41:21-24; SKAT_MDL_001_0087945.
  88
     JMLCAP00000091; JMLCAP00000131; J. LaChance Tr. 33:1-24; SKAT_MDL_001_037757.
  89
     BALMORAL00000203; BALMORAL00000380; J. LaChance Tr. 33:1-24; SKAT_MDL_001_036910.
  90
     MPQ00000124; MPQ00000151; MPQ00000129; Mitchell Protass Tr. 38:4-38:18; SKAT_MDL_001_037147.
  91
     PROTASS00000041; M2F00000146; Mitchell Protass Tr. 169:5-12; SKAT_MDL_001_037185.
  92
     SEC230_00000140; SEC230_00000168; SEC230_00000146; R. Lehman Tr. 357:1-4; SKAT_MDL_001_037445.
  93
     KASV00000301; KASV00000419; S. Petkov Tr. 26:19-25; SKAT_MDL_001_00089510.
  94
       PETKMAN00000191; PETKMAN00000217; PETKMAN00000196; S. Petkov Tr. 26:19-25; SKAT_MDL_001_037349.
  95
       PETKPART00000343; PETKPART00000360; PETKPART00000364; PETKPART00000374; PETKPART00000407; PETKPART00000444; PETKPART00000486; S. Petkov Tr. 26:19-25; SKAT_MDL_001_00084895.
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Exhibit 1.03 - Summary of the Lehman Plans

  96
     SPKK00000090; SPKK00000244; SPKK00000112; SPKK00000140; SPKK00000174; SPKK00000211; S. Petkov Tr. 26:19-25; SKAT_MDL_001_012792.
  97
     SVP00000316; SVP00000338; SVP00000342; SVP00000352; SVP00000385; SVP00000422; SVP00000464; S. Petkov Tr. 26:19-25; SKAT_MDL_001_027929.
  98
     TKKJ00000202; TKKJ00000231; TKKJ00000209; T. Kertelits Tr. 29:6-16; SKAT_MDL_001_036813.
  99
     R. Lehman Tr. 335:20-25; SKAT_MDL_001_037913; ; .
 100
     NOVAFONTA00000047; R. Lehman Tr. 335:20-25; SKAT_MDL_001_038013; .
 101
     DINK14LLC00000228; DINK14LLC00000207; R. Lehman Tr. 335:20-25; SKAT_MDL_001_036964.
Case 1:18-md-02865-LAK   Document 824-107   Filed 06/15/22   Page 170 of 192




                              APPENDIX D
        EXHIBIT 2 – SUMMARY OF BELLWETHER REFUND CLAIMS
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Expert Report of Bruce G. Dubinsky
Exhibit 2.01 - Summary of Dividend Refund Claims Filed by the Bernina Pension Plan with SKAT 1



         Date of                                                                                         Claimed Withheld Claimed Withheld
                                                                                             Number of
        Dividend                  Payment Agent                          Security                          Dividend Tax     Dividend Tax
                                                                                              Shares
      Refund Claim                                                                                           (in DKK)         (in USD)2
        04/19/13               Acupay System LLC                          TDC A/S              4,500,000          2,794,500          489,482
        04/19/13               Acupay System LLC                   Novo Nordisk A/S - B        2,250,000         10,935,000        1,915,363
        04/19/13               Acupay System LLC                       Lundbeck A/S            1,050,000            567,000           99,315
        04/19/13               Acupay System LLC                    FLSmidth & Co A/S            380,000            923,400          161,742
        05/16/13               Acupay System LLC                          DSV A/S              1,250,000            421,875           72,940
        05/16/13               Acupay System LLC                      Carlsberg A/S - B          600,000            972,000          168,053
        05/16/13               Acupay System LLC                 A.P. Møller Mærsk A/S - A         4,200          1,360,800          235,274
        05/16/13               Acupay System LLC                 A.P. Møller Mærsk A/S - B        10,500          3,402,000          588,184
        05/16/13               Acupay System LLC                          Tryg A/S               150,000          1,053,000          182,057
        09/20/13               Acupay System LLC                          TDC A/S              3,337,500          1,351,688          245,155
        12/10/13               Acupay System LLC                  Chr. Hansen Holding A/S        777,109          1,313,470          242,355
        01/06/14               Acupay System LLC                      Coloplast A/S - B          900,000          1,701,000          310,793
        03/20/14               Acupay System LLC                    Novozymes A/S - B            911,726            615,415          113,631
        03/20/14               Acupay System LLC                          TDC A/S              4,670,566          2,774,316          512,254
        04/17/14               Acupay System LLC                      Danske Bank A/S          4,270,392          2,306,012          426,676
        04/17/14               Acupay System LLC                        Pandora A/S              378,278            663,878          122,836
        04/17/14               Acupay System LLC                   Novo Nordisk A/S - B       10,734,520         13,042,442        2,413,211
        04/17/14               Acupay System LLC                      Carlsberg A/S - B          515,579          1,113,651          206,056
        04/17/14               Acupay System LLC                 A.P. Møller Mærsk A/S - A         9,094          3,437,532          636,038
        04/17/14               Acupay System LLC                 A.P. Møller Mærsk A/S - B        11,493          4,344,354          803,825
        04/17/14               Acupay System LLC                          Tryg A/S               131,107            955,770          176,844
        05/27/14               Acupay System LLC                      Coloplast A/S - B          567,407            612,800          111,968
        09/04/14               Acupay System LLC                          TDC A/S              3,002,746          1,216,112          211,476
                                                                                                   Total         57,878,013       10,445,527


Notes:
 1
     SKAT_MDL_001_00059498.
 2
     Historical daily exchange rates obtained from Capital IQ.
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Expert Report of Bruce G. Dubinsky
                                                                                                 1
Exhibit 2.02 - Summary of Dividend Refund Claims Filed by the RJM Capital Pension Plan with SKAT



         Date of                                                                                    Claimed Withheld Claimed Withheld
                                                                                        Number of
        Dividend                Payment Agent                        Security                         Dividend Tax     Dividend Tax
                                                                                         Shares                                   2
      Refund Claim                                                                                      (in DKK)         (in USD)
        04/03/13             Goal Taxback Limited                    TDC A/S              3,250,000          2,018,250          348,094
        04/08/13             Goal Taxback Limited                Carlsberg A/S - B          640,000          1,036,800          180,936
        04/08/13             Goal Taxback Limited                    DSV A/S              1,200,000            405,000           70,678
        04/12/13             Goal Taxback Limited             Novo Nordisk A/S - B        2,400,000         11,664,000        2,052,509
        04/17/13             Goal Taxback Limited              FLSmidth & Co A/S            285,000            692,550          121,103
        04/23/13             Goal Taxback Limited           A.P. Møller Mærsk A/S - A         4,200          1,360,800          237,296
        04/23/13             Goal Taxback Limited           A.P. Møller Mærsk A/S - B        10,400          3,369,600          587,591
        04/26/13             Goal Taxback Limited                    Tryg A/S               160,000          1,123,200          196,312
        04/30/13             Goal Taxback Limited                 Lundbeck A/S            1,060,000            572,400          101,113
        08/21/13             Goal Taxback Limited                    TDC A/S              3,850,000          1,559,250          279,225
        12/06/13             Goal Taxback Limited            Chr. Hansen Holding A/S        780,157          1,318,621          242,318
        12/13/13             Goal Taxback Limited                Coloplast A/S - B          924,000          1,746,360          321,779
        03/14/14             Goal Taxback Limited              Novozymes A/S - B            995,231            671,781          125,239
        03/24/14             Goal Taxback Limited                    TDC A/S              3,979,143          2,363,611          438,233
        03/25/14             Goal Taxback Limited                Danske Bank A/S          3,966,266          2,141,784          396,737
        03/26/14             Goal Taxback Limited                  Pandora A/S              470,409            825,568          152,386
        03/28/14             Goal Taxback Limited                Carlsberg A/S - B          519,918          1,123,023          206,929
        03/28/14             Goal Taxback Limited             Novo Nordisk A/S - B       12,361,007         15,018,624        2,767,339
        04/08/14             Goal Taxback Limited           A.P. Møller Mærsk A/S - A         8,902          3,364,956          622,092
        04/08/14             Goal Taxback Limited           A.P. Møller Mærsk A/S - B        10,813          4,087,314          755,637
        04/10/14             Goal Taxback Limited                    Tryg A/S               107,707            785,184          146,127
        05/19/14             Goal Taxback Limited                Coloplast A/S - B          604,404            652,756          119,888
        08/21/14             Goal Taxback Limited              Novozymes A/S - B            153,035            103,299           18,403
        09/15/14             Goal Taxback Limited                    TDC A/S              3,660,794          1,482,622          257,753
                                                                                              Total         59,487,352       10,745,718


Notes:
 1
     SKAT_MDL_001_00059293.
 2
     Historical daily exchange rates obtained from Capital IQ.
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Expert Report of Bruce G. Dubinsky
                                                                                                 1
Exhibit 2.03 - Summary of Dividend Refund Claims Filed by the Delvian LLC Pension Plan with SKAT



         Date of                                                                                    Claimed Withheld Claimed Withheld
                                                                                        Number of
        Dividend                Payment Agent                        Security                         Dividend Tax     Dividend Tax
                                                                                         Shares                                   2
      Refund Claim                                                                                      (in DKK)         (in USD)
        08/31/12             Goal Taxback Limited                    TDC A/S              6,500,000          4,036,500          681,381
        12/14/12             Goal Taxback Limited                Coloplast A/S - B          325,000          1,755,000          309,693
        12/21/12             Goal Taxback Limited            Chr. Hansen Holding A/S      1,080,000            845,640          149,512
        03/12/13             Goal Taxback Limited              Novozymes A/S - B          1,820,000          1,081,080          188,947
        03/21/13             Goal Taxback Limited                    TDC A/S              5,850,000          3,632,850          628,902
        04/08/13             Goal Taxback Limited                Carlsberg A/S - B          600,000            972,000          169,628
        04/08/13             Goal Taxback Limited                    DSV A/S              1,250,000            421,875           73,623
        04/12/13             Goal Taxback Limited             Novo Nordisk A/S - B        2,250,000         10,935,000        1,924,227
        04/17/13             Goal Taxback Limited              FLSmidth & Co A/S            265,000            643,950          112,604
        04/23/13             Goal Taxback Limited           A.P. Møller Mærsk A/S - B        11,100          3,596,400          627,141
        04/23/13             Goal Taxback Limited           A.P. Møller Mærsk A/S - A         4,400          1,425,600          248,596
        04/26/13             Goal Taxback Limited                    Tryg A/S               155,000          1,088,100          190,177
        05/08/13             Goal Taxback Limited                 Lundbeck A/S              995,000            537,300           94,847
        08/28/13             Goal Taxback Limited                    TDC A/S              4,125,000          1,670,625          298,795
        12/06/13             Goal Taxback Limited            Chr. Hansen Holding A/S        765,935          1,294,583          237,901
        12/13/13             Goal Taxback Limited                Coloplast A/S - B        1,006,000          1,901,340          350,335
        03/14/14             Goal Taxback Limited              Novozymes A/S - B            804,697            543,170          101,262
        03/24/14             Goal Taxback Limited                    TDC A/S              3,613,646          2,146,506          397,980
        03/25/14             Goal Taxback Limited                Danske Bank A/S          4,209,928          2,273,361          421,110
        03/26/14             Goal Taxback Limited                  Pandora A/S              451,420            792,242          146,235
        03/28/14             Goal Taxback Limited                Carlsberg A/S - B          573,836          1,239,486          228,388
        03/28/14             Goal Taxback Limited             Novo Nordisk A/S - B       11,192,419         13,598,789        2,505,719
        04/08/14             Goal Taxback Limited           A.P. Møller Mærsk A/S - B        11,003          4,159,134          768,914
        04/08/14             Goal Taxback Limited           A.P. Møller Mærsk A/S - A         9,441          3,568,698          659,758
        04/10/14             Goal Taxback Limited                    Tryg A/S               118,748            865,673          161,106
        04/24/14             Goal Taxback Limited              Novozymes A/S - B            231,301            156,128           28,952
        05/19/14             Goal Taxback Limited                Coloplast A/S - B          649,227            701,165          128,779
        08/15/14             Goal Taxback Limited                    TDC A/S              3,246,569          1,314,860          236,345
                                                                                              Total         67,197,056       12,070,860


Notes:
 1
     SKAT_MDL_001_00079683.
 2
     Historical daily exchange rates obtained from Capital IQ.
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Expert Report of Bruce G. Dubinsky
                                                                                                             1
Exhibit 2.04 - Summary of Dividend Refund Claims Filed by the Basalt Ventures LLC Roth 401(K) Plan with SKAT



         Date of                                                                                    Claimed Withheld Claimed Withheld
                                                                                        Number of
        Dividend                Payment Agent                        Security                         Dividend Tax     Dividend Tax
                                                                                         Shares                                   2
      Refund Claim                                                                                      (in DKK)         (in USD)
        11/27/14             Goal Taxback Limited                    TDC A/S             2,876,867           1,165,131          195,282
        04/14/15             Goal Taxback Limited           A.P. Møller Mærsk A/S - A        7,873           4,189,774          597,771
        04/14/15             Goal Taxback Limited           A.P. Møller Mærsk A/S - B        7,877           4,191,903          598,074
        04/16/15             Goal Taxback Limited             Novo Nordisk A/S - B       6,448,211           8,705,085        1,255,022
        04/21/15             Goal Taxback Limited                    DSV A/S               765,908             330,872           47,606
        04/21/15             Goal Taxback Limited                Danske Bank A/S         3,271,664           4,858,421          699,033
        04/21/15             Goal Taxback Limited                Carlsberg A/S - B         178,044             432,647           62,250
        04/23/15             Goal Taxback Limited              Novozymes A/S - B           777,153             629,494           91,329
        04/23/15             Goal Taxback Limited                    TDC A/S             3,283,965             886,671          128,641
        04/23/15             Goal Taxback Limited                    Tryg A/S               35,209             275,686           39,997
        04/23/15             Goal Taxback Limited              FLSmidth & Co A/S            80,009             194,422           28,207
        04/27/15             Goal Taxback Limited                  Pandora A/S             450,631           1,095,033          159,864
        04/27/15             Goal Taxback Limited              GN Store Nord A/S           605,292             147,086           21,473
        04/27/15             Goal Taxback Limited           Vestas Wind Systems A/S        373,474             393,268           57,413
        05/15/15             Goal Taxback Limited                Coloplast A/S - B         294,679             358,035           54,896
                                                                                              Total         27,853,529        4,036,858


Notes:
 1
     SKAT_MDL_001_00057073.
 2
     Historical daily exchange rates obtained from Capital IQ.
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                                                                                                                1
Exhibit 2.05 - Summary of Dividend Refund Claims Filed by the STOR Captial Consulting LLC 401(K) Plan with SKAT



         Date of                                                                                    Claimed Withheld Claimed Withheld
                                                                                        Number of
        Dividend                Payment Agent                        Security                         Dividend Tax     Dividend Tax
                                                                                         Shares                                   2
      Refund Claim                                                                                      (in DKK)         (in USD)
        04/23/15             Goal Taxback Limited           A.P. Møller Mærsk A/S - A        7,905           4,206,804          610,336
        04/27/15             Goal Taxback Limited              Novozymes A/S - B           789,233             639,279           93,328
        04/27/15             Goal Taxback Limited                    TDC A/S             2,928,076             790,581          115,417
        04/27/15             Goal Taxback Limited                    DSV A/S               702,995             303,694           44,336
        04/27/15             Goal Taxback Limited                  Pandora A/S             486,634           1,182,521          172,636
        04/27/15             Goal Taxback Limited                Danske Bank A/S         3,533,054           5,246,585          765,947
        04/27/15             Goal Taxback Limited             Novo Nordisk A/S - B       6,350,778           8,573,550        1,251,650
        04/27/15             Goal Taxback Limited              GN Store Nord A/S           596,146             144,863           21,149
        04/27/15             Goal Taxback Limited                    Tryg A/S               35,312             276,493           40,365
        04/27/15             Goal Taxback Limited              FLSmidth & Co A/S            80,425             195,433           28,531
        04/27/15             Goal Taxback Limited                Carlsberg A/S - B         178,707             434,258           63,397
        04/27/15             Goal Taxback Limited           A.P. Møller Mærsk A/S - B        7,903           4,205,740          613,994
        04/27/15             Goal Taxback Limited           Vestas Wind Systems A/S        375,990             395,917           57,800
        05/15/15             Goal Taxback Limited                Coloplast A/S - B         293,201             356,239           54,620
                                                                                              Total         26,951,956        3,933,507


Notes:
 1
     SKAT_MDL_001_00080795.
 2
     Historical daily exchange rates obtained from Capital IQ.
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Expert Report of Bruce G. Dubinsky
                                                                                                               1
Exhibit 2.06 - Summary of Dividend Refund Claims Filed by the Edgepoint Capital LLC Roth 401(K) Plan with SKAT



         Date of                                                                                    Claimed Withheld Claimed Withheld
                                                                                        Number of
        Dividend                Payment Agent                        Security                         Dividend Tax     Dividend Tax
                                                                                         Shares                                   2
      Refund Claim                                                                                      (in DKK)         (in USD)
        10/28/14                   Syntax GIS                        TDC A/S             3,190,351           1,292,092          221,022
        12/22/14                   Syntax GIS                    Coloplast A/S - B       1,027,202           2,080,084          341,872
        04/13/15                   Syntax GIS               A.P. Møller Mærsk A/S - A        7,906           4,207,336          595,047
        04/30/15                   Syntax GIS                  Novozymes A/S - B           770,440             624,056           93,818
        04/30/15                   Syntax GIS                        TDC A/S             2,724,158             735,523          110,575
        04/30/15                   Syntax GIS                        DSV A/S               812,595             351,041           52,774
        04/30/15                   Syntax GIS                    Danske Bank A/S         3,544,477           5,263,548          791,297
        04/30/15                   Syntax GIS                      Pandora A/S             488,208           1,186,345          178,350
        04/30/15                   Syntax GIS                   GN Store Nord A/S          658,098             159,918           24,041
        04/30/15                   Syntax GIS                 Novo Nordisk A/S - B       7,010,753           9,464,517        1,422,850
        04/30/15                   Syntax GIS                        Tryg A/S               34,707             271,756           40,854
        04/30/15                   Syntax GIS                  FLSmidth & Co A/S            80,035             194,485           29,238
        04/30/15                   Syntax GIS                    Carlsberg A/S - B         177,702             431,816           64,917
        04/30/15                   Syntax GIS                Vestas Wind Systems A/S       377,401             397,403           59,744
        04/30/15                   Syntax GIS               A.P. Møller Mærsk A/S - B        8,104           4,312,706          648,352
        05/15/15                   Syntax GIS                    Coloplast A/S - B         292,798             355,750           54,545
                                                                                              Total         31,328,376        4,729,295


Notes:
 1
     SKAT_MDL_001_014586.
 2
     Historical daily exchange rates obtained from Capital IQ.
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Expert Report of Bruce G. Dubinsky
                                                                                                                 1
Exhibit 2.07 - Summary of Dividend Refund Claims Filed by the Loggerhead Services LLC Roth 401(K) Plan with SKAT



         Date of                                                                                    Claimed Withheld Claimed Withheld
                                                                                        Number of
        Dividend                Payment Agent                        Security                         Dividend Tax     Dividend Tax
                                                                                         Shares                                   2
      Refund Claim                                                                                      (in DKK)         (in USD)
        11/13/14              Acupay System LLC                      TDC A/S             3,365,526           1,363,038          228,491
        03/27/15              Acupay System LLC                Novozymes A/S - B           736,044             596,196           86,922
        03/27/15              Acupay System LLC                      TDC A/S             2,362,820             637,961           93,011
        03/31/15              Acupay System LLC                      DSV A/S               556,361             240,348           34,524
        04/17/15              Acupay System LLC             A.P. Møller Mærsk A/S - B       39,954          21,262,320        3,080,112
        04/24/15              Acupay System LLC               Novo Nordisk A/S - B       6,847,676           9,244,363        1,347,202
        04/24/15              Acupay System LLC             A.P. Møller Mærsk A/S - A       39,560          21,052,645        3,068,049
        05/01/15              Acupay System LLC                  Danske Bank A/S         3,290,372           4,886,202          732,872
        05/01/15              Acupay System LLC                    Pandora A/S             453,208           1,101,295          165,181
        05/01/15              Acupay System LLC                GN Store Nord A/S           642,790             156,198           23,428
        05/01/15              Acupay System LLC                      Tryg A/S              176,360           1,380,899          207,118
        05/01/15              Acupay System LLC                FLSmidth & Co A/S           403,127             979,599          146,928
        05/01/15              Acupay System LLC                  Carlsberg A/S - B         895,802           2,176,799          326,494
        05/01/15              Acupay System LLC             Vestas Wind Systems A/S      1,866,270           1,965,182          294,754
        05/22/15              Acupay System LLC                  Coloplast A/S - B       1,452,946           1,765,329          260,750
                                                                                              Total         68,808,375       10,095,834


Notes:
 1
     SKAT_MDL_001_00060743.
 2
     Historical daily exchange rates obtained from Capital IQ.
         Case 1:18-md-02865-LAK                                  Document 824-107          Filed 06/15/22        Page 178 of 192
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Expert Report of Bruce G. Dubinsky
                                                                                                                    1
Exhibit 2.08 - Summary of Dividend Refund Claims Filed by the Roadcraft Technologies LLC Roth 401(K) Plan with SKAT



         Date of                                                                                    Claimed Withheld Claimed Withheld
                                                                                        Number of
        Dividend                Payment Agent                        Security                         Dividend Tax     Dividend Tax
                                                                                         Shares                                   2
      Refund Claim                                                                                      (in DKK)         (in USD)
        11/27/14             Goal Taxback Limited                    TDC A/S             2,803,027           1,135,226          190,270
        04/28/15             Goal Taxback Limited              Novozymes A/S - B           681,437             551,964           81,221
        04/28/15             Goal Taxback Limited                    TDC A/S             2,572,455             694,563          102,205
        04/28/15             Goal Taxback Limited                    DSV A/S               633,514             273,678           40,272
        04/28/15             Goal Taxback Limited                Danske Bank A/S         3,217,471           4,777,944          703,073
        04/28/15             Goal Taxback Limited                  Pandora A/S             443,167           1,076,896          158,465
        04/28/15             Goal Taxback Limited              GN Store Nord A/S           591,012             143,616           21,133
        04/28/15             Goal Taxback Limited             Novo Nordisk A/S - B       6,296,082           8,499,711        1,250,730
        04/28/15             Goal Taxback Limited                    Tryg A/S              174,450           1,365,944          200,998
        04/28/15             Goal Taxback Limited              FLSmidth & Co A/S           399,512             970,814          142,855
        04/28/15             Goal Taxback Limited                Carlsberg A/S - B         887,986           2,157,806          317,521
        04/28/15             Goal Taxback Limited           Vestas Wind Systems A/S      1,878,951           1,978,535          291,141
        04/28/15             Goal Taxback Limited           A.P. Møller Mærsk A/S - A       39,785          21,172,383        3,115,510
        04/28/15             Goal Taxback Limited           A.P. Møller Mærsk A/S - B       40,179          21,382,058        3,146,364
        05/15/15             Goal Taxback Limited                Coloplast A/S - B       1,473,168           1,789,899          274,436
                                                                                              Total         67,971,038       10,036,193


Notes:
 1
     SKAT_MDL_001_00056852.
 2
     Historical daily exchange rates obtained from Capital IQ.
          Case 1:18-md-02865-LAK                                 Document 824-107              Filed 06/15/22          Page 179 of 192
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Expert Report of Bruce G. Dubinsky
                                                                                                                          1
Exhibit 2.09 - Summary of Dividend Refund Claims Filed by the Bareroot Capital Investments LLC Roth 401(K) Plan with SKAT



         Date of                                                                                     Claimed Withheld Claimed Withheld
                                                                                         Number of
        Dividend                 Payment Agent                       Security                          Dividend Tax     Dividend Tax
                                                                                          Shares                                   2
      Refund Claim                                                                                       (in DKK)         (in USD)
        10/28/14                    Syntax GIS                        TDC A/S             3,714,107           1,504,213          257,306
        04/16/15                    Syntax GIS                 Novo Nordisk A/S - B       6,501,567           8,777,115        1,265,407
        04/21/15                    Syntax GIS                        DSV A/S               793,958             342,990           49,350
        04/21/15                    Syntax GIS                    Danske Bank A/S         3,540,741           5,258,000          756,525
        04/21/15                    Syntax GIS                    Carlsberg A/S - B         177,614             431,602           62,099
        04/23/15                    Syntax GIS                  Novozymes A/S - B           785,015             635,862           92,253
        04/23/15                    Syntax GIS                        TDC A/S             3,304,060             892,096          129,428
        04/23/15                    Syntax GIS                        Tryg A/S               34,840             272,797           39,578
        04/23/15                    Syntax GIS                  FLSmidth & Co A/S            79,896             194,147           28,167
        04/28/15                    Syntax GIS                      Pandora A/S             487,693           1,185,094          174,386
        04/28/15                    Syntax GIS                  GN Store Nord A/S           610,301             148,303           21,823
        04/28/15                    Syntax GIS               Vestas Wind Systems A/S        377,832             397,857           58,545
        04/28/15                    Syntax GIS               A.P. Møller Mærsk A/S - A        7,886           4,196,693          617,542
        04/28/15                    Syntax GIS               A.P. Møller Mærsk A/S - B        8,090           4,305,255          633,517
        05/15/15                    Syntax GIS                    Coloplast A/S - B         294,163             357,408           54,800
                                                                                               Total         28,899,434        4,240,726


Notes:
 1
     SKAT_MDL_001_00048046.
 2
     Historical daily exchange rates obtained from Capital IQ.
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Expert Report of Bruce G. Dubinsky
                                                                                                     1
Exhibit 2.10 - Summary of Dividend Refund Claims Filed by the FWC Capital LLC Pension Plan with SKAT



         Date of                                                                                    Claimed Withheld Claimed Withheld
                                                                                        Number of
        Dividend                Payment Agent                        Security                         Dividend Tax     Dividend Tax
                                                                                         Shares                                   2
      Refund Claim                                                                                      (in DKK)         (in USD)
        04/13/15                   Syntax GIS               A.P. Møller Mærsk A/S - A       39,897          21,231,986        3,002,855
        04/16/15                   Syntax GIS                 Novo Nordisk A/S - B       6,939,066           9,367,739        1,350,558
        04/16/15                   Syntax GIS               A.P. Møller Mærsk A/S - B       40,288          21,440,065        3,091,039
        04/23/15                   Syntax GIS                  Novozymes A/S - B           749,199             606,851           88,044
        04/23/15                   Syntax GIS                        TDC A/S             2,542,375             686,441           99,591
        04/23/15                   Syntax GIS                        DSV A/S               617,170             266,617           38,682
        04/23/15                   Syntax GIS                    Danske Bank A/S         3,192,314           4,740,586          687,779
        04/28/15                   Syntax GIS                      Pandora A/S             439,702           1,068,476          157,226
        04/28/15                   Syntax GIS                   GN Store Nord A/S          651,369             158,283           23,291
        04/28/15                   Syntax GIS                        Tryg A/S              174,983           1,370,117          201,612
        04/28/15                   Syntax GIS                    Carlsberg A/S - B         903,635           2,195,833          323,116
        04/28/15                   Syntax GIS                Vestas Wind Systems A/S     1,885,245           1,985,163          292,116
        04/30/15                   Syntax GIS                Chr. Hansen Holding A/S       846,864             862,023          129,592
        04/30/15                   Syntax GIS                    Coloplast A/S - B       1,074,214           2,175,283          327,022
        05/15/15                   Syntax GIS                    Coloplast A/S - B       1,470,191           1,786,282          273,881
        05/28/15                   Syntax GIS                  FLSmidth & Co A/S           406,796             988,514          145,112
                                                                                              Total         70,930,261       10,231,517


Notes:
 1
     SKAT_MDL_001_00082801.
 2
     Historical daily exchange rates obtained from Capital IQ.
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                                                                                                     1
Exhibit 2.11 - Summary of Dividend Refund Claims Filed by the LBR Capital LLC Pension Plan with SKAT



         Date of                                                                                    Claimed Withheld Claimed Withheld
                                                                                        Number of
        Dividend                Payment Agent                        Security                         Dividend Tax     Dividend Tax
                                                                                         Shares                                   2
      Refund Claim                                                                                      (in DKK)         (in USD)
        04/14/15             Goal Taxback Limited           A.P. Møller Mærsk A/S - A        7,880           4,193,500          598,302
        04/14/15             Goal Taxback Limited           A.P. Møller Mærsk A/S - B        7,884           4,195,628          598,606
        04/20/15             Goal Taxback Limited            Chr. Hansen Holding A/S       797,188             811,458          116,765
        04/20/15             Goal Taxback Limited                Coloplast A/S - B         916,001           1,854,902          266,912
        04/21/15             Goal Taxback Limited             Novo Nordisk A/S - B       6,267,033           8,460,495        1,217,302
        04/23/15             Goal Taxback Limited                Danske Bank A/S         3,026,108           4,493,770          651,970
        04/23/15             Goal Taxback Limited           Vestas Wind Systems A/S        375,802             395,720           57,412
        04/27/15             Goal Taxback Limited              Novozymes A/S - B           688,545             557,721           81,422
        04/27/15             Goal Taxback Limited                    TDC A/S             3,092,779             835,050          121,909
        04/27/15             Goal Taxback Limited                    DSV A/S               824,244             356,073           51,983
        04/27/15             Goal Taxback Limited                  Pandora A/S             416,809           1,012,846          147,865
        04/27/15             Goal Taxback Limited              GN Store Nord A/S           588,285             142,953           20,870
        04/27/15             Goal Taxback Limited                    Tryg A/S               34,618             271,059           39,572
        04/27/15             Goal Taxback Limited              FLSmidth & Co A/S            81,040             196,927           28,749
        04/27/15             Goal Taxback Limited                Carlsberg A/S - B         180,314             438,163           63,967
        05/14/15             Goal Taxback Limited                Coloplast A/S - B         292,365             355,223           54,296
                                                                                              Total         28,571,489        4,117,901


Notes:
 1
     SKAT_MDL_001_00089378.
 2
     Historical daily exchange rates obtained from Capital IQ.
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Expert Report of Bruce G. Dubinsky
                                                                                                       1
Exhibit 2.12 - Summary of Dividend Refund Claims Filed by the Costello Advisors Pension Plan with SKAT



         Date of                                                                                    Claimed Withheld Claimed Withheld
                                                                                        Number of
        Dividend                Payment Agent                        Security                         Dividend Tax     Dividend Tax
                                                                                         Shares                                   2
      Refund Claim                                                                                      (in DKK)         (in USD)
        05/07/15                   Syntax GIS                  Novozymes A/S - B           754,559             611,193           92,269
        05/07/15                   Syntax GIS                        TDC A/S             3,215,984             868,316          131,086
        05/07/15                   Syntax GIS                        DSV A/S               799,852             345,536           52,164
        05/07/15                   Syntax GIS                    Danske Bank A/S         3,252,599           4,830,110          729,183
        05/07/15                   Syntax GIS                      Pandora A/S             448,005           1,088,652          164,350
        05/07/15                   Syntax GIS                  GN Store Nord A/S           631,884             153,548           23,181
        05/07/15                   Syntax GIS                 Novo Nordisk A/S - B       6,731,490           9,087,512        1,371,907
        05/07/15                   Syntax GIS                        Tryg A/S               35,294             276,352           41,720
        05/07/15                   Syntax GIS                  FLSmidth & Co A/S            80,583             195,817           29,562
        05/07/15                   Syntax GIS                    Carlsberg A/S - B         179,029             435,040           65,676
        05/07/15                   Syntax GIS               Vestas Wind Systems A/S        380,663             400,838           60,513
        05/07/15                   Syntax GIS               A.P. Møller Mærsk A/S - A        7,904           4,206,272          635,005
        05/07/15                   Syntax GIS               A.P. Møller Mærsk A/S - B        8,100           4,310,577          650,751
        05/15/15                   Syntax GIS                    Coloplast A/S - B         294,479             357,792           54,858
                                                                                              Total         27,167,553        4,102,226


Notes:
 1
     SKAT_MDL_001_00085151.
 2
     Historical daily exchange rates obtained from Capital IQ.
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Expert Report of Bruce G. Dubinsky
                                                                                                       1
Exhibit 2.13 - Summary of Dividend Refund Claims Filed by the Proper Pacific LLC 401(K) Plan with SKAT



         Date of                                                                                    Claimed Withheld Claimed Withheld
                                                                                        Number of
        Dividend                Payment Agent                        Security                         Dividend Tax     Dividend Tax
                                                                                         Shares                                   2
      Refund Claim                                                                                      (in DKK)         (in USD)
        04/20/15             Goal Taxback Limited            Chr. Hansen Holding A/S       839,500             854,527          122,962
        04/20/15             Goal Taxback Limited                Coloplast A/S - B         930,208           1,883,671          271,051
        04/21/15             Goal Taxback Limited             Novo Nordisk A/S - B       6,634,763           8,956,930        1,288,730
        04/21/15             Goal Taxback Limited           A.P. Møller Mærsk A/S - A        7,879           4,192,967          603,287
        04/21/15             Goal Taxback Limited           A.P. Møller Mærsk A/S - A        8,083           4,301,530          618,907
        04/27/15             Goal Taxback Limited              Novozymes A/S - B           683,931             553,984           80,876
        04/27/15             Goal Taxback Limited                    TDC A/S             3,293,727             889,306          129,830
        04/27/15             Goal Taxback Limited                    DSV A/S               692,422             299,126           43,669
        04/27/15             Goal Taxback Limited                Danske Bank A/S         2,906,712           4,316,467          630,160
        04/27/15             Goal Taxback Limited                  Pandora A/S             400,364             972,885          142,031
        04/27/15             Goal Taxback Limited              GN Store Nord A/S           622,804             151,341           22,094
        04/27/15             Goal Taxback Limited                    Tryg A/S               34,813             272,586           39,795
        04/27/15             Goal Taxback Limited              FLSmidth & Co A/S            81,037             196,920           28,748
        04/27/15             Goal Taxback Limited                Carlsberg A/S - B         180,313             438,161           63,967
        04/27/15             Goal Taxback Limited           Vestas Wind Systems A/S        377,809             397,833           58,079
        05/15/15             Goal Taxback Limited                Coloplast A/S - B         294,370             357,660           54,838
                                                                                              Total         29,035,894        4,199,026


Notes:
 1
     SKAT_MDL_001_00077772.
 2
     Historical daily exchange rates obtained from Capital IQ.
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Expert Report of Bruce G. Dubinsky
                                                                                        1
Exhibit 2.14 - Summary of Dividend Refund Claims Filed by the SVP 401(K) Plan with SKAT



         Date of                                                                                    Claimed Withheld Claimed Withheld
                                                                                        Number of
        Dividend                Payment Agent                        Security                         Dividend Tax     Dividend Tax
                                                                                         Shares                                   2
      Refund Claim                                                                                      (in DKK)         (in USD)
        05/26/15                   Syntax GIS                  Novozymes A/S - B           806,895             653,585           95,360
        05/26/15                   Syntax GIS                        TDC A/S             2,997,556             809,340          118,085
        05/26/15                   Syntax GIS                        DSV A/S               786,623             339,821           49,581
        05/26/15                   Syntax GIS                      Pandora A/S             457,499           1,111,723          162,203
        05/26/15                   Syntax GIS                    Danske Bank A/S         3,321,528           4,932,469          719,659
        05/26/15                   Syntax GIS                  GN Store Nord A/S           539,922             131,201           19,143
        05/26/15                   Syntax GIS                 Novo Nordisk A/S - B       5,751,820           7,764,957        1,132,925
        05/26/15                   Syntax GIS                        Tryg A/S               34,929             273,494           39,903
        05/26/15                   Syntax GIS                  FLSmidth & Co A/S            80,428             195,440           28,515
        05/26/15                   Syntax GIS                    Carlsberg A/S - B         178,819             434,530           63,399
        05/26/15                   Syntax GIS               Vestas Wind Systems A/S        372,304             392,036           57,199
        05/26/15                   Syntax GIS               A.P. Møller Mærsk A/S - A        7,841           4,172,745          608,813
        05/26/15                   Syntax GIS               A.P. Møller Mærsk A/S - B        7,859           4,182,324          610,211
        05/26/15                   Syntax GIS                    Coloplast A/S - B         295,344             358,843           52,356
                                                                                              Total         25,752,508        3,757,351


Notes:
 1
     SKAT_MDL_001_027929.
 2
     Historical daily exchange rates obtained from Capital IQ.
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Expert Report of Bruce G. Dubinsky
                                                                                                1
Exhibit 2.15 - Summary of Dividend Refund Claims Filed by the Oaks Group Pension Plan with SKAT



         Date of                                                                                    Claimed Withheld Claimed Withheld
                                                                                        Number of
        Dividend                Payment Agent                        Security                         Dividend Tax     Dividend Tax
                                                                                         Shares                                   2
      Refund Claim                                                                                      (in DKK)         (in USD)
        04/17/15              Acupay System LLC              Chr. Hansen Holding A/S       882,144             897,934          130,077
        04/17/15              Acupay System LLC                  Coloplast A/S - B         990,463           2,005,688          290,549
        04/24/15              Acupay System LLC               Novo Nordisk A/S - B       6,265,681           8,458,669        1,232,701
        04/24/15              Acupay System LLC             A.P. Møller Mærsk A/S - A       39,792          21,176,109        3,086,042
        04/24/15              Acupay System LLC             A.P. Møller Mærsk A/S - B       40,186          21,385,784        3,116,598
        05/01/15              Acupay System LLC                Novozymes A/S - B           699,630             566,700           84,998
        05/01/15              Acupay System LLC                      TDC A/S             2,808,409             758,270          113,731
        05/01/15              Acupay System LLC                      DSV A/S               558,466             241,257           36,186
        05/01/15              Acupay System LLC                  Danske Bank A/S         3,256,796           4,836,342          725,393
        05/01/15              Acupay System LLC                    Pandora A/S             448,583           1,090,057          163,495
        05/01/15              Acupay System LLC                GN Store Nord A/S           588,158             142,922           21,437
        05/01/15              Acupay System LLC                      Tryg A/S              174,086           1,363,093          204,448
        05/01/15              Acupay System LLC                FLSmidth & Co A/S           400,182             972,442          145,855
        05/01/15              Acupay System LLC                  Carlsberg A/S - B         889,131           2,160,588          324,062
        05/01/15              Acupay System LLC             Vestas Wind Systems A/S      1,877,229           1,976,722          296,485
        05/22/15              Acupay System LLC                  Coloplast A/S - B       1,459,548           1,773,351          261,935
                                                                                              Total         69,805,930       10,233,991


Notes:
 1
     SKAT_MDL_001_035653.
 2
     Historical daily exchange rates obtained from Capital IQ.
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                              APPENDIX D
                EXHIBIT 3 – BELLWETHER CASE TRADES



                     PROVIDED ELECTRONICALLY
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                              APPENDIX D
            EXHIBIT 4 – BELLWETHER CASH FLOW ANALYSIS
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Expert Report of Bruce G. Dubinsky
Exhibit 4 - Summary of Bellwether Cash Flows


                                                                                                                                                                                                                            Purported
                                                                                                            Purported Danish              Purported                                    Reclaim Agent       Ganymede                         Partnership                     Amount Left for % of Tax
                                Pension Plan                                    Beneficiary1                                                                     Refunds Received                                          Trading and                         Other
                                                                                                            Stock Investment2             Dividends3                                        Fee             Payment                          Payments                           Plan        Refund
                                                                                                                                                                                                                           Brokers Fees
       Bernina Pension Plan4                                              John van Merkensteijn            $     1,878,998,228        $       38,365,775             $    10,358,759   $      (94,394) $     (6,875,498) $      (195,420) $           -   $            -    $    3,193,447     30.8%
       RJM Capital Pension Plan5                                          Richard Markowitz                $     1,970,247,159        $       39,910,271             $    10,621,413   $      (55,545) $     (7,107,621) $       (70,814) $           -   $            -    $    3,387,433     31.9%
       Delvian LLC Pension Plan5                                          Alicia Colodner                  $     2,066,790,606        $       44,953,257             $    11,923,504   $      (53,830) $     (7,849,298) $     (136,322) $     (3,689,851) $           -    $     194,203      1.6%
                                                       6
       Basalt Ventures LLC Roth 401(k) Plan                               John van Merkensteijn            $       672,112,226        $       15,373,992             $     4,150,978   $      (35,283) $     (3,113,233) $     (115,581) $            -   $            -    $     886,880      21.4%
                                                           7
       STOR Capital Consulting LLC 401(k) Plan                            Robert Klugman                   $       646,576,763        $       14,657,801             $     3,957,606   $      (33,640) $     (2,968,205) $       (94,177) $           -   $            -    $     861,585      21.8%
       Edgepoint Capital LLC Roth 401(k) Plan8                            Robert Klugman                   $       802,387,731        $       17,092,435             $     4,704,675   $      (35,285) $     (3,528,506) $     (147,493) $            -   $            -    $     993,391      21.1%
       Loggerhead Services LLC Roth 401(k) Plan9                          Perry Lerner                     $     1,074,275,449        $       38,725,090             $    10,455,774   $      (52,061) $     (7,841,831) $     (132,379) $     (2,350,183) $      41,194    $     120,514      1.2%
       Roadcraft Technologies LLC Roth 401(k) Plan10                      Ronald Altbach                   $     1,041,022,669        $       36,885,870             $     9,959,185   $      (53,866) $     (7,469,389) $     (148,186) $     (2,316,050) $     150,274    $     121,967      1.2%
                                                                    11
       The Bareroot Capital Investments LLC 401(k) Plan                   David Zelman                     $       694,869,341        $       16,223,622             $     4,380,378   $      (32,853) $     (3,285,283) $     (119,089) $       (933,950) $      38,134    $       47,337     1.1%
       The Costello Advisors Pension Plan12                               Gavin Crescenzo                  $       660,099,881        $       14,872,599             $     4,015,602   $      (30,117) $     (3,889,380) $       (96,105) $           -   $            -    $          -       0.0%
       The LBR Capital Pension Plan13                                     Doston Bradley                   $       737,873,456        $       15,891,086             $     4,290,593   $      (42,906) $     (4,118,328) $     (129,301) $            -   $            (59) $          -       0.0%
       The FWC Capital LLC Pension Plan14                                 Roger Lehman                     $     1,183,509,081        $       38,830,045             $    10,484,112   $      (53,352) $    (10,275,618) $     (155,142) $            -   $            -    $          -       0.0%
                                                  15
       The Proper Pacific LLC 401(k) Plan                                 Doston Bradley                   $       783,034,148        $       15,995,932             $     4,318,902   $      (43,189) $     (4,150,142) $     (125,582) $            -   $            11   $          -       0.0%
                                           16
       The Oaks Group Pension Plan                                        Matthew Tucci                    $     1,139,614,285        $       38,221,886             $    10,319,909   $      (52,108) $    (10,140,940) $     (133,557) $            -   $        6,695    $          -       0.0%
       The SVP 401(k) Plan17                                              Svetlin Petkov                   $       610,996,178        $       14,097,947             $     3,806,446   $      (28,548) $     (3,689,260) $       (88,637) $           -   $            -    $          -       0.0%

       Total                                                                                               $ 15,962,407,201           $     400,097,608              $   107,747,836   $     (696,977) $    (86,302,533) $    (1,887,784) $    (9,290,034) $     236,249    $    9,806,757
       % of Tax Refunds                                                                                                                                                                                           80.1%                              8.6%


Notes:
  1
    See Exhibits 1.01-1.04.
   2
       This amount represents the USD equivalent of Step 1 of the Solo Trading Loops shown in Exhibit 3. Historical daily exchange rates obtained from Capital IQ.
   3
       Dividends converted into USD using historical daily exchange rates obtained from Capital IQ. See SKAT_MDL_001_00059498; SKAT_MDL_001_00059293; SKAT_MDL_001_00079683; SKAT_MDL_001_00057073; SKAT_MDL_001_00080795; SKAT_MDL_001_014586; SKAT_MDL_001_00060743; SKAT_MDL_00056852;
       SKAT_MDL_001_00048046; SKAT_MDL_001_00085151; SKAT_MDL_001_00089378; SKAT_MDL_001_00082801; SKAT_MDL_001_00088872; SKAT_MDL_001_035653; SKAT_MDL_001_027929
   4
       WH_MDL_00037988; MPSKAT00081173; MPSKAT00085392; MPSKAT00165623; MPSKAT00165885; MPSKAT00165982; WH_MDL_00108321; MPSKAT00001427; MPSKAT00001580; MPSKAT00001626; GUNDERSON00003181; MPSKAT00081360; MPSKAT00085414; MPSKAT00090278; MPSKAT00101955;
       MPSKAT00103718; MPSKAT00129628; MPSKAT00131661; MPSKAT00145731
   5
       MPSKAT00169069
   6
       WH_MDL_00162577; MPSKAT00007325; GUNDERSON00009434; MPSKAT00007256; WH_MDL_00037259; WH_MDL_00043703; WH_MDL_00043788; WH_MDL_00049841; WH_MDL_00050278; JHVM_0001854
   7
       ELYSIUM-05093143; KLUGMAN00067805; KLUGMAN00067806; KLUGMAN00067807; STOR00001880
   8
       KLUGMAN00039243; MPSKAT00007321; MPSKAT00006968; KLUGMAN00003945; WH_MDL_00036641; WH_MDL_00037493; WH_MDL_00044408; WH_MDL_00086296; WH_MDL_00050029; KLUGMAN00003565
   9
       MBJ_0048625; ELYSIUM-05399473; MPSKAT00007016; MPSKAT00008639; WH_MDL_00090795; KLUGMAN00003356; LH00000089; MPSKAT00005894; LH00000069; LH00000078; PL00000563
  10
       WH_MDL_00029587; MPSKAT00007347; MPSKAT00007012; KLUGMAN00003362; WH_MDL_00090784; WH_MDL_00037264; WH_MDL_00049846; WH_MDL_00050282; KLUGMAN00003260; WH_MDL_00090783; RC00000056
  11
       WH_MDL_00029448; MPSKAT00007323; MPSKAT00008967; WH_MDL_00020572; WH_MDL_00021803; WH_MDL_00022890; WH_MDL_00043463; BR00000044; KLUGMAN00003260; WH_MDL_00090783
  12
       LEHMAN00019473; COSTELLO00000092; COSTELLO00000313; COSTELLO00000314
  13
       LBR00000339-346; LBR00000126; ELYSIUM-05065630; ELYSIUM-05088638
  14
       FWCCAP00000194; LEHMAN00019330; ELYSIUM-05088637; ELYSIUM-05269913; FWCCAP00000407-413
  15
       PROPPACIF00000533; ELYSIUM-05088639; ELYSIUM-05093143; PROPPACIFIC00000113; PROPPACIFIC00000317-321
  16
       OAKS00000066; OAKS00000085; OAKS00000294-296
  17
       ELYSIUM-05093143; SVP00000312-313
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                              APPENDIX D
               EXHIBIT 5 – SAMPLE CASH FLOW ANALYSIS
                                                                      Case 1:18-md-02865-LAK                                                                Document 824-107                                   Filed 06/15/22                     Page 190 of 192                                                     CONFIDENTIAL




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Expert Report of Bruce G. Dubinsky
Exhibit 5.01 - Summary of Cash Flows from Sample Claims (Argre)


                                                                                                                                                                                                                                                                                                 Maximum
                                                                                                                                             Date of                                                                                           Payment to
                                                                                                                                                                Date        Claimed Withheld               Claimed Withheld                                    Partnership     Partnership    Potential Amount    % of Tax
                       Shareholder (Pension Plan)                                  Beneficiary1                          Share              request to                                          Fx Rate2                      Ganymede %       Ganymede
                                                                                                                                                              Deposited    dividend tax (DKK)              dividend tax (USD)                                      %3        Payment (USD) 3 Remaining for Plan
                                                                                                                                                                                                                                                                                                                Refund to Plan
                                                                                                                                              SKAT                                                                                               (USD)
                                                                                                                                                                                                                                                                                                   (USD)4
       Mill River Capital Management Pension Plan5                          Adam Larosa                    Chr. Hansen Holding A/S          12/21/2012         2/6/2013           783,000.00    5.51135    $      142,070.45    66.7%      $     (94,718.37)      90%        $    (42,616.87) $        4,735.21      3.3%
       Xiphias LLC Pension Plan6                                            Quartet                        Novo Nordisk A/S - B             4/19/2013          5/15/2013       13,851,000.00    5.79878    $     2,388,605.88   66.7%      $ (1,592,483.54)        n/a       $          -    $      796,122.34      33.3%
                                       7
       2321 Capital Pension Plan                                            Luke McGee                     DSV A/S                          4/19/2013          5/15/2013          286,875.00    5.79878    $       49,471.61    66.1%      $     (32,676.00)      95%        $    (15,955.83) $         839.78       1.7%
       Remece Investments LLC Pension Plan8                                 Quartet                        TDC A/S                          4/23/2013          5/8/2013         2,235,600.00    5.65433    $      395,378.41    66.3%      $    (262,135.89)       n/a       $          -    $      133,242.52      33.7%
                                                           9
       California Catalog Company Pension Plan                              Daniel Stein                   FLSmidth & Co A/S                5/16/2013          6/17/2013          777,600.00    5.59373    $      139,012.79    66.1%      $     (91,817.95)      95%        $    (44,835.10) $        2,359.74      1.7%
       DFL Investments Pension Plan10                                       David Colodner                 Tryg A/S                         5/16/2013          6/17/2013        1,614,600.00    5.59373    $      288,644.61    66.1%      $    (190,649.76)      95%        $    (93,095.10) $        4,899.74      1.7%
                                            11
       Raubritter LLC Pension Plan                                          Alexander Burns                A.P. Møller Mærsk A/S - B        5/16/2013          6/17/2013        3,110,400.00    5.59373    $      556,051.15    66.1%      $    (367,271.78)      90%        $   (169,901.43) $      18,877.94       3.4%
                                                      12
       Michelle Investments Pension Plan                                    Quartet                        Novo Nordisk A/S - B             5/16/2013          6/17/2013       14,580,000.00    5.59373    $     2,606,489.77   66.1%      $ (1,723,411.03)        n/a       $          -    $      883,078.73      33.9%
                                                 13
       Davin Investments Pension Plan                                       David Vinyon                   Tryg A/S                         6/12/2013          6/27/2013          877,500.00    5.73072    $      153,122.12    66.1%      $    (101,259.66)      90%        $    (46,676.22) $        5,186.25      3.4%
       Next Level Pension Plan14                                            Edwin Miller                   Chr. Hansen Holding A/S          12/10/2013         1/2/2014         1,325,488.64    5.46185    $      242,681.26    66.7%      $    (161,795.60)      95%        $    (76,841.38) $        4,044.28      1.7%
                                       15
       2321 Capital Pension Plan                                            Luke McGee                     Coloplast A/S - B                 1/6/2014          2/5/2014         1,699,110.00    5.51333    $      308,182.17    66.7%      $    (205,465.05)      95%        $    (97,581.26) $        5,135.86      1.7%
                                                      16
       Michelle Investments Pension Plan                                    Quartet                        Coloplast A/S - B                 1/6/2014          2/5/2014         1,854,090.00    5.51333    $      336,292.22    66.7%      $    (224,206.02)       n/a       $          -    $      112,086.20      33.3%
                                                           17
       Laegeler Asset Management Pension Plan                               Brian & Cindy Laegeler Danske Bank A/S                          4/17/2014          6/3/2014         2,351,536.92    5.47754    $      429,305.29    66.7%      $    (286,217.84)      90%        $   (128,778.71) $      14,308.75       3.3%
       Bowline Management Pension Plan17                                    Luke McGee                     Coloplast A/S - B                5/27/2014          7/7/2014           641,734.92    5.48118    $      117,079.70    66.6%      $     (77,975.08)      95%        $    (37,149.39) $        1,955.23      1.7%
                                                 17
       Davin Investments Pension Plan                                       David Vinyon                   Coloplast A/S - B                5/27/2014          7/7/2014           763,830.00    5.48118    $      139,355.03    66.7%      $     (92,908.00)      90%        $    (41,802.33) $        4,644.70      3.3%
       Next Level Pension Plan17                                            Edwin Miller                   Coloplast A/S - B                5/27/2014          7/7/2014           690,261.48    5.48118    $      125,933.01    66.7%      $     (83,959.54)      95%        $    (39,874.80) $        2,098.67      1.7%
       Remece Investments LLC Pension Plan18                                Quartet                        TDC A/S                          8/15/2014          8/28/2014        1,130,020.88    5.65628    $      199,781.64    66.1%      $    (132,055.66)       n/a       $          -    $       67,725.98      33.9%

       Total                                                                                                                                                                   48,572,647.84               $     8,617,457.11              $ (5,721,006.77)                  $   (835,108.42) $    2,061,341.92
       % of Tax Refunds                                                                                                                                                                                                                              66.4%                              9.7%


Notes:
  1
       See Exhibit 1.01.
  2
       S&P Capital IQ
  3
       Partnership payments are calculated by applying the partnership percentages from each plan's agreement when applicable. See Richard Markowitz Exhibit 2133.
  4
       This does not take into account additional expenses which were paid by the plans to brokers and other Shah related entities.
  5
       ELYSIUM-05271121; MPSKAT00164905; MPSKAT00028011
  6
       ELYSIUM-05280747; MPSKAT00005012
  7
       WH_MDL_00032832; MPSKAT00081358
  8
       ELYSIUM-05280747
  9
       JHVM_0005295; MPSKAT00022222; MPSKAT00085491
  10
       JHVM_0005489; MPSKAT00085416
  11
       JHVM_0005282; MPSKAT00163842
  12
       JHVM_0005262; MPSKAT00163835
  13
       JHVM_0006014; MPSKAT00085944
  14
       ELYSIUM-03186605; ELYSIUM-07841870; MPSKAT00101963
  15
       ELYSIUM-03186605; ELYSIUM-07841870; MPSKAT00165983
  16
       ELYSIUM-03186605; ELYSIUM-07841870; MPSKAT00103724
  17
       ELYSIUM-03252000; ELYSIUM-05269912
  18
       ELYSIUM-05269912; MPSKAT00143527
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In Re: Customs and Tax Adminsitration of the Kingdom of Denmark (Skatteforvaltningen) Refund Scheme Litigation
Expert Report of Bruce G. Dubinsky
Exhibit 5.02 - Summary of Cash Flows from Sample Claims (Kaye Scholer)


                                                                                                                                                                                                                                                                                           Maximum
                                                                                                                                                 Date of                 Claimed Withheld
                                                                                                                                                               Date                                     Claimed Withheld                Payment to        Partnership     Partnership   Potential Amount    % of Tax
                           Shareholder (Pension Plan)                                       Beneficiary1                          Share         request to                  dividend tax     Fx Rate2                      Ganymede %
                                                                                                                                                             Deposited                                  dividend tax (USD)            Ganymede (USD)          %3        Payment (USD)3 Remaining for Plan Refund to Plan
                                                                                                                                                  SKAT                         (DKK)                                                                                                               4
                                                                                                                                                                                                                                                                                             (USD)
       Routt Capital Pension Plan5                                                  Richard Markowitz               Coloplast A/S - B           12/15/2014   4/20/2015        2,104,027.65   6.9367     $      303,318.24   75.0%    $    (227,488.68)        n/a       $          -    $       75,829.56     25.0%
       Cedar Hill Capital Investments LLC Roth 401(K) Plan6                         Edwin Miller                    A.P. Møller Mærsk A/S - A   4/14/2015    5/22/2015       12,684,804.12   6.75566    $    1,877,655.79   75.0%    $   (1,408,241.84)      95%        $   (445,943.25) $      23,470.70      1.3%
       Green Scale Management LLC Roth 401(K) Plan7                                 Edwin Miller                    A.P. Møller Mærsk A/S - A   4/24/2015    5/21/2015       21,395,362.68   6.70381    $    3,191,522.83   75.0%    $   (2,393,642.12)      95%        $   (757,986.67) $      39,894.04      1.3%
                                       8
       Routt Capital Pension Plan                                                   Richard Markowitz               Tryg A/S                     5/1/2015    5/21/2015         817,287.57    6.70381    $      121,913.89   75.0%    $     (91,435.42)        n/a       $          -    $       30,478.47     25.0%
                                                                      9
       Trailing Edge Productions LLC Roth 401(K) Plan                               Perry Lerner                    Tryg A/S                    4/27/2015    5/29/2015         273,642.84    6.7974     $       40,256.99   75.0%    $     (30,192.74)       95%        $     (9,561.03) $        503.21       1.3%
       True Wind Investments LLC Roth 401(K) Plan10                                 Ronald Altbach                  Carlsberg A/S - B           4/27/2015    5/29/2015         431,845.02    6.7974     $       63,530.91   75.0%    $     (47,648.18)       95%        $    (15,088.59) $        794.14       1.3%
                                                                 11
       Fulcrum Productions LLC Roth 401(K) Plan                                     Edwin Miller                    TDC A/S                     4/28/2015    5/29/2015         788,100.30    6.7974     $      115,941.43   75.0%    $     (86,956.08)       95%        $    (27,536.09) $       1,449.27      1.3%
       The Random Holdings 401(K) Plan8                                             Robert Klugman                  TDC A/S                     4/30/2015    5/29/2015         769,460.85    6.7974     $      113,199.29   75.0%    $     (84,899.47)        n/a       $          -    $       28,299.82     25.0%
       Hadron Industries LLC Roth 401(K) Plan8                                      Richard Markowitz               FLSmidth & Co A/S           4/30/2015    5/29/2015         197,131.32    6.7974     $       29,000.99   75.0%    $     (21,750.74)        n/a       $          -    $        7,250.25     25.0%
       The Random Holdings 401(K) Plan8                                             Robert Klugman                  FLSmidth & Co A/S           4/30/2015    5/29/2015         194,927.31    6.7974     $       28,676.75   75.0%    $     (21,507.56)        n/a       $          -    $        7,169.19     25.0%
       Cedar Hill Capital Investments LLC Roth 401(K) Plan6                         Edwin Miller                    Tryg A/S                    4/27/2015    7/16/2015         823,371.48    6.84556    $      120,278.18   75.0%    $     (90,208.63)       95%        $    (28,566.07) $       1,503.48      1.3%
                                                       12
       Ballast Ventures LLC Roth 401(K) Plan                                        Joseph Herman                   Danske Bank A/S             5/22/2015     7/8/2015        4,580,203.32   6.7314     $      680,423.58   75.0%    $    (510,317.69)       95%        $   (161,600.60) $       8,505.29      1.3%
                                                                 13
       Albedo Management LLC Roth 401(K) Plan                                       Joseph Herman                   Coloplast A/S - B           5/22/2015     7/8/2015        1,788,477.57   6.7314     $      265,691.77   75.0%    $    (199,268.83)       95%        $    (63,101.80) $       3,321.15      1.3%
                                                            14
       Sternway Logistics LLC Roth 401(K) Plan                                      Robin Jones                     Coloplast A/S - B           6/10/2015     7/8/2015         352,234.58    6.7314     $       52,327.09   75.0%    $     (39,245.32)       95%        $    (12,427.68) $        654.09       1.3%
       Sternway Logistics LLC Roth 401(K) Plan15                                    Robin Jones                     Carlsberg A/S - B           5/21/2015    7/20/2015         433,509.57    6.87694    $       63,038.15   75.0%    $     (47,278.61)       95%        $    (14,971.56) $        787.98       1.3%
       Headsail Manufacturing LLC Roth 401(K) Plan8                                 Robert Klugman                  Vestas Wind Systems A/S     6/24/2015    8/10/2015        1,987,662.81   6.79162    $      292,664.02   75.0%    $    (219,498.01)        n/a       $          -    $       73,166.00     25.0%

       Total                                                                                                                                                                 49,622,048.99              $    7,359,439.90            $   (5,519,579.93)                 $ (1,536,783.35) $     303,076.63
       % of Tax Refunds                                                                                                                                                                                                                          75.0%                            20.9%


Notes:
  1
       See Exhibit 1.02.
  2
       S&P Capital IQ
  3
       Partnership payments are calculated by applying the partnership percentages from each plan's agreement when applicable.
  4
       This does not take into account additional expenses which were paid by the plans to brokers and other Shah related entities.
  5
       ELYSIUM-05399473; WH_MDL_00042466
  6
       ELYSIUM-07846030; KF_MDL_11480
  7
       ELYSIUM-07846030; KF_MDL_00964
  8
       ELYSIUM-07846030
  9
       ELYSIUM-07846030; WH_MDL_00012603
  10
       ELYSIUM-07846030; KF_MDL_13696
  11
       ELYSIUM-07846030; KF_MDL_11490
  12
       ELYSIUM-07846030; WH_MDL_00008227
  13
       ELYSIUM-07846030; WH_MDL_00008217
  14
       ELYSIUM-07846030; WH_MDL_00029420
  15
       MPSKAT00010740; ELYSIUM-05065630; ELYSIUM-07846030; WH_MDL_00029420
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In Re: Customs and Tax Adminsitration of the Kingdom of Denmark (Skatteforvaltningen) Refund Scheme Litigation
Expert Report of Bruce G. Dubinsky
Exhibit 5.03 - Summary of Cash Flows from Sample Claims (Lehman)

                                                                                                                                                Date of                                                                                                            Maximum Potential
                                                                                                                                                              Date       Claimed Withheld                  Claimed Withheld                    Payment to                                   % of Tax
                          Shareholder (Pension Plan)                                    Plan Participant1                        Share         request to                                    Fx Rate
                                                                                                                                                                                                       2
                                                                                                                                                                                                                                Ganymede %                         Amount Remaining
                                                                                                                                                            Deposited   dividend tax (DKK)                 dividend tax (USD)                Ganymede (USD)                               Refund to Plan
                                                                                                                                                 SKAT                                                                                                                for Plan (USD)3
      Gyos 23 LLC Solo 401(K) Plan4                                                Doston Bradley, Sr.             Chr. Hansen Holding A/S     1/28/2014    2/13/2014         1,298,017.82   5.45997       $       237,733.51     95.4%      $      (226,797.77)   $         10,935.74        4.6%
      FiftyEightSixty LLC Solo 401(K) Plan5                                        Danielle Taglianetti            TDC A/S                     3/20/2014    5/14/2014         2,324,241.22   5.44344       $       426,980.22     88.6%      $      (378,304.48)   $         48,675.75        11.4%
      NYCATX LLC Solo 401(K) Plan6                                                 Carl Vergari                    Novo Nordisk A/S - B        4/17/2014    6/4/2014         13,037,973.03   5.48206       $     2,378,298.13     93.9%      $    (2,233,221.94)   $        145,076.19        6.1%
      Ackview Solo 401(K) Plan7                                                    Sean Patrick Driscoll           A.P. Møller Mærsk A/S - B   4/17/2014    6/3/2014          4,999,428.00   5.47754       $       912,714.10     97.5%      $      (889,896.25)   $         22,817.85        2.5%
      Delgado Fox LLC Solo 401(K) Plan8                                            Bobbie Bradley                  Danske Bank A/S             4/28/2014    6/4/2014          1,778,970.60   5.48206       $       324,507.69     94.4%      $      (306,335.25)   $         18,172.43        5.6%
      The Dink 14 LLC 401(K) Plan9                                                 Vincent Natoli                  Carlsberg A/S - B           4/30/2014    6/18/2014         1,124,504.64   5.49397       $       204,679.79     95.2%      $      (194,855.16)   $           9,824.63       4.8%
      The Skybax LLC 401(K) Plan9                                                  Bradley Crescenzo               Carlsberg A/S - B           5/20/2014    6/18/2014         1,254,186.72   5.49397       $       228,284.23     95.2%      $      (217,326.59)   $         10,957.64        4.8%
      The Balmoral Management LLC 401(K) Pension Plan9                             John LaChance                   A.P. Møller Mærsk A/S - A   6/4/2014     7/11/2014         5,194,476.00   5.48354       $       947,285.15     95.2%      $      (901,815.46)   $         45,469.69        4.8%
      The M2F Wellness LLC 401(K) Plan9                                            Maryann Protass                 Coloplast A/S - B           7/18/2014    5/14/2014           923,717.52   5.44344       $       169,693.71     95.2%      $      (161,548.41)   $           8,145.30       4.8%
      The MPQ Holdings LLC 401K Plan9                                              Mitchell Protass                A.P. Møller Mærsk A/S - B   7/18/2014    8/7/2014          4,408,614.00   5.58256       $       789,711.89     95.2%      $      (751,805.72)   $         37,906.17        4.8%
      The DMR Pension Plan10                                                       Doston Bradley                  A.P. Møller Mærsk A/S - A   4/13/2015    4/28/2015        12,805,074.54   6.80441       $     1,881,878.74     95.0%      $    (1,787,784.81)   $         94,093.94        5.0%
      The Mountain Air LLC 401(K) Plan10                                           Scott Shapiro                   A.P. Møller Mærsk A/S - A   4/21/2015    5/12/2015        21,275,624.43   6.64217       $     3,203,113.51     95.0%      $    (3,042,957.83)   $        160,155.68        5.0%
      The Jayfran Blue Pension Plan10                                              Francine Taglianetti            Danske Bank A/S             4/23/2015    5/12/2015         4,947,384.42   6.64217       $       744,844.59     95.0%      $      (707,602.36)   $         37,242.23        5.0%
      The JT Health Consulting LLC 401(K) Plan10                                   Jana Taglianetti                Novozymes A/S - B           4/27/2015    5/29/2015           627,934.68   6.7974        $        92,378.66     95.0%      $       (87,759.72)   $           4,618.93       5.0%
      The Lakeview Advisors 401(K) Plan10                                          Matthew Tucci                   TDC A/S                     4/27/2015    5/29/2015           766,052.64   6.7974        $       112,697.89     95.0%      $      (107,063.00)   $           5,634.89       5.0%
      The Busby Black 401(K) Plan10                                                Monica Bradley                  A.P. Møller Mærsk A/S - B   4/27/2015    5/29/2015         4,194,031.77   6.7974        $       617,005.29     95.0%      $      (586,155.03)   $         30,850.26        5.0%
      The Canada Rock LLC 401(K) Plan10                                            Monica Bradley                  Tryg A/S                    4/27/2015    5/29/2015           822,337.92   6.7974        $       120,978.30     95.0%      $      (114,929.39)   $           6,048.92       5.0%
      The Snow Hill Pension Plan11                                                 Scott Shapiro                   GN Store Nord A/S           4/27/2015    7/28/2015           142,750.59   6.75434       $        21,134.65     95.0%      $       (20,077.91)   $           1,056.73       5.0%
      The SKSL LLC Pension Plan10                                                  Scott Shapiro                   Novo Nordisk A/S - B        4/27/2015    7/16/2015         7,884,472.50   6.84556       $     1,151,764.43     95.0%      $    (1,094,176.21)   $         57,588.22        5.0%
      The Hoboken Advisors LLC 401K Plan10                                         Stacey Lopis                    Vestas Wind Systems A/S     4/27/2015    7/16/2015         1,181,660.80   6.84556       $       172,617.11     95.0%      $      (163,986.26)   $           8,630.86       5.0%
      The Snow Hill Pension Plan11                                                 Scott Shapiro                   Novozymes A/S - B           4/27/2015    7/28/2015           676,834.38   6.75434       $       100,207.33     95.0%      $       (95,196.96)   $           5,010.37       5.0%
      The Bella Consultants Pension Plan10                                         Anthony Sinclair                GN Store Nord A/S           4/28/2015    5/29/2015           145,557.73   6.7974        $        21,413.74     95.0%      $       (20,343.05)   $           1,070.69       5.0%
      CSCC Capital Pension Plan10                                                  Scott Shapiro                   A.P. Møller Mærsk A/S - A   5/1/2015     5/21/2015        12,785,916.42   6.70381       $     1,907,261.16     95.0%      $    (1,811,898.10)   $         95,363.06        5.0%
      The Atlantic DHR 401(K) Plan10                                               Joanne Bradley                  TDC A/S                     5/1/2015     5/21/2015           745,868.52   6.70381       $       111,260.39     95.0%      $      (105,697.37)   $           5,563.02       5.0%
      The Jump Group LLC 401(K) Plan10                                             Joseph Whalen                   Pandora A/S                 5/1/2015     5/21/2015         1,178,141.76   6.70381       $       175,742.12     95.0%      $      (166,955.01)   $           8,787.11       5.0%
      The Shapiro Blue Management LLC 401(K) Plan10                                Scott Shapiro                   A.P. Møller Mærsk A/S - B   5/1/2015     5/21/2015        12,783,787.74   6.70381       $     1,906,943.62     95.0%      $    (1,811,596.44)   $         95,347.18        5.0%
      The Jump Group LLC 401(K) Plan10                                             Joseph Whalen                   FLSmidth & Co A/S           5/1/2015     5/21/2015           979,297.29   6.70381       $       146,080.70     95.0%      $      (138,776.67)   $           7,304.04       5.0%
      CSCC Capital Pension Plan11                                                  Scott Shapiro                   Coloplast A/S - B           5/1/2015     5/21/2015         1,861,303.05   6.70381       $       277,648.54     95.0%      $      (263,766.11)   $         13,882.43        5.0%
      The Fieldcrest Pension Plan10                                                Cynthia Crescenzo               A.P. Møller Mærsk A/S - A   5/7/2015     7/6/2015          4,184,452.71   6.7443        $       620,442.85     95.0%      $      (589,420.71)   $         31,022.14        5.0%
      The Westport Advisors LLC 401(K) Plan10                                      Cynthia Crescenzo               TDC A/S                     5/7/2015     7/8/2015            748,819.89   6.7314        $       111,242.82     95.0%      $      (105,680.67)   $           5,562.14       5.0%
      The Regoleth Pension Plan10                                                  Bradley Crescenzo               A.P. Møller Mærsk A/S - A   5/7/2015     7/8/2015          4,197,756.96   6.7314        $       623,608.31     95.0%      $      (592,427.89)   $         31,180.42        5.0%
      The Maple Advisors LLC 401(K) Plan10                                         Danielle Tucci                  TDC A/S                     5/7/2015     7/8/2015            807,637.23   6.7314        $       119,980.57     95.0%      $      (113,981.54)   $           5,999.03       5.0%
      The Maple Advisors LLC 401(K) Plan10                                         Danielle Tucci                  A.P. Møller Mærsk A/S - A   5/7/2015     7/8/2015          4,195,628.28   6.7314        $       623,292.08     95.0%      $      (592,127.47)   $         31,164.60        5.0%
      The Maple Advisors LLC 401(K) Plan11                                         Danielle Tucci                  Chr. Hansen Holding A/S     5/11/2015    7/8/2015            816,338.50   6.7314        $       121,273.21     95.0%      $      (115,209.55)   $           6,063.66       5.0%
      The Chambers Property Management LLC 401(K) Plan10                           Jeffrey Chambers                Novo Nordisk A/S - B        5/14/2015    7/8/2015          7,798,337.10   6.7314        $     1,158,501.52     95.0%      $    (1,100,576.44)   $         57,925.08        5.0%
      The Chambers Property Management LLC 401(K) Plan10                           Jeffrey Chambers                DSV A/S                     5/14/2015    7/8/2015            299,757.46   6.7314        $        44,531.22     95.0%      $       (42,304.66)   $           2,226.56       5.0%
      The Blackbird 401(K) Plan10                                                  Danielle Tucci                  Coloplast A/S - B           5/15/2015    7/7/2015          1,080,973.35   6.81756       $       158,557.22     95.0%      $      (150,629.36)   $           7,927.86       5.0%
      The Beech Tree Partners 401(K) Plan10                                        Danielle Tucci                  Coloplast A/S - B           5/15/2015    7/3/2015          1,778,265.50   6.72242       $       264,527.58     95.0%      $      (251,301.20)   $         13,226.38        5.0%

      Total                                                                                                                                                                 148,056,127.71                 $    23,230,816.55                $   (22,042,288.76) $        1,188,527.79
      % of Tax Refunds                                                                                                                                                                                                                                    94.9%


Notes:
 1
      See Exhibit 1.03.
 2
      S&P Capital IQ
 3
      This does not take into account additional expenses which were paid by the plans to brokers and other Shah related entities.
 4
      ELYSIUM-03151866; ELYSIUM-05269912
 5
      FIFTYEIGHTSIXTY00001228; ELYSIUM-04982177; GYOS00000210-212
 6
      NYCATX00000106;ELYSIUM-04982177 NYCATAX00000241-243
 7
      ELYSIUM-05269912; ACKVIEW00000203; ACKVIEW00000204
 8
      DELGADO00000310; DELGADO00000239; ELYSIUM-05269912
 9
      ELYSIUM-05269912
 10
      ELYSIUM-07846030
 11
      ELYSIUM-08269913
